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13 SWIFT BEEF COMPANY
14                     UNITED STATES DISTRICT COURT

15                      CENTRAL DISTRICT OF CALIFORNIA

16 FRANCISCO J. MEZA, on behalf of               Case No. ________________
   himself and others similarly situated,
17                                               NOTICE OF REMOVAL OF
18             Plaintiff,                        STATE COURT CIVIL ACTION
                                                 UNDER 28 U.S.C. §§ 1332, 1441,
19          vs.                                  1446, and 1453 [DIVERSITY AND
20                                               CAFA JURISDICTION]
   SWIFT BEEF COMPANY; and DOES 1
21 to 100, inclusive,                            Removed from the Superior Court of
22                                               the State of California, County of
                Defendants.                      Riverside
23
24                                               State Court Case No. CVRI2300103
25
26
27
28

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 1 TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF, AND
 2 HIS COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441,
 4 1446, and 1453, Defendant Swift Beef Company (“Defendant” or “Swift Beef
 5 Company”) hereby removes the above-captioned state court action currently pending
 6 in the Superior Court of the State of California for the County of Riverside to the U.S.
 7 District Court for the Central District of California. Removal of this action is proper
 8 for the reasons listed below:
 9          1.    This action is within the original jurisdiction of this Court and properly
10 removed under 28 U.S.C. §§ 1332, 1441, 1446, and 1453. Specifically, removal is
11 proper under the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d),
12 and 28 U.S.C. § 1453, which grants district courts original jurisdiction over class
13 actions in which the amount in controversy exceeds $5,000,000 and any member of
14 the putative class of plaintiffs is a citizen of a state different from any defendant. As
15 set forth below, this action satisfies each of the requirements of 28 U.S.C. §
16 1332(d)(2) for original jurisdiction under CAFA. Further, pursuant to 28 U.S.C. §
17 1332(a)(1), this Court has original jurisdiction over this matter because it is a civil
18 action between citizens of different states where the matter in controversy exceeds the
19 sum or value of $75,000.
20          2.    On January 9, 2023, Plaintiff Francisco J. Meza (“Plaintiff”) filed a
21 putative Class Action Complaint (“Complaint” or “Cmplt.”) purportedly on behalf of
22 himself and others similarly situated against Defendant in the Superior Court of the
23 State of California, County of Riverside, captioned Francisco J. Meza v. Swift Beef
24 Company, Case No. CVRI2300103 (the “State Court Action”). On January 12, 2023,
25 Plaintiff served Defendant with the Complaint. True and correct copies of all process,
26 pleadings, and orders are attached collectively as Exhibit A. Plaintiff alleges he was
27 employed by Defendant. (Cmplt. p. 3, ¶ 4.) Plaintiff asserts, on behalf of himself and
28 others allegedly similarly situated, six causes of action under the California Labor

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 1 Code against Defendant for failure to: (1) pay minimum wage for all hours worked;
 2 (2) permit meal periods; (3) permit rest periods; (4) timely pay earned wages; (5)
 3 provide accurate wage statements; and (6) timely pay all earned wages at separation
 4 of employment. (See generally Cmplt.) Plaintiff also asserts a claim under the
 5 California Unfair Competition Law. (Id. at pp. 23-24.) As discussed below, the
 6 Complaint requests economic damages, liquidated damages, restitution, statutory
 7 penalties, civil penalties, and attorneys’ fees and costs, among other damages, on
 8 behalf of Plaintiff and others allegedly similarly situated. (Id. at pp. 25-27.)
 9          3.    Swift Beef Company is the only defendant that has been properly joined
10 and served. No other defendant must join in this removal. See 28 U.S.C. §§
11 1446(b)(2)(A), 1453(b).
12          4.    This Notice is effected properly and timely pursuant to 28 U.S.C. §
13 1446(b) because it has been filed within 30 days after Defendant was properly served
14 with a copy of the Summons and Complaint.
15          5.    Defendant will promptly serve a copy of this Notice on counsel for
16 Plaintiff and will file a copy of this Notice with the Clerk of the Superior Court of the
17 State of California, County of Riverside, pursuant to 28 U.S.C. § 1446(d).
18          6.    This action is properly removable to the U.S. District Court for the
19 Central District of California pursuant to 28 U.S.C. § 1446(a) because the Superior
20 Court of the State of California, County of Riverside, in which this case was brought,
21 lies within this district.
22          7.    Notices of removal are subject to the same general pleading standards
23 applicable to complaints under Rule 8(a) of the Federal Rules of Civil Procedure.
24 Accordingly, such notices need not attach evidence or meet a burden of proof, and
25 there need only be a “short and plain statement of the grounds for removal.” Dart
26 Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 86-87 (2014); 28 U.S.C. §
27 1446(a). As discussed below, all requirements for removal under CAFA and based
28 upon traditional diversity jurisdiction are met.

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 1          JURISDICTION UNDER THE CLASS ACTION FAIRNESS ACT
 2          8.    This action is removable to this Court pursuant to 28 U.S.C. § 1332(d),
 3 as amended by CAFA, and 28 U.S.C. § 1453. Pursuant to 28 U.S.C. §§ 1332(d) and
 4 1453, a putative class action commenced after February 18, 2005, may be removed to
 5 the appropriate federal court if: (1) any member of the putative class is a citizen of a
 6 state different from any defendant (i.e., minimal diversity exists); (2) there are at least
 7 100 members in the putative class; and (3) the amount in controversy exceeds the sum
 8 or value of $5,000,000, exclusive of interests and costs. 28 U.S.C. §§ 1332(d)(2),
 9 (5)(B), 1453; Dart, 574 U.S. at 84-85.
10          9.    Unlike traditional diversity jurisdiction in non-class actions, there is no
11 presumption against jurisdiction in matters removed under CAFA. Dart, 574 U.S. at
12 89 (“It suffices to point out that no antiremoval presumption attends cases invoking
13 CAFA, which Congress enacted to facilitate adjudication of certain class actions in
14 federal court.”); see also S. Rep. No. 109-14, p. 43 (2005) (CAFA’s “provisions
15 should be read broadly, with a strong preference that interstate class actions should
16 be heard in a federal court if properly removed by any defendant”).
17          10.   With these standards in mind, all requirements for removal under CAFA
18 are met here, as detailed further below.
19                              This is a Putative Class Action
20          11.   Under CAFA, a class action means “any civil action filed under Rule 23
21 of the Federal Rules of Civil Procedure or similar State statute or rule of judicial
22 procedure authorizing an action to be brought by one or more representative persons
23 as a class action.” 28 U.S.C. § 1332(d)(1)(B). California Code of Civil Procedure §
24 382 authorizes an action to be brought by one or more representative persons as a
25 class action. Plaintiff has filed this action as a putative class action pursuant to
26 California Code of Civil Procedure § 382. (Cmplt. p. 24, ⁋ 1.)
27          12.   Plaintiff seeks to represent class members for alleged unlawful conduct
28 dating back four (4) years from the date of filing the lawsuit. (Cmplt. p. 10-11, ⁋ 35.)

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 1 As described below, however, except where the applicable statute of limitations
 2 provides for a shorter duration, the relevant time period of this lawsuit and, therefore,
 3 this Notice, extends only to June 26, 2020.
 4          13.   Defendant is a party to a class action settlement in De Cabrera v. Swift
 5 Beef Co., Case No. 5:18-cv-02551-PSG-E (C.D. Cal.) and Duron v. JBS USA Food
 6 Company Holdings, Case No. 5:19-cv-00702-PSG-E (C.D. Cal.). (See Joint
 7 Stipulation of Settlement Agreement and Release (the “Agreement”), ECF No. 41-1,
 8 Case No. 5:18-cv-02551-PSG-E, attached as Exhibit B.) The Agreement defines the
 9 settlement class in pertinent part as “[a]ll current and former non-exempt employees
10 employed by [Swift Beef Company] in the State of California at any time from
11 November 2, 2014, to the date the Court grants Preliminary Approval,” (Id. p. 2, ⁋ 4)
12 which occurred on June 25, 2020. (De Cabrera, Case No. 5:18-cv-02551-PSG-E (ECF
13 No. 43).) The Agreement states that the participating class members’ release of
14 claims, effective through preliminary approval, includes all:
15          claims, liabilities, demands, causes of actions, rights, and obligations for
16          (1) failure to provide meal periods; (2) failure to provide rest periods; (3)
            failure to pay overtime wages; (4) failure to pay minimum wages; (5)
17          failure to maintain required records; (6) failure to provide accurate wage
18          statements; (7) failure to pay wages upon separation of employment; (8)
            any related claims, including for unfair business practices in violation of
19
            California’s Business and Professions Code, Section 17200, and any and
20          all claims under federal or state law, statutory, constitutional, contractual
            or common law claims that were or could have been pled based upon the
21
            factual allegations contained in the Litigation . . . . The Released Claims
22          include all claims described above—that is, those claims that are or
            reasonably could have been asserted in the Litigation . . . whether known
23
            or unknown, which may arise out of or directly or indirectly relate to
24          such facts alleged in the Litigation, including all claims for wages,
            overtime pay, premium pay such as meal and rest period premiums, final
25
            wages, waiting time penalties, minimum wages, penalties such as
26          penalties for incorrect wage statements, wages due on termination, any
            and all equitable relief, liquidated damages or any pay, premium, or civil
27
            or statutory penalty provided for under the California Labor Code,
28

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 1          California’s Business and Professions Code, or other applicable wage-
            and-hour statute.
 2
 3 (Id. pp. 7-8, ⁋ 29.) The Agreement received final approval from the Court on
 4 November 23, 2020. (De Cabrera, Case No. 5:18-cv-02551-PSG-E (ECF No. 56).)
 5          14.   In short, while Plaintiff seeks to represent class members for alleged
 6 unlawful conduct dating back four (4) years from the date of filing, for purposes of
 7 this Notice only, Defendant assumes the scope of the putative class extends only to
 8 June 26, 2020 (the “Relevant Time Period”), except where the applicable statute of
 9 limitations provides for a shorter duration.
10                                 Minimal Diversity Exists
11          15.   “[U]nder CAFA, complete diversity is not required; ‘minimal diversity’
12 suffices.” Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1021 (9th Cir. 2007). Minimal
13 diversity exists if any putative class member is a citizen of a state different from any
14 defendant. 28 U.S.C. § 1332(d)(2)(A). Here, the requisite minimal diversity exists.
15          16.   Plaintiff is a resident of California. (Cmplt. p. 3, ⁋ 3.) “[W]hile residence
16 and citizenship are not the same, a person’s place of residence is prima facie evidence
17 of his or her citizenship.” McEntire v. Kmart Corp., No. CIV 09-0567 JB/LAM, 2010
18 WL 553443, *3 (D.N.M. Feb. 9, 2010). “[P]roof that a person is a resident of a state
19 is prima facie evidence that he is a citizen thereof, and supposedly shifts the burden
20 of showing that his domicile and citizenship is other than the place of his residence to
21 him who alleges it.” 13E Fed. Prac. & Proc. Juris. § 3611 (3d ed.) (quotation marks
22 and citation omitted). Based on Plaintiff’s allegation regarding his residency (see
23 Cmplt. p. 3, ⁋ 3), he is a citizen of California. The putative class is comprised of
24 current and former employees of Defendant in California. (Cmplt. p. 10-11, ⁋ 35.)
25 Defendant estimates that the putative class consists of at least 1,123 non-exempt
26 employees who worked, or are currently working, at its production facility in
27 Riverside, California during the Relevant Time Period. (See Declaration of Araceli
28

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 1 Burket (“Burket Dec.”), attached as Exhibit C, at ⁋ 4.)1 Plaintiff alleges that “more
 2 than two-thirds of putative class members are California citizens.” (Cmplt. p. 3, ⁋ 2.)
 3          17.    Defendant is a citizen of a state other than California. A corporation shall
 4 be deemed to be a citizen of every state by which it has been incorporated and of the
 5 state where it has its principal place of business. 28 U.S.C. § 1332(c)(1). A
 6 corporation’s principal place of business “refers to the place where the corporation’s
 7 high level officers direct, control, and coordinate the corporation’s activities.” Hertz
 8 Corp. v. Friend, 559 U.S. 77, 80 (2010).
 9          18.    Defendant is now, and was at the time this action was commenced,
10 incorporated in the State of Delaware. (Declaration of Dylan Moore, attached as
11 Exhibit D, at ⁋ 2.) Defendant’s principal place of business is now, and was at the time
12 this action was commenced, in the State of Colorado. (Id.) Therefore, Defendant is a
13 citizen of the States of Delaware and Colorado.
14          19.    Because Plaintiff and two-thirds of putative class members are citizens
15 of California, and Defendant is a citizen of Delaware and Colorado, and, thus, at least
16 one member of the putative class is a citizen of a state different from at least one
17 defendant, this putative class action satisfies CAFA’s minimal diversity requirements.
18 See 28 U.S.C. § 1332(d)(2)(A).
19                There Are More Than 100 Members in the Putative Class
20          20.    Plaintiff seeks to represent six classes, collectively referred to as the
21 “California Class.” (Cmplt. p. 10-11, ⁋ 35.) The California Class is comprised of six
22 subclasses: (1) “Minimum Wage Class,” (2) “Meal Period Class,” (3) “Rest Period
23 Class,” (4) “Pay Day Class,” (5) “Wage Statement Class,” and (6) “Waiting Time
24 Class.” (Id.)
25
      1
     This Notice of Removal is based on personnel information through October 13,
26 2022, and the same data supporting Defendant’s Notice of Removal of State Court
   Civil Action in Garcia v. Swift Beef Company, Case No. 5:22-cv-01825-PSG-E (C.D.
27 Cal.). (See Burket Dec. ⁋ 3.) Defendant easily meets CAFA’s amount in controversy
   requirement, even using conservative estimates through October 13, 2022, though the
28 actual size of the putative class and possible amount in controversy are significantly
   more as of the date of this filing.
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 1          21.   Within the Relevant Time Period, considering Plaintiff’s definitions of
 2 the proposed California class and subclasses, Defendant estimates there are at least
 3 1,123 putative class members, comprised of hourly, temporary, and other non-exempt
 4 employees, more than enough required for jurisdiction under CAFA. (See Burket Dec.
 5 ⁋ 4.) See also 28 U.S.C. § 1332(d)(5)(B) (requiring at least 100 proposed members
 6 for CAFA jurisdiction).
 7    The Amount in Controversy Exceeds $5,000,000, Excluding Interest and Costs
 8          22.   The amount in controversy in a putative class action is determined by
 9 aggregating the claims of all members of the putative class. See 28 U.S.C. §
10 1332(d)(6). Where, as here, a complaint does not allege an amount in controversy, a
11 notice of removal need only include “a plausible allegation that the amount in
12 controversy exceeds the jurisdictional threshold.” Dart, 574 U.S. at 89. In alleging
13 the amount in controversy, a defendant may rely on reasonable assumptions, follow
14 “a reasonable chain of logic,” and make reasonable calculations. LaCross v. Knight
15 Transp. Inc., 775 F.3d 1200, 1201 (9th Cir. 2015) (“[D]efendants relied on a
16 reasonable chain of logic . . . to establish that the amount in controversy exceeds $5
17 million.”).
18          23.   Although “the amount in controversy is determined as of ‘the time of
19 removal,’” the Ninth Circuit has clarified “the amount in controversy is not limited to
20 damages incurred prior to removal—for example, it is not limited to wages a plaintiff-
21 employee would have earned before removal (as opposed to after removal). Rather,
22 the amount in controversy is determined by the complaint operative at the time of
23 removal and encompasses all relief a court may grant on that complaint if the plaintiff
24 is victorious.” Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414 (9th Cir. 2018);
25 Fritsch v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785, 793 (9th Cir. 2018) (applying
26 Ninth Circuit’s holding in Chavez to putative class action involving removal under
27 CAFA).
28

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 1          24.   Defendant does not make any admission of liability or damages with
 2 respect to any aspect of this case and, in this Notice, takes no position as to the proper
 3 legal tests applicable to Plaintiff’s claims or asserted damages. However, given
 4 Plaintiff’s claims and allegations on behalf of the putative class, the amount in
 5 controversy in this case exceeds the sum of $5,000,000.
 6                   Plaintiff’s Claim for Failure to Pay Minimum Wage
 7          25.   Plaintiff seeks unpaid minimum wages for time that putative members
 8 of the class allegedly worked without compensation at the applicable minimum wage.
 9 (Cmplt. p. 14-15, ⁋⁋ 37-44.) Plaintiff alleges employees were not compensated for all
10 hours worked due to: (1) Defendant’s alleged policy and practice of requiring
11 employees “to line up to wait to undergo and undergo off-the-clock COVID-19
12 temperature checks”; and (2) Defendant’s alleged policy and practice of requiring
13 employees “to keep their employer-issued walkie-talkies on their person, monitored,
14 and to respond to calls received on them at all times during their shift, including while
15 off-the-clock during their meal breaks.” (Cmplt. p. 14-15, ⁋ 41.)
16                  Calculation Based on Temperature Check Allegations
17          26.   Plaintiff alleges that since the outbreak of COVID-19, Defendant has
18 “employed policies, practices, and/or procedures . . . requiring Plaintiff and the
19 Minimum Wage Class to line up to wait to undergo and undergo off-the-clock
20 COVID-19 temperature checks.” (Id. p. 5, ⁋ 15; p. 15, ⁋ 41.)
21          27.   Plaintiff does not allege any specific amount of uncompensated time
22 resulting from COVID-19 temperature checks. Solely for the purpose of determining
23 the amount in controversy, Defendant estimates that putative class members had an
24 average of thirty minutes per workweek, or approximately six minutes each shift, of
25 unpaid time for the alleged off-the-clock COVID-19 temperature checks during the
26 Relevant Time Period. See Bartholomew v. Goodman Mfg. Co., L.P., No. 2:22-CV-
27 00027-TLN-AC, 2022 WL 4355147, at *5 (E.D. Cal. Sept. 20, 2022) (the defendants’
28 assumption of thirty minutes of unpaid time per employee per workweek undergoing

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 1 COVID-19 health screens was reasonable based upon plaintiff’s allegation of a
 2 uniform policy and practice of uncompensated COVID-19 temperature checks).
 3 Defendant’s assumption of six minutes of unpaid time per shift per employee is
 4 reasonable due to Plaintiff’s policy and practice allegations.
 5        28.    Defendant estimates that 1,123 putative class members worked a total of
 6 at least 158,652 shifts since June 26, 2020. (Burket Dec. ⁋ 4.) With an average
 7 minimum wage of approximately $14.25/hour since June 26, 2020,2 there is an
 8 estimated amount in controversy of $226,079 based on failure to pay minimum wage
 9 for all hours worked due to the alleged unlawful practice of requiring unpaid COVID-
10 19 checks (six minutes of alleged unpaid time per shift × $14.25/hour avg. minimum
11 wage × 158,652 shifts).
12        Calculation Based on Allegations of Unpaid Work During Meal Periods
13        29.    Plaintiff additionally alleges minimum wage violations based on
14 Defendant’s alleged “policies, practices, and/or procedures” of “[r]equiring Plaintiff
15 and the Minimum Wage Class to keep their employer-issued walkie-talkies on their
16 person, monitored, and to respond to calls received on them at all times during their
17 shift, including while off-the-clock during their meal breaks.” (Cmplt. pp. 5-6, ⁋ 15;
18 pp. 14-15, ⁋ 41.)
19        30.    “It is well established that an employee’s on-call or standby time may
20 require compensation.” Mendiola v. CPS Sec. Sols., Inc., 60 Cal. 4th 833, 840, 340
21 P.3d 355, 359 (2015). “Unless the employee is relieved of all duty during a 30-minute
22 meal period, the meal period shall be considered an ‘on duty’ meal period and counted
23 as time worked.” Cal. Code Regs. tit. 8, § 11090(11)(C). Plaintiff alleges that these
24 uncompensated meal periods were compensable because Plaintiff and the Minimum
25
26
     2
27   As Defendant has more than 25 employees, the applicable minimum wage was
   $13/hour in 2020, $14/hour in 2021, $15/hour in 2022, and $15.50/hour in 2023. See
28 Cal. Lab. Code § 1182.12(b)(1)(D)-(F). The average minimum wage in effect since
   June 26, 2020, through filing this Notice of Removal, is approximately $14.25/hour.
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 1 Wage Class were required “to be engaged, suffered, or permitted to work” at all times
 2 during meal periods. (Cmplt. pp. 14-15, ⁋⁋ 39-42.)
 3        31. District Courts have found that a 100% violation rate can be assumed
 4 where appropriate based on the allegations in the Complaint for purposes of CAFA
 5 removal jurisdiction. For example, in Mejia v. DHL Express (USA), Inc., No. 15-cv-
 6 890-GHK-JCx, 2015 WL 2452755, at *4 (C.D. Cal. May 21, 2015), the plaintiff
 7 “allege[d] that Defendant ‘adopted and maintained uniform policies, practices and
 8 procedures’ that caused the purported violations of California’s rest period law.” The
 9 court explained that “[i]t is not unreasonable to assume that when a company has
10 unlawful policies and they are uniformly ‘adopted and maintained,’ then the company
11 may potentially violate the law in each and every situation where those policies are
12 applied.” Id. See also Altamirano v. Shaw Indus., Inc., No. C-13-0939 EMC, 2013
13 WL 2950600, *11 (N.D. Cal. June 14, 2013) (100% rate approved when “meal break
14 policy resulted in non-exempt employees not receiving meal periods”); Alvarez v.
15 Limited Express, LLC, No. 07CV1051 IEG (NLS), 2007 WL 2317125, at *3 (S.D.
16 Cal. Aug. 8, 2007) (100% rate approved when alleged rest period violations made it
17 “virtually impossible for defendant’s employees to take meal periods and rest
18 breaks”); Herrera v. Signature Flight Support LLC, No. 2:22-cv-03082-SSS (AGRx),
19 2022 WL 4225376, at *3 (C.D. Cal. Sept. 13, 2022) (finding the nature of Plaintiff’s
20 allegations that the defendant was in “constant violation of meal and rest period
21 without any qualifying language” when requiring class members to monitor and be
22 responsive to work communication devices supported a 100% violation rate); Sanchez
23 v. Russell Sigler, Inc., No. CV1501350, 2015 WL 12765359, at *5 (C.D. Cal. Apr.
24 28, 2015) (finding allegations that Defendant violated meal and rest periods “at all
25 material times” supported a 100% violation rate); Feltzs v. Cox Commc’ns Cal., LLC,
26 No. SACV192002, 2020 WL 133687, at *4 (C.D. Cal. Jan. 13, 2020) (finding
27 allegations of “consistently” violating meal periods supported a 100% rate); Deaver
28 v. BBVA Compass Consulting & Benefits, Inc., No. 13-CV-00222, 2014 WL 2199645,

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 1 at *7 (N.D. Cal. May 27, 2014) (finding allegations of “consistent and universal meal
 2 period violations” supported a 100% violation rate); Duberry v. J. Crew Grp., Inc.,
 3 No. 214CV08810, 2015 WL 4575018, at *6 (C.D. Cal. July 28, 2015) (finding
 4 allegations of “uniform policy,” “systematic scheme,” and violations occurring at “all
 5 material times” supported 100% violation rate for meal and rest break claims); Lucas
 6 v. Michael Kors (USA), Inc., No. CV 18-1608-MWF (MRWx), 2018 WL 2146403,
 7 at *4 (C.D. Cal. May 9, 2018); Lopez v. Aerotek, Inc., No. SACV 14-00803-CJC,
 8 2015 WL 2342558, at *2 (C.D. Cal. May 14, 2015) (approving use of a 100%
 9 violation rate based on an allegation that “Defendants employed their workers for
10 work periods of more than five hours without a meal period of not less than 30 minutes
11 and failed to compensate them for such meal periods”).
12         32. Here, based on the allegations in the Complaint, and assuming those
13 allegations are true, a 100% violation rate can reasonably be assumed (i.e., employees
14 were required to remain on-call during every meal break). Specifically, Plaintiff
15 alleges Defendant maintained “policies, practices, and/or procedures” that required
16 Plaintiff and class members to “keep their employer-issued walkie-talkies on their
17 person, monitored, and to respond to calls received on them at all times during their
18 shift.” (Cmplt. p. 15, ⁋ 41(b) (emphasis added); p. 6, ⁋ 15(b).) If Defendant maintained
19 policies, practices, and procedures requiring Plaintiff and members of the subclass to
20 remain on call at all times during shifts, as alleged, then it may be reasonably
21 assumed, for purposes of CAFA’s amount in controversy, 30 minutes of unpaid work
22 each meal break. See, e.g., Mejia, 2015 WL 2452755, at *4; Altamirano, 2013 WL
23 2950600, *11; Alvarez, 2007 WL 2317125, at *3.
24         33.   During the Relevant Time Period, regular employees worked 146,659
25 shifts longer than five hours, temporary employees worked 1,635 shifts longer than 8
26 hours,3 and other hourly, non-exempt employees worked 6,569 shifts longer than 5
27
     3
    Because Defendant is without data as to the number of shifts temporary employees
28 worked that were longer than five hours, for purposes of this Notice, it uses the
   number of shifts that were longer than 8 hours (a more conservative estimate).
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 1 hours. (Burket Dec. ⁋ 5-7.) Defendant thus estimates that since June 26, 2020, class
 2 members worked a total of at least 154,863 shifts that were longer than five hours
 3 (thus entitling them to at least one meal period). (Id.) Assuming employees were
 4 required to keep and monitor their walkie-talkies at all times during their shifts and
 5 were not relieved of all duties during each 30-minute meal period, as Plaintiff alleges,
 6 and utilizing an average minimum wage of $14.25/hour, Defendant estimates an
 7 amount in controversy of $1,103,398 in unpaid minimum wages for uncompensated
 8 meal periods (154,863 shifts × $14.25/hour × 30 minutes).
 9                    Minimum Wage Liquidated Damages Calculation
10        34.    Plaintiff also seeks liquidated damages pursuant to Labor Code § 1194.2
11 in an amount equal to unpaid minimum wages. (Cmplt. p. 15, ⁋ 44; p. 25, ⁋ 4.) See
12 Michael Kors, 2018 WL 2146403, at *6 (factoring liquidated damages into the unpaid
13 minimum wage claim for purposes of calculating the amount in controversy).
14 Plaintiff’s class claim for minimum wages due to unpaid COVID-19 temperature
15 checks puts at least $226,079 in controversy, and his class claim for minimum wages
16 due to unpaid hours worked during meal periods puts at least $1,103,398 in
17 controversy. As such, a total amount of $1,329,477 is in controversy in liquidated
18 damages for the minimum wage violation claims.
19        35.    The total amount in controversy for the minimum wage claim, including
20 unpaid minimum wages and liquidated damages, is at least $2,658,954. Notably, this
21 estimate is Defendant’s estimate of the amount in controversy only through October
22 13, 2022, and the amount in controversy is expected to significantly increase through
23 trial. See Paragraph 23, supra.
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 1                                                           Amount in controversy
 2      Unpaid minimum wages due to COVID-19 checks $226,079
 3      Unpaid minimum wages due to uncompensated            $1,103,398
 4      meal breaks
        Liquidated damages                                   $1,329,477
 5
                                                     Total: $2,658,954
 6
 7                         Plaintiff’s Meal Break Premium Claim
 8        36.    California law provides that if an employer fails to provide an employee
 9 an uninterrupted meal period in which the employee is relieved of all duty, the
10 employee may recover an additional one hour of pay at the employee’s regular rate of
11 pay for each workday in which a meal break violation occurs. See Cal. Labor Code §
12 226.7. (See also Cmplt. pp. 15-16, ⁋ 47.) Premium pay is in addition to compensation
13 owed for work performed. See Brinker Rest. Corp. v. Superior Ct., 53 Cal. 4th 1004,
14 1040, 273 P.3d 513, 536 (2012) (“The employer that refuses to relinquish control over
15 employees during an owed meal period violates the duty to provide the meal period
16 and owes compensation [and premium pay] for hours worked.” (alteration in
17 original)).
18        37.    Under California law, “employees must not only be relieved of work
19 duties [during breaks], but also be freed from employer control over how they spend
20 their time.” Augustus v. ABM Sec. Servs., Inc., 2 Cal. 5th 257, 270, 385 P.3d 823, 832
21 (2016), as modified on denial of reh’g (Mar. 15, 2017); see also Brinker, 273 P.3d at
22 535 (stating that the “fundamental employer obligations associated with a meal break”
23 are “to relieve the employee of all duty and relinquish any employer control over the
24 employee and how he or she spends the time”). “[I]f employees are effectively ‘on
25 call’ during meal or rest periods because conditions require them to be ready and
26 capable of being summoned to action, then the breaks provided are not control-free
27 and, consequently, not legally compliant.” Perez v. Leprino Foods Co., No. 1:17-cv-
28 00686-AWI-BAM, 2021 WL 53068, at *10 (E.D. Cal. Jan. 6, 2021).

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 1            38.   As noted above, based on the allegations in the Complaint of
 2 Defendant’s policy, practice, and procedure of requiring Plaintiff and putative class
 3 members to always keep and monitor their walk-walkies, Defendant reasonably
 4 estimates a 100% meal-period violation rate. See Paragraphs 31-32, supra. Defendant,
 5 therefore, estimates that Plaintiff’s meal break class claim has placed at least
 6 $2,915,500 in controversy, as explained below, based upon alleged unpaid premium
 7 pay due under Labor Code § 226.7.
 8            39.   Defendant estimates 840 regular hourly employees worked at least
 9 146,659 shifts that were more than 5 hours during the Relevant Time Period. (Burket
10 Dec. ⁋ 5.) With an average hourly rate of $18.69 (see id.), the total amount in
11 controversy for regular hourly employees in the putative class is at least $2,741,056
12 (146,659 shifts × $18.69/hour).
13            40.   The same computation for temporary employees and other non-exempt
14 employees in the putative class results in at least $28,481 and $145,963, respectively,
15 in controversy.4 (See Burket Dec. ⁋⁋ 6-7.) Combined, the total amount in controversy
16 for Plaintiff’s meal-period liability class claim is at least $2,915,500 during the
17 Relevant Time Period. The amount in controversy is expected to increase through trial
18 because the foregoing estimates are only through October 13, 2022. See Paragraph
19 23, supra.
20        Employee type         Number of         Average hourly       Amount in
21                              Shifts            wage                 controversy
22        Regular, hourly       146,659           $18.69/hour          $2,741,056
          Temporary             1,635             $17.42/hour          $28,481
23
          Other hourly-paid,    6,569             $22.22/hour          $145,963
24        non-exempt
25                                                              Total: $2,915,500
26
27
28
     4
         See note 3, supra.
                                             15                                   DN 7362823.1
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 1                           Plaintiff’s Rest Break Premium Claim
 2         41.     As with meal breaks, California law provides that if an employer fails to
 3 provide an employee with a required rest period, the employee may recover an
 4 additional one hour of pay at the employee’s regular rate of pay for each workday in
 5 which a rest break violation occurs.5 See Cal. Labor Code § 226.7. (See also Cmplt.
 6 p. 17, ⁋ 55.)
 7         42.     Plaintiff alleges “Defendant employed policies, practices, and/or
 8 procedures” that resulted in Plaintiff and putative Rest Period Class members from
 9 being provided with all legally required and compliant rest periods and failure to pay
10 one hour of pay at the employee’s regular rate of pay in lieu thereof. (See Cmplt. pp.
11 8-9, ⁋⁋ 25, 27; pp. 17-18, ⁋⁋ 56-57.) Specifically, Plaintiff alleges he and the putative
12 Rest Period Class were required to “keep their employer-issued walkie-talkies on their
13 person, monitored, and to respond to calls received on them at all times during their
14 shift including during breaks.” (See Cmplt. p. 18, ⁋ 56(a).)
15         43.     Here, given the remaining allegations in the Complaint, and assuming
16 those allegations are true, an assumed violation rate of 100% is plausible and
17 warranted for CAFA removal purposes because putative class members were required
18 to keep and monitor their walkie-talkies at all times pursuant to Defendant’s policies,
19 practices, and procedures. See Paragraphs 31-32, supra.
20         44.     Defendant estimates that the total amount in controversy for regular
21 hourly employees in the putative class is at least $2,986,123 for rest break violations.
22 Specifically, Defendant estimates that 840 hourly employees worked at least 149,634
23 shifts longer than 3.5 hours, thus entitling employees to at least one rest break, during
24 the Relevant Time Period. (Burket Dec. ⁋ 5.) With an average hourly rate of $18.69
25
26
     5
    Employees may recover two hours of premium pay in “a single work day for meal
27 period and rest break violations: one if any meal period violations occur in a work day
   and one if any rest break violations occur in a work day.” Marlo v. United Parcel
28 Serv., Inc., No. CV 03-04336 DDP RZX, 2009 WL 1258491, at *7 (C.D. Cal. May 5,
   2009).
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 1 (see id.), the total amount in controversy for hourly employees in the putative Rest
 2 Period Class is at least $2,796,659 (149,634 shifts × $18.69/hour average wage).
 3         45.   The same computation for temporary employees and other non-exempt
 4 employees in the class results in at least $39,613 and $149,851, respectively, in
 5 controversy, as shown in the table below. (See Burket Dec. ⁋⁋ 6-7.)
 6         46.   Defendant, therefore, estimates that Plaintiff’s rest-break liability class
 7 claim has placed at least $2,986,123 in controversy, but this estimate will increase
 8 through trial. See Paragraph 23, supra.
 9      Employee type        Number of       Average hourly       Amount in
                             Shifts          wage                 controversy
10
        Regular, hourly      149,634         $18.69/hour          $2,796,659
11
        Temporary            2,274           $17.42/hour          $39,613
12
        Other hourly-paid, 6,744             $22.22/hour          $149,851
13      non-exempt
14                                                         Total: $2,986,123
15     Plaintiff’s Claim for Failure to Timely Pay Earned Wages During Employment
16         47.   Plaintiff alleges “[a]s a derivative of Plaintiff’s claims above . . .
17 Defendants failed to timely pay Plaintiff’s and the Pay Day Class’ earned wages
18 (including minimum wages, meal period premium wages, and/or rest period premium
19 wages), in violation of Labor Code section 204.” (Cmplt. p. 19, ⁋ 63.) Plaintiff further
20 alleges “Defendants’ failure to timely pay Plaintiff and the Pay Day Class their earned
21 wages in accordance with Labor Code section 204 was willful.” (Id. ⁋ 65.) Plaintiff
22 alleges he and the putative Pay Day Class are entitled to recover civil penalties under
23 Cal. Labor Code § 210 for failure to timely pay earned wages during employment.
24 (Id. ⁋ 67.)
25         48.   Under Labor Code § 210, every person who fails to pay the wages of
26 each employee as provided in Section 204 shall be subject to a penalty of $200 for
27 each willful or intentional violation, plus 25 percent of the amount unlawfully
28 withheld, for each failure to pay each employee. Cal. Lab. Code § 210(a). These

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 1 penalties are in addition to the recovery of underpaid wages and liquidated damages.
 2 The applicable statute of limitations for a § 204 violation is one year. See Cal. Code
 3 Civ. Proc. § 340(a). Statutory penalties under Labor Code § 210 are properly
 4 considered for CAFA removal purposes. See, e.g., McCollum v. TGI Friday’s, Inc.,
 5 No. SACV2200392FWSJDE, 2022 WL 2663870, at *8 (C.D. Cal. July 11, 2022);
 6 Cruz v. Mohawk Indus., Inc., No. 120CV01510JLTEPG, 2022 WL 93338, at *5 (E.D.
 7 Cal. Jan. 10, 2022); Evers v. La-Z-Boy Inc., No. 21CV2100-LL-BLM, 2022 WL
 8 2966301, at *8 (S.D. Cal. July 27, 2022).
 9         49.    Among Plaintiff’s claims, as explained above, Plaintiff alleges that
10 putative class members were not properly paid all wages due for every shift.
11 Specifically, Plaintiff claims Defendant failed to compensate Plaintiff and the putative
12 Pay Day Class members for on duty meal periods and for required COVID-19
13 temperature checks and failed to pay meal and rest break premium pay. (See generally
14 Cmplt. pp. 14-18.) As such, it is reasonable to assume that Plaintiff alleges that
15 Defendant willfully failed to timely pay Plaintiff’s and the Pay Day Class’s earned
16 wages for every pay period. Rapisura v. BMW of N. Am., LLC, No. 2:22-CV-00455
17 WBS AC, 2022 WL 1557001, at *4 (E.D. Cal. May 17, 2022) (“Defendant reasonably
18 assumes that plaintiff and putative class members were not timely paid wages for
19 every pay period.”).
20         50.    There are an estimated 575 total putative Pay Day Class members,
21 including 542 hourly employees and 33 other hourly, non-exempt employees going
22 back to January 9, 2022 (one year before Plaintiff filed the Complaint).6 (Burket Dec.
23 ⁋⁋ 5-7.) Regular hourly employees are paid on a weekly basis, and these employees
24 worked an estimated 16,379 workweeks since January 9, 2022. (Id. ⁋ 5.) Other hourly,
25
     6
     Defendant has extrapolated these estimates using a representative sample of 13
26 months of personnel data from September 13, 2021, through October 13, 2022. See
   Hudson v. Sterling Jewelers Inc., No. CV 17-9301 DSF (JEMX), 2018 WL 1662500,
27 at *1 (C.D. Cal. Apr. 4, 2018) (citing LaCross, 775 F.3d at 1202-03) (“A defendant
   may establish the amount in controversy by relying on admissible statistical evidence
28 taken from a representative sample and extrapolated to calculate the potential liability
   for the full class.”).
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 1 non-exempt employees have worked an estimated 857 workweeks since January 9,
 2 2022; these employees were paid on a bi-weekly basis. (Id. ⁋ 3.) Thus, Defendant
 3 assumes there have been 16,807 total pay periods among putative class members since
 4 January 9, 2022, including 16,379 pay periods for regular employees and 428 pay
 5 periods for other hourly, non-exempt employees.
 6         51.    Accordingly, Plaintiff’s Complaint places at least $3,361,400 in
 7 controversy stemming from the civil penalties under Labor Code § 210 ($200 penalty
 8 for willful violations × 16,807 pay periods). Notably, Defendant’s estimate does not
 9 include the 25% of allegedly withheld wages that Plaintiff and the putative class
10 members can claim, and thus Defendant’s estimate is lower than what would be
11 justified.
12    Plaintiff’s Claim for Failure to Provide Complete and Accurate Wage Statements
13         52.    Plaintiff alleges that he and putative class members were not provided
14 with complete and accurate wage statements. (Cmplt. p. 20-22, ⁋⁋ 68-77.) He alleges
15 “[a]s a derivative of Plaintiff’s claims above . . . Defendants failed to provide accurate
16 wage and hour statements to [Plaintiff] and the Wage Statement Class who were
17 subject to Defendants’ control for uncompensated time and who did not receive all
18 their earned wages (including minimum wages, meal period premium wages, and/or
19 rest period premium wages), in violation of Labor Code section 226.” (Id. p. 20, ⁋
20 71.) Plaintiff alleges the failure to provide accurate wage statements was “knowing
21 and intentional.” (Id. pp. 20-21, ⁋ 73.)
22         53.    Under Labor Code Under § 226(e), “[a]n employee suffering injury as a
23 result of a knowing and intentional failure by an employer to comply with subdivision
24 (a) [requiring issuance of accurate wage statements] is entitled to recover the greater
25 of all actual damages or fifty dollars ($50) for the initial pay period in which a
26 violation occurs and one hundred dollars ($100) per employee for each violation in a
27 subsequent pay period, not to exceed an aggregate penalty of four thousand dollars
28

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 1 ($4,000).” The applicable statute of limitations for a violation of Labor Code § 226 is
 2 one year. See Cal. Code Civ. Proc. § 340(a).
 3         54.   Among Plaintiff’s claims, as explained above, Plaintiff alleges that
 4 putative class members worked unpaid time and were not paid meal and rest break
 5 premium pay every shift. (See generally Cmplt. pp. 14-18.) Consequently, and
 6 because his claim is “derivative” of his claims above, it is reasonable to assume that
 7 Plaintiff alleges that each wage statement issued to putative class members was
 8 inaccurate. Altamirano, 2013 WL 2950600, at *10 (holding “the assumption that there
 9 was at least one violation per employee per pay period is a reasonable one.”); see also
10 Michael Kors, 2018 WL 2146403, at *4.
11         55.   Defendant estimates 575 employees have worked a total of 16,807 total
12 pay periods within the one-year applicable statute of limitations period. See Paragraph
13 50, supra. As such, Defendant estimates there have been 575 initial violations and
14 16,232 subsequent violations. The total estimated amount in controversy for
15 Plaintiff’s wage statement class claim is, therefore, at least $1,651,950 (575 initial
16 pay period violations × $50 + 16,232 subsequent pay period violations × $100).
17                              Plaintiff’s Waiting Time Claim
18         56.   Plaintiff asserts a waiting time claim on behalf of the putative class,
19 alleging that members of the putative class were not paid all wages earned upon
20 separation of employment in violation of Labor Code § 203. (Cmplt. pp. 22-23, ⁋⁋
21 78-87.) Plaintiff alleges these violations were willful and intentional. (Id. ⁋ 82.)
22         57.   Waiting time penalties under Cal. Lab. Code § 203(a) are calculated at
23 an employee’s final daily rate of pay (i.e., the employee’s final wage rate multiplied
24 by the employee’s average shift length) multiplied by the number of days of waiting
25 time penalties, up to a maximum of 30 days. See Mamika v. Barca, 68 Cal. App. 4th
26 487, 491-93 (Cal. App. 1998).
27         58.   Plaintiff’s waiting time penalties claim is derivative of Plaintiff’s other
28 Labor Code claims. Because, as noted above, Plaintiff alleges that each putative class

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 1 member was underpaid each shift, Plaintiff necessarily alleges that none of the
 2 putative Waiting Time Class members was paid all wages owed upon separation of
 3 employment. Each putative class member that was separated from employment,
 4 therefore, would be entitled to waiting time penalties equal to 30 days’ of wages.
 5 (Cmplt. pp. 22-23, ⁋⁋ 82-84.) See Cal. Labor Code § 203(a); Giannini v. Northwestern
 6 Mut. Life Ins. Co., 2012 WL 1535195, *4 (N.D. Cal. April 20, 2012) (“Defendants
 7 can properly assume that all members of the former employee subclass were entitled
 8 to the maximum waiting time penalties under Labor Code section 203.”). See also
 9 Gonzalez v. Comenity Capital Bank, 1:19-CV-00342-AWI-EPG, 2019 WL 5304924,
10 at *5 (E.D. Cal. Oct. 21, 2019).
11        59.    Defendant estimates that at least 386 regular hourly employees in the
12 putative class separated employment during the Relevant Time Period. (Burket Dec.
13 ⁋ 5.) These employees earned an average wage of $18.69 per hour and worked an
14 average shift length of 7.9 hours. (Id.) As such, the estimated amount in controversy
15 for these hourly employees is $1,709,799 (386 employees × $18.69/hour × 7.9 hours
16 × 30 days).
17        60.    Defendant estimates that at least 237 temporary employees and 16 other
18 hourly, non-exempt employees in the putative class separated employment during the
19 Relevant Time Period. (Burket Dec. ⁋⁋ 6-7.) Temporary employees earned an average
20 wage of $17.42 per hour and worked an average shift length of 9.0 hours, and other
21 hourly, non-exempt employees earned an average wage of $22.22 per hour and
22 worked an average shift length of 8.2 hours, and they both received time-and-a-half
23 for shifts exceeding 8 hours in a day.7 (Id.) The estimated amount in controversy for
24
25
     7
26   California law requires that employers pay overtime at the rate of one and one-half
   times the employee’s regular rate of pay for all hours worked in excess of eight hours
27 in any workday. Cal. Labor Code § 510(a). As such, on average, temporary employees
   were entitled to one hour of overtime per shift and other hourly, non-exempt
28 employees were entitled to 0.2 hours of overtime per shift.

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 1 temporary employees is, therefore, $1,176,633,8 and the estimated amount in
 2 controversy for the other hourly, non-exempt employees is $88,524.9
 3         61.    In total, the estimated amount in controversy for Plaintiff’s waiting time
 4 penalty claims is at least $2,974,956. This estimate is only the amount in controversy
 5 through October 13, 2022, and the amount in controversy is expected to increase
 6 through trial. See Paragraph 23, supra.
 7                           Number of     Average        Average        Amount in
                             separated     hourly         shift length   controversy
 8
                             employees     wage           (hours)
 9
         Regular, hourly     386           $18.69/hour 7.9               $1,709,799
10       employees
11       Temporary           237           $17.42/hour 9                 $1,176,633
         employees
12
         Other hourly-       16            $22.22/hour 8.2               $88,524
13
         paid, non-exempt
14
                                                                 Total: $2,974,956
15
                                   Plaintiff’s Attorneys’ Fees
16
           62.    Plaintiff asserts that he and the putative class members are entitled to
17
     recover attorneys’ fees. (Cmplt. p. 1, ⁋ 1; p. 15 ⁋ 44; p. 22, ⁋ 77.) “[W]here an
18
     underlying statute authorizes an award of attorneys’ fees, either with mandatory or
19
     discretionary language, such fees may be included in the amount in controversy.” Galt
20
     G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998). The amount in
21
     controversy may include attorneys’ fees incurred through resolution of the case, not
22
     just fees incurred at the time of removal. Fritsch, 899 F.3d 785 at 794.
23
           63. Courts in this Circuit have established 25% of the common fund as a
24
     benchmark award for attorneys’ fees. See, e.g., Hanlon v. Chrysler Corp., 150 F.3d
25
26
   8
27 30237 employees × ($17.42/hour × 8 hours + $26.13/hr overtime rate × 1.00 hour) ×
      days.
28 9 16 employees × ($22.22/hour × 8 hours + $33.33/hr overtime rate × 0.2 hours) × 30
   days.
                                          22                                 DN 7362823.1
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 1 1011, 1029 (9th Cir. 1998). In fact, in similar wage and hour class action cases,
 2 Plaintiff’s counsel has sought attorneys’ fees equal to 25% of the amounts recovered.
 3 See, e.g., Motion for Final Approval of Requested Attorneys’ Fees and Costs,
 4 Altamirano v. Shaw Industries, Inc., Case No. C13-00939-HSG (N.D. Cal. Oct. 13,
 5 2015) (ECF No. 89-1), attached as Exhibit E, at 8-10 (requesting attorneys’ fee award
 6 equal to 25% gross settlement amount). Courts, however, commonly award more than
 7 25% of the common fund. See, e.g., In Re Activision Secs. Litig., 723 F. Supp. 1373,
 8 1378 (N.D. Cal. 1989) (awarding attorneys’ fees equal to 30% of common fund and
 9 compiling cases where fee awards ranged between 25% and more than 40%).
10         64. It is plausible to assume that Plaintiff will seek an attorneys’ fee award
11 that is at least 25% of the amount recovered by Plaintiff and the putative class
12 members. In other words, Plaintiff’s demand for attorneys’ fees places at least another
13 $4,137,220 in controversy (i.e., 25% of the amounts in controversy identified above).
14                  The Total Amount in Controversy Exceeds $5,000,000
15         65.    Without admitting that Defendant engaged in any improper conduct, that
16 Plaintiff’s claims have any merit, that this action is maintainable as a class action
17 under Rule 23 of the Federal Rules of Civil Procedure, or that Plaintiff or any member
18 of the class or subclasses he purports to represent is entitled to recover any relief from
19 Defendant, as requested in the Complaint or otherwise, for all the reasons set forth
20 above, the estimated total amount in controversy is at least $20,686,103:
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22
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 1                      Claim                          Amount in Controversy
 2      Minimum Wage Claim                                   $2,658,954
 3      Meal Break Premium Pay Claim                         $2,915,500
 4      Rest Break Premium Pay Claim                         $2,986,123
 5      Failure to Timely Pay Earned Wages                   $3,361,400
 6      During Employment Claim

 7      Wage Statement Claim                                 $1,651,950

 8      Waiting Time Claim                                   $2,974,956

 9      Attorneys’ Fees (25% of above)                       $4,137,220

10                                                       Total: $20,686,103

11        66.    The damages and penalties set forth above estimate the putative class
12 members’ potential recovery only from June 26, 2020, up to the date of the filing this
13 Notice, not through trial. And notably, many of the estimates—including the
14 minimum wage claim, meal and rest break premium pay claims, and waiting time
15 claims—are only estimates through October 13, 2022. It is reasonable to assume that
16 a trial in this case could not be completed in less than two years from now and, thus,
17 it is reasonable to assume that the potential damages and penalties in controversy will
18 roughly double between now and the conclusion of trial, further increasing the amount
19 in controversy. Chavez, 888 F.3d at 414–15 (explaining that “the amount in
20 controversy is not limited to damages incurred prior to removal—for example, it is
21 not limited to wages a plaintiff-employee would have earned before removal (as
22 opposed to after removal)”); Fritsch, 899 F.3d at 793 (applying Ninth Circuit’s
23 holding in Chavez to case involving removal under CAFA).
24        67.    Because the amount in controversy requirement for CAFA jurisdiction
25 has been met, along with all other requirements for CAFA jurisdiction, this action is
26 properly removable to this Court.
27
28

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 1                   TRADITIONAL DIVERSITY JURISDICTION
 2         68.   This Court also has traditional diversity jurisdiction over this matter
 3 pursuant to 28 U.S.C. § 1332(a)(1). Plaintiff’s individual claims constitute a civil
 4 action between citizens of different States (i.e., complete diversity exists) and the
 5 amount in controversy relating to Plaintiff’s claims exceeds the sum or value of
 6 $75,000. See Exxon Mobil Corp. v. Allapattah Services, Inc., 545 U.S. 546 (2005)
 7 (holding that court has jurisdiction over class action where it has original jurisdiction
 8 over at least one class member’s claim; it may exercise supplemental jurisdiction over
 9 all other class members’ claims that are part of the same case or controversy,
10 notwithstanding whether such claims satisfy the amount in controversy requirement,
11 and whether CAFA jurisdiction also exists is irrelevant). Here, in addition to having
12 jurisdiction under CAFA, this Court has diversity jurisdiction.
13                               Complete Diversity Exists
14         69.   As noted above, Plaintiff is (and at the time the State Court Action was
15 filed) a citizen of California, and Defendant is (and at the time the State Court Action
16 was filed) a citizen of Delaware and Colorado. (See Paragraphs 16-18, supra.)
17         70.   Although the Complaint names “Does 1 to 100” as defendants, the
18 citizenship of defendants sued under fictitious names is disregarded for the purposes
19 of determining diversity jurisdiction. See 28 U.S.C. § 1441(b).
20         71.   Because Plaintiff is a citizen of California and Defendant is a citizen of
21 Delaware and Colorado, complete diversity existed and continues to exist between
22 Plaintiff and Defendant, both at the time the State Court Action was filed and at the
23 time of removal to this Court.
24                     The Amount in Controversy Exceeds $75,000
25         72.   Without making an admission of liability or damages with respect to any
26 aspect of this case, Defendant has a good faith belief that—if this case were to proceed
27 as a single plaintiff case, either because no class certification motion is filed or
28

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 1 because class certification is denied—the amount placed in controversy by Plaintiff’s
 2 individual claims exceeds the jurisdictional minimum of $75,000.
 3        73.    Since the commencement of Plaintiff’s employment on August 31, 2020,
 4 through February 1, 2023, Plaintiff worked at least 600 shifts lasting more than 3.5
 5 hours, with 595 shifts lasting more than 5 hours. (Burket Dec. ⁋ 2.) Plaintiff’s average
 6 wage rate throughout his employment is approximately $32.70 per hour, and Plaintiff
 7 has been paid on a weekly basis. (Id.) The average minimum wage in effect was
 8 approximately $14.25 per hour. See note 2, supra.
 9        74.    Using the same calculations and reasonable assumptions set forth above
10 with respect to this Court’s jurisdiction under CAFA, Defendant estimates that
11 Plaintiff’s individual claims place at least the following amounts in controversy:
12        a.     Minimum Wage Claim – $10,188;
13                      i. Unpaid    minimum       wage   for   undergoing     COVID-19
14                         temperature checks – $855 (6 minutes of assumed unpaid time
15                         per shift × $14.25 avg. minimum wage × 600 shifts);
16                     ii. Unpaid minimum wage for working through meal breaks -
17                         $4,239 (30 minutes × $14.25/hour × 595 shifts);
18                    iii. Liquidated damages – $5,094;
19        b.     Meal Break Premium Pay Claim – $19,456 (595 shifts longer than 5
20               hours × $32.70 premium pay);
21        c.     Rest Break Premium Pay Claim – $19,620 (600 shifts longer than 3.5
22               hours × $32.70 premium pay);
23        d.     Failure to Timely Pay Earned Wages During Employment – $10,400 (52
24               pay periods since filing the Complaint × $200 penalty);
25        e.     Wage Statement Claim – $4,000 (the statutory limit is applied because
26               Plaintiff received fifty-two wage statements in the past year);
27
28

                                              26                                   DN 7362823.1
                   NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
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 1         f.     Waiting Time10 – $8,591 ($36.25/hour × 7.9 hours11 × 30 days).
 2         75.    Thus, Plaintiff’s total claims for compensatory damages and penalties
 3 under the Labor Code place at least $72,255 in controversy through the date of this
 4 removal. However, the amount in controversy is expected to increase significantly
 5 through trial. Chavez, 888 F.3d at 414–15 (explaining that “the amount in controversy
 6 is not limited to damages incurred prior to removal”).
 7         76.    Plaintiff would only need to incur $2,745 in attorneys’ fees litigating his
 8 individual claims through the end of trial for the jurisdictional threshold of $75,000
 9 to be met. See, e.g., Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-
10 11 (N.D. Cal. 2002) (“[A] reasonable estimate of fees likely to be incurred to
11 resolution is part of the benefit permissibly sought by the plaintiff and thus contributes
12 to the amount in controversy.”).
13         77.    Defendant is informed and believes that the rates of Plaintiff’s counsel
14 were $650 per hour for Attorney Lavi and $450 per hour for Attorney Granberry in
15 2015. (See Ex. E, p. 10-11.) Given that these were the rates more than seven years
16 ago, Defendant anticipates that Attorney Lavi’s and Attorney Granberry’s hourly
17 rates are higher today. Defendant is without knowledge regarding Attorney Montero’s
18 hourly rate.
19         78.    However, even assuming an average rate of $450 per hour for Plaintiff’s
20 counsel, which is lower than Attorney Lavi’s hourly rate seven years ago, Plaintiff’s
21 counsel need only spend approximately six hours of time attributable to Plaintiff’s
22 individual claims, through trial, for the jurisdictional threshold to be met. For
23 example, if Plaintiff’s motion for class certification (which Defendant will oppose) is
24 denied, Plaintiff’s counsel will undoubtedly spend significantly more than 6 hours
25
26   10
      Plaintiff’s Complaint provides that “Defendants failed to pay Plaintiff . . . with all
27 entitledearned
   wages           and unpaid prior to separation of employment,” and that Plaintiff is
            to damages for such violations. (Cmplt. pp. 22-23, ⁋⁋ 81-86.)
28 11 Defendant uses the average shift length for regular hourly employees. (See Burket
   Dec. ⁋ 5.)
                                             27                                   DN 7362823.1
                    NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
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 1 litigating Plaintiff’s claims through trial after denial of class certification. With
 2 attorneys’ fees likely to be incurred by Plaintiff through trial, the amount in
 3 controversy for Plaintiff’s individual claims easily exceeds $75,000.
 4        79.    Accordingly, for the reasons stated above, this Court has diversity
 5 jurisdiction over this action pursuant to 28 U.S.C. § 1332, so this action is removable
 6 pursuant to 28 U.S.C. § 1441(b).
 7        80.    By filing this Notice of Removal, Defendant does not waive and
 8 expressly reserves all rights, objections, and defenses in this case, including defenses
 9 based on lack of personal jurisdiction.
10
                                        COZEN O’CONNOR
11 Dated: February 10, 2023
12                                      By:
13                                            Ethan Chernin
                                              Attorney for Defendant
14                                            SWIFT BEEF COMPANY
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              28                                  DN 7362823.1
                   NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
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                        Exhibit
                        Exhibit A
                                A




                                                                           29
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                         Electronically FILED by Superior Court of California, County of Riverside on 0110912023 05:05 PM
           Case Number CVRI2300103 0000045069246 - Marita C. Ford, Interim Executive Officer/Clerk of the Court By Viviana Gonzalez, Clerk

1     Joseph Lavi,
      Joseph Lavi, Esq.
                    Esq. (SBN
                         (SBN 209776)
                                209776)
      Vincent C.
      Vincent  C. Granberry,
                  Granberry, Esq.
                              Esq. (SBN
                                   (SBN 276483)
                                         276483)
2                 Montero, Esq.
      Danielle E. Montero,   Esq. (SBN
                                  (SBN 333945)
                                        333945)
      LAVI &
      LAVI   & EBRAHIMIAN,
                EBRAHIMIAN, LLP    LLP
3
3     8889 W.
      8889 W. Olympic
               Olympic Boulevard,
                          Boulevard, Suite
                                     Suite 200
                                           200
      Beverly Hills,
      Beverly  Hills, California
                      California 90211
                                 90211
4     Telephone: (310)
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5
5     Email: jlavi@lelawfirm.com
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6
6            dmontero@lelawfirm.com
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             WH'T2@lelawfirm.com
7
7
      Attorneys for
      Attorneys for Plaintiff
                    Plaintiff FRANCISCO
                              FRANCISCO J.   J. MEZA,
                                                MEZA,
8
8     on behalf
      on behalf of himself
                   himself and
                           and others
                                others similarly
                                       similarly situated
                                                 situated

9
9
                             SUPERIOR COURT
                             SUPERIOR COURT OF
                                            OF THE
                                               THE STATE
                                                   STATE OF
                                                         OF CALIFORNIA
                                                            CALIFORNIA
10
10
                                            FOR THE COUNTY OF RIVERSIDE
11
11
                                                                               Case No.:
                                                                               Case No.: CA.F F 123001                                   03
12
12    FRANCISCO J.
      FRANCISCO     J. MEZA,
                       MEZA, on on behalf
                                   behalf of
                                          of himself
                                             himself
      and others
      and others similarly
                 similarly situated,
                           situated,                                           CLASS ACTION
                                                                               CLASS ACTION
13
                        Plaintiff,
                        Plaintiff,                                             PLAINTIFF FRANCISCO
                                                                               PLAINTIFF FRANCISCO J.
                                                                                                   J. MEZA'S
                                                                                                      MEZA’S
14                                                                             COMPLAINT FOR DAMAGES AND
             vs.
             vs.                                                               RESTITUTION FOR:
                                                                               RESTITUTION FOR
15
15
                 COMPANY; and
      SWIFT BEEF COMPANY; and DOES
                              DOES 1
                                   1 to
                                     to 100,
                                        100,                                       1. FAILURE TO PAY WAGES FOR
                                                                                   1.
16
16    inclusive,
      inclusive,                                                                      ALL HOURS
                                                                                          HOURS WORKED AT
                                                                                      MINIMUM WAGE
                                                                                      MINIMUM  WAGE ININ
17                      Defendants.
                        Defendants.                                                   VIOLATION OF LABOR CODE
                                                                                      VIOLATION
                                                                                      SECTIONS 1194
                                                                                      SECTIONS 1194 AND
                                                                                                    AND 1197
                                                                                                         1197
18
18
                                                                                    2. FAILURE TO AUTHORIZE OR
19
19                                                                                                   PERIODS IN
                                                                                       PERMIT MEAL PERIODS    IN
                                                                                       VIOLATION OF
                                                                                       VIOLATION  OF LABOR
                                                                                                     LABOR CODE
                                                                                                             CODE
20
20                                                                                     SECTIONS 512
                                                                                       SECTIONS 512 AND 226.7
                                                                                                    AND 226.7

21
21                                                                                  3. FAILURE
                                                                                    3. FAILURE TO
                                                                                               TO AUTHORIZE
                                                                                                   AUTHORIZE OROR
                                                                                       PERMIT REST PERIODS   IN
                                                                                                     PERIODS IN
22                                                                                     VIOLATION OF LABOR CODE
                                                                                       VIOLATION
                                                                                       SECTION 226.7
                                                                                       SECTION 226.7
23
23
                                                                                    4. FAILURE
                                                                                    4. FAILURE TO
                                                                                               TO TIMELY
                                                                                                  TIMELY PAY
                                                                                                          PAY
24
24                                                                                     EARNED WAGES
                                                                                       EARNED WAGES DURING
                                                                                                      DURING
                                                                                       EMPLOYMENT IN
                                                                                       EMPLOYMENT   IN VIOLATION
                                                                                                       VIOLATION
25
25                                                                                     OF LABOR
                                                                                       OF LABOR CODE
                                                                                                CODE SECTION
                                                                                                      SECTION 204
                                                                                                              204

26
26                                                                                  5. FAILURE
                                                                                    5. FAILURE TO
                                                                                               TO PROVIDE
                                                                                                   PROVIDE
                                                                                                 AND ACCURATE
                                                                                       COMPLETE AND
27
27                                                                                     WAGE STATEMENTS
                                                                                       WAGE  STATEMENTS IN
                                                                                                         IN
                                                                                       VIOLATION OF LABOR CODE
                                                                                       VIOLATION
28
28                                                                                     SECTION 226
                                                                                       SECTION 226
                                                                                                                                              30
                                                                 COMPLAINT
                                                                 COMPLAINT
                                                                     1
                                                                     1
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                                                               6. FAILURE
                                                               6.         TO TIMELY
                                                                  FAILURE TO TIMELY PAY     ALL
                                                                                       PAY ALL
1
1                                                                 EARNED  WAGES AND
                                                                  EARNED WAGES    AND FINAL
                                                                                       FINAL
                                                                  PAYCHECKS  DUE AT
                                                                  PAYCHECKS DUE    AT TIME   OF
                                                                                       TIME OF
2
2                                                                 SEPARATION  OF EMPLOYMENT
                                                                  SEPARATION OF   EMPLOYMENT
                                                                  IN VIOLATION OF
                                                                  IN VIOLATION  OF LABOR
                                                                                    LABOR CODE
                                                                                           CODE
3
3                                                                 SECTIONS 201, 202,
                                                                  SECTIONS 201, 202, AND
                                                                                     AND 203
                                                                                         203
4
4                                                              7. UNFAIR
                                                               7.         BUSINESS PRACTICES,
                                                                  UNFAIR BUSINESS   PRACTICES,
                                                                  IN VIOLATION OF
                                                                  IN VIOLATION  OF BUSINESS
                                                                                    BUSINESS
55                                                                AND PROFESSIONS
                                                                  AND  PROFESSIONS CODE
                                                                                     CODE
                                                                  SECTIONS  17200, ET
                                                                  SECTIONS 17200,     SEQ.
                                                                                   ET SEQ.
6
6
                                                            DEMAND FOR
                                                            DEMAND     JURY TRIAL
                                                                   FOR JURY TRIAL
77

8
8             COMES NOW Plaintiff
              COMES NOW Plaintiff FRANCISCO
                                  FRANCISCO J. MEZA ("Plaintiff'),
                                            J. MEZA (“Plaintiff”), who
                                                                   who alleges
                                                                       alleges and
                                                                               and complains
                                                                                   complains
9
9      against Defendants
       against Defendants SWIFT BEEF COMPANY;
                          SWIFT BEEF COMPANY; and
                                              and DOES
                                                  DOES 11 to
                                                          to 100,
                                                             100, inclusive
                                                                  inclusive (collectively
                                                                            (collectively
10
10     “Defendants”) as
       "Defendants") as follows:
                        follows:
11
11     I.
       I.     INTRODUCTION
              INTRODUCTION
12
12            1.
              1.      This is aa class
                      This is          action lawsuit
                                 class action         seeking unpaid
                                              lawsuit seeking unpaid wages
                                                                     wages and
                                                                           and interest
                                                                               interest thereon
                                                                                        thereon for
                                                                                                for failure
                                                                                                    failure
13
13     to pay
       to pay wages
              wages for
                    for all
                        all hours
                            hours worked
                                  worked at
                                         at minimum
                                            minimum wage;
                                                    wage; failure
                                                          failure to
                                                                  to authorize
                                                                     authorize or
                                                                               or permit
                                                                                  permit all
                                                                                         all legally
                                                                                             legally
14
14     required and/or
       required and/or compliant
                       compliant meal
                                 meal periods
                                      periods or
                                              or pay
                                                 pay meal
                                                     meal period
                                                          period premium
                                                                 premium wages;
                                                                         wages; failure
                                                                                failure to
                                                                                        to authorize
                                                                                           authorize
15
15     or permit
       or permit all
                 all legally
                     legally required
                             required and/or
                                      and/or compliant
                                             compliant rest periods or
                                                       rest periods or pay
                                                                       pay rest
                                                                           rest period
                                                                                period premium
                                                                                       premium wages;
                                                                                               wages;
16
16     statutory penalties
       statutory penalties for
                           for failure to timely
                               failure to timely pay
                                                 pay earned wages during
                                                     earned wages during employment;
                                                                         employment; statutory
                                                                                     statutory penalties
                                                                                               penalties
17
17     for failure
       for         to provide
           failure to provide accurate
                              accurate wage
                                       wage statements;
                                            statements; statutory
                                                        statutory waiting
                                                                  waiting time
                                                                          time penalties
                                                                               penalties in the form
                                                                                         in the      of
                                                                                                form of
18
18     continuation wages
       continuation wages for failure to
                          for failure to timely
                                         timely pay
                                                pay employees
                                                    employees all
                                                              all wages
                                                                  wages due
                                                                        due upon
                                                                            upon separation
                                                                                 separation of
                                                                                            of
19
19     employment; injunctive
       employment; injunctive relief and other
                              relief and other equitable
                                               equitable relief;
                                                         relief; reasonable
                                                                 reasonable attorneys'
                                                                            attorneys’ fees pursuant to
                                                                                       fees pursuant to
20
20     Labor Code sections
       Labor Code sections 218.5,
                           218.5, 226(e)
                                  226(e) and
                                         and 1194;
                                             1194; costs;
                                                   costs; and
                                                          and interest brought on
                                                              interest brought on behalf
                                                                                  behalf of
                                                                                         of Plaintiff
                                                                                            Plaintiff and
                                                                                                      and
21
21     others similarly
       others similarly situated.
                        situated.
22
22     II.
       II.    JURIDISCTION AND
              JURIDISCTION AND VENUE
                               VENUE
23
23            2.
              2.      This Court has
                      This Court has jurisdiction
                                     jurisdiction over
                                                  over Plaintiff's
                                                       Plaintiff’s and
                                                                   and putative
                                                                       putative class
                                                                                class members'
                                                                                      members’ claims for
                                                                                               claims for
24
24     failure to
       failure to pay
                  pay wages
                      wages for all hours
                            for all hours worked
                                          worked at
                                                 at minimum
                                                    minimum wage;
                                                            wage; failure
                                                                  failure to
                                                                          to authorize
                                                                             authorize or
                                                                                       or permit
                                                                                          permit all
                                                                                                 all
25
25     legally required
       legally          and/or compliant
               required and/or compliant meal
                                         meal periods
                                              periods or
                                                      or pay
                                                         pay meal
                                                             meal period
                                                                  period premium
                                                                         premium wages;
                                                                                 wages; failure
                                                                                        failure to
                                                                                                to
26
26     authorize or
       authorize or permit
                    permit all
                           all legally required and/or
                               legally required and/or compliant
                                                       compliant rest
                                                                 rest periods
                                                                      periods or
                                                                              or pay
                                                                                 pay rest
                                                                                     rest period
                                                                                          period premium
                                                                                                 premium
27
27     wages; statutory
       wages; statutory penalties
                        penalties for
                                  for failure to timely
                                      failure to timely pay
                                                        pay earned wages during
                                                            earned wages during employment; statutory
                                                                                employment; statutory
28
28     penalties for
       penalties     failure to
                 for failure to provide
                                provide accurate
                                        accurate wage
                                                 wage statements;
                                                      statements; statutory
                                                                  statutory waiting
                                                                            waiting time
                                                                                    time penalties
                                                                                         penalties in
                                                                                                   in the
                                                                                                      the
                                                                                                              31
                                                  COMPLAINT
                                                  COMPLAINT
                                                      22
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1
1      form of continuation
       form of continuation wages
                            wages for
                                  for failure
                                      failure to
                                              to timely
                                                 timely pay
                                                        pay employees all wages
                                                            employees all wages due
                                                                                due upon
                                                                                    upon separation
                                                                                         separation of
                                                                                                    of

2
2      employment; and
       employment; and claims
                       claims for injunctive relief
                              for injunctive relief and
                                                    and restitution
                                                        restitution under
                                                                    under California
                                                                          California Business
                                                                                     Business and
                                                                                              and

33     Professions Code
       Professions Code sections
                        sections 17200,
                                 17200, et seq., for the following
                                                 for the           reasons: Defendants
                                                         following reasons: Defendants operate
                                                                                       operate

4
4      throughout California;
       throughout California; Defendants
                              Defendants employed
                                         employed Plaintiff
                                                  Plaintiff and
                                                            and putative
                                                                putative class
                                                                         class members
                                                                               members in
                                                                                       in locations
                                                                                          locations

55     throughout California,
       throughout California, including
                              including but
                                        but not
                                            not limited
                                                limited to
                                                        to Riverside
                                                           Riverside County,
                                                                     County, at
                                                                             at 15555
                                                                                15555 Meridian
                                                                                      Meridian Pkwy,
                                                                                               Pkwy,

6
6      Riverside, California
       Riverside, California 92518, more than
                             92518, more than two-thirds
                                              two-thirds of
                                                         of putative
                                                            putative class
                                                                     class members
                                                                           members are
                                                                                   are California
                                                                                       California

7
7      citizens; the
       citizens; the principal
                     principal violations
                               violations of
                                          of California
                                             California law
                                                        law occurred
                                                            occurred in
                                                                     in California;
                                                                        California; no
                                                                                    no other
                                                                                       other class actions
                                                                                             class actions

88     have been
       have been filed
                 filed against
                       against Defendants
                               Defendants in
                                          in the
                                             the last
                                                 last four (4) years
                                                      four (4) years alleging
                                                                     alleging wage
                                                                              wage and
                                                                                   and hour
                                                                                       hour violations;
                                                                                            violations; the
                                                                                                        the

9
9      conduct of
       conduct of Defendants
                  Defendants forms
                             forms aa significant
                                      significant basis
                                                  basis for Plaintiff’s and
                                                        for Plaintiff's and putative
                                                                            putative class members’ claims;
                                                                                     class members' claims;

10
10     and Plaintiff
       and Plaintiff and
                     and putative
                         putative class members seek
                                  class members seek significant
                                                     significant relief
                                                                 relief from Defendants.
                                                                        from Defendants.

11
11     III.
       III.   PARTIES
              PARTIES

12
12            3.
              3.      Plaintiff brings
                      Plaintiff brings this
                                       this action
                                            action on
                                                   on behalf
                                                      behalf of
                                                             of himself
                                                                himself and
                                                                        and other
                                                                            other members
                                                                                  members of
                                                                                          of the
                                                                                             the general
                                                                                                 general

13
13     public similarly
       public similarly situated.
                        situated. The named Plaintiff
                                  The named Plaintiff and
                                                      and the
                                                          the class
                                                              class of
                                                                    of persons
                                                                       persons on
                                                                               on whose
                                                                                  whose behalf
                                                                                        behalf this
                                                                                               this action
                                                                                                    action

14
14     is filed
       is filed are
                are current, former, and/or
                    current, former, and/or future
                                            future employees
                                                   employees of
                                                             of Defendants
                                                                Defendants as
                                                                           as direct
                                                                              direct employees as well
                                                                                     employees as well as
                                                                                                       as

15
15     temporary employees
       temporary           employed through
                 employees employed through temp
                                            temp agencies
                                                 agencies who
                                                          who work
                                                              work as
                                                                   as hourly
                                                                      hourly non-exempt
                                                                             non-exempt

16
16     employees. At
       employees. At all
                     all times
                         times mentioned
                               mentioned herein,
                                         herein, the
                                                 the currently
                                                     currently named
                                                               named Plaintiff
                                                                     Plaintiff is
                                                                               is and
                                                                                  and was
                                                                                      was aa resident
                                                                                             resident of
                                                                                                      of

17
17     California and
       California and was
                      was employed
                          employed by
                                   by Defendants
                                      Defendants in the State
                                                 in the       of California
                                                        State of California within
                                                                            within the
                                                                                   the four (4) years
                                                                                       four (4) years

18
18     prior to
       prior to the
                the filing of this
                    filing of this Complaint.
                                   Complaint.

19
19            4.
              4.      Defendants employed
                      Defendants          Plaintiff as
                                 employed Plaintiff as an
                                                       an hourly
                                                          hourly non-exempt
                                                                 non-exempt employee from in
                                                                            employee from in or
                                                                                             or

20
20     around August
       around August 2020
                     2020 to
                          to present.
                             present.

21
21            5.
              5.      Plaintiff is
                      Plaintiff is informed
                                   informed and
                                            and believes
                                                believes and
                                                         and thereon
                                                             thereon alleges
                                                                     alleges that
                                                                             that Defendants
                                                                                  Defendants employed
                                                                                             employed

22
22     him and
       him and other
               other hourly
                     hourly non-exempt
                            non-exempt employees throughout the
                                       employees throughout the State of California
                                                                State of California and
                                                                                    and therefore
                                                                                        therefore their
                                                                                                  their

23
23     conduct forms
       conduct forms aa significant
                        significant basis
                                    basis of
                                          of the
                                             the claims
                                                 claims asserted
                                                        asserted in this matter.
                                                                 in this matter.

24
24            6.
              6.      Plaintiff is
                      Plaintiff is informed
                                   informed and
                                            and believes
                                                believes and
                                                         and thereon
                                                             thereon alleges
                                                                     alleges that
                                                                             that Defendant
                                                                                  Defendant SWIFT BEEF
                                                                                            SWIFT BEEF

25
25     COMPANY is
       COMPANY is authorized
                  authorized to
                             to do business within
                                do business within the
                                                   the State of California
                                                       State of California and
                                                                           and is
                                                                               is doing
                                                                                  doing business
                                                                                        business in
                                                                                                 in the
                                                                                                    the

26
26     State of California
       State of California and/or
                           and/or that
                                  that Defendants
                                       Defendants DOES
                                                  DOES 1-50
                                                       1-50 are,
                                                            are, and
                                                                 and at
                                                                     at all
                                                                        all times
                                                                            times relevant hereto were
                                                                                  relevant hereto were

27
27     persons acting
       persons acting on
                      on behalf
                         behalf of
                                of Defendant
                                   Defendant SWIFT BEEF COMPANY
                                             SWIFT BEEF COMPANY in
                                                                in the
                                                                   the establishment
                                                                       establishment of,
                                                                                     of, or
                                                                                         or

28
28     ratification of,
       ratification of, the
                        the aforementioned
                            aforementioned illegal wage and
                                           illegal wage and hour
                                                            hour practices
                                                                 practices or
                                                                           or policies.
                                                                              policies. Defendant
                                                                                        Defendant SWIFT
                                                                                                  SWIFT
                                                                                                              32
                                                    COMPLAINT
                                                    COMPLAINT
                                                        3
                                                        3
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1
1      BEEF COMPANY
       BEEF COMPANY operates
                    operates in
                             in Riverside
                                Riverside County
                                          County and
                                                 and employed Plaintiff and
                                                     employed Plaintiff and putative
                                                                            putative class
                                                                                     class

2
2      members in
       members in Riverside
                  Riverside County,
                            County, including but not
                                    including but not limited to, at
                                                      limited to, at 15555
                                                                     15555 Meridian
                                                                           Meridian Pkwy,
                                                                                    Pkwy, Riverside,
                                                                                          Riverside,

33     California 92518.
       California 92518.

4
4             7.
              7.      Plaintiff is
                      Plaintiff is informed
                                   informed and
                                            and believes
                                                believes and
                                                         and thereon
                                                             thereon alleges
                                                                     alleges that
                                                                             that Defendant
                                                                                  Defendant DOES
                                                                                            DOES 51-100
                                                                                                 51-100

55     are individuals
       are individuals unknown to Plaintiff.
                       unknown to Plaintiff. Each of the
                                             Each of the individual
                                                         individual Defendant
                                                                    Defendant is sued individually
                                                                              is sued              in his
                                                                                      individually in his

6
6      or her
       or her capacity as an
              capacity as an agent,
                             agent, shareholder,
                                    shareholder, owner,
                                                 owner, representative,
                                                        representative, supervisor,
                                                                        supervisor, independent contractor
                                                                                    independent contractor

7
7      and/or employee
       and/or employee of
                       of each
                          each Defendant
                               Defendant and
                                         and participated
                                             participated in the establishment
                                                          in the               of, or
                                                                 establishment of, or ratification
                                                                                      ratification of,
                                                                                                   of, the
                                                                                                       the

88     aforementioned illegal
       aforementioned illegal wage
                              wage and
                                   and hour
                                       hour practices
                                            practices or
                                                      or policies.
                                                         policies.

9
9             8.
              8.      Plaintiff is
                      Plaintiff    unaware of
                                is unaware of the
                                              the true
                                                  true names
                                                       names of
                                                             of Defendant
                                                                Defendant DOES
                                                                          DOES 1-100.
                                                                               1-100. Plaintiff
                                                                                      Plaintiff sues
                                                                                                sues said
                                                                                                     said

10
10     Defendants by
       Defendants by said
                     said fictitious
                          fictitious names
                                     names and
                                           and will
                                               will amend
                                                    amend this
                                                          this Complaint
                                                               Complaint when
                                                                         when the
                                                                              the true
                                                                                  true names
                                                                                       names and
                                                                                             and

11
11     capacities are
       capacities are ascertained
                      ascertained or
                                  or when
                                     when such
                                          such facts
                                               facts pertaining
                                                     pertaining to
                                                                to liability
                                                                   liability are
                                                                             are ascertained,
                                                                                 ascertained, or
                                                                                              or as
                                                                                                 as permitted
                                                                                                    permitted

12     by law
       by     or by
          law or by the
                    the Court.
                        Court. Plaintiff
                               Plaintiff is
                                         is informed
                                            informed and
                                                     and believes
                                                         believes that
                                                                  that each
                                                                       each of
                                                                            of the
                                                                               the fictitiously
                                                                                   fictitiously named
                                                                                                named

13
13     Defendants is
       Defendants is in some manner
                     in some manner responsible
                                    responsible for the events
                                                for the        and allegations
                                                        events and allegations set
                                                                               set forth
                                                                                   forth in this
                                                                                         in this

14     Complaint.
       Complaint.

15
15            9.
              9.      Plaintiff is
                      Plaintiff    informed and
                                is informed and believes
                                                believes and
                                                         and thereon
                                                             thereon alleges
                                                                     alleges that
                                                                             that at
                                                                                  at all
                                                                                     all relevant
                                                                                         relevant times,
                                                                                                  times, each
                                                                                                         each

16     Defendant was
       Defendant was an
                     an employer, was the
                        employer, was the principal,
                                          principal, agent,
                                                     agent, partner,
                                                            partner, joint
                                                                     joint venturer,
                                                                           venturer, officer,
                                                                                     officer, director,
                                                                                              director,

17
17     controlling shareholder,
       controlling shareholder, subsidiary,
                                subsidiary, affiliate,
                                            affiliate, parent
                                                       parent corporation, successor in
                                                              corporation, successor in interest and/or
                                                                                        interest and/or

18
18     predecessor in
       predecessor in interest of some
                      interest of some or
                                       or all
                                          all of
                                              of the
                                                 the other
                                                     other Defendants,
                                                           Defendants, and
                                                                       and was
                                                                           was engaged
                                                                               engaged with
                                                                                       with some
                                                                                            some or
                                                                                                 or all
                                                                                                    all of
                                                                                                        of

19
19     the other
       the other defendants
                 defendants in
                            in aa joint
                                  joint enterprise
                                        enterprise for profit, and
                                                   for profit, and bore
                                                                   bore such
                                                                        such other
                                                                             other relationships to some
                                                                                   relationships to some or
                                                                                                         or all
                                                                                                            all

20
20     of the
       of the other
              other defendants so as
                    defendants so as to
                                     to be
                                        be liable
                                           liable for
                                                  for their
                                                      their conduct
                                                            conduct with
                                                                    with respect
                                                                         respect to
                                                                                 to the
                                                                                    the matters
                                                                                        matters alleged
                                                                                                alleged in
                                                                                                        in

21
21     this Complaint.
       this Complaint. Plaintiff
                       Plaintiff is
                                 is further
                                    further informed and believe
                                            informed and believe and
                                                                 and thereon
                                                                     thereon allege
                                                                             allege that
                                                                                    that Defendants
                                                                                         Defendants acted
                                                                                                    acted

22
22     pursuant to
       pursuant to and
                   and within
                       within the
                              the scope
                                  scope of
                                        of the
                                           the relationships
                                               relationships alleged
                                                             alleged above,
                                                                     above, and
                                                                            and that
                                                                                that at
                                                                                     at all
                                                                                        all relevant
                                                                                            relevant times,
                                                                                                     times,

23
23     Defendants knew
       Defendants knew or
                       or should
                          should have
                                 have known about, authorized,
                                      known about, authorized, ratified,
                                                               ratified, adopted,
                                                                         adopted, approved,
                                                                                  approved, controlled,
                                                                                            controlled,

24
24     aided and
       aided and abetted
                 abetted the
                         the conduct
                             conduct of
                                     of all
                                        all other
                                            other Defendants.
                                                  Defendants. As
                                                              As used
                                                                 used in
                                                                      in this
                                                                         this Complaint,
                                                                              Complaint, "Defendant"
                                                                                         "Defendant"

25
25     means "Defendants
       means "Defendants and
                         and each
                             each of
                                  of them,"
                                     them," and
                                            and refers
                                                refers to
                                                       to the
                                                          the Defendant
                                                              Defendant named
                                                                        named in
                                                                              in the
                                                                                 the particular
                                                                                     particular cause
                                                                                                cause

26
26     of action
       of action in which the
                 in which the word
                              word appears
                                   appears and
                                           and includes
                                               includes Defendants
                                                        Defendants SWIFT BEEF COMPANY
                                                                   SWIFT BEEF COMPANY and
                                                                                      and

27
27     DOES 11 to
       DOES    to 100,
                  100, inclusive.
                       inclusive.

28
28            10.
              10.     At all
                      At all times
                             times mentioned
                                   mentioned herein, each Defendant
                                             herein, each Defendant was
                                                                    was the
                                                                        the co-conspirator,
                                                                            co-conspirator, agent,
                                                                                            agent,
                                                                                                                  33
                                                    COMPLAINT
                                                    COMPLAINT
                                                        4
                                                        4
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1
1      servant, employee,
       servant, employee, and/or
                          and/or joint
                                 joint venturer
                                       venturer of
                                                of each
                                                   each of
                                                        of the
                                                           the other
                                                               other Defendants
                                                                     Defendants and
                                                                                and was
                                                                                    was acting
                                                                                        acting within
                                                                                               within the
                                                                                                      the

2
2      course and
       course and scope
                  scope of
                        of said
                           said conspiracy,
                                conspiracy, agency,
                                            agency, employment, and/or joint
                                                    employment, and/or joint venture
                                                                             venture and
                                                                                     and with
                                                                                         with the
                                                                                              the

3
3      permission and
       permission and consent of each
                      consent of each of
                                      of the
                                         the other
                                             other Defendants.
                                                   Defendants.

4
4              11.
               11.      Plaintiff makes
                        Plaintiff makes the
                                        the allegations
                                            allegations in this Complaint
                                                        in this Complaint without
                                                                          without any
                                                                                  any admission
                                                                                      admission that,
                                                                                                that, as
                                                                                                      as to
                                                                                                         to

55     any particular
       any particular allegation,
                      allegation, Plaintiff
                                  Plaintiff bears
                                            bears the
                                                  the burden
                                                      burden of
                                                             of pleading,
                                                                pleading, proving,
                                                                          proving, or
                                                                                   or persuading
                                                                                      persuading and
                                                                                                 and

6
6      Plaintiff reserves
       Plaintiff          all of
                 reserves all of Plaintiffs
                                 Plaintiff’s rights
                                             rights to
                                                    to plead
                                                       plead in
                                                             in the
                                                                the alternative.
                                                                    alternative.

77     IV.
       IV.     DESCRIPTION OF
               DESCRIPTION OF ILLEGAL
                              ILLEGAL PAY
                                      PAY PRACTICES
                                          PRACTICES

8
8              12.
               12.      Pursuant to
                        Pursuant to the
                                    the applicable
                                        applicable Industrial
                                                   Industrial Welfare
                                                              Welfare Commission
                                                                      Commission ("IWC")
                                                                                 (“IWC”) Wage
                                                                                         Wage Order
                                                                                              Order

9
9      (“Wage Order"),
       ("Wage Order”), codified
                       codified at
                                at California
                                   California Code
                                              Code of
                                                   of Regulations,
                                                      Regulations, title
                                                                   title 8, section 11040,
                                                                         8, section 11040, Defendants
                                                                                           Defendants are
                                                                                                      are

10
10     employers of
       employers of Plaintiff
                    Plaintiff within
                              within the
                                     the meaning
                                         meaning of
                                                 of Wage
                                                    Wage Order
                                                         Order 4
                                                               4 and
                                                                 and applicable
                                                                     applicable Labor Code sections.
                                                                                Labor Code sections.

11
11     Therefore,
       Therefore, each of these
                  each of these Defendants
                                Defendants is
                                           is jointly
                                              jointly and
                                                      and severally
                                                          severally liable for the
                                                                    liable for the wrongs
                                                                                   wrongs complained
                                                                                          complained of
                                                                                                     of

12
12     herein in
       herein in violation
                 violation of
                           of the
                              the Wage
                                  Wage Order
                                       Order and
                                             and the
                                                 the Labor Code.
                                                     Labor Code.

13
13             13.
               13.      Failure to pay
                        Failure to pay wages
                                       wages for
                                             for all
                                                 all hours worked at
                                                     hours worked at the
                                                                     the legal
                                                                         legal minimum
                                                                               minimum wage:
                                                                                       wage:

14
14     Defendants employed
       Defendants employed many
                           many of
                                of their
                                   their employees,
                                         employees, including Plaintiff, as
                                                    including Plaintiff, as hourly
                                                                            hourly non-exempt
                                                                                   non-exempt

15
15     employees. In
       employees. In California,
                     California, an
                                 an employer is required
                                    employer is required to
                                                         to pay
                                                            pay hourly
                                                                hourly employees for all
                                                                       employees for all "hours
                                                                                         “hours worked,"
                                                                                                worked,”

16
16     which includes
       which includes all
                      all time
                          time that
                               that an
                                    an employee is under
                                       employee is under the
                                                         the control
                                                             control of
                                                                     of the
                                                                        the employer
                                                                            employer and
                                                                                     and all
                                                                                         all time
                                                                                             time the
                                                                                                  the

17
17     employee is
       employee is suffered
                   suffered and
                            and permitted
                                permitted to
                                          to work.
                                             work. This
                                                   This includes the time
                                                        includes the time an
                                                                          an employee
                                                                             employee spends,
                                                                                      spends, either
                                                                                              either

18
18     directly or
       directly or indirectly,
                   indirectly, performing
                               performing services
                                          services which
                                                   which inure
                                                         inure to
                                                               to the
                                                                  the benefit
                                                                      benefit of
                                                                              of the
                                                                                 the employer.
                                                                                     employer.

19
19             14.
               14.      Labor Code sections
                        Labor Code sections 1194
                                            1194 and
                                                 and 1197
                                                     1197 require
                                                          require an
                                                                  an employer
                                                                     employer to
                                                                              to compensate
                                                                                 compensate employees
                                                                                            employees

20
20     for all
       for all "hours
               “hours worked"
                      worked” at
                              at least at the
                                 least at the minimum
                                              minimum wage
                                                      wage rate
                                                           rate of
                                                                of pay
                                                                   pay as
                                                                       as established
                                                                          established by
                                                                                      by the
                                                                                         the IWC
                                                                                             IWC and
                                                                                                 and the
                                                                                                     the

21
21     Wage Orders.
       Wage Orders.

22
22             15.
               15.      Plaintiff and
                        Plaintiff and similarly
                                      similarly situated
                                                situated hourly
                                                         hourly non-exempt
                                                                non-exempt employees
                                                                           employees worked
                                                                                     worked more
                                                                                            more minutes
                                                                                                 minutes

23
23     per shift
       per shift than
                 than Defendants
                      Defendants credited
                                 credited them
                                          them with
                                               with having
                                                    having worked.
                                                           worked. Defendants
                                                                   Defendants failed
                                                                              failed to
                                                                                     to pay
                                                                                        pay Plaintiff
                                                                                            Plaintiff and
                                                                                                      and

24
24     similarly situated
       similarly situated employees all wages
                          employees all wages at
                                              at the
                                                 the applicable
                                                     applicable minimum
                                                                minimum wage
                                                                        wage for
                                                                             for all
                                                                                 all hours
                                                                                     hours worked
                                                                                           worked due
                                                                                                  due

25
25     to Defendants'
       to Defendants’ policies,
                      policies, practices,
                                practices, and/or
                                           and/or procedures
                                                  procedures including,
                                                             including, but
                                                                        but not
                                                                            not limited
                                                                                limited to:
                                                                                        to:

26
26                   (a) Since
                     (a)       the Outbreak
                         Since the Outbreak of
                                            of COVID-19,
                                               COVID-19, requiring
                                                         requiring Plaintiff
                                                                   Plaintiff and
                                                                             and similarly
                                                                                 similarly situated
                                                                                           situated

27
27     employees to
       employees to line
                    line up
                         up to
                            to wait
                               wait to
                                    to undergo
                                       undergo and
                                               and undergo
                                                   undergo off-the-clock
                                                           off-the-clock COVID-19
                                                                         COVID-19 temperature
                                                                                  temperature checks;
                                                                                              checks;

28
28     and
       and
                                                                                                              34
                                                      COMPLAINT
                                                      COMPLAINT
                                                          5
                                                          5
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1
1                   (b) Requiring
                    (b) Requiring Plaintiff
                                  Plaintiff and
                                            and similarly
                                                similarly situated
                                                          situated employees
                                                                   employees to
                                                                             to keep their employer-issued
                                                                                keep their employer-issued

2
2      walkie-talkies on
       walkie-talkies on their
                         their person,
                               person, monitored,
                                       monitored, and
                                                  and to
                                                      to respond
                                                         respond to
                                                                 to calls received on
                                                                    calls received on them
                                                                                      them at
                                                                                           at all
                                                                                              all times
                                                                                                  times

33     during their
       during their shift,
                    shift, including
                           including while
                                     while off-the-clock
                                           off-the-clock during
                                                         during their
                                                                their meal
                                                                      meal breaks.
                                                                           breaks.

4
4             16.
              16.      Plaintiff and
                       Plaintiff and similarly
                                     similarly situated
                                               situated employees were not
                                                        employees were     paid for
                                                                       not paid     this time
                                                                                for this time resulting
                                                                                              resulting in
                                                                                                        in

55     Defendants’ failure
       Defendants' failure to
                           to pay
                              pay minimum
                                  minimum wage
                                          wage for all the
                                               for all the hours
                                                           hours Plaintiff
                                                                 Plaintiff and
                                                                           and similarly
                                                                               similarly situated
                                                                                         situated

6
6      employees worked.
       employees worked.

7
7             17.
              17.      Therefore, Defendants suffered,
                       Therefore, Defendants suffered, permitted,
                                                       permitted, and
                                                                  and required their hourly
                                                                      required their hourly non-exempt
                                                                                            non-exempt

88     employees to
       employees to be
                    be subject
                       subject to
                               to Defendants'
                                  Defendants’ control
                                              control without
                                                      without paying
                                                              paying wages
                                                                     wages for that time.
                                                                           for that time. This
                                                                                          This resulted
                                                                                               resulted

9
9      in Plaintiff
       in Plaintiff and
                    and similarly
                        similarly situated
                                  situated employees
                                           employees working
                                                     working time
                                                             time for which they
                                                                  for which they were
                                                                                 were not
                                                                                      not compensated
                                                                                          compensated

10     any wages,
       any wages, in violation of
                  in violation of Labor Code sections
                                  Labor Code sections 1194,
                                                      1194, 1197,
                                                            1197, and
                                                                  and Wage
                                                                      Wage Order
                                                                           Order 4.
                                                                                 4.

11
11            18.
              18.      Failure to authorize
                       Failure to           or permit
                                  authorize or        all legally
                                               permit all legally required
                                                                  required and compliant meal
                                                                           and compliant      periods
                                                                                         meal periods

12
12     and/or failure
       and/or failure to
                      to pay
                         pay meal period premium
                             meal period premium wages:
                                                 wages: Defendants
                                                        Defendants often
                                                                   often employed
                                                                         employed hourly
                                                                                  hourly non-
                                                                                         non-

13
13     exempt employees,
       exempt employees, including the named
                         including the named Plaintiff
                                             Plaintiff and
                                                       and similarly
                                                           similarly situated
                                                                     situated employees,
                                                                              employees, for shifts
                                                                                         for shifts

14
14     longer than
       longer than five (5) hours
                   five (5) hours in length and
                                  in length and shifts
                                                shifts longer
                                                       longer than
                                                              than ten
                                                                   ten (10) hours in
                                                                       (10) hours in length.
                                                                                     length.

15
15            19.
              19.      California law
                       California     requires an
                                  law requires an employer
                                                  employer to
                                                           to authorize
                                                              authorize or
                                                                        or permit
                                                                           permit an
                                                                                  an uninterrupted
                                                                                     uninterrupted meal
                                                                                                   meal

16
16     period of
       period of no
                 no less than thirty
                    less than thirty (30)
                                     (30) minutes
                                          minutes no
                                                  no later than the
                                                     later than the end
                                                                    end of
                                                                        of the
                                                                           the employee’s
                                                                               employee's fifth hour of
                                                                                          fifth hour of

17
17     work and
       work and aa second
                   second meal
                          meal period
                               period no
                                      no later than the
                                         later than the employee’s tenth hour
                                                        employee's tenth hour of
                                                                              of work.
                                                                                 work. Labor
                                                                                       Labor Code
                                                                                             Code

18
18     section 512;
       section      Wage Order
               512; Wage Order 4,
                               4, §11.
                                  §11. If
                                       If the
                                          the employee
                                              employee is
                                                       is not
                                                          not relieved of all
                                                              relieved of all duties
                                                                              duties during
                                                                                     during aa meal
                                                                                               meal period,
                                                                                                    period,

19
19     the meal
       the meal period
                period shall
                       shall be
                             be considered
                                considered an
                                           an "on
                                              “on duty"
                                                  duty” meal
                                                        meal period
                                                             period and
                                                                    and counted as time
                                                                        counted as time worked.
                                                                                        worked. A
                                                                                                A paid
                                                                                                  paid

20
20     “on duty"
       "on duty” meal
                 meal period
                      period is only permitted
                             is only permitted when
                                               when (1)
                                                    (1) the
                                                        the nature
                                                            nature of
                                                                   of the
                                                                      the work
                                                                          work prevents
                                                                               prevents an
                                                                                        an employee
                                                                                           employee

21
21     from being
       from being relieved
                  relieved of
                           of all
                              all duty
                                  duty and
                                       and (2)
                                           (2) the
                                               the parties
                                                   parties have
                                                           have aa written
                                                                   written agreement
                                                                           agreement agreeing
                                                                                     agreeing to
                                                                                              to on-duty
                                                                                                 on-duty

22
22     meal periods.
       meal periods. If
                     If the
                        the employee
                            employee is not free
                                     is not      to leave
                                            free to       the work
                                                    leave the work premises
                                                                   premises or
                                                                            or worksite
                                                                               worksite during the meal
                                                                                        during the meal

23
23     period, even
       period, even if the employee
                    if the employee is relieved of
                                    is relieved of all
                                                   all other
                                                       other duty
                                                             duty during
                                                                  during the
                                                                         the meal
                                                                             meal period,
                                                                                  period, the
                                                                                          the employee
                                                                                              employee is
                                                                                                       is

24
24     subject to
       subject to the
                  the employer's
                      employer’s control and the
                                 control and the meal
                                                 meal period
                                                      period is counted as
                                                             is counted as time
                                                                           time worked.
                                                                                worked. If
                                                                                        If an
                                                                                           an employer
                                                                                              employer

25
25     fails to
       fails to provide
                provide an
                        an employee
                           employee aa meal
                                       meal period
                                            period in
                                                   in accordance
                                                      accordance with
                                                                 with the
                                                                      the law, the employer
                                                                          law, the employer must
                                                                                            must pay
                                                                                                 pay the
                                                                                                     the

26
26     employee one
       employee one (1)
                    (1) hour
                        hour of
                             of pay
                                pay at
                                    at the
                                       the employee's
                                           employee’s regular
                                                      regular rate of pay
                                                              rate of pay for
                                                                          for each workday that
                                                                              each workday that aa legally
                                                                                                   legally

27
27     required and
       required and compliant
                    compliant meal
                              meal period
                                   period was
                                          was not
                                              not provided.
                                                  provided. Labor Code section
                                                            Labor Code section 226.7;
                                                                               226.7; Wage
                                                                                      Wage Order
                                                                                           Order 4,
                                                                                                 4,

28
28     §11.
       §11.
                                                                                                              35
                                                   COMPLAINT
                                                   COMPLAINT
                                                       6
                                                       6
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1
1             20.
              20.        Here, Plaintiff
                         Here, Plaintiff and
                                         and similarly
                                             similarly situated
                                                       situated employees
                                                                employees worked
                                                                          worked shifts
                                                                                 shifts long
                                                                                        long enough to
                                                                                             enough to

2
2      entitle them
       entitle them to
                    to meal
                       meal periods
                            periods under
                                    under California
                                          California law.
                                                     law. Nevertheless,
                                                          Nevertheless, Defendants
                                                                        Defendants employed policies,
                                                                                   employed policies,

33     practices, and/or
       practices, and/or procedures
                         procedures that
                                    that resulted
                                         resulted in their failure
                                                  in their failure to
                                                                   to authorize
                                                                      authorize or
                                                                                or permit
                                                                                   permit meal
                                                                                          meal periods
                                                                                               periods to
                                                                                                       to

4
4      Plaintiff and
       Plaintiff and similarly
                     similarly situated
                               situated employees
                                        employees of
                                                  of no
                                                     no less than thirty
                                                        less than thirty (30)
                                                                         (30) minutes
                                                                              minutes for
                                                                                      for each
                                                                                          each five-hour
                                                                                               five-hour

55     period of
       period of work
                 work as
                      as required by law.
                         required by law. Such policies, practices,
                                          Such policies, practices, and/or
                                                                    and/or procedures
                                                                           procedures included, but were
                                                                                      included, but were

6
6      not limited
       not limited to:
                   to:

7
7                   (a) Failing
                    (a) Failing to
                                to provide
                                   provide Plaintiff
                                           Plaintiff and
                                                     and similarly
                                                         similarly situated
                                                                   situated employees'
                                                                            employees’ duty-free
                                                                                       duty-free meal
                                                                                                 meal breaks
                                                                                                      breaks

88     due to
       due to Defendant
              Defendant requiring
                        requiring Plaintiff
                                  Plaintiff and
                                            and similarly
                                                similarly situated
                                                          situated employees
                                                                   employees to
                                                                             to keep their employer-
                                                                                keep their employer-

9
9      issued walkie-talkies
       issued walkie-talkies on
                             on their
                                their person,
                                      person, monitored,
                                              monitored, and
                                                         and to
                                                             to respond to calls
                                                                respond to calls received on them
                                                                                 received on them while
                                                                                                  while

10
10     off-the-clock during
       off-the-clock        their meal
                     during their meal breaks.
                                       breaks.

11
11            21.
              21.        Additionally, Defendants
                         Additionally, Defendants failed to pay
                                                  failed to pay Plaintiff
                                                                Plaintiff and
                                                                          and similarly
                                                                              similarly situated
                                                                                        situated employees
                                                                                                 employees aa

12     meal period
       meal period premium
                   premium wage
                           wage of
                                of one
                                   one (1)
                                       (1) additional
                                           additional hour
                                                      hour of
                                                           of pay
                                                              pay at
                                                                  at their
                                                                     their regular rate of
                                                                           regular rate of compensation
                                                                                           compensation

13
13     for
       for each workday the
           each workday the employees did not
                            employees did not receive
                                              receive all
                                                      all legally required and
                                                          legally required and compliant meal periods.
                                                                               compliant meal periods.

14     Defendants employed
       Defendants          policies and
                  employed policies and procedures
                                        procedures which
                                                   which ensured
                                                         ensured that
                                                                 that employees
                                                                      employees did
                                                                                did not
                                                                                    not receive
                                                                                        receive any
                                                                                                any

15
15     meal period
       meal period premium
                   premium wages
                           wages to
                                 to compensate them for
                                    compensate them for workdays
                                                        workdays in
                                                                 in which
                                                                    which they
                                                                          they did
                                                                               did not
                                                                                   not receive all
                                                                                       receive all

16
16     legally
       legally required and compliant
               required and compliant meal
                                      meal periods.
                                           periods.

17
17            22.
              22.        The aforementioned policies,
                         The aforementioned policies, practices,
                                                      practices, and/or
                                                                 and/or procedures
                                                                        procedures of
                                                                                   of Defendants
                                                                                      Defendants resulted in
                                                                                                 resulted in

18
18     Plaintiff and
       Plaintiff and similarly
                     similarly situated
                               situated employees not being
                                        employees not being provided
                                                            provided with
                                                                     with all
                                                                          all legally
                                                                              legally required and
                                                                                      required and

19
19     compliant meal
       compliant meal periods
                      periods and/or
                              and/or not
                                     not receiving premium wages
                                         receiving premium wages to
                                                                 to compensate them for
                                                                    compensate them     such
                                                                                    for such

20
20     instances, all
       instances, all in
                      in violation
                         violation of
                                   of California
                                      California law.
                                                 law.

21
21            23.
              23.        Failure to authorize
                         Failure to authorize and
                                              and permit all legally
                                                  permit all legally required and compliant
                                                                     required and compliant rest
                                                                                            rest periods
                                                                                                 periods

22
22     and/or failure
       and/or         to pay
              failure to pay rest period premiums:
                             rest period premiums: Defendants
                                                   Defendants often
                                                              often employed
                                                                    employed non-exempt
                                                                             non-exempt

23
23     employees, including
       employees, including the
                            the named
                                named Plaintiff
                                      Plaintiff and
                                                and similarly
                                                    similarly situated
                                                              situated employees,
                                                                       employees, for
                                                                                  for shifts
                                                                                      shifts of
                                                                                             of least
                                                                                                least

24
24     three-and-a-half (3.5)
       three-and-a-half (3.5) hours.
                              hours.

25
25            24.
              24.        California law
                         California     requires every
                                    law requires every employer
                                                       employer to
                                                                to authorize
                                                                   authorize and
                                                                             and permit
                                                                                 permit an
                                                                                        an employee
                                                                                           employee aa rest
                                                                                                       rest

26
26     period of
       period of ten
                 ten (10)
                     (10) net
                          net minutes
                              minutes for
                                      for every
                                          every four
                                                four (4)
                                                     (4) hours
                                                         hours worked
                                                               worked or
                                                                      or major
                                                                         major fraction
                                                                               fraction thereof.
                                                                                        thereof. Labor
                                                                                                 Labor

27
27     Code section
       Code section 226.7;
                    226.7; Wage
                           Wage Order
                                Order 4,
                                      4, §12.
                                         §12. If the employer
                                              If the employer fails
                                                              fails to
                                                                    to authorize
                                                                       authorize or
                                                                                 or permit
                                                                                    permit aa required
                                                                                              required rest
                                                                                                       rest

28
28     period, the
       period, the employer
                   employer must
                            must pay
                                 pay the
                                     the employee one (1)
                                         employee one (1) hour
                                                          hour of
                                                               of pay
                                                                  pay at
                                                                      at the
                                                                         the employee's
                                                                             employee’s regular
                                                                                        regular rate
                                                                                                rate of
                                                                                                     of
                                                                                                                36
                                                    COMPLAINT
                                                    COMPLAINT
                                                        7
                                                        7
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1
1      compensation for
       compensation for each
                        each workday
                             workday the
                                     the employer
                                         employer did
                                                  did not
                                                      not authorize
                                                          authorize or
                                                                    or permit
                                                                       permit aa legally
                                                                                 legally required
                                                                                         required rest
                                                                                                  rest

2
2      period. Id. Under
       period.     Under California
                         California law, “[e]mployees are
                                    law, "[e]mployees are entitled
                                                          entitled to
                                                                   to 10
                                                                      10 minutes'
                                                                         minutes’ rest
                                                                                  rest for shifts from
                                                                                       for shifts from three
                                                                                                       three

33     and one-half
       and one-half to
                    to six
                       six hours
                           hours in
                                 in length, 20 minutes
                                    length, 20 minutes for
                                                       for shifts
                                                           shifts of
                                                                  of more
                                                                     more than
                                                                          than six
                                                                               six hours
                                                                                   hours up
                                                                                         up to
                                                                                            to 10
                                                                                               10 hours,
                                                                                                  hours, 30
                                                                                                         30

4
4      minutes for
       minutes     shifts of
               for shifts of more
                             more than
                                  than 10
                                       10 hours
                                          hours up
                                                up to
                                                   to 14
                                                      14 hours,
                                                         hours, and
                                                                and so
                                                                    so on."
                                                                       on.” Brinker Restaurant Corp. v.

55                         (2012) 53
       Sup. Ct. (Hohnbaum) (2012)    Cal.4th 1004,
                                  53 Ca1.4th 1004, 1029;
                                                   1029; Labor Code section
                                                         Labor Code section 226.7;
                                                                            226.7; Wage
                                                                                   Wage Order
                                                                                        Order 4,
                                                                                              4,

6
6      §12. Rest
       §12. Rest periods,
                 periods, insofar
                          insofar as
                                  as practicable,
                                     practicable, shall
                                                  shall be
                                                        be in
                                                           in the
                                                              the middle
                                                                  middle of
                                                                         of each work period.
                                                                            each work period. Wage
                                                                                              Wage Order
                                                                                                   Order

7
7      4, §12.
       4, §12. Additionally,
               Additionally, the
                             the rest
                                 rest period
                                      period requirement
                                             requirement "obligates
                                                         “obligates employers
                                                                    employers to
                                                                              to permit
                                                                                 permit —
                                                                                        – and
                                                                                          and authorizes
                                                                                              authorizes

88     employees to
       employees to take
                    take —
                         – off-duty
                           off-duty rest periods.” Augustus v. ABM
                                    rest periods."                                          (2016) 55
                                                               ABM Security Services, Inc., (2016)

9
9      Cal.5th 257,
       Ca1.5th 257, 269.
                    269. That
                         That is, during rest
                              is, during rest periods
                                              periods employers must relieve
                                                      employers must relieve employees
                                                                             employees of
                                                                                       of all
                                                                                          all duties
                                                                                              duties and
                                                                                                     and

10
10     relinquish control
       relinquish         over how
                  control over how employees spend their
                                   employees spend their time.
                                                         time. Id.

11
11            25.
              25.      In this case,
                       In this case, Plaintiff
                                     Plaintiff and
                                               and similarly
                                                   similarly situated
                                                             situated employees regularly worked
                                                                      employees regularly worked shifts
                                                                                                 shifts of
                                                                                                        of

12
12     more than
       more than three-and-a-half
                 three-and-a-half (3.5)
                                  (3.5) hours.
                                        hours. Nevertheless,
                                               Nevertheless, Defendants
                                                             Defendants employed
                                                                        employed policies,
                                                                                 policies, practices,
                                                                                           practices,

13
13     and/or procedures
       and/or procedures that
                         that resulted
                              resulted in
                                       in their
                                          their failure to authorize
                                                failure to authorize or
                                                                     or permit
                                                                        permit all
                                                                               all legally
                                                                                   legally required and
                                                                                           required and

14
14     compliant rest
       compliant      periods to
                 rest periods to Plaintiff
                                 Plaintiff and
                                           and similarly
                                               similarly situated
                                                         situated employees.
                                                                  employees. Such policies, practices,
                                                                             Such policies, practices,

15
15     and/or procedures
       and/or procedures included,
                         included, but
                                   but were
                                       were not
                                            not limited to:
                                                limited to:

16
16                  (a) Failing
                    (a) Failing to
                                to provide
                                   provide Plaintiff
                                           Plaintiff and
                                                     and similarly
                                                         similarly situated
                                                                   situated employees'
                                                                            employees’ duty-free rest breaks
                                                                                       duty-free rest breaks

17
17     due to
       due to Defendant
              Defendant requiring
                        requiring Plaintiff
                                  Plaintiff and
                                            and similarly
                                                similarly situated
                                                          situated employees
                                                                   employees to
                                                                             to keep their employer-
                                                                                keep their employer-

18
18     issued walkie-talkies
       issued walkie-talkies on
                             on their
                                their person,
                                      person, monitored,
                                              monitored, and
                                                         and to
                                                             to respond to calls
                                                                respond to calls received
                                                                                 received on
                                                                                          on them
                                                                                             them at
                                                                                                  at all
                                                                                                     all

19
19     times during
       times during their
                    their shift
                          shift including
                                including during
                                          during rest breaks.
                                                 rest breaks.

20
20            26.
              26.      Additionally, Defendants
                       Additionally, Defendants failed
                                                failed to
                                                       to pay
                                                          pay Plaintiff
                                                              Plaintiff and
                                                                        and similarly
                                                                            similarly situated
                                                                                      situated employees
                                                                                               employees aa

21
21     rest period
       rest period premium
                   premium wage
                           wage of
                                of one
                                   one (1)
                                       (1) additional
                                           additional hour
                                                      hour of
                                                           of pay
                                                              pay at
                                                                  at their
                                                                     their regular rate of
                                                                           regular rate of compensation
                                                                                           compensation

22
22     for each
       for each workday
                workday the
                        the employees
                            employees did not receive
                                      did not receive all
                                                      all legally required and
                                                          legally required and compliant rest periods.
                                                                               compliant rest periods.

23
23     Defendants employed
       Defendants          policies and
                  employed policies and procedures
                                        procedures which
                                                   which ensured
                                                         ensured that
                                                                 that employees
                                                                      employees did
                                                                                did not
                                                                                    not receive
                                                                                        receive any
                                                                                                any

24
24     rest period
       rest period premium
                   premium wages
                           wages to
                                 to compensate
                                    compensate them
                                               them for
                                                    for workdays
                                                        workdays in
                                                                 in which
                                                                    which they
                                                                          they did not receive
                                                                               did not receive all
                                                                                               all

25
25     legally required
       legally          and compliant
               required and compliant rest periods.
                                      rest periods.

26
26            27.
              27.      The aforementioned policies,
                       The aforementioned policies, practices,
                                                    practices, and/or
                                                               and/or procedures
                                                                      procedures of
                                                                                 of Defendants
                                                                                    Defendants resulted in
                                                                                               resulted in

27
27     Plaintiff and
       Plaintiff and similarly
                     similarly situated
                               situated employees not being
                                        employees not being provided
                                                            provided with
                                                                     with all
                                                                          all legally
                                                                              legally required and
                                                                                      required and

28
28     compliant rest
       compliant      periods and/or
                 rest periods and/or not
                                     not receiving
                                         receiving premium
                                                   premium wages
                                                           wages to
                                                                 to compensate
                                                                    compensate them
                                                                               them for such
                                                                                    for such
                                                                                                               37
                                                   COMPLAINT
                                                   COMPLAINT
                                                       8
                                                       8
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1
1      instances, all
       instances, all in
                      in violation
                         violation of
                                   of California
                                      California law.
                                                 law.

2
2             28.
              28.     Failure to timely
                      Failure to timely pay
                                        pay earned
                                            earned wages
                                                   wages during
                                                         during employment:
                                                                employment: In California, wages
                                                                            In California, wages

33     must be
       must be paid
               paid at
                    at least
                       least twice
                             twice during
                                   during each
                                          each calendar month on
                                               calendar month on days designated in
                                                                 days designated in advance
                                                                                    advance by
                                                                                            by the
                                                                                               the

4
4      employer as
       employer as regular
                   regular paydays,
                           paydays, subject
                                    subject to
                                            to some
                                               some exceptions.
                                                    exceptions. Labor Code section
                                                                Labor Code section 204(a).
                                                                                   204(a). Wages
                                                                                           Wages

55     earned between
       earned between the
                      the 1st
                          1st and
                              and 15th
                                  15th days, inclusive, of
                                       days, inclusive, of any
                                                           any calendar
                                                               calendar month
                                                                        month must
                                                                              must be
                                                                                   be paid
                                                                                      paid between
                                                                                           between the
                                                                                                   the

6
6      16th and
       16th and the
                the 26th
                    26th day
                         day of
                             of that
                                that month
                                     month and
                                           and wages
                                               wages earned
                                                     earned between
                                                            between the
                                                                    the 16th
                                                                        16th and
                                                                             and the
                                                                                 the last
                                                                                     last day,
                                                                                          day,

7
7      inclusive, of
       inclusive, of any
                     any calendar month must
                         calendar month must be
                                             be paid
                                                paid between
                                                     between the
                                                             the 1st
                                                                 1st and
                                                                     and 10th
                                                                         10th day
                                                                              day of
                                                                                  of the
                                                                                     the following
                                                                                         following

88     month. Id. Other
       month.     Other payroll
                        payroll periods
                                periods such
                                        such as
                                             as those
                                                those that
                                                      that are
                                                           are weekly,
                                                               weekly, biweekly,
                                                                       biweekly, or
                                                                                 or semimonthly,
                                                                                    semimonthly, must
                                                                                                 must be
                                                                                                      be

9
9      paid within
       paid within seven
                   seven (7)
                         (7) calendar
                             calendar days
                                      days following
                                           following the
                                                     the close
                                                         close of
                                                               of the
                                                                  the payroll
                                                                      payroll period
                                                                              period in which wages
                                                                                     in which wages were
                                                                                                    were

10     earned. Labor
       earned.       Code section
               Labor Code section 204(d).
                                  204(d).

11
11            29.
              29.     As aa derivative
                      As    derivative of
                                       of Plaintiff's
                                          Plaintiff’s claims
                                                      claims above,
                                                             above, Plaintiff
                                                                    Plaintiff alleges
                                                                              alleges that
                                                                                      that Defendants
                                                                                           Defendants failed
                                                                                                      failed

12     to timely
       to timely pay
                 pay Plaintiffs
                     Plaintiff’s and
                                 and similarly
                                     similarly situated
                                               situated employees’
                                                        employees' earned wages (including
                                                                   earned wages (including minimum
                                                                                           minimum

13     wages, meal
       wages, meal period
                   period premium
                          premium wages,
                                  wages, and/or
                                         and/or rest
                                                rest period
                                                     period premium
                                                            premium wages),
                                                                    wages), in violation of
                                                                            in violation of Labor
                                                                                            Labor

14     Code section
       Code section 204.
                    204.

15            30.
              30.     Defendants’ aforementioned
                      Defendants' aforementioned policies,
                                                 policies, practices,
                                                           practices, and/or
                                                                      and/or procedures
                                                                             procedures resulted
                                                                                        resulted in
                                                                                                 in their
                                                                                                    their

16     failure to pay
       failure to pay Plaintiff
                      Plaintiff and
                                and similarly
                                    similarly situated
                                              situated employees their earned
                                                       employees their        wages within
                                                                       earned wages within the
                                                                                           the applicable
                                                                                               applicable

17     time frames
       time        outlined in
            frames outlined in Labor Code section
                               Labor Code section 204.
                                                  204.

18            31.
              31.     Failure to provide
                      Failure to provide accurate
                                         accurate wage
                                                  wage statements:
                                                       statements: Labor Code section
                                                                   Labor Code section 226(a)
                                                                                      226(a)

19     provides, inter alia, that,
       provides,             that, upon
                                   upon paying
                                        paying an
                                               an employee
                                                  employee his
                                                           his or
                                                               or her
                                                                  her wages,
                                                                      wages, the
                                                                             the employer
                                                                                 employer must
                                                                                          must "furnish
                                                                                               “furnish

20
20     each of
       each of his
               his or
                   or her
                      her employees ... an
                          employees ... an itemized
                                           itemized statement
                                                    statement in
                                                              in writing
                                                                 writing showing
                                                                         showing (1)
                                                                                 (1) gross wages earned,
                                                                                     gross wages earned,

21
21     (2) total
       (2) total hours
                 hours worked
                       worked by
                              by the
                                 the employee,
                                     employee, except
                                               except for any employee
                                                      for any          whose compensation
                                                              employee whose compensation is
                                                                                          is solely
                                                                                             solely

22
22     based on
       based on aa salary
                   salary and
                          and who
                              who is exempt from
                                  is exempt from payment
                                                 payment of
                                                         of overtime
                                                            overtime under
                                                                     under subdivision
                                                                           subdivision (a)
                                                                                       (a) of
                                                                                           of Section
                                                                                              Section

23
23     515 or any
       515 or any applicable
                  applicable order
                             order of
                                   of the
                                      the Industrial Welfare Commission,
                                          Industrial Welfare Commission, (3)
                                                                         (3) the
                                                                             the number
                                                                                 number of
                                                                                        of piece-rate
                                                                                           piece-rate

24
24     units earned
       units earned and
                    and any
                        any applicable
                            applicable piece
                                       piece rate
                                             rate if
                                                  if the
                                                     the employee
                                                         employee is paid on
                                                                  is paid on aa piece-rate
                                                                                piece-rate basis,
                                                                                           basis, (4)
                                                                                                  (4) all
                                                                                                      all

25
25     deductions, provided,
       deductions, provided, that
                             that all
                                  all deductions
                                      deductions made
                                                 made on
                                                      on written
                                                         written orders
                                                                 orders of
                                                                        of the
                                                                           the employee
                                                                               employee may
                                                                                        may be
                                                                                            be

26
26     aggregated and
       aggregated and shown
                      shown as
                            as one
                               one item,
                                   item, (5)
                                         (5) net
                                             net wages
                                                 wages earned,
                                                       earned, (6)
                                                               (6) the
                                                                   the inclusive
                                                                       inclusive dates
                                                                                 dates of
                                                                                       of the
                                                                                          the pay
                                                                                              pay period
                                                                                                  period

27
27     for which the
       for which the employee
                     employee is
                              is paid,
                                 paid, (7)
                                       (7) the
                                           the name
                                               name of
                                                    of the
                                                       the employee
                                                           employee and
                                                                    and his
                                                                        his or
                                                                            or her
                                                                               her social
                                                                                   social security
                                                                                          security

28
28     number, (8)
       number, (8) the
                   the name
                       name and
                            and address
                                address of
                                        of the
                                           the legal entity that
                                               legal entity that is the employer,
                                                                 is the employer, and
                                                                                  and (9)
                                                                                      (9) all
                                                                                          all applicable
                                                                                              applicable
                                                                                                               38
                                                    COMPLAINT
                                                    COMPLAINT
                                                        9
                                                        9
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1
1      hourly rates
       hourly rates in
                    in effect during the
                       effect during the pay
                                         pay period
                                             period and
                                                    and the
                                                        the corresponding
                                                            corresponding number
                                                                          number of
                                                                                 of hours
                                                                                    hours worked
                                                                                          worked at
                                                                                                 at each
                                                                                                    each

2
2      hourly rate
       hourly rate by
                   by the
                      the employee."
                          employee.”

3
3             32.
              32.     As aa derivative
                      As    derivative of
                                       of Plaintiff's
                                          Plaintiff’s claims
                                                      claims above,
                                                             above, Plaintiff
                                                                    Plaintiff alleges
                                                                              alleges that
                                                                                      that Defendants
                                                                                           Defendants failed
                                                                                                      failed

4
4      to provide
       to provide accurate
                  accurate wage
                           wage and
                                and hour
                                    hour statements
                                         statements to
                                                    to him
                                                       him and
                                                           and other
                                                               other similarly
                                                                     similarly situated
                                                                               situated employees
                                                                                        employees who
                                                                                                  who

55     were subject
       were subject to
                    to Defendants'
                       Defendants’ control
                                   control for uncompensated time
                                           for uncompensated time and
                                                                  and who
                                                                      who did
                                                                          did not
                                                                              not receive
                                                                                  receive all
                                                                                          all their
                                                                                              their

6
6      earned wages
       earned wages (including
                    (including minimum
                               minimum wages,
                                       wages, meal
                                              meal period
                                                   period premium
                                                          premium wages,
                                                                  wages, and/or
                                                                         and/or rest
                                                                                rest period
                                                                                     period

77     premium wages),
       premium wages), in violation of
                       in violation of Labor Code section
                                       Labor Code section 226.
                                                          226.

8
8             33.
              33.     Failure to timely
                      Failure to timely pay final wages:
                                        pay final wages: An
                                                         An employer
                                                            employer is
                                                                     is required
                                                                        required to
                                                                                 to pay
                                                                                    pay all
                                                                                        all unpaid
                                                                                            unpaid

9
9      wages timely
       wages timely after
                    after an
                          an employee’s
                             employee's employment ends. The
                                        employment ends.     wages are
                                                         The wages are due
                                                                       due immediately
                                                                           immediately upon
                                                                                       upon

10
10     termination or
       termination or within
                      within seventy-two
                             seventy-two (72)
                                         (72) hours
                                              hours of
                                                    of resignation.
                                                       resignation. Labor Code sections
                                                                    Labor Code sections 201,
                                                                                        201, 202.
                                                                                             202.

11
11            34.
              34.     As aa result
                      As    result of
                                   of the
                                      the aforementioned
                                          aforementioned violations
                                                         violations of
                                                                    of the
                                                                       the Labor Code, Plaintiff
                                                                           Labor Code, Plaintiff alleges
                                                                                                 alleges

12
12     that he,
       that he, and
                and on
                    on information and belief,
                       information and belief, other
                                               other similarly
                                                     similarly situated
                                                               situated employees, were not
                                                                        employees, were not paid
                                                                                            paid their
                                                                                                 their final
                                                                                                       final

13
13     wages in
       wages in aa timely
                   timely manner
                          manner as
                                 as required by Labor
                                    required by       Code section
                                                Labor Code section 203.
                                                                   203. Minimum
                                                                        Minimum wages
                                                                                wages for
                                                                                      for all
                                                                                          all hours
                                                                                              hours

14
14     worked, meal
       worked, meal period
                    period premium
                           premium wages,
                                   wages, and/or
                                          and/or rest
                                                 rest period
                                                      period premium
                                                             premium wages
                                                                     wages (all
                                                                           (all described
                                                                                described above),
                                                                                          above),

15
15     were not
       were not paid
                paid at
                     at the
                        the time
                            time of
                                 of Plaintiff's
                                    Plaintiff’s and
                                                and other
                                                    other similarly
                                                          similarly situated
                                                                    situated employees'
                                                                             employees’ separation
                                                                                        separation of
                                                                                                   of

16
16     employment, whether
       employment, whether voluntarily
                           voluntarily or
                                       or involuntarily,
                                          involuntarily, as
                                                         as required by Labor
                                                            required by       Code sections
                                                                        Labor Code sections 201,
                                                                                            201, 202,
                                                                                                 202,

17
17     and 203.
       and 203.

18
18     V.
       V.     CLASS DEFINITIONS AND
              CLASS DEFINITIONS AND CLASS
                                    CLASS ALLEGATIONS
                                          ALLEGATIONS

19
19            35.
              35.     Plaintiff brings
                      Plaintiff brings this
                                       this action
                                            action on
                                                   on behalf
                                                      behalf of
                                                             of himself, on behalf
                                                                himself, on behalf of
                                                                                   of others
                                                                                      others similarly
                                                                                             similarly

20
20     situated, and
       situated, and on
                     on behalf
                        behalf of
                               of the
                                  the general
                                      general public,
                                              public, and
                                                      and as
                                                          as members
                                                             members of
                                                                     of aa Class
                                                                           Class defined
                                                                                 defined as
                                                                                         as follows:
                                                                                            follows:

21
21                    A.
                      A.     Minimum Wage Class:
                             Minimum Wage        All current
                                          Class: All         and former
                                                     current and former hourly
                                                                        hourly non-exempt
                                                                               non-exempt

22
22     employees employed
       employees employed by
                          by Defendants
                             Defendants as
                                        as direct
                                           direct employees as well
                                                  employees as well as
                                                                    as temporary
                                                                       temporary employees
                                                                                 employees

23
23     employed through
       employed through temp
                        temp agencies
                             agencies in
                                      in California
                                         California at
                                                    at any
                                                       any time
                                                           time from four (4)
                                                                from four (4) years
                                                                              years prior
                                                                                    prior to
                                                                                          to the
                                                                                             the filing of
                                                                                                 filing of

24
24     the initial
       the initial Complaint
                   Complaint in this matter
                             in this matter through
                                            through the
                                                    the date
                                                        date notice
                                                             notice is mailed to
                                                                    is mailed to aa certified
                                                                                    certified class
                                                                                              class who
                                                                                                    who were
                                                                                                        were

25
25     not paid
       not paid at
                at least minimum wage
                   least minimum wage for
                                      for all
                                          all time
                                              time they
                                                   they were
                                                        were subject
                                                             subject to
                                                                     to Defendants'
                                                                        Defendants’ control.
                                                                                    control.

26
26                    B.
                      B.     Meal
                             Meal Period Class: All
                                  Period Class: All current and former
                                                    current and        hourly non-exempt
                                                                former hourly non-exempt employees
                                                                                         employees

27
27     employed by
       employed by Defendants
                   Defendants as
                              as direct
                                 direct employees
                                        employees as
                                                  as well
                                                     well as
                                                          as temporary
                                                             temporary employees
                                                                       employees employed
                                                                                 employed through
                                                                                          through

28
28     temp agencies
       temp agencies in
                     in California
                        California at
                                   at any
                                      any time
                                          time from four (4)
                                               from four (4) years
                                                             years prior
                                                                   prior to
                                                                         to the
                                                                            the filing
                                                                                filing of
                                                                                       of the
                                                                                          the initial
                                                                                              initial
                                                                                                               39
                                                  COMPLAINT
                                                  COMPLAINT
                                                     10
                                                     10
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1
1      Complaint in
       Complaint in this
                    this matter
                         matter through
                                through the
                                        the date
                                            date notice
                                                 notice is
                                                        is mailed
                                                           mailed to
                                                                  to aa certified
                                                                        certified class who worked
                                                                                  class who worked shifts
                                                                                                   shifts

2
2      more than
       more than five (5) hours
                 five (5) hours yet
                                yet Defendants
                                    Defendants failed
                                               failed to
                                                      to authorize
                                                         authorize or
                                                                   or permit
                                                                      permit all
                                                                             all required
                                                                                 required duty-free
                                                                                          duty-free meal
                                                                                                    meal

3
3      periods of
       periods of not
                  not less
                      less than
                           than thirty
                                thirty (30)
                                       (30) minutes.
                                            minutes.

4
4                       C.
                        C.     Rest Period
                               Rest Period Class: All current
                                           Class: All         and former
                                                      current and former hourly
                                                                         hourly non-exempt employees
                                                                                non-exempt employees

55     employed by
       employed by Defendants
                   Defendants as
                              as direct
                                 direct employees
                                        employees as
                                                  as well
                                                     well as
                                                          as temporary
                                                             temporary employees
                                                                       employees employed
                                                                                 employed through
                                                                                          through

6
6      temp agencies
       temp agencies in
                     in California
                        California at
                                   at any
                                      any time
                                          time from four (4)
                                               from four (4) years
                                                             years prior
                                                                   prior to
                                                                         to the
                                                                            the filing
                                                                                filing of
                                                                                       of the
                                                                                          the initial
                                                                                              initial

77     Complaint in
       Complaint    this matter
                 in this matter through
                                through the
                                        the date
                                            date notice
                                                 notice is mailed to
                                                        is mailed to aa certified class who
                                                                        certified class who worked
                                                                                            worked shifts
                                                                                                   shifts of
                                                                                                          of

8
8      at least
       at       three-and-a-half (3.5)
          least three-and-a-half (3.5) hours
                                       hours who
                                             who did
                                                 did not
                                                     not receive all required
                                                         receive all required duty-free
                                                                              duty-free rest periods of
                                                                                        rest periods of aa net
                                                                                                           net

9
9      ten (10)
       ten (10) minutes
                minutes for
                        for every
                            every four (4) hours
                                  four (4) hours worked
                                                 worked or
                                                        or major
                                                           major fraction
                                                                 fraction thereof.
                                                                          thereof.

10
10                      D.
                        D.     Pay Day Class:
                               Pay Day        All current
                                       Class: All         and former
                                                  current and former hourly
                                                                     hourly non-exempt
                                                                            non-exempt employees
                                                                                       employees

11
11     employed by
       employed by Defendants
                   Defendants as
                              as direct
                                 direct employees
                                        employees as
                                                  as well
                                                     well as
                                                          as temporary
                                                             temporary employees
                                                                       employees employed
                                                                                 employed through
                                                                                          through

12
12     temp agencies
       temp agencies in
                     in California
                        California at
                                   at any
                                      any time
                                          time from four (4)
                                               from four (4) years
                                                             years prior
                                                                   prior to
                                                                         to the
                                                                            the filing
                                                                                filing of
                                                                                       of the
                                                                                          the initial
                                                                                              initial

13
13     Complaint in
       Complaint in this
                    this action
                         action through
                                through the
                                        the date notice is
                                            date notice    mailed to
                                                        is mailed to aa certified
                                                                        certified class
                                                                                  class who
                                                                                        who were
                                                                                            were not
                                                                                                 not timely
                                                                                                     timely

14
14     paid earned
       paid        wages during
            earned wages during their
                                their employment.
                                      employment.

15
15                      E.
                        E.     Wage Statement
                               Wage Statement Class: All current
                                              Class: All         and former
                                                         current and        hourly non-exempt
                                                                     former hourly non-exempt

16
16     employees employed
       employees employed by
                          by Defendants
                             Defendants as
                                        as direct
                                           direct employees as well
                                                  employees as well as
                                                                    as temporary
                                                                       temporary employees
                                                                                 employees

17
17     employed through
       employed through temp
                        temp agencies
                             agencies in
                                      in California
                                         California at
                                                    at any
                                                       any time
                                                           time from one (1)
                                                                from one (1) year
                                                                             year prior
                                                                                  prior to
                                                                                        to the
                                                                                           the filing of
                                                                                               filing of

18
18     the initial
       the initial Complaint
                   Complaint in
                             in this
                                this action
                                     action through
                                            through the
                                                    the date
                                                        date notice
                                                             notice is
                                                                    is mailed
                                                                       mailed to
                                                                              to aa certified class who
                                                                                    certified class who

19
19     received inaccurate
       received            or incomplete
                inaccurate or incomplete wage
                                         wage and
                                              and hour
                                                  hour statements.
                                                       statements.

20
20                      F.
                        F.     Waiting Time
                               Waiting      Class: All
                                       Time Class: All current
                                                       current and
                                                               and former
                                                                   former hourly
                                                                          hourly non-exempt
                                                                                 non-exempt employees
                                                                                            employees

21
21     employed by
       employed by Defendants
                   Defendants as
                              as direct
                                 direct employees
                                        employees as
                                                  as well
                                                     well as
                                                          as temporary
                                                             temporary employees
                                                                       employees employed
                                                                                 employed through
                                                                                          through

22
22     temp agencies
       temp agencies in
                     in California
                        California at
                                   at any
                                      any time
                                          time from
                                               from three
                                                    three (3)
                                                          (3) years
                                                              years prior
                                                                    prior to
                                                                          to the
                                                                             the filing of the
                                                                                 filing of the initial
                                                                                               initial

23
23     Complaint in
       Complaint    this action
                 in this action through
                                through the
                                        the date
                                            date notice
                                                 notice is
                                                        is mailed
                                                           mailed to
                                                                  to aa certified
                                                                        certified class
                                                                                  class who
                                                                                        who did
                                                                                            did not
                                                                                                not receive
                                                                                                    receive

24
24     payment of
       payment of all
                  all unpaid
                      unpaid wages
                             wages upon
                                   upon separation
                                        separation of
                                                   of employment
                                                      employment within
                                                                 within the
                                                                        the statutory
                                                                            statutory time
                                                                                      time period.
                                                                                           period.

25
25                      G.
                        G.     California
                               California Class: All aforementioned
                                          Class: All aforementioned classes are herein
                                                                    classes are herein collectively
                                                                                       collectively

26
26     referred to
       referred to as
                   as the
                      the "California
                          “California Class."
                                      Class.”

27
27            36.
              36.       There is aa well-defined
                        There is    well-defined community
                                                 community of
                                                           of interest
                                                              interest in
                                                                       in the
                                                                          the litigation
                                                                              litigation and
                                                                                         and the
                                                                                             the classes are
                                                                                                 classes are

28
28     ascertainable:
       ascertainable:
                                                                                                                 40
                                                   COMPLAINT
                                                   COMPLAINT
                                                      11
                                                      11
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1
1                     A.
                      A.      Numerosity: While
                              Numerosity: While the
                                                the exact
                                                    exact number
                                                          number of
                                                                 of class
                                                                    class members
                                                                          members in
                                                                                  in each
                                                                                     each class
                                                                                          class is
                                                                                                is

2
2      unknown to
       unknown to Plaintiff
                  Plaintiff at
                            at this
                               this time,
                                    time, the
                                          the Plaintiff
                                              Plaintiff classes
                                                        classes are
                                                                are so
                                                                    so numerous
                                                                       numerous that
                                                                                that the
                                                                                     the individual
                                                                                         individual joinder
                                                                                                    joinder

33     of all
       of all members
              members is impractical under
                      is impractical under the
                                           the circumstances of this
                                               circumstances of this case.
                                                                     case.

4
4                     B.
                      B.      Common Questions Predominate:
                              Common Questions              Common questions
                                               Predominate: Common           of law
                                                                   questions of law and
                                                                                    and fact
                                                                                        fact

55     exist as
       exist as to
                to all
                   all members
                       members of
                               of the
                                  the Plaintiff
                                      Plaintiff classes and predominate
                                                classes and predominate over
                                                                        over any
                                                                             any questions that affect
                                                                                 questions that affect only
                                                                                                       only

6
6      individual members
       individual members of
                          of each class. The
                             each class. The common questions of
                                             common questions of law
                                                                 law and
                                                                     and fact
                                                                         fact include, but are
                                                                              include, but are not
                                                                                               not

7
7      limited to:
       limited to:

88                            i.
                              i.      Whether Defendants
                                      Whether Defendants violated
                                                         violated Labor
                                                                  Labor Code
                                                                        Code sections
                                                                             sections 1194
                                                                                      1194 and
                                                                                           and 1197
                                                                                               1197

9
9      by not
       by not paying
              paying wages
                     wages at
                           at the
                              the minimum
                                  minimum wage
                                          wage rate
                                               rate for
                                                    for all
                                                        all time
                                                            time that
                                                                 that the
                                                                      the Minimum
                                                                          Minimum Wage
                                                                                  Wage Class
                                                                                       Class

10
10     Members were
       Members were subject
                    subject to
                            to Defendants'
                               Defendants’ control;
                                           control;

11
11                            ii.
                              ii.     Whether Defendants
                                      Whether Defendants violated
                                                         violated Labor Code sections
                                                                  Labor Code sections 512 and 226.7,
                                                                                      512 and 226.7, as
                                                                                                     as

12
12     well as
       well as the
               the applicable
                   applicable Wage
                              Wage Order,
                                   Order, by
                                          by employing
                                             employing the
                                                       the Meal
                                                           Meal Period
                                                                Period Class
                                                                       Class Members
                                                                             Members without
                                                                                     without

13
13     providing all
       providing all compliant and/or required
                     compliant and/or required meal
                                               meal periods
                                                    periods and/or
                                                            and/or paying
                                                                   paying meal
                                                                          meal period
                                                                               period premium
                                                                                      premium wages;
                                                                                              wages;

14
14                            iii.
                              iii.    Whether Defendants
                                      Whether Defendants violated
                                                         violated Labor Code section
                                                                  Labor Code section 226.7
                                                                                     226.7 by
                                                                                           by

15
15     employing the
       employing the Rest
                     Rest Period
                          Period Class
                                 Class Members
                                       Members without
                                               without providing
                                                       providing all
                                                                 all compliant
                                                                     compliant and/or
                                                                               and/or required
                                                                                      required rest
                                                                                               rest

16
16     periods and/or
       periods and/or paying
                      paying rest
                             rest period
                                  period premium
                                         premium wages;
                                                 wages;

17
17                            iv.
                              iv.     Whether Defendants
                                      Whether Defendants violated
                                                         violated Labor Code section
                                                                  Labor Code section 204
                                                                                     204 by
                                                                                         by employing
                                                                                            employing

18
18     Pay Day
       Pay Day Class
               Class Members
                     Members without
                             without timely
                                     timely paying
                                            paying them
                                                   them all
                                                        all earned wages during
                                                            earned wages        their employment;
                                                                         during their employment;

19
19                            v.
                              v.      Whether Defendants
                                      Whether Defendants failed
                                                         failed to
                                                                to provide
                                                                   provide the
                                                                           the Wage
                                                                               Wage Statement Class
                                                                                    Statement Class

20
20     Members with
       Members with accurate
                    accurate itemized
                             itemized statements
                                      statements at
                                                 at the
                                                    the time
                                                        time they
                                                             they received
                                                                  received their
                                                                           their itemized
                                                                                 itemized statements;
                                                                                          statements;

21
21                            vi.
                              vi.     Whether Defendants
                                      Whether Defendants failed to provide
                                                         failed to provide the
                                                                           the Waiting
                                                                               Waiting Time Class
                                                                                       Time Class

22
22     Members with
       Members with all
                    all of
                        of their
                           their earned wages upon
                                 earned wages upon separation
                                                   separation of
                                                              of employment
                                                                 employment within
                                                                            within the
                                                                                   the statutory
                                                                                       statutory time
                                                                                                 time

23
23     period;
       period;

24
24                            vii.
                              vii.    Whether Defendants
                                      Whether Defendants committed
                                                         committed unlawful
                                                                   unlawful business
                                                                            business acts
                                                                                     acts or
                                                                                          or practice
                                                                                             practice

25
25     within the
       within the meaning
                  meaning of
                          of Business
                             Business and
                                      and Professions
                                          Professions Code
                                                      Code sections
                                                           sections 17200,
                                                                    17200, et seq.;

26
26                            viii.
                              viii.   Whether Class
                                      Whether Class Members
                                                    Members are
                                                            are entitled to unpaid
                                                                entitled to unpaid wages,
                                                                                   wages, penalties,
                                                                                          penalties, and
                                                                                                     and

27
27     other relief
       other relief pursuant
                    pursuant to
                             to their
                                their claims;
                                      claims;

28
28                            ix.
                              ix.     Whether, as
                                      Whether, as aa consequence
                                                     consequence of
                                                                 of Defendants'
                                                                    Defendants’ unlawful
                                                                                unlawful conduct, the
                                                                                         conduct, the
                                                                                                              41
                                                  COMPLAINT
                                                  COMPLAINT
                                                     12
                                                     12
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1
1      Class Members
       Class Members are
                     are entitled to restitution,
                         entitled to restitution, and/or
                                                  and/or equitable
                                                         equitable relief; and
                                                                   relief; and

2
2                             x.
                              x.      Whether Defendants'
                                      Whether Defendants’ affirmative
                                                          affirmative defenses,
                                                                      defenses, if
                                                                                if any,
                                                                                   any, raise any common
                                                                                        raise any common

33     issues of
       issues of law
                 law or
                     or fact
                        fact as
                             as to
                                to Plaintiff
                                   Plaintiff and
                                             and as
                                                 as to
                                                    to Class
                                                       Class Members
                                                             Members as
                                                                     as aa whole.
                                                                           whole.

4
4                     C.
                      C.      Typicality: Plaintiff’s claims
                              Typicality: Plaintiff's claims are
                                                             are typical
                                                                 typical of
                                                                         of the
                                                                            the claims of the
                                                                                claims of the class
                                                                                              class members
                                                                                                    members

55     in each
       in each of
               of the
                  the classes.
                      classes. Plaintiff
                               Plaintiff and
                                         and members
                                             members of
                                                     of the
                                                        the Minimum
                                                            Minimum Wage
                                                                    Wage Class
                                                                         Class sustained
                                                                               sustained damages
                                                                                         damages

6
6      arising out
       arising out of
                   of Defendants'
                      Defendants’ failure to pay
                                  failure to pay wages
                                                 wages at
                                                       at least at minimum
                                                          least at minimum wage
                                                                           wage for all time
                                                                                for all time the
                                                                                             the

7
7      employees were
       employees were subject
                      subject to
                              to Defendants'
                                 Defendants’ control.
                                             control. Plaintiff
                                                      Plaintiff and
                                                                and members
                                                                    members of
                                                                            of the
                                                                               the Meal
                                                                                   Meal Period
                                                                                        Period Class
                                                                                               Class

88     sustained damages
       sustained damages arising
                         arising out
                                 out of
                                     of Defendants'
                                        Defendants’ failure to provide
                                                    failure to provide non-exempt
                                                                       non-exempt employees
                                                                                  employees with
                                                                                            with all
                                                                                                 all

9
9      required meal
       required meal periods
                     periods and/or
                             and/or meal
                                    meal periods
                                         periods that
                                                 that were
                                                      were duty-free
                                                           duty-free and
                                                                     and not less than
                                                                         not less than thirty
                                                                                       thirty (30)
                                                                                              (30) minutes
                                                                                                   minutes

10     and/or failure
       and/or         to pay
              failure to pay meal
                             meal period
                                  period premium
                                         premium wages
                                                 wages as
                                                       as compensation.
                                                          compensation. Plaintiff
                                                                        Plaintiff and
                                                                                  and members
                                                                                      members of
                                                                                              of the
                                                                                                 the

11
11     Rest Period
       Rest Period Class
                   Class sustained
                         sustained damages
                                   damages arising
                                           arising out
                                                   out of
                                                       of Defendants'
                                                          Defendants’ failure
                                                                      failure to
                                                                              to provide
                                                                                 provide non-exempt
                                                                                         non-exempt

12     employees with
       employees with all
                      all required
                          required rest periods and/or
                                   rest periods and/or rest
                                                       rest periods
                                                            periods that
                                                                    that were
                                                                         were duty-free and of
                                                                              duty-free and of aa net
                                                                                                  net ten
                                                                                                      ten

13     (10) minutes
       (10) minutes and/or
                    and/or failure to pay
                           failure to pay rest
                                          rest period
                                               period premium
                                                      premium wages
                                                              wages as
                                                                    as compensation.
                                                                       compensation. Plaintiff
                                                                                     Plaintiff and
                                                                                               and

14     members of
       members of the
                  the Pay
                      Pay Day
                          Day Class
                              Class sustained
                                    sustained damages
                                              damages arising
                                                      arising out
                                                              out of
                                                                  of Defendants'
                                                                     Defendants’ failure
                                                                                 failure to
                                                                                         to timely
                                                                                            timely pay
                                                                                                   pay

15     them all
       them all wages
                wages earned
                      earned during
                             during their
                                    their employment in compliance
                                          employment in compliance with
                                                                   with Labor Code section
                                                                        Labor Code section 204.
                                                                                           204.

16     Plaintiff and
       Plaintiff and members
                     members of
                             of the
                                the Wage
                                    Wage Statement Class sustained
                                         Statement Class sustained damages
                                                                   damages arising
                                                                           arising out
                                                                                   out of
                                                                                       of Defendants'
                                                                                          Defendants’

17     failure to
       failure to furnish them with
                  furnish them with accurate
                                    accurate itemized wage statements
                                             itemized wage statements in
                                                                      in compliance
                                                                         compliance with
                                                                                    with Labor Code
                                                                                         Labor Code

18     section 226.
       section 226. Plaintiff
                    Plaintiff and
                              and members
                                  members of
                                          of the
                                             the Waiting
                                                 Waiting Time
                                                         Time Class
                                                              Class sustained
                                                                    sustained damages
                                                                              damages arising
                                                                                      arising out
                                                                                              out of
                                                                                                  of

19     Defendants’ failure
       Defendants'         to provide
                   failure to provide all
                                      all unpaid yet earned
                                          unpaid yet earned wages
                                                            wages due
                                                                  due upon
                                                                      upon separation
                                                                           separation of
                                                                                      of employment
                                                                                         employment

20
20     within the
       within the statutory
                  statutory time
                            time limit.
                                 limit.

21
21                    D.
                      D.      Adequacy of
                              Adequacy of Representation:
                                          Representation: Plaintiff
                                                          Plaintiff will
                                                                    will fairly
                                                                         fairly and
                                                                                and adequately
                                                                                    adequately protect
                                                                                               protect

22
22     the interests
       the           of the
           interests of the members
                            members of
                                    of each class. Plaintiff
                                       each class. Plaintiff has
                                                             has no
                                                                 no interest
                                                                    interest that
                                                                             that is adverse to
                                                                                  is adverse to the
                                                                                                the interests
                                                                                                    interests of
                                                                                                              of

23
23     the other
       the other class
                 class members.
                       members.

24
24                    E.
                      E.      Superiority: A
                              Superiority: A class action is
                                             class action is superior
                                                             superior to
                                                                      to other
                                                                         other available
                                                                               available means
                                                                                         means for the fair
                                                                                               for the fair

25
25     and efficient
       and           adjudication of
           efficient adjudication of this
                                     this controversy. Because individual
                                          controversy. Because            joinder of
                                                               individual joinder of all
                                                                                     all members
                                                                                         members of
                                                                                                 of each
                                                                                                    each

26
26     class is
       class    impractical, class
             is impractical, class action
                                   action treatment
                                          treatment will
                                                    will permit
                                                         permit aa large
                                                                   large number
                                                                         number of
                                                                                of similarly
                                                                                   similarly situated
                                                                                             situated persons
                                                                                                      persons

27
27     to prosecute
       to prosecute their
                    their common claims in
                          common claims in aa single
                                              single forum
                                                     forum simultaneously,
                                                           simultaneously, efficiently, and without
                                                                           efficiently, and without the
                                                                                                    the

28
28     unnecessary duplication
       unnecessary duplication of
                               of effort
                                  effort and
                                         and expense
                                             expense that
                                                     that numerous
                                                          numerous individual actions would
                                                                   individual actions would engender.
                                                                                            engender.
                                                                                                                42
                                                    COMPLAINT
                                                    COMPLAINT
                                                       13
                                                       13
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1
1      The expenses and
       The expenses and burdens
                        burdens of
                                of individual
                                   individual litigation
                                              litigation would
                                                         would make
                                                               make it difficult or
                                                                    it difficult or impossible
                                                                                    impossible for
                                                                                               for

2
2      individual members
       individual members of
                          of each class to
                             each class to redress the wrongs
                                           redress the wrongs done
                                                              done to
                                                                   to them,
                                                                      them, while
                                                                            while important
                                                                                  important public
                                                                                            public

33     interests will
       interests will be
                      be served
                         served by
                                by addressing
                                   addressing the
                                              the matter
                                                  matter as
                                                         as aa class
                                                               class action.
                                                                     action. The
                                                                             The cost
                                                                                 cost to
                                                                                      to and
                                                                                         and burden
                                                                                             burden on
                                                                                                    on the
                                                                                                       the

4
4      court system
       court system of
                    of adjudication
                       adjudication of
                                    of individualized
                                       individualized litigation would be
                                                      litigation would be substantial,
                                                                          substantial, and
                                                                                       and substantially
                                                                                           substantially

55     more than
       more than the
                 the costs
                     costs and
                           and burdens
                               burdens of
                                       of aa class
                                             class action.
                                                   action. Individualized
                                                           Individualized litigation would also
                                                                          litigation would also present
                                                                                                present the
                                                                                                        the

6
6      potential for
       potential for inconsistent
                     inconsistent or
                                  or contradictory judgments.
                                     contradictory judgments.

7
7                     F.
                      F.      Public
                              Public Policy
                                     Policy Consideration:
                                            Consideration: Employers throughout the
                                                           Employers throughout the state
                                                                                    state violate
                                                                                          violate wage
                                                                                                  wage

88     and hour
       and hour laws.
                laws. Current
                      Current employees often are
                              employees often are afraid
                                                  afraid to
                                                         to assert
                                                            assert their
                                                                   their rights
                                                                         rights out
                                                                                out of
                                                                                    of fear of direct
                                                                                       fear of        or
                                                                                               direct or

9
9      indirect retaliation.
       indirect retaliation. Former
                             Former employees fear bringing
                                    employees fear bringing actions
                                                            actions because
                                                                    because they
                                                                            they perceive
                                                                                 perceive their
                                                                                          their former
                                                                                                former

10
10     employers can
       employers     blacklist them
                 can blacklist them in their future
                                    in their future endeavors with negative
                                                    endeavors with negative references
                                                                            references or
                                                                                       or by
                                                                                          by other
                                                                                             other means.
                                                                                                   means.

11
11     Class actions
       Class actions provide
                     provide the
                             the class
                                 class members
                                       members who
                                               who are
                                                   are not
                                                       not named
                                                           named in
                                                                 in the
                                                                    the Complaint
                                                                        Complaint with
                                                                                  with aa type
                                                                                          type of
                                                                                               of

12
12     anonymity that
       anonymity that allows
                      allows for
                             for vindication
                                 vindication of
                                             of their
                                                their rights.
                                                      rights.

13
13                                       FIRST
                                         FIRST CAUSE OF ACTION
                                               CAUSE OF ACTION

14
14     FAILURE TO PAY
       FAILURE TO     WAGES FOR
                  PAY WAGES     ALL HOURS
                            FOR ALL HOURS OF
                                          OF WORK
                                             WORK AT
                                                  AT THE
                                                     THE LEGAL
                                                         LEGAL MINIMUM
                                                               MINIMUM

15
15           WAGE RATE
             WAGE RATE IN VIOLATION OF
                       IN VIOLATION OF LABOR
                                       LABOR CODE SECTIONS 1194
                                             CODE SECTIONS 1194 AND
                                                                AND 1197
                                                                    1197

16
16                   (Against All
                     (Against All Defendants
                                  Defendants by
                                             by Plaintiff and the
                                                Plaintiff and the Minimum Wage Class)
                                                                  Minimum Wage Class)

17
17            37.
              37.     Plaintiff incorporates
                      Plaintiff incorporates all
                                             all paragraphs
                                                 paragraphs above
                                                            above as
                                                                  as though
                                                                     though fully set forth
                                                                            fully set       herein.
                                                                                      forth herein.

18
18            38.
              38.     At all
                      At all times
                             times relevant
                                   relevant to
                                            to this
                                               this Complaint,
                                                    Complaint, Plaintiff
                                                               Plaintiff and
                                                                         and the
                                                                             the Minimum
                                                                                 Minimum Wage
                                                                                         Wage Class
                                                                                              Class

19
19     were hourly
       were hourly non-exempt
                   non-exempt employees
                              employees of
                                        of Defendants.
                                           Defendants.

20
20            39.
              39.     Pursuant to
                      Pursuant to Labor
                                  Labor Code
                                        Code sections
                                             sections 1194,
                                                      1194, 1197,
                                                            1197, and
                                                                  and the
                                                                      the Wage
                                                                          Wage Order,
                                                                               Order, Plaintiff
                                                                                      Plaintiff and
                                                                                                and the
                                                                                                    the

21
21     Minimum Wage
       Minimum Wage Class
                    Class are
                          are entitled to receive
                              entitled to receive wages
                                                  wages for
                                                        for all
                                                            all hours
                                                                hours worked,
                                                                      worked, i.e.,
                                                                              i.e., all
                                                                                    all time
                                                                                        time they
                                                                                             they were
                                                                                                  were

22
22     subject to
       subject to Defendants'
                  Defendants’ control,
                              control, and
                                       and those
                                           those wages
                                                 wages must
                                                       must be
                                                            be paid
                                                               paid at
                                                                    at least at the
                                                                       least at the minimum
                                                                                    minimum wage
                                                                                            wage rate
                                                                                                 rate in
                                                                                                      in

23
23     effect during
       effect during the
                     the time
                         time the
                              the employees
                                  employees earned
                                            earned the
                                                   the wages.
                                                       wages.

24
24            40.
              40.     Defendants’ policies,
                      Defendants' policies, practices,
                                            practices, and/or
                                                       and/or procedures
                                                              procedures required
                                                                         required Plaintiff
                                                                                  Plaintiff and
                                                                                            and the
                                                                                                the

25
25     Minimum Wage
       Minimum Wage Class
                    Class to
                          to be
                             be engaged, suffered, or
                                engaged, suffered, or permitted
                                                      permitted to
                                                                to work
                                                                   work without
                                                                        without being
                                                                                being paid
                                                                                      paid wages
                                                                                           wages for
                                                                                                 for

26
26     all of
       all of the
              the time
                  time in which they
                       in which they were
                                     were subject
                                          subject to
                                                  to Defendants'
                                                     Defendants’ control.
                                                                 control.

27
27            41.
              41.     Defendants employed
                      Defendants employed policies,
                                          policies, practices,
                                                    practices, and/or
                                                               and/or procedures
                                                                      procedures including, but not
                                                                                 including, but not

28
28     limited to:
       limited to:
                                                                                                              43
                                                   COMPLAINT
                                                   COMPLAINT
                                                      14
                                                      14
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1
1                   (a) Since
                    (a)       the Outbreak
                        Since the Outbreak of
                                           of COVID-19,
                                              COVID-19, requiring
                                                        requiring Plaintiff
                                                                  Plaintiff and
                                                                            and the
                                                                                the Minimum
                                                                                    Minimum Wage
                                                                                            Wage

2
2      Class to
       Class to line
                line up
                     up to
                        to wait
                           wait to
                                to undergo
                                   undergo and
                                           and undergo
                                               undergo off-the-clock
                                                       off-the-clock COVID-19
                                                                     COVID-19 temperature
                                                                              temperature checks;
                                                                                          checks; and
                                                                                                  and

33                  (b) Requiring
                    (b) Requiring Plaintiff
                                  Plaintiff and
                                            and the
                                                the Minimum
                                                    Minimum Wage
                                                            Wage Class
                                                                 Class to
                                                                       to keep
                                                                          keep their
                                                                               their employer-issued
                                                                                     employer-issued

4
4      walkie-talkies on
       walkie-talkies on their
                         their person,
                               person, monitored,
                                       monitored, and
                                                  and to
                                                      to respond
                                                         respond to
                                                                 to calls received on
                                                                    calls received on them
                                                                                      them at
                                                                                           at all
                                                                                              all times
                                                                                                  times

55     during their
       during their shift,
                    shift, including
                           including while
                                     while off-the-clock
                                           off-the-clock during
                                                         during their
                                                                their meal
                                                                      meal breaks.
                                                                           breaks.

6
6             42.
              42.      Plaintiff and
                       Plaintiff and the
                                     the Minimum
                                         Minimum Wage
                                                 Wage Class
                                                      Class were
                                                            were not
                                                                 not paid
                                                                     paid for
                                                                          for this
                                                                              this time
                                                                                   time resulting
                                                                                        resulting in
                                                                                                  in

7
7      Defendants’ failure
       Defendants' failure to
                           to pay
                              pay minimum
                                  minimum wage
                                          wage for
                                               for all
                                                   all the
                                                       the hours
                                                           hours Plaintiff
                                                                 Plaintiff and
                                                                           and the
                                                                               the Minimum
                                                                                   Minimum Wage
                                                                                           Wage Class
                                                                                                Class

88     worked.
       worked.

9
9             43.
              43.      As aa result
                       As    result of
                                    of Defendants'
                                       Defendants’ unlawful
                                                   unlawful conduct,
                                                            conduct, Plaintiff
                                                                     Plaintiff and
                                                                               and the
                                                                                   the Minimum
                                                                                       Minimum Wage
                                                                                               Wage

10     Class have
       Class have suffered
                  suffered damages
                           damages in an amount
                                   in an amount subject
                                                subject to
                                                        to proof,
                                                           proof, to
                                                                  to the
                                                                     the extent
                                                                         extent that
                                                                                that they
                                                                                     they were
                                                                                          were not
                                                                                               not paid
                                                                                                   paid

11
11     wages at
       wages at aa minimum
                   minimum wage
                           wage rate
                                rate for
                                     for all
                                         all hours
                                             hours worked.
                                                   worked.

12            44.
              44.      Pursuant to
                       Pursuant to Labor Code sections
                                   Labor Code sections 1194
                                                       1194 and
                                                            and 1194.2,
                                                                1194.2, Plaintiff
                                                                        Plaintiff and
                                                                                  and the
                                                                                      the Minimum
                                                                                          Minimum

13     Wage Class
       Wage Class are
                  are entitled to recover
                      entitled to         unpaid minimum
                                  recover unpaid minimum wage,
                                                         wage, interest
                                                               interest thereon,
                                                                        thereon, liquidated
                                                                                 liquidated damages
                                                                                            damages in
                                                                                                    in

14     the amount
       the amount of
                  of their
                     their unpaid
                           unpaid minimum
                                  minimum wage,
                                          wage, and
                                                and attorneys'
                                                    attorneys’ fees
                                                               fees and
                                                                    and costs.
                                                                        costs.

15                                      SECOND CAUSE
                                        SECOND CAUSE OF
                                                     OF ACTION
                                                        ACTION

16     FAILURE
       FAILURE TO AUTHORIZE OR
               TO AUTHORIZE OR PERMIT MEAL PERIODS
                               PERMIT MEAL PERIODS IN VIOLATION OF
                                                   IN VIOLATION OF LABOR
                                                                   LABOR

17                                     CODE SECTIONS 512
                                       CODE SECTIONS 512 AND
                                                         AND 226.7
                                                             226.7

18                      (Against All
                        (Against All Defendants
                                     Defendants by
                                                by Plaintiff and the
                                                   Plaintiff and the Meal
                                                                     Meal Period Class)
                                                                          Period Class)

19            45.
              45.      Plaintiff incorporates
                       Plaintiff              all paragraphs
                                 incorporates all paragraphs above
                                                             above as
                                                                   as though
                                                                      though fully
                                                                             fully set
                                                                                   set forth herein.
                                                                                       forth herein.

20
20            46.
              46.      At all
                       At all times
                              times relevant
                                    relevant to
                                             to this
                                                this Complaint,
                                                     Complaint, Plaintiff
                                                                Plaintiff and
                                                                          and the
                                                                              the Meal
                                                                                  Meal Period
                                                                                       Period Class
                                                                                              Class were
                                                                                                    were

21
21     hourly non-exempt
       hourly non-exempt employees of Defendants,
                         employees of Defendants, covered
                                                  covered by
                                                          by Labor Code sections
                                                             Labor Code sections 512 and 226.7
                                                                                 512 and 226.7 and
                                                                                               and

22
22     the Wage
       the Wage Order.
                Order.

23
23            47.
              47.      California law
                       California law requires
                                      requires an
                                               an employer to authorize
                                                  employer to authorize or
                                                                        or permit
                                                                           permit an
                                                                                  an employee an
                                                                                     employee an

24
24     uninterrupted meal
       uninterrupted meal period
                          period of
                                 of no
                                    no less
                                       less than
                                            than thirty
                                                 thirty (30)
                                                        (30) minutes
                                                             minutes in which the
                                                                     in which the employee
                                                                                  employee is
                                                                                           is relieved of
                                                                                              relieved of

25
25     all duties
       all        and the
           duties and the employer relinquishes control
                          employer relinquishes control over
                                                        over the
                                                             the employee's
                                                                 employee’s activities
                                                                            activities no
                                                                                       no later than the
                                                                                          later than the

26
26     end of
       end of the
              the employee's
                  employee’s fifth
                             fifth hour
                                   hour of
                                        of work
                                           work and
                                                and aa second
                                                       second meal
                                                              meal period
                                                                   period no
                                                                          no later
                                                                             later than
                                                                                   than the
                                                                                        the employee's
                                                                                            employee’s

27
27     tenth hour
       tenth hour of
                  of work.
                     work. Labor Code sections
                           Labor Code sections 226.7,
                                               226.7, 512; Wage Order
                                                      512; Wage Order 4,
                                                                      4, §11;
                                                                         §11; Brinker Rest. Corp. v.

28
28                          (2012) 53
       Super Ct. (Hohnbaum) (2012)    Cal.4th 1004.
                                   53 Ca1.4th 1004. If the employer
                                                    If the employer requires the employee
                                                                    requires the employee to
                                                                                          to remain
                                                                                             remain at
                                                                                                    at
                                                                                                           44
                                                   COMPLAINT
                                                   COMPLAINT
                                                      15
                                                      15
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1
1      the work
       the work site
                site or
                     or facility during the
                        facility during the meal
                                            meal period,
                                                 period, the
                                                         the meal
                                                             meal period
                                                                  period must
                                                                         must be
                                                                              be paid.
                                                                                 paid. This is true
                                                                                       This is true even
                                                                                                    even

2
2      where the
       where the employee is relieved
                 employee is relieved of
                                      of all
                                         all work
                                             work duties during the
                                                  duties during the meal
                                                                    meal period.
                                                                         period. Bono Enterprises, Inc. v.

33              (1995) 32
       Bradshaw (1995)    Cal.App.4th 968.
                       32 Cal.App.4th      Labor Code
                                      968. Labor Code section
                                                      section 226.7
                                                              226.7 provides
                                                                    provides that
                                                                             that if an employee
                                                                                  if an employee

4
4      does not
       does not receive
                receive aa required
                           required meal
                                    meal or
                                         or rest
                                            rest period
                                                 period that
                                                        that "the
                                                             “the employer shall pay
                                                                  employer shall pay the
                                                                                     the employee one
                                                                                         employee one

55     additional hour
       additional hour of
                       of pay
                          pay at
                              at the
                                 the employee’s
                                     employee's regular rate of
                                                regular rate of compensation
                                                                compensation for
                                                                             for each work day
                                                                                 each work     that the
                                                                                           day that the

6
6      meal or
       meal or rest
               rest period
                    period is
                           is not
                              not provided."
                                  provided.”

7
7             48.
              48.      In this case,
                       In this       Plaintiff and
                               case, Plaintiff and the
                                                   the Meal
                                                       Meal Period
                                                            Period Class
                                                                   Class worked
                                                                         worked shifts
                                                                                shifts long
                                                                                       long enough to
                                                                                            enough to

88     entitle them
       entitle them to
                    to meal
                       meal periods
                            periods under
                                    under California
                                          California law.
                                                     law. Nevertheless,
                                                          Nevertheless, Defendants
                                                                        Defendants employed policies,
                                                                                   employed policies,

9
9      practices, and/or
       practices, and/or procedures
                         procedures that
                                    that resulted
                                         resulted in their failure
                                                  in their failure to
                                                                   to authorize
                                                                      authorize or
                                                                                or permit
                                                                                   permit meal
                                                                                          meal periods
                                                                                               periods to
                                                                                                       to

10     Plaintiff and
       Plaintiff and the
                     the Meal
                         Meal Period
                              Period Class
                                     Class of
                                           of no
                                              no less
                                                 less than
                                                      than thirty
                                                           thirty (30)
                                                                  (30) minutes
                                                                       minutes for
                                                                               for each five-hour period
                                                                                   each five-hour period of
                                                                                                         of

11
11     work as
       work as required
               required by
                        by law.
                           law. Such policies, practices,
                                Such policies, practices, and/or
                                                          and/or procedures
                                                                 procedures included,
                                                                            included, but
                                                                                      but were
                                                                                          were not
                                                                                               not limited
                                                                                                   limited

12     to:
       to:

13                  (a) Failing
                    (a) Failing to
                                to provide
                                   provide Plaintiff
                                           Plaintiff and
                                                     and the
                                                         the Meal
                                                             Meal Period
                                                                  Period Class
                                                                         Class duty-free meal breaks
                                                                               duty-free meal breaks due to
                                                                                                     due to

14     Defendant requiring
       Defendant           Plaintiff and
                 requiring Plaintiff and the
                                         the Meal
                                             Meal Period
                                                  Period Class
                                                         Class to
                                                               to keep their employer-issued
                                                                  keep their employer-issued walkie-
                                                                                             walkie-

15     talkies on
       talkies on their
                  their person,
                        person, monitored,
                                monitored, and
                                           and to
                                               to respond to calls
                                                  respond to calls received on them
                                                                   received on them while
                                                                                    while off-the-clock
                                                                                          off-the-clock

16     during their
       during their meal
                    meal breaks.
                         breaks.

17            49.
              49.      Additionally, Defendants
                       Additionally, Defendants failed
                                                failed to
                                                       to pay
                                                          pay Plaintiff
                                                              Plaintiff and
                                                                        and the
                                                                            the Meal
                                                                                Meal Period
                                                                                     Period Class
                                                                                            Class one
                                                                                                  one (1)
                                                                                                      (1)

18     hour of
       hour of pay
               pay at
                   at their
                      their regular
                            regular rate of pay
                                    rate of pay for each workday
                                                for each workday they
                                                                 they did
                                                                      did not receive all
                                                                          not receive all legally required
                                                                                          legally required

19     and legally
       and legally compliant
                   compliant meal
                             meal periods.
                                  periods. Defendants
                                           Defendants lacked
                                                      lacked aa policy
                                                                policy and
                                                                       and procedure
                                                                           procedure for
                                                                                     for compensating
                                                                                         compensating

20
20     Plaintiff and
       Plaintiff and the
                     the Meal
                         Meal Period
                              Period Class
                                     Class with
                                           with premium
                                                premium wages
                                                        wages when
                                                              when they
                                                                   they did not receive
                                                                        did not         all legally
                                                                                receive all legally

21
21     required and
       required and legally
                    legally compliant meal periods.
                            compliant meal periods.

22
22            50.
              50.       Defendants’ unlawful
                        Defendants' unlawful conduct
                                             conduct alleged
                                                     alleged herein
                                                             herein occurred
                                                                    occurred in the course
                                                                             in the course of
                                                                                           of

23
23     employment of
       employment of Plaintiff
                     Plaintiff and
                               and the
                                   the Meal
                                       Meal Period
                                            Period Class
                                                   Class and
                                                         and such
                                                             such conduct
                                                                  conduct has
                                                                          has continued
                                                                              continued through
                                                                                        through the
                                                                                                the

24
24     filing of this
       filing of this Complaint.
                      Complaint.

25
25            51.
              51.      Because Defendants
                       Because Defendants failed to provide
                                          failed to provide employees with meal
                                                            employees with meal periods
                                                                                periods in
                                                                                        in compliance
                                                                                           compliance

26
26     with the
       with the law, Defendants are
                law, Defendants are liable
                                    liable to
                                           to Plaintiff
                                              Plaintiff and
                                                        and the
                                                            the Meal
                                                                Meal Period
                                                                     Period Class
                                                                            Class for one (1)
                                                                                  for one (1) hour
                                                                                              hour of
                                                                                                   of

27
27     additional pay
       additional pay at
                      at the
                         the regular rate of
                             regular rate of compensation
                                             compensation for each workday
                                                          for each workday that
                                                                           that Defendants
                                                                                Defendants did
                                                                                           did not
                                                                                               not

28
28     provide all
       provide all legally required and
                   legally required and legally
                                        legally compliant meal periods,
                                                compliant meal periods, pursuant
                                                                        pursuant to
                                                                                 to Labor Code section
                                                                                    Labor Code section
                                                                                                              45
                                                   COMPLAINT
                                                   COMPLAINT
                                                      16
                                                      16
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1
1      226.7 and
       226.7 and the
                 the Wage
                     Wage Order.
                          Order.

2
2             52.
              52.     Plaintiff, on
                      Plaintiff, on behalf
                                    behalf of
                                           of himself
                                              himself and
                                                      and the
                                                          the Meal
                                                              Meal Period
                                                                   Period Class
                                                                          Class seeks
                                                                                seeks damages
                                                                                      damages and
                                                                                              and all
                                                                                                  all

33     other relief
       other relief allowable,
                    allowable, including
                               including aa meal
                                            meal period
                                                 period premium
                                                        premium wage
                                                                wage for
                                                                     for each
                                                                         each workday
                                                                              workday Defendants
                                                                                      Defendants failed
                                                                                                 failed

4
4      to provide
       to provide all
                  all legally
                      legally required
                              required and
                                       and legally compliant meal
                                           legally compliant meal periods,
                                                                  periods, plus
                                                                           plus pre-judgment
                                                                                pre-judgment interest.
                                                                                             interest.

55                                       THIRD
                                         THIRD CAUSE OF ACTION
                                               CAUSE OF ACTION

6
6      FAILURE TO AUTHORIZE
       FAILURE TO AUTHORIZE OR
                            OR PERMIT REQUIRED REST
                               PERMIT REQUIRED REST PERIODS
                                                    PERIODS IN VIOLATION
                                                            IN VIOLATION

7
7                                    OF LABOR
                                     OF LABOR CODE
                                              CODE SECTION 226.7
                                                   SECTION 226.7

88                     (Against All
                       (Against All Defendants
                                    Defendants by
                                               by Plaintiff and the
                                                  Plaintiff and the Rest
                                                                    Rest Period
                                                                         Period Class)
                                                                                Class)

9
9             53.
              53.     Plaintiff incorporates
                      Plaintiff              all paragraphs
                                incorporates all paragraphs above
                                                            above as
                                                                  as though
                                                                     though fully set forth
                                                                            fully set       herein.
                                                                                      forth herein.

10
10            54.
              54.     At all
                      At all times
                             times relevant
                                   relevant to
                                            to this
                                               this Complaint,
                                                    Complaint, Plaintiff
                                                               Plaintiff and
                                                                         and the
                                                                             the Rest
                                                                                 Rest Period
                                                                                      Period Class
                                                                                             Class were
                                                                                                   were

11
11     employees of
       employees of Defendants,
                    Defendants, covered
                                covered by
                                        by Labor Code section
                                           Labor Code section 226.7
                                                              226.7 and
                                                                    and Wage
                                                                        Wage Order
                                                                             Order 4.
                                                                                   4.

12
12            55.
              55.     California law
                      California     requires that
                                 law requires that "[e]very
                                                   “[e]very employer
                                                            employer shall
                                                                     shall authorize
                                                                           authorize and
                                                                                     and permit
                                                                                         permit all
                                                                                                all

13
13     employees to
       employees to take
                    take rest
                         rest periods,
                              periods, which
                                       which insofar
                                             insofar as
                                                     as practicable
                                                        practicable shall
                                                                    shall be
                                                                          be in
                                                                             in the
                                                                                the middle
                                                                                    middle of
                                                                                           of each
                                                                                              each work
                                                                                                   work

14
14     period. The
       period. The authorized
                   authorized rest period time
                              rest period time shall
                                               shall be
                                                     be based
                                                        based on
                                                              on the
                                                                 the total
                                                                     total hours
                                                                           hours worked
                                                                                 worked daily at the
                                                                                        daily at the rate
                                                                                                     rate of
                                                                                                          of

15
15     ten (10)
       ten (10) minutes
                minutes net
                        net rest
                            rest time
                                 time per
                                      per four (4) hours
                                          four (4) hours or
                                                         or major
                                                            major fraction
                                                                  fraction thereof...."
                                                                           thereof….” Wage
                                                                                        Wage Order
                                                                                             Order 4,
                                                                                                   4, §12.
                                                                                                      §12.

16
16     Employees are entitled
       Employees are entitled to
                              to 10
                                 10 minutes
                                    minutes rest
                                            rest for shifts from
                                                 for shifts      three and
                                                            from three and one-half
                                                                           one-half to
                                                                                    to six
                                                                                       six hours
                                                                                           hours in
                                                                                                 in length,
                                                                                                    length,

17
17     20 minutes
       20 minutes for
                  for shifts
                      shifts of
                             of more
                                more than
                                     than six
                                          six hours
                                              hours up
                                                    up to
                                                       to 10
                                                          10 hours,
                                                             hours, 30
                                                                    30 minutes
                                                                       minutes for
                                                                               for shifts
                                                                                   shifts of
                                                                                          of more
                                                                                             more than
                                                                                                  than 10
                                                                                                       10

18
18     hours up
       hours up to
                to 14
                   14 hours,
                      hours, and
                             and so
                                 so on."
                                    on.” Brinker Restaurant Corp. v. Sup. Ct. (Hohnbaum) (2012)
                                                                                         (2012) 53
                                                                                                53

19
19     Cal.4th 1004,
       Ca1.4th 1004, 1029;
                     1029; Labor
                           Labor Code
                                 Code section
                                      section 226.7.
                                              226.7. Additionally,
                                                     Additionally, the
                                                                   the rest
                                                                       rest period
                                                                            period requirement
                                                                                   requirement

20
20     “obligates employers
       "obligates employers to
                            to permit
                               permit —
                                      – and
                                        and authorizes
                                            authorizes employees
                                                       employees to
                                                                 to take
                                                                    take —
                                                                         – off-duty
                                                                           off-duty rest
                                                                                    rest periods."
                                                                                         periods.”

21
21     Augustus v. ABM                          (2016) 55 Ca1.5th
                   ABM Security Services, Inc., (2016)    Cal.5th 257,
                                                                  257, 269.
                                                                       269. That
                                                                            That is, during rest
                                                                                 is, during rest periods
                                                                                                 periods

22
22     employers must
       employers must relieve
                      relieve employees
                              employees of
                                        of all
                                           all duties
                                               duties and
                                                      and relinquish
                                                          relinquish control over how
                                                                     control over how employees spend
                                                                                      employees spend

23
23     their time.
       their time. Id. If an employer
                       If an employer fails to provide
                                      fails to provide an
                                                       an employee
                                                          employee aa rest
                                                                      rest period
                                                                           period in
                                                                                  in accordance
                                                                                     accordance with
                                                                                                with the
                                                                                                     the

24
24     applicable provisions
       applicable provisions of
                             of this
                                this Order,
                                     Order, the
                                            the employer shall pay
                                                employer shall pay the
                                                                   the employee one (1)
                                                                       employee one (1) hour
                                                                                        hour of
                                                                                             of pay
                                                                                                pay at
                                                                                                    at the
                                                                                                       the

25
25     employee’s regular
       employee's regular rate of compensation
                          rate of compensation for each work
                                               for each work day
                                                             day that
                                                                 that the
                                                                      the rest
                                                                          rest period
                                                                               period is not provided."
                                                                                      is not provided.”

26
26     Wage Order
       Wage Order 4,
                  4, §12;
                     §12; Labor Code section
                          Labor Code section 226.7.
                                             226.7.

27
27            56.
              56.     In this case,
                      In this case, Plaintiff
                                    Plaintiff and
                                              and the
                                                  the Rest
                                                      Rest Period
                                                           Period Class
                                                                  Class regularly
                                                                        regularly worked
                                                                                  worked shifts
                                                                                         shifts of
                                                                                                of more
                                                                                                   more

28
28     than three-and-a-half
       than three-and-a-half (3.5)
                             (3.5) hours.
                                   hours. Nevertheless,
                                          Nevertheless, Defendants
                                                        Defendants employed policies, practices,
                                                                   employed policies, practices, and/or
                                                                                                 and/or
                                                                                                              46
                                                  COMPLAINT
                                                  COMPLAINT
                                                     17
                                                     17
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1
1      procedures that
       procedures that resulted
                       resulted in
                                in their
                                   their failure
                                         failure to
                                                 to authorize
                                                    authorize or
                                                              or permit
                                                                 permit all
                                                                        all legally required and
                                                                            legally required and compliant
                                                                                                 compliant

2
2      rest periods
       rest periods to
                    to Plaintiff
                       Plaintiff and
                                 and the
                                     the Rest
                                         Rest Period
                                              Period Class.
                                                     Class. Such policies, practices,
                                                            Such policies, practices, and/or
                                                                                      and/or procedures
                                                                                             procedures

33     included, but
       included, but were
                     were not
                          not limited to:
                              limited to:

4
4                   (a) Failing
                    (a) Failing to
                                to provide
                                   provide Plaintiff
                                           Plaintiff and
                                                     and the
                                                         the Rest
                                                             Rest Period
                                                                  Period Class
                                                                         Class duty-free
                                                                               duty-free rest
                                                                                         rest breaks
                                                                                              breaks due to
                                                                                                     due to

55    Defendant
      defendant requiring Plaintiff and
                requiring Plaintiff and the
                                        the Rest
                                            Rest Period
                                                 Period Class
                                                        Class to
                                                              to keep
                                                                 keep their
                                                                      their employer-issued walkie-
                                                                            employer-issued walkie-

6
6     talkies on their
       alkies on their person,
                       person, monitored,
                               monitored, and
                                          and to
                                              to respond to calls
                                                 respond to calls received
                                                                  received on
                                                                           on them
                                                                              them at
                                                                                   at all
                                                                                      all times
                                                                                          times during their
                                                                                                during their

7
7     shift
       hill including during rest
            including during rest breaks.
                                  breaks.

88            57.
              57.      Additionally, Defendants
                       Additionally, Defendants failed to pay
                                                failed to pay Plaintiff
                                                              Plaintiff and
                                                                        and the
                                                                            the Rest
                                                                                Rest Period
                                                                                     Period Class
                                                                                            Class one
                                                                                                  one (1)
                                                                                                      (1)

9
9      hour of
       hour of pay
               pay at
                   at their
                      their regular
                            regular rate of pay
                                    rate of pay for each workday
                                                for each workday they
                                                                 they did
                                                                      did not receive all
                                                                          not receive all legally required
                                                                                          legally required

10
10     and legally
       and legally compliant
                   compliant rest
                             rest periods.
                                  periods. Defendants
                                           Defendants lacked
                                                      lacked aa policy
                                                                policy and
                                                                       and procedure
                                                                           procedure for compensating
                                                                                     for compensating

11
11     Plaintiff and
       Plaintiff and the
                     the Rest
                         Rest Period
                              Period Class
                                     Class with
                                           with premium
                                                premium wages
                                                        wages when
                                                              when they
                                                                   they did not receive
                                                                        did not receive all
                                                                                        all legally
                                                                                            legally

12
12     required and
       required and legally
                    legally compliant rest periods.
                            compliant rest periods.

13
13            58.
              58.      Defendants’ unlawful
                       Defendants' unlawful conduct
                                            conduct alleged
                                                    alleged herein
                                                            herein occurred
                                                                   occurred in the course
                                                                            in the course of
                                                                                          of employment
                                                                                             employment

14
14     of Plaintiff
       of Plaintiff and
                    and the
                        the Rest
                            Rest Period
                                 Period Class
                                        Class and
                                              and such
                                                  such conduct
                                                       conduct has
                                                               has continued
                                                                   continued through
                                                                             through the
                                                                                     the filing
                                                                                         filing of
                                                                                                of this
                                                                                                   this

15
15     Complaint.
       Complaint.

16
16            59.
              59.      Because Defendants
                       Because Defendants failed to provide
                                          failed to provide employees
                                                            employees with
                                                                      with rest periods in
                                                                           rest periods in compliance
                                                                                           compliance

17
17     with the
       with the law, Defendants are
                law, Defendants are liable
                                    liable to
                                           to Plaintiff
                                              Plaintiff and
                                                        and the
                                                            the Rest
                                                                Rest Period
                                                                     Period Class
                                                                            Class for
                                                                                  for one
                                                                                      one (1)
                                                                                          (1) hour
                                                                                              hour of
                                                                                                   of

18
18     additional pay
       additional pay at
                      at the
                         the regular rate of
                             regular rate of compensation
                                             compensation for each workday
                                                          for each workday that
                                                                           that Defendants
                                                                                Defendants did
                                                                                           did not
                                                                                               not

19
19     provide all
       provide all legally
                   legally required
                           required and
                                    and legally
                                        legally compliant
                                                compliant rest
                                                          rest periods,
                                                               periods, pursuant
                                                                        pursuant to
                                                                                 to Labor Code section
                                                                                    Labor Code section

20
20     226.7 and
       226.7 and the
                 the Wage
                     Wage Order.
                          Order.

21
21            60.
              60.      Plaintiff, on
                       Plaintiff, on behalf
                                     behalf of
                                            of himself
                                               himself and
                                                       and the
                                                           the Rest
                                                               Rest Period
                                                                    Period Class
                                                                           Class seeks
                                                                                 seeks damages
                                                                                       damages and
                                                                                               and all
                                                                                                   all

22
22     other relief
       other relief allowable,
                    allowable, including
                               including aa rest period premium
                                            rest period premium wage
                                                                wage for each workday
                                                                     for each workday Defendants
                                                                                      Defendants failed
                                                                                                 failed

23
23     to provide
       to provide all
                  all legally
                      legally required
                              required and
                                       and legally compliant rest
                                           legally compliant      periods, plus
                                                             rest periods, plus pre-judgment
                                                                                pre-judgment interest.
                                                                                             interest.

24
24                                      FOURTH CAUSE OF
                                        FOURTH CAUSE OF ACTION
                                                        ACTION

25
25           FAILURE TO TIMELY
             FAILURE TO TIMELY PAY
                               PAY EARNED WAGES DURING
                                   EARNED WAGES DURING EMPLOYMENT
                                                       EMPLOYMENT IN
                                                                  IN

26
26                             VIOLATION OF
                               VIOLATION OF LABOR
                                            LABOR CODE
                                                  CODE SECTION
                                                       SECTION 204
                                                               204

27
27                        (Against All
                          (Against All Defendants
                                       Defendants by
                                                  by Plaintiff and the
                                                     Plaintiff and the Pay Day Class)
                                                                       Pay Day Class)

28
28            61.
              61.      Plaintiff incorporates
                       Plaintiff incorporates all
                                              all paragraphs
                                                  paragraphs above
                                                             above as
                                                                   as though
                                                                      though fully set forth
                                                                             fully set       herein.
                                                                                       forth herein.
                                                                                                               47
                                                   COMPLAINT
                                                   COMPLAINT
                                                      18
                                                      18
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1
1             62.
              62.     Plaintiff and
                      Plaintiff and the
                                    the Pay
                                        Pay Day
                                            Day Class
                                                Class have
                                                      have been
                                                           been employed
                                                                employed by
                                                                         by Defendants
                                                                            Defendants in
                                                                                       in the
                                                                                          the State of
                                                                                              State of

2
2      California. In
       California. In California,
                      California, wages
                                  wages must
                                        must be
                                             be paid
                                                paid at
                                                     at least
                                                        least twice
                                                              twice during
                                                                    during each calendar month
                                                                           each calendar month on
                                                                                               on days
                                                                                                  days

33     designated in
       designated    advance by
                  in advance by the
                                the employer as regular
                                    employer as         paydays, subject
                                                regular paydays, subject to
                                                                         to some
                                                                            some exceptions.
                                                                                 exceptions. Labor
                                                                                             Labor

4
4      Code section
       Code section 204(a).
                    204(a). Wages
                            Wages earned
                                  earned between
                                         between the
                                                 the 1st
                                                     1st and
                                                         and 15th
                                                             15th days,
                                                                  days, inclusive,
                                                                        inclusive, of
                                                                                   of any
                                                                                      any calendar
                                                                                          calendar

55     month must
       month must be
                  be paid
                     paid between
                          between the
                                  the 16th
                                      16th and
                                           and the
                                               the 26th
                                                   26th day
                                                        day of
                                                            of that
                                                               that month
                                                                    month and
                                                                          and wages
                                                                              wages earned
                                                                                    earned between
                                                                                           between

6
6      the 16th
       the 16th and
                and the
                    the last day, inclusive,
                        last day, inclusive, of
                                             of any
                                                any calendar
                                                    calendar month
                                                             month must
                                                                   must be
                                                                        be paid
                                                                           paid between
                                                                                between the
                                                                                        the 1st
                                                                                            1st and
                                                                                                and 10th
                                                                                                    10th

7
7      day of
       day of the
              the following month. Id. Other
                  following month.     Other payroll
                                             payroll periods
                                                     periods such
                                                             such as
                                                                  as those
                                                                     those that
                                                                           that are
                                                                                are weekly,
                                                                                    weekly, biweekly,
                                                                                            biweekly, or
                                                                                                      or

88     semimonthly, must
       semimonthly, must be
                         be paid
                            paid within
                                 within seven
                                        seven (7) calendar days
                                              (7) calendar days following the close
                                                                following the close of
                                                                                    of the
                                                                                       the payroll
                                                                                           payroll

9
9      period in
       period in which
                 which wages
                       wages were
                             were earned.
                                  earned. Labor Code section
                                          Labor Code section 204(d).
                                                             204(d).

10            63.
              63.     As aa derivative
                      As    derivative of
                                       of Plaintiff's
                                          Plaintiff’s claims
                                                      claims above,
                                                             above, Plaintiff
                                                                    Plaintiff alleges
                                                                              alleges that
                                                                                      that Defendants
                                                                                           Defendants failed
                                                                                                      failed

11
11     to timely
       to timely pay
                 pay Plaintiff's
                     Plaintiff’s and
                                 and the
                                     the Pay
                                         Pay Day
                                             Day Class'
                                                 Class’ earned
                                                        earned wages
                                                               wages (including
                                                                     (including minimum
                                                                                minimum wages,
                                                                                        wages, meal
                                                                                               meal

12     period premium
       period premium wages,
                      wages, and/or
                             and/or rest
                                    rest period
                                         period premium
                                                premium wages),
                                                        wages), in violation of
                                                                in violation of Labor Code section
                                                                                Labor Code section

13     204.
       204.

14            64.
              64.     Defendants’ aforementioned
                      Defendants' aforementioned policies,
                                                 policies, practices,
                                                           practices, and/or
                                                                      and/or procedures
                                                                             procedures resulted
                                                                                        resulted in
                                                                                                 in their
                                                                                                    their

15     failure to
       failure to pay
                  pay Plaintiff
                      Plaintiff and
                                and the
                                    the Pay
                                        Pay Day
                                            Day Class
                                                Class their
                                                      their earned wages within
                                                            earned wages within the
                                                                                the applicable
                                                                                    applicable time
                                                                                               time frames
                                                                                                    frames

16     outlined in
       outlined in Labor Code section
                   Labor Code section 204.
                                      204.

17            65.
              65.     Defendants’ failure
                      Defendants' failure to
                                          to timely
                                             timely pay
                                                    pay Plaintiff
                                                        Plaintiff and
                                                                  and the
                                                                      the Pay
                                                                          Pay Day
                                                                              Day Class
                                                                                  Class their
                                                                                        their earned
                                                                                              earned

18     wages in
       wages in accordance
                accordance with
                           with Labor Code section
                                Labor Code section 204
                                                   204 was
                                                       was willful.
                                                           willful. Defendants
                                                                    Defendants had
                                                                               had the
                                                                                   the ability
                                                                                       ability to
                                                                                               to

19     timely pay
       timely pay all
                  all wages
                      wages earned
                            earned by
                                   by hourly
                                      hourly workers
                                             workers in accordance with
                                                     in accordance with Labor Code section
                                                                        Labor Code section 204,
                                                                                           204, but
                                                                                                but

20
20     intentionally adopted
       intentionally adopted policies
                             policies or
                                      or practices
                                         practices incompatible
                                                   incompatible with
                                                                with the
                                                                     the requirements of Labor
                                                                         requirements of       Code
                                                                                         Labor Code

21
21     section 204.
       section 204. When
                    When Defendants
                         Defendants failed to timely
                                    failed to timely pay
                                                     pay Plaintiff
                                                         Plaintiff and
                                                                   and the
                                                                       the Pay
                                                                           Pay Day
                                                                               Day Class
                                                                                   Class all
                                                                                         all earned
                                                                                             earned

22
22     wages, they
       wages, they knew what they
                   knew what they were
                                  were doing
                                       doing and
                                             and intended
                                                 intended to
                                                          to do
                                                             do what
                                                                what they
                                                                     they did.
                                                                          did.

23
23            66.
              66.     As aa result
                      As    result of
                                   of Defendants'
                                      Defendants’ unlawful
                                                  unlawful conduct, Plaintiff and
                                                           conduct, Plaintiff and the
                                                                                  the Pay
                                                                                      Pay Day
                                                                                          Day Class
                                                                                              Class have
                                                                                                    have

24
24     suffered damages
       suffered damages in an amount
                        in an amount subject
                                     subject to
                                             to proof,
                                                proof, to
                                                       to the
                                                          the extent that they
                                                              extent that they were
                                                                               were not
                                                                                    not timely
                                                                                        timely paid
                                                                                               paid their
                                                                                                    their

25
25     earned wages
       earned wages pursuant
                    pursuant to
                             to Labor Code section
                                Labor Code section 204.
                                                   204.

26
26            67.
              67.     Pursuant to
                      Pursuant to Labor Code section
                                  Labor Code section 210,
                                                     210, Plaintiff
                                                          Plaintiff and
                                                                    and the
                                                                        the Pay
                                                                            Pay Day
                                                                                Day Class
                                                                                    Class are
                                                                                          are entitled
                                                                                              entitled to
                                                                                                       to

27
27     recover civil
       recover civil penalties
                     penalties as
                               as follows: (1) for
                                  follows: (1) for any
                                                   any initial
                                                       initial violation,
                                                               violation, one
                                                                          one hundred
                                                                              hundred dollars
                                                                                      dollars ($100)
                                                                                              ($100) for
                                                                                                     for each
                                                                                                         each

28
28     failure to
       failure to pay
                  pay each
                      each employee;
                           employee; and
                                     and (2)
                                         (2) for each subsequent
                                             for each subsequent violation,
                                                                 violation, or
                                                                            or any
                                                                               any willful
                                                                                   willful or
                                                                                           or intentional
                                                                                              intentional
                                                                                                                48
                                                   COMPLAINT
                                                   COMPLAINT
                                                      19
                                                      19
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1
1      violation, two
       violation, two hundred
                      hundred dollars
                              dollars ($200)
                                      ($200) for
                                             for each
                                                 each failure to pay
                                                      failure to pay each
                                                                     each employee,
                                                                          employee, plus
                                                                                    plus twenty-five
                                                                                         twenty-five

2
2      (25%) percent
       (25%) percent of
                     of the
                        the amount
                            amount unlawfully withheld.
                                   unlawfully withheld.

33                                            FIFTH
                                              FIFTH CAUSE OF ACTION
                                                    CAUSE OF ACTION

4
4        FAILURE TO PROVIDE
         FAILURE TO PROVIDE COMPLETE AND ACCURATE
                            COMPLETE AND ACCURATE WAGE
                                                  WAGE STATEMENTS
                                                       STATEMENTS IN
                                                                  IN

55                               VIOLATION OF
                                 VIOLATION OF LABOR
                                              LABOR CODE
                                                    CODE SECTION
                                                         SECTION 226
                                                                 226

6
6                    (Against All
                     (Against All Defendants
                                  Defendants by
                                             by Plaintiff
                                                Plaintiff and the Wage
                                                          and the Wage Statement
                                                                       Statement Class)
                                                                                 Class)

7
7             68.
              68.      Plaintiff incorporates
                       Plaintiff              all paragraphs
                                 incorporates all paragraphs above
                                                             above as
                                                                   as though
                                                                      though fully
                                                                             fully set
                                                                                   set forth herein.
                                                                                       forth herein.

88            69.
              69.      At all
                       At all times
                              times relevant
                                    relevant to
                                             to this
                                                this Complaint,
                                                     Complaint, Plaintiff
                                                                Plaintiff and
                                                                          and the
                                                                              the Wage
                                                                                  Wage Statement Class
                                                                                       Statement Class

9
9      were hourly,
       were hourly, non-exempt
                    non-exempt employees of Defendants,
                               employees of Defendants, covered
                                                        covered by
                                                                by Labor Code section
                                                                   Labor Code section 226.
                                                                                      226.

10
10            70.
              70.      Pursuant to
                       Pursuant to Labor Code section
                                   Labor Code section 226,
                                                      226, subdivision
                                                           subdivision (a), Plaintiff and
                                                                       (a), Plaintiff and the
                                                                                          the Wage
                                                                                              Wage

11
11     Statement Class were
       Statement Class were entitled
                            entitled to
                                     to receive, semimonthly or
                                        receive, semimonthly or at
                                                                at the
                                                                   the time
                                                                       time of
                                                                            of each
                                                                               each payment
                                                                                    payment of
                                                                                            of wages,
                                                                                               wages, an
                                                                                                      an

12     itemized wage
       itemized wage statement
                     statement accurately
                               accurately stating
                                          stating the
                                                  the following:
                                                      following:

13
13            (1) gross
              (1) gross wages
                           wages earned,     (2) total
                                   earned, (2)     total hours
                                                          hours worked
                                                                  worked by by the
                                                                                the employee,
                                                                                     employee, except
                                                                                                  except for    any
                                                                                                            for any
              employee whose
              employee     whose compensation
                                   compensation is    is solely
                                                         solely based
                                                                 based onon aa salary
                                                                               salary and
                                                                                       and who
                                                                                            who isis exempt    from
                                                                                                     exempt from
14            payment of
              payment    of overtime
                             overtime under
                                        under subdivision
                                                subdivision (a)(a) of
                                                                   of Section
                                                                       Section 515
                                                                                515 oror any
                                                                                         any applicable
                                                                                              applicable order
                                                                                                           order ofof
              the Industrial
              the               Welfare Commission,
                  Industrial Welfare       Commission, (3)  (3) the
                                                                 the number
                                                                     number of  of piece-rate
                                                                                   piece-rate units
                                                                                                units earned
                                                                                                       earned and
                                                                                                                and
15
15            any applicable
              any  applicable piece
                                  piece rate    if the
                                          rate if   the employee
                                                         employee is  is paid
                                                                          paid on
                                                                                on aa piece-rate
                                                                                       piece-rate basis,
                                                                                                    basis, (4)
                                                                                                             (4) all
                                                                                                                   all
              deductions, provided
              deductions,    provided that
                                         that all
                                               all deductions     made on
                                                    deductions made       on written
                                                                              written orders
                                                                                        orders of
                                                                                                of the
                                                                                                    the employee
                                                                                                         employee
16            may be
              may   be aggregated
                        aggregated andand shown
                                            shown as  as one
                                                         one item,   (5) net
                                                              item, (5)   net wages
                                                                               wages earned,
                                                                                       earned, (6)
                                                                                                (6) the
                                                                                                     the inclusive
                                                                                                          inclusive
              dates of
              dates  of the
                         the period
                              period for   which the
                                      for which      the employee
                                                         employee is     paid, (7)
                                                                      is paid,  (7) the
                                                                                    the name
                                                                                         name ofof the
                                                                                                    the employee
                                                                                                         employee
17
17            and his
              and  his or
                        or her
                           her social
                                social security
                                        security number,
                                                    number, except     that by
                                                              except that    by January
                                                                                 January 1,1, 2008,
                                                                                              2008, only
                                                                                                      only the
                                                                                                            the last
                                                                                                                 last
              four digits of
              four digits  of his
                               his or
                                   or her
                                      her social
                                           social security
                                                    security number
                                                             number or  or an
                                                                           an employee
                                                                               employee identification      number
                                                                                           identification number
18
18            other than
              other  than aa social
                             social security
                                     security number
                                               number may may bebe shown
                                                                   shown on on the
                                                                                the itemized   statement, (8)
                                                                                    itemized statement,      (8) the
                                                                                                                  the
              name and
              name    and address
                            address ofof the
                                          the legal
                                              legal entity    that is
                                                       entity that      the employer,
                                                                    is the   employer, andand (9)
                                                                                               (9) all
                                                                                                    all applicable
                                                                                                        applicable
19
19            hourly rates
              hourly   rates in  effect during
                              in effect during thethe pay
                                                       pay period
                                                            period and
                                                                    and the
                                                                          the corresponding
                                                                               corresponding number
                                                                                                number of  of hours
                                                                                                              hours
              worked at
              worked    at each
                           each hourly
                                 hourly rate
                                          rate by
                                               by the
                                                    the employee.
                                                        employee.
20
20
              71.
              71.      As aa derivative
                       As    derivative of
                                        of Plaintiff's
                                           Plaintiff’s claims
                                                       claims above,
                                                              above, Plaintiff
                                                                     Plaintiff alleges
                                                                               alleges that
                                                                                       that Defendants
                                                                                            Defendants failed
                                                                                                       failed
21
21
       to provide
       to provide accurate
                  accurate wage
                           wage and
                                and hour
                                    hour statements
                                         statements to
                                                    to him
                                                       him and
                                                           and the
                                                               the Wage
                                                                   Wage Statement Class who
                                                                        Statement Class who were
                                                                                            were
22
22
       subject to
       subject to Defendants'
                  Defendants’ control for uncompensated
                              control for uncompensated time
                                                        time and
                                                             and who
                                                                 who did
                                                                     did not
                                                                         not receive
                                                                             receive all
                                                                                     all their
                                                                                         their earned
                                                                                               earned
23
23
       wages (including
       wages (including minimum
                        minimum wages,
                                wages, meal
                                       meal period
                                            period premium
                                                   premium wages,
                                                           wages, and/or
                                                                  and/or rest
                                                                         rest period
                                                                              period premium
                                                                                     premium
24
24
       wages), in
       wages),    violation of
               in violation of Labor Code section
                               Labor Code section 226.
                                                  226.
25
25
              72.
              72.      Defendants provided
                       Defendants provided Plaintiff
                                           Plaintiff and
                                                     and the
                                                         the Wage
                                                             Wage Statement Class with
                                                                  Statement Class with itemized
                                                                                       itemized
26
26
       statements which
       statements which stated
                        stated inaccurate
                               inaccurate information
                                          information including, but not
                                                      including, but not limited to, the
                                                                         limited to, the number
                                                                                         number of
                                                                                                of hours
                                                                                                   hours
27
27
       worked, the
       worked, the gross wages earned,
                   gross wages earned, and
                                       and the
                                           the net
                                               net wages
                                                   wages earned.
                                                         earned.
28
28
              73.
              73.      Defendants’ failure
                       Defendants'         to provide
                                   failure to provide Plaintiff
                                                      Plaintiff and
                                                                and the
                                                                    the Wage
                                                                        Wage Statement Class with
                                                                             Statement Class with
                                                                                                                         49
                                                         COMPLAINT
                                                         COMPLAINT
                                                            20
                                                            20
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1
1      accurate wage
       accurate wage statements
                     statements was
                                was knowing
                                    knowing and
                                            and intentional. Defendants had
                                                intentional. Defendants had the
                                                                            the ability
                                                                                ability to
                                                                                        to provide
                                                                                           provide

2
2      Plaintiff and
       Plaintiff and the
                     the Wage
                         Wage Statement Class with
                              Statement Class with accurate
                                                   accurate wage
                                                            wage statements
                                                                 statements but
                                                                            but intentionally
                                                                                intentionally provided
                                                                                              provided

33     wage statements
       wage statements they
                       they knew
                            knew were
                                 were not
                                      not accurate.
                                          accurate. Defendants
                                                    Defendants knowingly and intentionally
                                                               knowingly and intentionally put
                                                                                           put in
                                                                                               in

4
4      place practices
       place practices which
                       which deprived
                             deprived employees
                                      employees of
                                                of wages
                                                   wages and
                                                         and resulted
                                                             resulted in Defendants knowingly
                                                                      in Defendants knowingly and
                                                                                              and

55     intentionally providing
       intentionally providing inaccurate
                               inaccurate wage
                                          wage statements.
                                               statements. These practices included
                                                           These practices          Defendants’ failure
                                                                           included Defendants' failure

6
6      to include
       to include all
                  all hours
                      hours worked
                            worked and
                                   and all
                                       all wages
                                           wages due.
                                                 due.

7
7             74.
              74.     As aa result
                      As    result of
                                   of Defendants'
                                      Defendants’ unlawful
                                                  unlawful conduct,
                                                           conduct, Plaintiff
                                                                    Plaintiff and
                                                                              and the
                                                                                  the Wage
                                                                                      Wage Statement
                                                                                           Statement

88     Class have
       Class have suffered
                  suffered injury.
                           injury. The absence of
                                   The absence of accurate
                                                  accurate information on their
                                                           information on their wage
                                                                                wage statements
                                                                                     statements has
                                                                                                has

9
9      prevented earlier
       prevented         challenges to
                 earlier challenges to Defendants'
                                       Defendants’ unlawful
                                                   unlawful pay
                                                            pay practices,
                                                                practices, will
                                                                           will require
                                                                                require discovery and
                                                                                        discovery and

10
10     mathematical computations
       mathematical computations to
                                 to determine the amount
                                    determine the amount of
                                                         of wages
                                                            wages owed,
                                                                  owed, and
                                                                        and will
                                                                            will cause difficulty and
                                                                                 cause difficulty and

11
11     expense in
       expense in attempting
                  attempting to
                             to reconstruct
                                reconstruct time
                                            time and
                                                 and pay
                                                     pay records. Defendants’ conduct
                                                         records. Defendants' conduct led
                                                                                      led to
                                                                                          to the
                                                                                             the

12
12     submission of
       submission of inaccurate
                     inaccurate information about wages
                                information about wages and
                                                        and amounts
                                                            amounts deducted
                                                                    deducted from
                                                                             from wages
                                                                                  wages to
                                                                                        to state
                                                                                           state and
                                                                                                 and

13
13     federal government
       federal government agencies.
                          agencies. As
                                    As aa result, Plaintiff and
                                          result, Plaintiff and the
                                                                the Wage
                                                                    Wage Statement Class are
                                                                         Statement Class are required to
                                                                                             required to

14
14     participate in
       participate    this lawsuit
                   in this         and create
                           lawsuit and create more
                                              more difficulty
                                                   difficulty and
                                                              and expense
                                                                  expense for
                                                                          for Plaintiff
                                                                              Plaintiff and
                                                                                        and the
                                                                                            the Wage
                                                                                                Wage

15
15     Statement Class from
       Statement Class      having to
                       from having to reconstruct
                                      reconstruct time
                                                  time and
                                                       and pay
                                                           pay records
                                                               records than
                                                                       than if
                                                                            if Defendants
                                                                               Defendants had
                                                                                          had complied
                                                                                              complied

16
16     with their
       with their legal
                  legal obligations.
                        obligations.

17
17            75.
              75.     Pursuant to
                      Pursuant to Labor Code section
                                  Labor Code section 226(e),
                                                     226(e), Plaintiff
                                                             Plaintiff and
                                                                       and the
                                                                           the Wage
                                                                               Wage Statement Class are
                                                                                    Statement Class are

18
18     entitled to
       entitled to recover
                   recover fifty (50) dollars
                           fifty (50)         per employee
                                      dollars per          for the
                                                  employee for the initial
                                                                   initial pay
                                                                           pay period
                                                                               period in
                                                                                      in which
                                                                                         which aa section
                                                                                                  section 226
                                                                                                          226

19
19     violation occurred
       violation occurred and
                          and one
                              one hundred
                                  hundred dollars
                                          dollars per
                                                  per employee per violation
                                                      employee per violation for each subsequent
                                                                             for each subsequent pay
                                                                                                 pay

20
20     period, not
       period, not to
                   to exceed an aggregate
                      exceed an aggregate penalty
                                          penalty of
                                                  of four
                                                     four thousand
                                                          thousand (4,000)
                                                                   (4,000) dollars
                                                                           dollars per
                                                                                   per employee.
                                                                                       employee.

21
21            76.
              76.     Pursuant to
                      Pursuant to Labor Code section
                                  Labor Code section 226(h),
                                                     226(h), Plaintiff
                                                             Plaintiff and
                                                                       and the
                                                                           the Wage
                                                                               Wage Statement Class are
                                                                                    Statement Class are

22
22     entitled to
       entitled to bring
                   bring an
                         an action
                            action for
                                   for injunctive
                                       injunctive relief to ensure
                                                  relief to        Defendants’ compliance
                                                            ensure Defendants' compliance with
                                                                                          with Labor Code
                                                                                               Labor Code

23
23     section 226(a).
       section 226(a). Injunctive relief is
                       Injunctive relief is warranted
                                            warranted because
                                                      because Defendants
                                                              Defendants continue to provide
                                                                         continue to provide currently
                                                                                             currently

24
24     employed Wage
       employed Wage Statement Class members
                     Statement Class members with
                                             with inaccurate
                                                  inaccurate wage
                                                             wage statements
                                                                  statements in
                                                                             in violation
                                                                                violation of
                                                                                          of Labor
                                                                                             Labor

25
25     Code section
       Code section 226(a)
                    226(a) and
                           and currently
                               currently employed
                                         employed Wage
                                                  Wage Statement Class members
                                                       Statement Class members have
                                                                               have no
                                                                                    no adequate
                                                                                       adequate

26
26     legal remedy for
       legal remedy for the
                        the continuing
                            continuing injuries
                                       injuries that
                                                that will
                                                     will be
                                                          be suffered
                                                             suffered as
                                                                      as aa result of Defendants'
                                                                            result of Defendants' ongoing
                                                                                                  ongoing

27
27     unlawful conduct.
       unlawful conduct. Injunctive
                         Injunctive relief is the
                                    relief is the only
                                                  only remedy available for
                                                       remedy available     ensuring Defendants'
                                                                        for ensuring Defendants'

28
28     compliance with
       compliance with Labor Code section
                       Labor Code section 226(a).
                                          226(a).
                                                                                                                50
                                                   COMPLAINT
                                                   COMPLAINT
                                                      21
                                                      21
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1
1             77.
              77.     Pursuant to
                      Pursuant to Labor Code sections
                                  Labor Code sections 226(e)
                                                      226(e) and
                                                             and 226(h),
                                                                 226(h), Plaintiff
                                                                         Plaintiff and
                                                                                   and the
                                                                                       the Wage
                                                                                           Wage

2
2      Statement Class are
       Statement Class are entitled
                           entitled to
                                    to recover the full
                                       recover the      amount of
                                                   full amount of penalties
                                                                  penalties due
                                                                            due under
                                                                                under section
                                                                                      section 226(e),
                                                                                              226(e),

33     reasonable attorneys'
       reasonable attorneys’ fees,
                             fees, and
                                   and costs
                                       costs of
                                             of suit.
                                                suit.

4
4                                         SIXTH CAUSE
                                          SIXTH       OF ACTION
                                                CAUSE OF ACTION

55      FAILURE
        FAILURE TO
                TO PAY ALL WAGES
                   PAY ALL WAGES TIMELY UPON SEPARATION
                                 TIMELY UPON SEPARATION OF
                                                        OF EMPLOYMENT
                                                           EMPLOYMENT

6
6                   IN VIOLATION OF
                    IN VIOLATION OF LABOR
                                    LABOR CODE SECTIONS 201,
                                          CODE SECTIONS 201, 202,
                                                             202, AND
                                                                  AND 203
                                                                      203

7
7                     (Against All
                      (Against All Defendants
                                   Defendants by
                                              by Plaintiff and the
                                                 Plaintiff and the Waiting
                                                                   Waiting Time
                                                                           Time Class)
                                                                                Class)

88            78.
              78.     Plaintiff incorporates
                      Plaintiff incorporates all
                                             all paragraphs
                                                 paragraphs above
                                                            above as
                                                                  as though
                                                                     though fully set forth
                                                                            fully set       herein.
                                                                                      forth herein.

9
9             79.
              79.     At all
                      At all times
                             times relevant
                                   relevant to
                                            to this
                                               this Complaint,
                                                    Complaint, Plaintiff
                                                               Plaintiff and
                                                                         and the
                                                                             the Waiting
                                                                                 Waiting Time Class were
                                                                                         Time Class were

10
10     employees of
       employees of Defendants,
                    Defendants, covered
                                covered by
                                        by Labor
                                           Labor Code
                                                 Code sections
                                                      sections 201
                                                               201 and
                                                                   and 202.
                                                                       202.

11
11            80.
              80.     An employer
                      An employer is
                                  is required
                                     required to
                                              to pay
                                                 pay all
                                                     all unpaid
                                                         unpaid wages
                                                                wages timely
                                                                      timely after
                                                                             after an
                                                                                   an employee’s
                                                                                      employee's

12     employment ends.
       employment ends. The wages are
                        The wages are due
                                      due immediately
                                          immediately upon termination or
                                                      upon termination or within
                                                                          within seventy-two
                                                                                 seventy-two (72)
                                                                                             (72)

13
13     hours of
       hours of resignation.
                resignation. Labor Code sections
                             Labor Code sections 201,
                                                 201, 202.
                                                      202. If an employee
                                                           If an employee gave
                                                                          gave seventy-two
                                                                               seventy-two (72)
                                                                                           (72) hours
                                                                                                hours

14     previous notice,
       previous notice, they
                        they were
                             were entitled
                                  entitled to
                                           to payment
                                              payment of
                                                      of all
                                                         all wages
                                                             wages earned and unpaid
                                                                   earned and unpaid at
                                                                                     at the
                                                                                        the time
                                                                                            time of
                                                                                                 of

15
15     resignation. Id.
       resignation.

16
16            81.
              81.     Defendants failed
                      Defendants failed to
                                        to pay
                                           pay Plaintiff
                                               Plaintiff and
                                                         and on
                                                             on information
                                                                information and
                                                                            and belief,
                                                                                belief, the
                                                                                        the Waiting
                                                                                            Waiting Time
                                                                                                    Time

17
17     Class, with
       Class, with all
                   all wages
                       wages earned
                             earned and
                                    and unpaid prior to
                                        unpaid prior to separation
                                                        separation of
                                                                   of employment,
                                                                      employment, in accordance with
                                                                                  in accordance with

18
18     either Labor
       either       Code section
              Labor Code section 201
                                 201 or
                                     or 202.
                                        202. Plaintiff
                                             Plaintiff is
                                                       is informed
                                                          informed and
                                                                   and believes
                                                                       believes and
                                                                                and thereon
                                                                                    thereon alleges
                                                                                            alleges that
                                                                                                    that at
                                                                                                         at

19
19     all relevant
       all relevant times
                    times within
                          within the
                                 the limitations
                                     limitations period
                                                 period applicable
                                                        applicable to
                                                                   to this
                                                                      this cause
                                                                           cause of
                                                                                 of action,
                                                                                    action, Defendants
                                                                                            Defendants

20
20     maintained aa policy
       maintained    policy or
                            or practice
                               practice of
                                        of not
                                           not paying
                                               paying hourly
                                                      hourly employees
                                                             employees all
                                                                       all earned
                                                                           earned wages
                                                                                  wages timely
                                                                                        timely upon
                                                                                               upon

21
21     separation of
       separation of employment.
                     employment.

22
22            82.
              82.     Defendants’ failure
                      Defendants' failure to
                                          to pay
                                             pay Plaintiff
                                                 Plaintiff and
                                                           and the
                                                               the Waiting
                                                                   Waiting Time Class with
                                                                           Time Class with all
                                                                                           all wages
                                                                                               wages

23
23     earned prior
       earned prior to
                    to separation
                       separation of
                                  of employment
                                     employment timely
                                                timely in
                                                       in accordance
                                                          accordance with
                                                                     with Labor Code sections
                                                                          Labor Code sections 201
                                                                                              201 and
                                                                                                  and

24
24     202 was
       202 was willful.
               willful. Defendants
                        Defendants had
                                   had the
                                       the ability
                                           ability to
                                                   to pay
                                                      pay all
                                                          all wages
                                                              wages earned
                                                                    earned by
                                                                           by hourly
                                                                              hourly workers
                                                                                     workers prior
                                                                                             prior to
                                                                                                   to

25
25     separation of
       separation of employment
                     employment in accordance with
                                in accordance with Labor Code sections
                                                   Labor Code sections 201
                                                                       201 and
                                                                           and 202,
                                                                               202, but
                                                                                    but intentionally
                                                                                        intentionally

26
26     adopted policies
       adopted policies or
                        or practices
                           practices incompatible with the
                                     incompatible with the requirements
                                                           requirements of
                                                                        of Labor Code sections
                                                                           Labor Code sections 201
                                                                                               201 and
                                                                                                   and

27
27     202. Defendants'
       202. Defendants’ practices
                        practices include
                                  include failing to pay
                                          failing to pay at
                                                         at least
                                                            least minimum
                                                                  minimum wage
                                                                          wage for all time
                                                                               for all time worked,
                                                                                            worked, meal
                                                                                                    meal

28
28     period premium
       period premium wages,
                      wages, and/or
                             and/or rest period premium
                                    rest period premium wages.
                                                        wages. When
                                                               When Defendants
                                                                    Defendants failed
                                                                               failed to
                                                                                      to pay
                                                                                         pay
                                                                                                              51
                                                   COMPLAINT
                                                   COMPLAINT
                                                      22
                                                      22
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1
1      Plaintiff and
       Plaintiff and the
                     the Waiting
                         Waiting Time Class all
                                 Time Class all earned
                                                earned wages
                                                       wages timely
                                                             timely upon
                                                                    upon separation
                                                                         separation of
                                                                                    of employment, they
                                                                                       employment, they

2
2      knew what
       knew what they
                 they were
                      were doing
                           doing and
                                 and intended
                                     intended to
                                              to do
                                                 do what
                                                    what they
                                                         they did.
                                                              did.

33            83.
              83.     Pursuant to
                      Pursuant to either
                                  either Labor Code section
                                         Labor Code section 201
                                                            201 or
                                                                or 202,
                                                                   202, Plaintiff
                                                                        Plaintiff and
                                                                                  and the
                                                                                      the Waiting
                                                                                          Waiting Time
                                                                                                  Time

4
4      Class are
       Class are entitled
                 entitled to
                          to all
                             all wages
                                 wages earned
                                       earned prior
                                              prior to
                                                    to separation
                                                       separation of
                                                                  of employment that Defendants
                                                                     employment that Defendants have
                                                                                                have yet
                                                                                                     yet

55     to pay
       to pay them.
              them.

6
6             84.
              84.     Pursuant to
                      Pursuant to Labor
                                  Labor Code
                                        Code section
                                             section 203,
                                                     203, Plaintiff
                                                          Plaintiff and
                                                                    and the
                                                                        the Waiting
                                                                            Waiting Time Class are
                                                                                    Time Class are

7
7      entitled to
       entitled to continuation of their
                   continuation of their wages,
                                         wages, from the day
                                                from the day their
                                                             their earned
                                                                   earned and
                                                                          and unpaid
                                                                              unpaid wages
                                                                                     wages were
                                                                                           were due
                                                                                                due until
                                                                                                    until

88     paid, up
       paid, up to
                to aa maximum
                      maximum of
                              of thirty
                                 thirty (30)
                                        (30) days.
                                             days.

9
9             85.
              85.     As aa result
                      As    result of
                                   of Defendants'
                                      Defendants’ conduct,
                                                  conduct, Plaintiff
                                                           Plaintiff and
                                                                     and the
                                                                         the Waiting
                                                                             Waiting Time
                                                                                     Time Class
                                                                                          Class have
                                                                                                have

10
10     suffered damages
       suffered         in an
                damages in an amount,
                              amount, subject
                                      subject to
                                              to proof,
                                                 proof, to
                                                        to the
                                                           the extent they were
                                                               extent they were not
                                                                                not paid
                                                                                    paid for all wages
                                                                                         for all wages

11
11     earned prior
       earned prior to
                    to separation
                       separation of
                                  of employment.
                                     employment.

12
12            86.
              86.     As aa result
                      As    result of
                                   of Defendants'
                                      Defendants’ conduct,
                                                  conduct, Plaintiff
                                                           Plaintiff and
                                                                     and the
                                                                         the Waiting
                                                                             Waiting Time
                                                                                     Time Class
                                                                                          Class have
                                                                                                have

13
13     suffered damages
       suffered         in an
                damages in an amount,
                              amount, subject
                                      subject to
                                              to proof,
                                                 proof, to
                                                        to the
                                                           the extent
                                                               extent they
                                                                      they were
                                                                           were not
                                                                                not paid
                                                                                    paid all
                                                                                         all continuation
                                                                                             continuation

14
14     wages owed
       wages owed under
                  under Labor Code section
                        Labor Code section 203.
                                           203.

15
15            87.
              87.     Plaintiff and
                      Plaintiff and the
                                    the Waiting
                                        Waiting Time
                                                Time Class
                                                     Class are
                                                           are entitled to recover
                                                               entitled to recover the
                                                                                   the full amount of
                                                                                       full amount of their
                                                                                                      their

16
16     unpaid wages,
       unpaid wages, continuation wages under
                     continuation wages under Labor Code section
                                              Labor Code section 203,
                                                                 203, and
                                                                      and interest
                                                                          interest thereon.
                                                                                   thereon.

17
17                                     SEVENTH CAUSE
                                       SEVENTH       OF ACTION
                                               CAUSE OF ACTION

18
18     UNFAIR BUSINESS
       UNFAIR BUSINESS PRACTICES,
                       PRACTICES, IN
                                  IN VIOLATION
                                     VIOLATION OF
                                               OF BUSINESS
                                                  BUSINESS AND
                                                           AND PROFESSIONS
                                                               PROFESSIONS

19
19                                   CODE SECTIONS 17200,
                                     CODE SECTIONS 17200, ET SEQ.
                                                          ET SEQ.

20
20                     (Against All
                       (Against All Defendants
                                    Defendants by
                                               by Plaintiff
                                                  Plaintiff and the California
                                                            and the California Class)
                                                                               Class)

21
21            88.
              88.     Plaintiff incorporates
                      Plaintiff              all paragraphs
                                incorporates all paragraphs above
                                                            above as
                                                                  as though
                                                                     though fully
                                                                            fully set
                                                                                  set forth herein.
                                                                                      forth herein.

22
22            89.
              89.     The unlawful conduct
                      The unlawful conduct of
                                           of Defendants
                                              Defendants alleged
                                                         alleged herein
                                                                 herein constitutes unfair competition
                                                                        constitutes unfair competition

23
23     within the
       within the meaning
                  meaning of
                          of Business
                             Business and
                                      and Professions
                                          Professions Code
                                                      Code section
                                                           section 17200.
                                                                   17200. This unfair conduct
                                                                          This unfair conduct includes
                                                                                              includes

24
24     Defendants’ use
       Defendants' use of
                       of policies,
                          policies, practices,
                                    practices, and/or
                                               and/or procedures
                                                      procedures which
                                                                 which resulted in: failure
                                                                       resulted in:         to pay
                                                                                    failure to pay

25
25     employees at
       employees at least
                    least at
                          at the
                             the minimum
                                 minimum wage
                                         wage rate
                                              rate for all hours
                                                   for all hours which
                                                                 which they
                                                                       they worked;
                                                                            worked; failure
                                                                                    failure to
                                                                                            to authorize
                                                                                               authorize

26
26     or permit
       or permit all
                 all legally
                     legally required and/or compliant
                             required and/or compliant meal
                                                       meal periods
                                                            periods or
                                                                    or pay
                                                                       pay meal
                                                                           meal period
                                                                                period premium
                                                                                       premium wages;
                                                                                               wages;

27
27     failure to authorize
       failure to authorize or
                            or permit
                               permit all
                                      all legally
                                          legally required
                                                  required and/or
                                                           and/or compliant
                                                                  compliant rest
                                                                            rest periods
                                                                                 periods or
                                                                                         or pay
                                                                                            pay rest period
                                                                                                rest period

28
28     premium wages;
       premium wages; failure to timely
                      failure to timely pay
                                        pay wages
                                            wages during
                                                  during employment; failure to
                                                         employment; failure to provide
                                                                                provide accurate
                                                                                        accurate wage
                                                                                                 wage
                                                                                                              52
                                                     COMPLAINT
                                                     COMPLAINT
                                                        23
                                                        23
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1
1      and hour
       and hour statements;
                statements; and
                            and failure to timely
                                failure to timely pay
                                                  pay all
                                                      all wages
                                                          wages due
                                                                due upon
                                                                    upon separation
                                                                         separation of
                                                                                    of employment.
                                                                                       employment. Due
                                                                                                   Due

2
2      to their
       to their unfair
                unfair and
                       and unlawful
                           unlawful business
                                    business practices
                                             practices in
                                                       in violation
                                                          violation of
                                                                    of the
                                                                       the Labor
                                                                           Labor Code,
                                                                                 Code, Defendants
                                                                                       Defendants have
                                                                                                  have

33     gained aa competitive
       gained    competitive advantage
                             advantage over
                                       over other
                                            other comparable
                                                  comparable companies
                                                             companies doing
                                                                       doing business
                                                                             business in
                                                                                      in the
                                                                                         the State of
                                                                                             State of

4
4      California that
       California that comply
                       comply with
                              with their
                                   their obligations
                                         obligations to
                                                     to pay
                                                        pay minimum
                                                            minimum wages
                                                                    wages for
                                                                          for all
                                                                              all hours
                                                                                  hours worked;
                                                                                        worked;

55     authorize or
       authorize or permit
                    permit all
                           all legally
                               legally required and/or compliant
                                       required and/or compliant meal
                                                                 meal periods
                                                                      periods or
                                                                              or pay
                                                                                 pay meal
                                                                                     meal period
                                                                                          period premium
                                                                                                 premium

6
6      wages; authorize
       wages; authorize or
                        or permit
                           permit all
                                  all legally
                                      legally required
                                              required and/or
                                                       and/or compliant
                                                              compliant rest periods or
                                                                        rest periods or pay
                                                                                        pay rest period
                                                                                            rest period

7
7      premium wages;
       premium wages; timely
                      timely pay
                             pay wages
                                 wages during
                                       during employment;
                                              employment; provide
                                                          provide accurate
                                                                  accurate wage
                                                                           wage and
                                                                                and hour
                                                                                    hour

88     statements; and
       statements; and timely
                       timely pay
                              pay all
                                  all wages
                                      wages due
                                            due upon
                                                upon separation
                                                     separation of
                                                                of employment.
                                                                   employment.

9
9             90.
              90.      As aa result
                       As    result of
                                    of Defendants'
                                       Defendants’ unfair
                                                   unfair competition as alleged
                                                          competition as alleged herein,
                                                                                 herein, Plaintiff
                                                                                         Plaintiff and
                                                                                                   and the
                                                                                                       the

10     California Class
       California Class have
                        have suffered
                             suffered injury in fact
                                      injury in      and lost
                                                fact and lost money
                                                              money or
                                                                    or property,
                                                                       property, as
                                                                                 as described
                                                                                    described in more
                                                                                              in more

11
11     detail above.
       detail above.

12            91.
              91.      Pursuant to
                       Pursuant to Business
                                   Business and
                                            and Professions
                                                Professions Code
                                                            Code section
                                                                 section 17203,
                                                                         17203, Plaintiff
                                                                                Plaintiff and
                                                                                          and the
                                                                                              the

13     California Class
       California Class are
                        are entitled
                            entitled to
                                     to restitution
                                        restitution of
                                                    of all
                                                       all wages
                                                           wages and
                                                                 and other
                                                                     other monies
                                                                           monies rightfully
                                                                                  rightfully belonging
                                                                                             belonging to
                                                                                                       to

14     them that
       them that Defendants
                 Defendants failed
                            failed to
                                   to pay
                                      pay and
                                          and wrongfully
                                              wrongfully retained
                                                         retained by
                                                                  by means
                                                                     means of
                                                                           of their
                                                                              their unlawful
                                                                                    unlawful and
                                                                                             and unfair
                                                                                                 unfair

15     business practices.
       business practices. Plaintiff
                           Plaintiff also
                                     also seeks
                                          seeks an
                                                an injunction
                                                   injunction against
                                                              against Defendants
                                                                      Defendants on
                                                                                 on behalf
                                                                                    behalf of
                                                                                           of the
                                                                                              the California
                                                                                                  California

16     Class enjoining
       Class enjoining Defendants,
                       Defendants, and
                                   and any
                                       any and
                                           and all
                                               all persons
                                                   persons acting
                                                           acting in
                                                                  in concert with them,
                                                                     concert with them, from
                                                                                        from engaging in
                                                                                             engaging in

17     each of
       each of the
               the unlawful
                   unlawful policies,
                            policies, practices,
                                      practices, and/or
                                                 and/or procedures
                                                        procedures set
                                                                   set forth
                                                                       forth herein.
                                                                             herein.

18                                            PRAYER
                                              PRAYER FOR RELIEF
                                                     FOR RELIEF

19            WHEREFORE, PLAINTIFF
              WHEREFORE,           ON HIS
                         PLAINTIFF ON HIS OWN
                                          OWN BEHALF
                                              BEHALF AND
                                                     AND ON
                                                         ON BEHALF
                                                            BEHALF OF
                                                                   OF

20
20     THOSE
       THOSE SIMILARLY SITUATED, PRAYS
             SIMILARLY SITUATED,       AS FOLLOWS:
                                 PRAYS AS FOLLOWS:

21
21            ON THE
              ON THE FIRST,
                     FIRST, SECOND,
                            SECOND, THIRD,
                                    THIRD, FOURTH,
                                           FOURTH, FIFTH, SIXTH, AND
                                                   FIFTH, SIXTH, AND SEVENTH,
                                                                     SEVENTH,

22
22     CAUSES OF ACTION:
       CAUSES OF ACTION:

23
23            1.
              1.       That the Court
                       That the Court determine
                                      determine that
                                                that this
                                                     this action
                                                          action may
                                                                 may be
                                                                     be maintained
                                                                        maintained as
                                                                                   as aa class
                                                                                         class action
                                                                                               action (for
                                                                                                      (for

24
24     the entire
       the entire California
                  California Class
                             Class and/or
                                   and/or any
                                          any and
                                              and all
                                                  all of
                                                      of the
                                                         the specified
                                                             specified sub-classes)
                                                                       sub-classes) pursuant
                                                                                    pursuant to
                                                                                             to Code
                                                                                                Code of
                                                                                                     of

25
25     Civil Procedure
       Civil Procedure section
                       section 382
                               382 and
                                   and any
                                       any other
                                           other applicable
                                                 applicable law;
                                                            law;

26
26            2.
              2.       That the named
                       That the named Plaintiff
                                      Plaintiff be
                                                be designated
                                                   designated as
                                                              as aa class
                                                                    class representative
                                                                          representative for the California
                                                                                         for the California

27
27     Class (and
       Class (and all
                  all sub-classes
                      sub-classes thereof);
                                  thereof);

28
28            3.
              3.       For aa declaratory
                       For                judgment that
                              declaratory judgment that the
                                                        the policies,
                                                            policies, practices,
                                                                      practices, and/or
                                                                                 and/or procedures
                                                                                        procedures
                                                                                                               53
                                                   COMPLAINT
                                                   COMPLAINT
                                                      24
                                                      24
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1
1      complained herein
       complained herein are
                         are unlawful;
                             unlawful; and
                                       and

2
2             4.
              4.      For an
                      For an injunction against Defendants
                             injunction against Defendants enjoining them, and
                                                           enjoining them, and any
                                                                               any and
                                                                                   and all
                                                                                       all persons
                                                                                           persons

33     acting in
       acting in concert
                 concert with
                         with them,
                              them, from engaging in
                                    from engaging in each of the
                                                     each of the unlawful
                                                                 unlawful policies,
                                                                          policies, practices,
                                                                                    practices, and/or
                                                                                               and/or

4
4      procedures set
       procedures set forth herein.
                      forth herein.

55                                    ON THE
                                      ON THE FIRST
                                             FIRST CAUSE OF ACTION:
                                                   CAUSE OF ACTION:

6
6             1.
              1.      That Defendants be
                      That Defendants be found to have
                                         found to have violated
                                                       violated the
                                                                the minimum
                                                                    minimum wage
                                                                            wage provisions
                                                                                 provisions of
                                                                                            of the
                                                                                               the

7
7      Labor Code and
       Labor Code and the
                      the IWC
                          IWC Wage
                              Wage Order
                                   Order as
                                         as to
                                            to Plaintiff
                                               Plaintiff and
                                                         and the
                                                             the Minimum
                                                                 Minimum Wage
                                                                         Wage Class;
                                                                              Class;

88            2.
              2.      For damages,
                      For damages, according
                                   according to
                                             to proof,
                                                proof, including
                                                       including but
                                                                 but not
                                                                     not limited to unpaid
                                                                         limited to unpaid wages;
                                                                                           wages;

9
9             3.
              3.      For any
                      For any and
                              and all
                                  all legally applicable penalties;
                                      legally applicable penalties;

10
10            4.
              4.      For liquidated
                      For liquidated damages pursuant to
                                     damages pursuant to Labor Code section
                                                         Labor Code section 1194.2;
                                                                            1194.2;

11
11            5.
              5.      For pre-judgment
                      For pre-judgment interest,
                                       interest, including but not
                                                 including but not limited
                                                                   limited to
                                                                           to that
                                                                              that recoverable
                                                                                   recoverable under
                                                                                               under Labor
                                                                                                     Labor

12     Code section
       Code section 1194,
                    1194, and
                          and post
                              post-judgment
                                   judgment interest;
                                            interest;

13
13            6.
              6.      For attorneys'
                      For attorneys’ fees and costs
                                     fees and       of suit,
                                              costs of suit, including but not
                                                             including but not limited to that
                                                                               limited to that recoverable
                                                                                               recoverable

14     under Labor
       under       Code section
             Labor Code section 1194;
                                1194;

15
15            7.
              7.      For pre-judgment
                      For pre-judgment interest,
                                       interest, including but not
                                                 including but not limited
                                                                   limited to
                                                                           to that
                                                                              that recoverable
                                                                                   recoverable under
                                                                                               under Labor
                                                                                                     Labor

16     Code section
       Code section 218.6,
                    218.6, and
                           and post
                               post-judgment interest; and
                                    judgment interest; and

17
17            8.
              8.      For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

18
18     appropriate.
       appropriate.

19
19                                ON THE
                                  ON THE SECOND
                                         SECOND CAUSE OF ACTION:
                                                CAUSE OF ACTION:

20
20            1.
              1.      That Defendants be
                      That Defendants be found
                                         found to
                                               to have
                                                  have violated
                                                       violated the
                                                                the meal
                                                                    meal period
                                                                         period provisions
                                                                                provisions of
                                                                                           of the
                                                                                              the Labor
                                                                                                  Labor

21
21     Code and
       Code and the
                the IWC
                    IWC Wage
                        Wage Order
                             Order as
                                   as to
                                      to Plaintiff
                                         Plaintiff and
                                                   and the
                                                       the Meal
                                                           Meal Period
                                                                Period Class;
                                                                       Class;

22
22            2.
              2.      For damages,
                      For damages, according
                                   according to
                                             to proof,
                                                proof, including
                                                       including unpaid
                                                                 unpaid premium
                                                                        premium wages;
                                                                                wages;

23
23            3.
              3.      For any
                      For any and
                              and all
                                  all legally applicable penalties;
                                      legally applicable penalties;

24
24            4.
              4.      For pre-judgment
                      For pre-judgment interest,
                                       interest, including but not
                                                 including but not limited
                                                                   limited to
                                                                           to that
                                                                              that recoverable
                                                                                   recoverable under
                                                                                               under Labor
                                                                                                     Labor

25
25     Code section
       Code section 218.6,
                    218.6, and
                           and post
                               post-judgment interest; and
                                    judgment interest; and

26
26            5.
              5.      For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

27
27     appropriate.
       appropriate.

28
28                                    ON THE
                                      ON     THIRD CAUSE
                                         THE THIRD       OF ACTION:
                                                   CAUSE OF ACTION:
                                                                                                             54
                                                  COMPLAINT
                                                  COMPLAINT
                                                     25
                                                     25
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1
1             1.
              1.      That Defendants be
                      That Defendants be found
                                         found to
                                               to have
                                                  have violated
                                                       violated the
                                                                the rest
                                                                    rest period
                                                                         period provisions
                                                                                provisions of
                                                                                           of the
                                                                                              the Labor
                                                                                                  Labor

2
2      Code and
       Code and the
                the IWC
                    IWC Wage
                        Wage Order
                             Order as
                                   as to
                                      to Plaintiff
                                         Plaintiff and
                                                   and the
                                                       the Rest
                                                           Rest Period
                                                                Period Class;
                                                                       Class;

3
3             2.
              2.      For damages,
                      For damages, according
                                   according to
                                             to proof,
                                                proof, including
                                                       including unpaid
                                                                 unpaid premium
                                                                        premium wages;
                                                                                wages;

4
4             3.
              3.      For any
                      For any and
                              and all
                                  all legally applicable penalties;
                                      legally applicable penalties;

55            4.
              4.      For pre-judgment
                      For pre-judgment interest,
                                       interest, including but not
                                                 including but not limited
                                                                   limited to
                                                                           to that
                                                                              that recoverable
                                                                                   recoverable under
                                                                                               under Labor
                                                                                                     Labor

6
6      Code section
       Code section 218.6,
                    218.6, and
                           and post
                               post-judgment interest; and
                                    judgment interest; and

77            5.
              5.      For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

8
8      appropriate.
       appropriate.

9
9                                 ON THE
                                  ON THE FOURTH CAUSE OF
                                         FOURTH CAUSE OF ACTION:
                                                         ACTION:

10
10            1.
              1.      That Defendants be
                      That Defendants be found to have
                                         found to have violated
                                                       violated Labor Code 204
                                                                Labor Code 204 as
                                                                               as to
                                                                                  to Plaintiff
                                                                                     Plaintiff and
                                                                                               and the
                                                                                                   the

11
11     Pay Day
       Pay Day Class;
               Class;

12
12            2.
              2.      For damages,
                      For damages, according
                                   according to
                                             to proof;
                                                proof;

13
13            3.
              3.      For any
                      For any and
                              and all
                                  all legally applicable penalties,
                                      legally applicable penalties, including
                                                                    including but
                                                                              but not
                                                                                  not limited
                                                                                      limited to
                                                                                              to those
                                                                                                 those

14
14     recoverable pursuant
       recoverable pursuant to
                            to Labor Code section
                               Labor Code section 210(a);
                                                  210(a);

15
15            4.
              4.      For pre-judgment
                      For pre-judgment interest,
                                       interest, including but not
                                                 including but not limited
                                                                   limited to
                                                                           to that
                                                                              that recoverable
                                                                                   recoverable under
                                                                                               under Labor
                                                                                                     Labor

16
16     Code section
       Code section 218.6,
                    218.6, and
                           and post
                               post-judgment interest; and
                                    judgment interest; and

17
17            5.
              5.      For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

18
18     appropriate.
       appropriate.

19
19                                 ON THE
                                   ON THE FIFTH
                                          FIFTH CAUSE OF ACTION:
                                                CAUSE OF ACTION:

20
20            1.
              1.      That Defendants be
                      That Defendants be found to have
                                         found to have violated
                                                       violated the
                                                                the provisions
                                                                    provisions of
                                                                               of the
                                                                                  the Labor Code
                                                                                      Labor Code

21
21     regarding accurate
       regarding accurate itemized
                          itemized paystubs
                                   paystubs as
                                            as to
                                               to Plaintiff
                                                  Plaintiff and
                                                            and the
                                                                the Wage
                                                                    Wage Statement Class;
                                                                         Statement Class;

22
22            2.
              2.      For damages
                      For damages and/or
                                  and/or penalties,
                                         penalties, according
                                                    according to
                                                              to proof,
                                                                 proof, including
                                                                        including damages and/or
                                                                                  damages and/or

23
23     statutory penalties
       statutory penalties under
                           under Labor Code section
                                 Labor Code section 226,
                                                    226, subdivision
                                                         subdivision (e),
                                                                     (e), and
                                                                          and any
                                                                              any other
                                                                                  other legally applicable
                                                                                        legally applicable

24
24     damages or
       damages or penalties;
                  penalties;

25
25            3.
              3.      For pre
                      For pre-judgment interest and
                              judgment interest and post-judgment
                                                    post-judgment interest;
                                                                  interest;

26
26            4.
              4.      For an
                      For an injunction against Defendants
                             injunction against Defendants enjoining them, and
                                                           enjoining them, and any
                                                                               any and
                                                                                   and all
                                                                                       all persons
                                                                                           persons

27
27     acting in
       acting in concert with them,
                 concert with them, from
                                    from engaging in violations
                                         engaging in violations of
                                                                of Labor Code section
                                                                   Labor Code section 226,
                                                                                      226, subdivision
                                                                                           subdivision

28
28     (a);
       (a);
                                                                                                             55
                                                  COMPLAINT
                                                  COMPLAINT
                                                     26
                                                     26
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1
1                5.
                 5.   For attorneys'
                      For attorneys’ fees
                                     fees and
                                          and costs
                                              costs of
                                                    of suit,
                                                       suit, including
                                                             including but
                                                                       but not
                                                                           not limited
                                                                               limited to
                                                                                       to those
                                                                                          those recoverable
                                                                                                recoverable

2
2      under Labor
       under Labor Code
                   Code section
                        section 226,
                                226, subdivision
                                     subdivision (e);
                                                 (e); and
                                                      and

33               6.
                 6.   For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

4
4      appropriate.
       appropriate.

55                                  ON THE
                                    ON THE SIXTH
                                           SIXTH CAUSE
                                                 CAUSE OF
                                                       OF ACTION:
                                                          ACTION:

6
6                1.
                 1.   That Defendants be
                      That Defendants be found to have
                                         found to have violated
                                                       violated the
                                                                the provisions
                                                                    provisions of
                                                                               of the
                                                                                  the Labor Code
                                                                                      Labor Code

7
7      regarding payment
       regarding payment of
                         of all
                            all unpaid
                                unpaid wages
                                       wages due
                                             due upon
                                                 upon resignation
                                                      resignation or
                                                                  or termination
                                                                     termination as
                                                                                 as to
                                                                                    to Plaintiff
                                                                                       Plaintiff and
                                                                                                 and the
                                                                                                     the

88     Waiting Time
       Waiting      Class;
               Time Class;

9
9                2.
                 2.   For damages
                      For damages and/or
                                  and/or penalties,
                                         penalties, according
                                                    according to
                                                              to proof,
                                                                 proof, including
                                                                        including damages and/or
                                                                                  damages and/or

10
10     statutory penalties
       statutory penalties under
                           under Labor
                                 Labor Code
                                       Code section
                                            section 203
                                                    203 and
                                                        and any
                                                            any other
                                                                other legally applicable damages
                                                                      legally applicable damages or
                                                                                                 or

11
11     penalties;
       penalties;

12
12               3.
                 3.   For pre-judgment
                      For pre-judgment interest, including under
                                       interest, including under Labor Code section
                                                                 Labor Code section 218.6,
                                                                                    218.6, and
                                                                                           and post-
                                                                                               post-

13
13     judgment interest;
       judgment interest; and
                          and

14
14               4.
                 4.   For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

15
15     appropriate.
       appropriate.

16
16                               ON THE
                                 ON THE SEVENTH
                                        SEVENTH CAUSE OF ACTION:
                                                CAUSE OF ACTION:

17
17               1.
                 1.   That Defendants be
                      That Defendants be found to have
                                         found to have violated
                                                       violated Business
                                                                Business and
                                                                         and Professions
                                                                             Professions Code
                                                                                         Code sections
                                                                                              sections

18
18     17200, et seq., for
       17200,              the conduct
                       for the conduct alleged
                                       alleged herein
                                               herein as
                                                      as to
                                                         to the
                                                            the California
                                                                California Class;
                                                                           Class;

19
19               2.
                 2.   A declaratory
                      A             judgment that
                        declaratory judgment that the
                                                  the practices
                                                      practices complained
                                                                complained herein are unlawful;
                                                                           herein are unlawful;

20
20               3.
                 3.   An injunction
                      An            against Defendants
                         injunction against Defendants enjoining
                                                       enjoining them,
                                                                 them, and
                                                                       and any
                                                                           any and
                                                                               and all
                                                                                   all persons
                                                                                       persons acting
                                                                                               acting in
                                                                                                      in

21
21     concert with
       concert with them,
                    them, from
                          from engaging
                               engaging in
                                        in each of the
                                           each of the unlawful
                                                       unlawful practices,
                                                                practices, policies
                                                                           policies and
                                                                                    and patterns
                                                                                        patterns set
                                                                                                 set forth
                                                                                                     forth

22
22     herein;
       herein;

23
23               4.
                 4.   For restitution
                      For restitution to
                                      to the
                                         the full
                                             full extent
                                                  extent permitted
                                                         permitted by
                                                                   by law; and
                                                                      law; and

24
24               5.
                 5.   For such
                      For such other
                               other further
                                     further relief, in law
                                             relief, in law and/or
                                                            and/or equity,
                                                                   equity, as
                                                                           as the
                                                                              the Court
                                                                                  Court deems
                                                                                        deems just
                                                                                              just or
                                                                                                   or

25
25     appropriate.
       appropriate.

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                                                   COMPLAINT
                                                   COMPLAINT
                                                      27
                                                      27
     Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 57 of 169 Page ID #:57


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1

2
2      Dated: January
       Dated: January 9, 2023
                      9, 2023                     Respectfully submitted,
                                                  Respectfully submitted,
                                                  LAVI &
                                                  LAVI  & EBRAHIMIAN,
                                                           EBRAHIMIAN, LLPLLP
33

4
4                                          By:
                                           By:
                                                  Joseph
                                                  Joseph Lavi,
                                                         Lavi, Esq.
                                                               Esq.
55                                                Vincent C.
                                                  Vincent  C. Granberry,
                                                              Granberry, Esq.
                                                                          Esq.
                                                  Danielle E.
                                                  Danielle    Montero, Esq.
                                                           E. Montero,  Esq.
6
6                                                 Attorneys for
                                                  Attorneys     Plaintiff
                                                            for Plaintiff
                                                  FRANCISCO J.
                                                  FRANCISCO         MEZA,
                                                                 J. MEZA,
7
7                                                 on behalf
                                                  on behalf of
                                                            of himself
                                                               himself and
                                                                       and others
                                                                            others similarly
                                                                                   similarly situated
                                                                                             situated
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                                         DEMAND FOR
                                         DEMAND     JURY TRIAL
                                                FOR JURY TRIAL
13
              Plaintiff FRANCISCO
              Plaintiff FRANCISCO J. MEZA demands
                                  J. MEZA demands aa trial
                                                     trial by
                                                           by jury
                                                              jury for
                                                                   for himself
                                                                       himself and
                                                                               and the
                                                                                   the California
                                                                                       California
14
       Class on
       Class on all
                all claims so triable.
                    claims so triable.
15

16
       Dated: January
       Dated: January 9, 2023
                      9, 2023                     Respectfully submitted,
                                                  Respectfully submitted,
17                                                LAVI &
                                                  LAVI  & EBRAHIMIAN,
                                                           EBRAHIMIAN, LLPLLP
18
                                           By:
                                           By:
19                                                Joseph
                                                  Joseph Lavi,
                                                         Lavi, Esq.
                                                               Esq.
                                                  Vincent C.
                                                  Vincent  C. Granberry,
                                                              Granberry, Esq.
                                                                          Esq.
20
20                                                Danielle E.
                                                  Danielle    Montero, Esq.
                                                           E. Montero,  Esq.
                                                  Attorneys for
                                                  Attorneys     Plaintiff
                                                            for Plaintiff
21
21                                                FRANCISCO J.
                                                  FRANCISCO         MEZA,
                                                                 J. MEZA,
                                                  on behalf
                                                  on behalf of
                                                            of himself
                                                               himself and
                                                                       and others
                                                                            others similarly
                                                                                   similarly situated
                                                                                             situated
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                                                 COMPLAINT
                                                 COMPLAINT
                                                    28
                                                    28
                   Case     2:23-cv-01045
                         Electronically              Document
                                        FILED by Superior                1 Filed
                                                          Court of California, County of02/10/23        Page 58 of
                                                                                         Riverside on 01/09/2023175:05 PM169 Page                         ID #:58
           Case Number CVIRI2300103 0000045069247 - Marita C. Ford, Interim Executive Officer/Clerk of the Court By Viviana Gonzalez, Clerk                             CM-010
                                                                                                                                                                         M-01
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar
                                                   Bar number, and
                                                               and address):                                                              COURT USE
                                                                                                                                      FOR COURT     ONLY
                                                                                                                                                USE ONLY
 Joseph Lavi,
Joseph     Lavi, Esq.
                   Esq. (SBN
                         (SBN 209776);Vincent
                               209776);Vincent C.C. Granberry,    Esq. (SBN
                                                     Granberry, Esq.   (SBN 276483)
                                                                            276483)
 Danielle E.
 Danielle    E. Montero,
                 Montero, Esq.
                            Esq. (SBN
                                  (SBN 333945)
                                        333945)
 LAVI &
 LAVI     & EBRAHIMIAN,
             EBRAHIMIAN, LLP     LLP
 8889 W.
 8889   W. Olympic
             Olympic Boulevard,
                         Boulevard, Suite  200
                                     Suite 200
 Beverly Hills,
 Beverly    Hills, California
                    California 90211
                                90211
       TELEPHONE NO.: T:T: (310)
                           (310) 432-0000
                                  432-0000                 F: (310)
                                                      NO.: F:
                                                  FAX NO.:    (310) 432-0001
                                                                     432-0001
                        PLAINTIFF Francisco
           FOR (Name): PLAINTIFF
 ATTORNEY FOR                         Francisco J.
                                                J. Meza
                                                   Meza
                                          OF Riverside
 SUPERIOR COURT OF CALIFORNIA, COUNTY oFRiverside
                       4050 Main
     STREET ADDRESS: 4050   Main Street
                                   Street
                       4050 Main
     MAILING ADDRESS: 4050  Main Street
                                   Street
                       Riverside, CA
    CITY AND ZIP CODE: Riverside,  CA 92501
                                      92501
                       Riverside Historic
        BRANCH NAME: Riverside   Historic Courthouse
                                          Courthouse
 CASE NAME:                   Meza v.
                              Meza   v. Swift
                                        Swift Beef
                                              Beef Company,
                                                    Company, et et al.
                                                                   al.
                                                                                             CASE
    CIVIL
    CIVIL CASE
          CASE COVER       SHEET
                 COVER SHEET                       Complex Case Designation                  CASE NUMBER:

  X Unlimited
  X                     Limited                        Counter              Joinder               •-••• l l 23                                          O O1             O 3
     (Amount            (Amount                Filed with first appearance by defendant     JUDGE:
     demanded           demanded is
     exceeds $25,000) $25,000 or less)              (Cal. Rules of Court, rule 3.402)        DEPT:

                                 Items 1-6 below must be completed
                                                           completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort
      Auto Tort                                               Contract
                                                              Contract                                         Provisionally Complex Civil Litigation
           Auto (22)
           Auto (22)                                               Breach of
                                                                   Breach of contract/warranty (06)
                                                                             contract/warranty (06)            (Cal. Rules
                                                                                                               (Cal. Rules of
                                                                                                                           of Court,
                                                                                                                              Court, rules
                                                                                                                                     rules 3.400-3.403)
                                                                                                                                           3.400-3.403)
           Uninsured motorist
           Uninsured motorist (46)
                              (46)                                  Rule 3.740 collections (09)
                                                                         3.74O collections (09)                        Antitrust/Trade regulation
                                                                                                                       Antitrust/Trade   regulation (03)
                                                                                                                                                     (03)
                                 Injury/Property
      Other PI/PD/WD (Personal Injury/Property                      Other collections
                                                                   Other              (09)
                                                                          collections (09)                             Construction defect
                                                                                                                       Construction           (10)
                                                                                                                                      defect (10)
      Damage/Wrongful Death)
      Damage/Wrongful  Death) Tort
                                Tort                                                                                   Mass tort
                                                                                                                              tort (40)
                                                                    Insurance coverage
                                                                   Insurance   coverage (18)
                                                                                         (18)                          Mass        (4O)
              Asbestos (O4)
              Asbestos  (04)                                        Other contract
                                                                   Other  contract (37)
                                                                                   (37)                                Securities litigation (28)
                                                                                                                       Securities
              Product liability
              Product liability (24)
                                (24)                          Real Property
                                                              Real Property                                            Environmental/Toxic tort
                                                                                                                       Environmental/Toxic     tort (30)
                                                                                                                                                    (30)
              Medical malpractice
              Medical malpractice (45)
                                     (45)                                   domain/Inverse
                                                                   Eminent domain/Inverse                              Insurance coverage
                                                                                                                       Insurance    coverage claims arising from the
              Other PI/PD/WD
              Other PI/PD/WD (23)(23)                               condemnation (14)                                  above listed
                                                                                                                       above   listed provisionally  complex case
                                                                                                                                      provisionally complex  case
                                                                    Wrongful eviction (33)
                                                                             eviction (33)                             types (41)
                                                                                                                       types
                   (Other) Tort
      Non-PI/PD/WD (Other) Tort
              Business tort/unfair
              Business   tort/unfair business
                                     business practice
                                              practice (07)
                                                       (O7)         Other real
                                                                    Other real property (26)
                                                                               property (26)                   Enforcement of
                                                                                                               Enforcement of Judgment
                                                                                                                              Judgment
                    rights (08)
              Civil rights (08)                               Unlawful Detainer                                    Enforcement of
                                                                                                                   Enforcement  of judgment
                                                                                                                                   judgment (2O)
                                                                                                                                            (20)
              Defamation (13)
              Defamation (13)                                       Commercial (31)                           Miscellaneous Civil
                                                                                                              Miscellaneous Civil Complaint
              Fraud (16)
              Fraud (16)                                            Residential (32)                                   RICO (27)
              Intellectual property
              Intellectual property (19)
                                    (19)                           Drugs (38)
                                                                   Drugs  (38)                                         Other complaint
                                                                                                                       Other complaint (not specified        (42)
                                                                                                                                            specified above) (42)
                             negligence (25)
              Professional negligence    (25)                 Judicial Review
                                                              Judicial                                         Miscellaneous Civil Petition
                                                                                                               Miscellaneous
                non-PI/PD/WD tort
          Other non-PI/PD/WD   tort (35)
                                    (35)                            Asset forfeiture
                                                                    Asset  forfeiture (05)
                                                                                      (05)                             Partnership and
                                                                                                                       Partnership      corporate governance
                                                                                                                                    and corporate  governance (21)
      Employment
      Employment                                                    Petition re:
                                                                    Petition re: arbitration award (11)                Other petition
                                                                                                                       Other petition (not specified above) (43)
                                                                                                                                                            (43)
                   termination (36)
          Wrongful termination (36)                                         mandate (O2)
                                                                    Writ of mandate    (02)
         X    Other employment (15)
              Other                                                 Other judicial
                                                                    Other  judicial review
                                                                                    review (39)
2. This case      X is
                  X                 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties      d. XX Large number of witnesses
   b. X X Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve                in other counties, states, or countries, or in a federal court
   c. X X Substantial amount of documentary evidence             f.       Substantial postjudgment judicial supervision
3. Remedies sought (check all                      X monetary b. X
                               all that apply): a. X                X nonmonetary; declaratory or injunctive relief c.              punitive
4. Number of causes of action (specify): Seven     (7)
                                            Seven (7)
5. This case      X is
                  X             is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may
                                                                                       may use form CM-015.)
        January 9,
Date: January       2023
                 9, 2023
Vincent C.
Vincent   C. Granberry,
             Granberry, Esq.
                         Esq.
                                     (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                      NOTICE
                                                                      NOTICE
  •
   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
  
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                        58
                                                                                                                                                                        Page 1
                                                                                                                                                                        Page 1 of
                                                                                                                                                                               of 2
                                                                                                                                                                                  2
Form Adopted
     Adopted for
               for Mandatory
                   Mandatory Use
                               Use
                                                                CIVIL
                                                                CIVIL CASE
                                                                      CASE COVER SHEET
                                                                           COVER SHEET                      Legal       Cal. Rules
                                                                                                                        Cal. Rules of
                                                                                                                                   of Court, rules 2.30,
                                                                                                                                      Court, rules  2.30, 3.220,
                                                                                                                                                          3.220, 3.400–3.403,   3.740;
                                                                                                                                                                 3.400-3.403, 3.740;
  Judicial Council
  Judicial Council of
                   of California
                      California                                                                                                Cal. Standards
                                                                                                                                Cal. Standards ofof Judicial Administration, std.
                                                                                                                                                    Judicial Administration, std. 3.10
                                                                                                                                                                                  3.10
                                                                                                          Solutions"
   CM-010 [Rev.
   CM-010   [Rev. July
                  July 1, 2007]
                                                                                                               Plus
                        Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 59 of 169 Page ID #:59
                                 INSTRUCTIONS ON
                                 INSTRUCTIONS         ON HOW
                                                           HOW TO   TO COMPLETE
                                                                       COMPLETE THE    THE COVER
                                                                                              COVER SHEETSHEET                           CM-010
                                                                                                                                         CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil
                                                    Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided     provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys
                                                                                            attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages,
damages, (2) punitive
               punitive damages, (3) recovery of real property, (4) recovery of personal
                                                                                   personal property,
                                                                                              property, or (5) a prejudgment
                                                                                                                  prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil         Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort
Auto  Tort                                         Contract
                                                   Contract                                              Provisionally Complex Civil Litigation (Cal.
         (22)—Personal Injury/Property
   Auto (22)—Personal         Injury/Property        Breach of
                                                     Breach   of Contract/Warranty
                                                                 Contract/Warranty (06) (06)             Rules of
                                                                                                         Rules of Court
                                                                                                                  Court Rules
                                                                                                                         Rules 3.400-3.403)
                                                                                                                                  3.400–3.403)
        Damage/Wrongful Death
        Damage/Wrongful          Death                   Breach of
                                                         Breach   of Rental/Lease
                                                                      Rental/Lease                            Antitrust/Trade Regulation
                                                                                                              Antitrust/Trade   Regulation (03)
                                                                                                                                              (03)
   Uninsured Motorist
   Uninsured    Motorist (46)
                            (46) (if
                                   (if the                  Contract (not unlawful
                                                            Contract          unlawful detainer
                                                                                        detainer              Construction Defect
                                                                                                              Construction   Defect (10)
                                                                                                                                      (10)
        case involves an uninsured
                               uninsured                        or wrongful
                                                                    wrongful eviction)                                            Mass Tort
                                                                                                              Claims Involving Mass      Tort (40)
                                                                                                                                               (40)
        motorist claim subject to                        Contract/Warranty Breach—Seller
                                                         Contract/Warranty
                                                            Plaintiff (not fraud
                                                                            fraud or negligence)              Securities Litigation (28)
                                                                                                              Securities
        arbitration, check this item                                                                          Environmental/Toxic Tort
                                                                                                              Environmental/Toxic      Tort (30)
                                                                                                                                            (30)
                                                                     Breach of
                                                         Negligent Breach         Contract/
                                                                               of Contract/
        instead ofof Auto)                                                                                    Insurance Coverage
                                                                                                              Insurance   Coverage Claims
                                                                                                                                       Claims
                                                            Warranty
Other PI/PD/WD (Personal Injury/    Injury/              Other Breach
                                                         Other  Breach of of Contract/Warranty                    (arising from provisionally complex
          Damage/Wrongful Death)
Property Damage/Wrongful              Death)         Collections (e.g.,
                                                     Collections   (e.g., money
                                                                          money owed,
                                                                                   owed, open
                                                                                           open                               listed above) (41)
                                                                                                                  case type listed
Tort
Tort                                                     book  accounts) (09)
                                                         book accounts)     (09)                         Enforcement of
                                                                                                         Enforcement    of Judgment
                                                                                                                           Judgment
   Asbestos (04)
   Asbestos   (04)                                       Collection Case-Seller
                                                         Collection   Case—Seller Plaintiff
        Asbestos Property
                     Property Damage
                                 Damage                                                                       Enforcement of
                                                                                                              Enforcement    of Judgment
                                                                                                                                 Judgment (20)
                                                                                                                                             (20)
        Asbestos                                         Other Promissory
                                                         Other  Promissory Note/Collections
                                                                               Note/Collections
        Asbestos Personal
                     Personal Injury/
                                  Injury/                                                                         Abstract of
                                                                                                                  Abstract  of Judgment
                                                                                                                                Judgment (Out
                                                                                                                                            (Out of
                                                                                                                                                  of
        Asbestos                                                Case
                                                                Case
                          Death
             Wrongful Death                          Insurance Coverage
                                                     Insurance   Coverage (not provisionally
                                                                                    provisionally                     County)
   Product Liability
   Product   Liability (not asbestos or                  complex) (18)                                            Confession of
                                                                                                                  Confession     of Judgment
                                                                                                                                    Judgment (non-
                                                                                                                                                (non-
        toxic/environmental) (24)                        Auto Subrogation
                                                         Auto  Subrogation                                            domestic relations)
             Malpractice (45)
   Medical Malpractice       (45)                        Other Coverage
                                                         Other  Coverage                                          Sister State
                                                                                                                  Sister State Judgment
                                                                                                                                 Judgment
        Medical Malpractice—
        Medical    Malpractice–                      Other Contract
                                                     Other  Contract (37)
                                                                        (37)                                      Administrative Agency AwardAward
             Physicians &
             Physicians      & Surgeons
                                Surgeons                 Contractual Fraud
                                                         Contractual    Fraud                                         (not unpaid taxes)
        Other Professional
        Other   Professional Health
                                  Health Care
                                            Care         Other Contract
                                                         Other  Contract Dispute
                                                                            Dispute                                                       of Entry of
                                                                                                                  Petition/Certification of
             Malpractice
             Malpractice                                Property
                                                   Real Property                                                      Judgment on
                                                                                                                      Judgment     on Unpaid
                                                                                                                                      Unpaid Taxes
                                                                                                                                                Taxes
   Other PI/PD/WD (23)                                         Domain/Inverse
                                                     Eminent Domain/Inverse                                              Enforcement of
                                                                                                                  Other Enforcement      of Judgment
                                                                                                                                            Judgment
        Premises Liability (e.g., slip                   Condemnation (14)                                            Case
                                                                                                                      Case
             and fall)
             and                                                Eviction (33)
                                                     Wrongful Eviction     (33)                          Miscellaneous Civil Complaint
                                                                                                         Miscellaneous
                                                     Other Real
                                                     Other  Real Property
                                                                  Property (e.g.,
                                                                              (e.g., quiet
                                                                                     quiet title)
                                                                                           title) (26)
                                                                                                  (26)        RICO (27)
        Intentional Bodily Injury/PD/WD
                                                                 Possession of
                                                         Writ of Possession     of Real
                                                                                    Real Property
                                                                                         Property             Other Complaint
                                                                                                              Other  Complaint (not specified
                                                                                                                                       specified
             (e.g., assault,
             (e.g.,   assault, vandalism)
                                                         Mortgage Foreclosure
                                                         Mortgage    Foreclosure                                  above) (42)
        Intentional Infliction of                        Quiet Title
                                                         Quiet                                                    Declaratory Relief Only
                                                                                                                  Declaratory
             Emotional Distress
             Emotional      Distress                     Other Real
                                                         Other  Real Property
                                                                       Property (not eminent
        Negligent Infliction of                                                                                   Injunctive Relief Only (non-
                                                         domain, landlord/tenant, or
             Emotional Distress
             Emotional      Distress                                                                                  harassment)
                                                         foreclosure)
        Other PI/PD/WD                                                                                            Mechanics Lien
        Other                                                Detainer
                                                   Unlawful Detainer
                                                                                                                  Other Commercial Complaint
                                                                                                                  Other
                   (Other) Tort
Non-PI/PD/WD (Other)         Tort                    Commercial (31)
                                                                                                                      Case (non-tort/non-complex)
                                                                                                                      Case
   Business Tort/Unfair
   Business   Tort/Unfair Business
                              Business               Residential (32)
                                                                                                                  Other Civil Complaint
                                                                                                                  Other
        Practice (07)
        Practice    (07)                             Drugs (38)
                                                     Drugs   (38) (if
                                                                  (if the case involves illegal
                                                                                           illegal                    (non-tort/non-complex)
   Civil Rights (e.g., discrimination,                   drugs, check this item; otherwise,
        false arrest)
        false arrest) (not civil
                               civil                                                                     Miscellaneous Civil Petition
                                                                                                         Miscellaneous
                                                                    Commercial or Residential)
                                                         report as Commercial                                 Partnership and     Corporate
        harassment) (08) (08)                                                                                 Partnership   and Corporate
                                                   Judicial Review
                                                   Judicial                                                       Governance (21)
   Defamation (e.g.,
   Defamation     (e.g., slander,
                          slander, libel)            Asset Forfeiture
                                                     Asset  Forfeiture (05)
                                                                         (05)
                                                                                                              Other Petition
                                                                                                              Other  Petition (not specified
        (13)
        (13)                                         Petition Re: Arbitration Award (11)
                                                                                                                  above) (43)
   Fraud (16)
   Fraud   (16)                                               Mandate (02)
                                                     Writ of Mandate     (02)
                                                                                                                        Harassment
                                                                                                                  Civil Harassment
   Intellectual Property
   Intellectual  Property (19)
                             (19)                        Writ–Administrative Mandamus
                                                         Writ—Administrative     Mandamus
                                                                                                                                Violence
                                                                                                                  Workplace Violence
                    Negligence (25)
   Professional Negligence          (25)                 Writ–Mandamus on
                                                         Writ—Mandamus        on Limited
                                                                                 Limited Court
                                                                                          Court
                                                                                                                  Elder/Dependent Adult
                                                                                                                  Elder/Dependent      Adult
               Malpractice
        Legal Malpractice                                   Case Matter
                                                            Case   Matter
                                                                                                                      Abuse
                                                                                                                      Abuse
        Other Professional
        Other   Professional Malpractice
                                  Malpractice            Writ–Other Limited
                                                         Writ—Other    Limited Court
                                                                                Court Case
                                                                                       Case
                                                                                                                  Election Contest
                                                                                                                  Election  Contest
                    medical or legal)
             (not medical                                   Review
                                                                                                                                Name Change
                                                                                                                  Petition for Name    Change
          Non-PI/PD/WD Tort
   Other Non-PI/PD/WD           Tort (35)
                                       (35)          Other Judicial
                                                     Other  Judicial Review
                                                                       Review (39)
                                                                                                                                             Late
                                                                                                                                                             59
                                                                                                                  Petition for Relief from Late
Employment
Employment                                                            Health Officer
                                                         Review of Health      Officer Order
                                                                                       Order
                                                                                                                      Claim
              Termination (36)
   Wrongful Termination         (36)                     Notice of
                                                         Notice  of Appeal—Labor
                                                                    Appeal–Labor
                                                                                                                  Other Civil Petition
                                                                                                                  Other
   Other Employment (15)                                    Commissioner Appeals
                                                            Commissioner       Appeals
CM-010 [Rev. July
CM-010 [Rev. July 1, 2007]                                CIVIL CASE
                                                          CIVIL CASE COVER
                                                                     COVER SHEET
                                                                           SHEET                                                               Page 2 of 2
                                                                                                                                               Page
                   Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 60 of 169 Page ID #:60
                        Electronically FILED by Superior Court of California, County of Riverside on 01/09/2023 05:05 PM
          Case Number CVRI2300103 0000045069248 - Marita C. Ford, Interim Executive Officer/Clerk °fine Court By Viviana Gonzalez, Clerk
                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

El    BANNING 311 E. Ramsey St., Banning, CA 92220                        ❑    MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
El    BLYTHE 265 N. Broadway, Blythe, CA 92225                            El   PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
El    CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                El   RIVERSIDE 4050 Main St., Riverside, CA 92501
❑     MORENO VALLEY 13800 Heacock St., Ste. D201,
      Moreno Valley, CA 92553
                                                                                                                                                               RI-CI032
                                                                                                                                                               RI-C1032
                                                Bar Number
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and
                                                           and Address)                                                           COURT USE
                                                                                                                              FOR COURT USE ONLY
                                                                                                                                            ONLY
Joseph     Lavi, Esq.
Joseph Lavi,      Esq. (SBN(SBN 209776);
                                  209776); Vincent
                                            Vincent C.
                                                    C. Granberry,
                                                        Granberry, Esq.     Esq. (SBN
                                                                                   (SBN 276483)
                                                                                        276483)
Danielle E.
Danielle    E. Montero,
                Montero, Esq.  Esq. (SBN
                                    (SBN 333945)
                                          333945)
LAVI &
LAVI   & EBRAHIMIAN,
          EBRAHIMIAN, LLP        LLP
8889
8889 W.W. Olympic
             Olympic Boulevard,
                          Boulevard, Suite
                                       Suite 200, Beverly Hills,
                                             200, Beverly   Hills, Ca Ca 90211
                                                                             90211
                             (310) 432-0000
            TELEPHONE NO: (310)    432-0000                NO. (Optional): (310)
                                                       FAX NO.(Optional:           432-0001
                                                                           (3 1 0) 432-0001
                 (Optional): dmontero@lelawfirm.com; wht2@lelawfirm.com
  E-MAIL ADDRESS (Optional:
                             dmontero@lelawfirm.com; wht2@lelawfirm.com
     ATTORNEY FOR (Name):
                             PLAINITFF Francisco
                             PLAINITFF  Francisco J.  Meza
                                                   J. Meza

                                  Francisco J.
            PLAINTIFF/PETITIONER: Francisco    Meza
                                            J. Meza


       DEFENDANT/RESPONDENT:            Swift Beef
                                        Swift Beef Company,
                                                   Company, et
                                                            et al.
                                                               al.                                          CASE NUMBER:
                                                                                                                   ..-., I      l   2 3 0 CI1 0 3
                                                                  CERTIFICATE OF COUNSEL

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

     O                                            92518
             The action arose in the zip code of: 92518


     O       The action concerns real property located in the zip code of:


     O       The Defendant resides in the zip code of:




For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 3115 at www.riverside.courts.ca.gov.


I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.



     Date January
          January 9, 2023
                  9, 2023




  Vincent C.
  Vincent C. Granberry,
             Granberry, Esq.
                        Esq.                                                    ►
        (TYPE OR PRINT NAME OF El ATTORNEY El PARTY MAKING DECLARATION)                                         (SIGNATURE)


                                                                                                                                                               Page 1
                                                                                                                                                                    1 of 1
                                                                                                                                                                         1
Approved for Mandatory Use                                                                                                                                     Local Rule 3117
                                                                    CERTIFICATE OF COUNSEL
Riverside Superior Court
RI-CI032 [Rev. 07/15/21]
RI-C1032                                                                                                                                                                  60
                                                                                                                               riverside.courts.ca.govflocalfrmsflocalfrms.shbnl
                                                                                                                               riverside.courts.ca.gov/localfrms/localfrms.shtml
                             Electronically FILED by
                    Case 2:23-cv-01045               Superior Court
                                                  Document       1 of Filed
                                                                      California, County of Riverside
                                                                              02/10/23        Page on 610110912023
                                                                                                          of 169 05:05
                                                                                                                     PagePM ID #:61
               Case Number CVRI2300103 0000045069249 - Marita C. Ford, Interim Executive 0fficeriClerk of the Court By Viviana Gonzalez, Clerk
                                               SUMMONS                                                                                                               SUM-100
                                                                                                                                            COURT USE
                                                                                                                                        FOR COURT     ONLY
                                                                                                                                                  USE ONLY
                                        (CITACION JUDICIAL)
                                        (CITACION                                                                                   (SOLO PARA USO DE
                                                                                                                                                   DE LA CORTE)

NOTICE TO DEFENDANT: SWIFT    BEEF COMPANY;
                      SWIFT BEEF     COMPANY; and
                                              and DOES
                                                  DOES 1
                                                       1 to
                                                         to
(AVISO AL DEMANDADO): 100, inclusive
                      100, inclusive




                                 FRANCISCO J.
YOU ARE BEING SUED BY PLAINTIFF: FRANCISCO      MEZA, on
                                             J. MEZA,   on
                                     behalf of
    ESTA DEMANDANDO EL DEMANDANTE): behalf
(LO ESTÁ                                    of himself
                                               himself and
                                                       and
others similarly
others similarly situated
                 situated


 NOTICE! You
 NOTICE!    You have
                 have been
                        been sued.
                                sued. The
                                       The court
                                            court may
                                                   may decide
                                                         decide against
                                                                  against you
                                                                          you without
                                                                                without your
                                                                                         your being   heard unless
                                                                                              being heard           you respond
                                                                                                            unless you    respond within
                                                                                                                                     within 3030 days.   Read the
                                                                                                                                                  days. Read    the information
                                                                                                                                                                    information
 below.
    You have 30 CALENDAR DAYS after this summons       summons and legal papers
                                                                              papers are served
                                                                                            served on you to file a written response at this court and have a         a copy
                                                                                                                                                                        copy
 served  on the
 served on   the plaintiff.
                 plaintiff. A
                            A letter
                               letter or
                                      or phone
                                         phone call   will not
                                                 call will not protect you. Your
                                                               protect you. Your written
                                                                                   written response
                                                                                            response must
                                                                                                       must be
                                                                                                             be in proper legal
                                                                                                                in proper   legal form
                                                                                                                                   form ifif you
                                                                                                                                             you want
                                                                                                                                                  want the
                                                                                                                                                       the court
                                                                                                                                                            court to
                                                                                                                                                                   to hear
                                                                                                                                                                      hear your
                                                                                                                                                                           your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.goviselfhelp),
                              (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
                                                                             (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 these nonprofit groups at the California Legal Services Web site (wwwiawhelpcalifornia.org),
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 (www.courtinfo.ca.goviselthelp),
 costs
 costs on any settlement
                settlement or or arbitration award of $10,000 or more in a civil case.  case. The court's lien must be
                                                                                                                     be paid
                                                                                                                           paid before
                                                                                                                                before the court willwill dismiss the case.
                                                                                                                                                                        case.
 ¡AVISO! Lo han demandado. Si
 MIVISO!                              Si no responde dentro de 30 días, dias, la corte puede decidir
                                                                                               decidir en su contra sin escuchar
                                                                                                                           escuchar su versión.               información a
                                                                                                                                             version. Lea la informacion
 continuación
 continuacion
   Tiene 30 DIAS
             DÍAS DE CALENDARIO después    despues de que le entreguen este    esta citacion
                                                                                     citación y papeles legales para presenter
                                                                                                                         presentar una respuesta por     por escrito en este
                                                                                                                                                                         esta
 corte y hacer
         hacer que se entregue una copia al       al demandante. Una cartecarta o una Ilamada     telefonica no lo protegen. Su respuesta por
                                                                                         llamada telefónica                                        por escrito tiene que ester
                                                                                                                                                                           estar
 en formato legal
              legal correcto si si desea que procesen su caso en la corte. code. Es posible que hays haya un formulario que ustedusted pueda usarpara
                                                                                                                                                  usar para su respuesta.
         encontrar estos formularios de la corte
 Puede encontrar                                           más informaci0n
                                                  code y mss    información en el el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte
 bibfioteca                                        code que le quede mss  más cerca. Si               pagar la cuota de presentacion,
                                                                                        Si no puede pager                  presentación, pida al   al secretatio
                                                                                                                                                      secretario de la corte
 que le dé
         de un formulario de exencion
                                 exención de pago de cuotas. Si     Si no presenta su respuesta a tiempo, puede perder   perder elel caso porpor incumplimiento y la corte le
 podrá guitar
 podra  quitar su sueldo, dinero y bienes sin mss   más advertencia.
  Hay otros requisitos legales. Es recomendable que Ilame       llame a un abogado inmediatamente. Si      Si no conoce a un abogado, puede Ilamar     llamar a un servicio de
 remisión a abogados. Si
 remisi0n                   Si no puede pagar
                                          pagar a un abogado, es posible que cumpla con los requisitos para obtener       obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar encontrar estos grupos sin fines                   el sitio web de California Legal
                                                                                                   fines de lucro en el                               Legal Services,
 (www.lawhelpcalifornia.org), en el    el Centro de Ayuda de las CortesCodes de California, (www.sucorte.ca.gov) o poniendose
                                                                                                                           poniéndose en contacto con la corte o el       el
 colegio de abogados locales. AVISO: Por      Por ley, la corte tiene derecho a reclamar
                                                                                     reclamar las cuotas y y los costos exentos por  por imponer
                                                                                                                                           imponer un gravamen sobre
 cualquier  recuperación de $10,000 o
 cualquier recuperaci0n                    ó mss
                                             más de valor
                                                       valor recibida mediante un acuerdo o una concesion
                                                                                                        concesión de arbitraje en un caso de derecho civil. Tiene      Tiene que
 pagar el
 pagar  el gravamen de la corte antes de que la corte                  desechar el
                                                         code pueda desechar       el caso.
The name
The  name andand address
                  address of    of the
                                   the court   is:
                                        court is:                                                                     CASE NUMBER:
(El
(El nombre y  y dirección
                direcci0n de la corte es):                                                                            (Número   del Caso):
                                                                                                                      (1,10metp del Case):
Riverside County
Riverside County Superior  Court
                  Superior Court                                                                                                               23        CI 01           CI 3
Riverside Historic
Riverside Historic Courthouse
                   Courthouse
4050 Main
4050 Main Street
           Street
Riverside, CA
Riverside, CA 92501
              92501
The name,
The  name, address,
           address, and
                     and telephone
                          telephone number
                                     number of
                                             of plaintiffs
                                                plaintiff's attorney,
                                                            attorney, or
                                                                      or plaintiff without an
                                                                         plaintiff without an attorney,
                                                                                              attorney, is:
                                                                                                        is:
(El
(El nombre, la dirección y el
               direcci0n y el nuttier°
                              número de teléfono
                                        telefono del
                                                  del abogado del del demandante, o del del demandante que no tiene abogado, es):
Joseph Lavi,
Joseph  Lavi, Esq.
              Esq. (SBN
                   (SBN 209776);Vincent
                         209776);Vincent C.C. Granberry,
                                              Granberry, Esq.
                                                          Esq. (SBN
                                                               (SBN 276483
                                                                      276483 T: (310) 432-0000
                                                                             T: (310) 432-0000                                                   F: (310)
                                                                                                                                                 F: (310) 432-0001
                                                                                                                                                          432-0001
Danielle E.
Danielle E. Montero,
            Montero, Esq.
                      Esq. (SBN
                           (SBN 333945)
                                 333945)
LAVI &
LAW   & EBRAHIMIAN,
         EBRAHIMIAN, LLP  LLP
8889 W.
8889 W. Olympic
         Olympic Boulevard,
                    Boulevard, Suite 200, Beverly
                               Suite 200, Beverly Hills,
                                                  Hills, CA
                                                         CA 90211
                                                             90211           V. Gonzalez
DATE:
DATE:                                                         Clerk, by
                                                              Clerk, by                                                                                             ,, Deputy
                                                                                                                                                                       Deputy
(Fecha) 01/09/2023
(Fechw01/09/2023                                              (Secretario)                                                                                             (Adjunto)
(For proof of
(For proof of service of                     Proof of
                      of this summons, use Proof     of Service
                                                        Service of
                                                                of Summons
                                                                   Summons (form POS-010).)
(Para prueba de entrega de esta citatión                       Proof of
                                                el formulario Proof
                                  citation use el                    of Service
                                                                        Service ofof Summons,
                                                                                     Summons, (POS-010)).
                                  NOTICE TO
                                  NOTICE    TO THE
                                                THE PERSON
                                                       PERSON SERVED:
                                                                  SERVED: YouYou areare served
                                                                                        served
 [SEAL]                          1.
                                 1.         as an
                                            as an individual
                                                    individual defendant.
                                                               defendant.
           WRT
                                 2.
                                 2.         as the
                                            as the person    sued under
                                                     person sued   under the
                                                                         the fictitious
                                                                             fictitious name
                                                                                        name of
                                                                                              of (specify):
                                srfl.
                                          3.
                                          3.           on behalf
                                                       on behalf of
                                                                 of (specify):
           o
         at,      t4
                                               under:
                                               under:         CCP 416.10
                                                              CCP   416.10 (corporation)
                                                                            (corporation)                                        CCP 416.60
                                                                                                                                 CCP 416.60 (minor)
                                                                                                                                            (minor)
                   r—                                         CCP 416.20
                                                              CCP   416.20 (defunct
                                                                            (defunct corporation)
                                                                                     corporation)                                CCP 416.70
                                                                                                                                 CCP 416.70 (conservatee)
                                                                                                                                            (conservatee)
                        trISI
                                                              CCP 416.40
                                                              CCP   416.40 (association
                                                                            (association or
                                                                                         or partnership)
                                                                                            partnership)                         CCP 416.90
                                                                                                                                 CCP 416.90 (authorized
                                                                                                                                            (authorized person)
                                                                                                                                                        person)
006 81 50(g)                                                  other (specify):
                                                              other                                                                                                                     61
                                          4.
                                          4.          by personal
                                                      by personal delivery
                                                                  delivery on
                                                                           on (date):                                                                                    Page 1
                                                                                                                                                                         Page 1 of
                                                                                                                                                                                of 1
                                                                                                                                                                                   1
 Form Adopted for Mandatory Use                                                                                        Legal
   Judicial Council of California
                                                                                SUMMONS                                                        Code of Civil Procedure §§ 412.20, 465

  SUM-100 [Rev. July 1, 2009]
                                                                                                                     Solution&
                                                                                                                          Plus
                  Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 62 of 169 Page ID #:62



                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                      Historic Court
                                                      Historic Court House
                                                                     House
                                              4050 Main
                                              4050 Main Street,
                                                        Street, Riverside,
                                                                Riverside, CA 92501
                                                                           CA 92501
                                                   www.riverside.courts.ca.gov
                                                   www.riverside.courts.ca.gov

  Case Number:
  Case Number:           CVRI2300103
                         CVRI2300103

  Case Name:
  Case Name:             MEZA vs
                         MEZA vs SWIFT BEEF COMPANY
                                 SWIFT BEEF COMPANY


  JOSEPH LAVI
  8889 W
  8889 W OLYMPIC BLVD STE 200

  Beverly Hills, CA 90211


                                     NOTICE OF
                                     NOTICE    CASE MANAGEMENT
                                            OF CASE MANAGEMENT CONFERENCE
                                                               CONFERENCE

      The Case Management
      The Case Management Conference is scheduled
                          Conference is scheduled as
                                                  as follows:
                                                     follows:

                            Hearing Date
                            Hearing Date                     Hearing Time                     Department
                                                                                              Department
                              03/13/2023
                              03/13/2023                        8:30 AM
                                                                8:30                        Department 10
                                                                                            Department 10
                      Location of Hearing:
                      Location
                                              4050 Main
                                              4050 Main Street,
                                                        Street, Riverside,
                                                                Riverside, CA
                                                                           CA 92501
                                                                              92501



      No   later than
      No later   than 15
                      15 calendar
                         calendar days
                                  days before the date
                                       before the date set
                                                        set for
                                                            for the
                                                                 the case
                                                                     case management
                                                                          management conference
                                                                                         conference or
                                                                                                    or review,
                                                                                                       review, each
                                                                                                               each party must
                                                                                                                    party must
      file a
      file a case
             case management
                   management statement
                                statement and
                                          and serve
                                               serve it
                                                     it on
                                                        on all
                                                            all other
                                                                other parties
                                                                      parties in
                                                                              in the
                                                                                 the case.
                                                                                     case. CRC,  Rule 3.725.
                                                                                           CRC, Rule  3.725.

      The  plaintiff/cross-complainant shall
      The plaintiff/cross-complainant   shall serve
                                              serve aa copy
                                                       copy of
                                                             of this
                                                                this notice
                                                                     notice on
                                                                            on all
                                                                               all defendants/cross-defendants
                                                                                   defendants/cross-defendants who
                                                                                                               who are
                                                                                                                   are named
                                                                                                                       named
      or added
      or added to
                to the
                     the complaint and file
                         complaint and file proof
                                            proof of
                                                  of service.

      Any disqualification
      Any disqualification pursuant
                           pursuant to
                                    to CCP
                                       CCP Section
                                           Section 170.6
                                                   170.6 shall
                                                         shall be
                                                               be filed
                                                                  filed in
                                                                        in accordance
                                                                           accordance with
                                                                                      with that
                                                                                           that section.
                                                                                                section.


      Remote Appearance
      Remote   Appearance at   at Hearing:
                                   Hearing: The
                                             The court
                                                  court strongly
                                                         strongly encourages
                                                                    encourages parties
                                                                                  parties and
                                                                                           and counsel
                                                                                               counsel to
                                                                                                        to appear
                                                                                                           appear remotely
                                                                                                                  remotely for
                                                                                                                             for non-
                                                                                                                                 non-
      evidentiary hearings
      evidentiary hearings inin civil
                                civil cases.
                                      cases. Pursuant
                                              Pursuant toto local
                                                            local rule
                                                                  rule 3132,
                                                                       3132, persons   intending to
                                                                              persons intending  to appear
                                                                                                    appear remotely
                                                                                                             remotely shall
                                                                                                                      shall notify
                                                                                                                            notify all
                                                                                                                                   all
      opposing parties
      opposing  parties of
                         of their
                            their intention
                                  intention to
                                            to appear
                                               appear remotely
                                                        remotely before
                                                                   before the
                                                                          the hearing. Notice may be given informally, including
      by telephone, email,
      by telephone,  email, or
                             or text
                                text message.
                                      message. To    appear remotely,
                                                To appear     remotely, on
                                                                        on the
                                                                            the day of the
                                                                                day of  the hearing,
                                                                                            hearing, either
                                                                                                     either use
                                                                                                            use your
                                                                                                                your computer,
                                                                                                                     computer,
      mobile device,
      mobile  device, or
                      or dial
                         dial (833)
                              (833) 568-8864    (toll free)
                                      568-8864 (toll  free) or
                                                            or (669)
                                                               (669) 254-5252,   when prompted
                                                                      254-5252, when    prompted enter:
                                                                                                  enter:

                                                            ID: 161-888-5460
                                                   Meeting ID:  161-888-5460 ##
                                        Access Code:
                                        Access       Press the
                                               Code: Press the ## key
                                                                  key (no
                                                                      (no number
                                                                          number after
                                                                                 after the
                                                                                       the #)
                                                                                           #)

      Please MUTE
      Please         your phone
              MUTE your   phone until
                                 until your
                                       your case
                                            case is
                                                 is called,
                                                    called, and
                                                            and it
                                                                it is
                                                                   is your
                                                                      your turn
                                                                           turn to
                                                                                to speak.
                                                                                   speak. ItIt is
                                                                                               is important
                                                                                                  important to
                                                                                                            to note
                                                                                                               note that
                                                                                                                    that you
                                                                                                                         you must
                                                                                                                             must
      call twenty (20)
      call twenty (20) minutes
                       minutes prior
                               prior to
                                     to the
                                        the scheduled
                                            scheduled hearing
                                                       hearing time
                                                               time toto check
                                                                         check in
                                                                                in or
                                                                                   or there
                                                                                      there may
                                                                                            may be be a
                                                                                                      a delay in your
                                                                                                        delay in your case
                                                                                                                      case being
                                                                                                                           being
      heard.
      heard.


CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev. 03/02/22)




                                                                                                                                         62
                      Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 63 of 169 Page ID #:63

                        Interpreter services
                        Interpreter  services are
                                              are available
                                                  available upon
                                                              upon request.
                                                                    request. IfIf you
                                                                                  you need
                                                                                      need an
                                                                                            an interpreter,
                                                                                               interpreter, please  complete and
                                                                                                             please complete    and submit
                                                                                                                                    submit the
                                                                                                                                            the online
                                                                                                                                                online
                        Interpreter Request
                                     Request Form
                                              Form (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf)
                                                     (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf) or or contact  the clerk's
                                                                                                                                                 clerk’s
     [ii)).
          ",
                        Interpreter                                                                                                 contact the
                        office
                        office and  verbally request
                               and verbally  request an
                                                      an interpreter.
                                                          interpreter. All
                                                                       All requests
                                                                           requests must
                                                                                      must be
                                                                                           be made
                                                                                               made inin advance   with as
                                                                                                         advance with      much notice
                                                                                                                        as much   notice as
                                                                                                                                         as possible,
                                                                                                                                             possible,
       .
        •         ,     and prior to the hearing date in order to secure an interpreter.
            •

       6,               Assistive listening
                        Assistive listening systems,
                                            systems, computer-assisted

                                                  (951) 777-3769
                        (951) 777-3023 or TDD (951)       777-3769 between
                                                                             real time
                                                        computer-assisted real
                        available upon request ifif at least 5 days notice
                                                                      notice is
                                                                                   time captioning,
                                                                             is provided.
                                                                                                     or sign
                                                                                        captioning, or  sign language
                                                                                                             language interpreter
                                                                                provided. Contact the Office of the ADA Coordinator
                                                                                8:00 am
                                                                     between 8:00     am and
                                                                                         and 4:30
                                                                                              4:30 pm
                                                                                                    pm oror by
                                                                                                                                    services are
                                                                                                                        interpreter services
                                                                                                                             Coordinator by
                                                                                                                                              are
                                                                                                                                          by calling
                                                                                                               emailing ADA@riverside.courts.ca.gov
                                                                                                            by emailing  ADA@riverside.courts.ca.gov
                        to request
                        to request an
                                    an accommodation.
                                        accommodation. A    A Request
                                                              Request for   Accommodations by
                                                                        for Accommodations      by Persons
                                                                                                   Persons With    Disabilities and
                                                                                                              With Disabilities and Order  (form MC-
                                                                                                                                     Order (form
                        410) must
                        410)  must be   submitted when
                                    be submitted  when requesting
                                                          requesting anan accommodation.
                                                                           accommodation. (Civil
                                                                                              (Civil Code
                                                                                                     Code section
                                                                                                            section 54.8.)
                                                                                                                    54.8.)



                                                               CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
      party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said
                                               said copy
                                                    copy as stated above.


      Dated: 01/10/2023                                                          MARITA C. FORD,
                                                                                 Interim Court Executive Officer/Clerk of the Court



                                                                                 by:

                                                                                       V. Gonzalez, Deputy Clerk
CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev.




                                                                                                                                                           63
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                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                     Historic Court
                                                     Historic Court House
                                                                    House
                                             4050 Main
                                             4050 Main Street,
                                                       Street, Riverside,
                                                               Riverside, CA 92501
                                                                          CA 92501
                                                  www.riverside.courts.ca.gov
                                                  www.riverside.courts.ca.gov

  Case Number:
  Case Number:           CVRI2300103
                         CVRI2300103

  Case Name:
  Case Name:             MEZA vs
                         MEZA vs SWIFT BEEF COMPANY
                                 SWIFT BEEF COMPANY


  FRANCISCO J MEZA


                                    NOTICE OF
                                    NOTICE    CASE MANAGEMENT
                                           OF CASE MANAGEMENT CONFERENCE
                                                              CONFERENCE

      The Case Management Conference is scheduled as follows:

                            Hearing Date                 Hearing Time                   Department
                              03/13/2023                    8:30 AM                   Department 10
                      Location of Hearing:
                                             4050 Main Street, Riverside, CA 92501



      No later than 15 calendar days before the date set for the case management conference or review, each party must
      file a case management statement and serve it on all other parties in the case. CRC, Rule 3.725.

      The plaintiff/cross-complainant shall serve a copy of this notice on all defendants/cross-defendants who are named
      or added to the complaint and file proof of service.

      Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that section.


      Remote Appearance at Hearing: The court strongly encourages parties and counsel to appear remotely for non-
      evidentiary hearings in civil cases. Pursuant to local rule 3132, persons intending to appear remotely shall notify all
      opposing parties of their intention to appear remotely before the hearing. Notice may be given informally, including
      by telephone, email, or text message. To appear remotely, on the day of the hearing, either use your computer,
      mobile device, or dial (833) 568-8864 (toll free) or (669) 254-5252, when prompted enter:

                                                  Meeting ID: 161-888-5460 #
                                       Access Code: Press the # key (no number after the #)

      Please MUTE your phone until your case is called, and it is your turn to speak. It is important to note that you must
      call twenty (20) minutes prior to the scheduled hearing time to check in or there may be a delay in your case being
      heard.

CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev.




                                                                                                                                64
                      Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 65 of 169 Page ID #:65

                        Interpreter services
                        Interpreter  services are
                                              are available
                                                  available upon
                                                              upon request.
                                                                    request. IfIf you
                                                                                  you need
                                                                                      need an
                                                                                            an interpreter,
                                                                                               interpreter, please  complete and
                                                                                                             please complete    and submit
                                                                                                                                    submit the
                                                                                                                                            the online
                                                                                                                                                online
                        Interpreter Request
                                     Request Form
                                              Form (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf)
                                                     (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf) or or contact  the clerk's
                                                                                                                                                 clerk’s
     [ii)).
          ",
                        Interpreter                                                                                                 contact the
                        office
                        office and  verbally request
                               and verbally  request an
                                                      an interpreter.
                                                          interpreter. All
                                                                       All requests
                                                                           requests must
                                                                                      must be
                                                                                           be made
                                                                                               made inin advance   with as
                                                                                                         advance with      much notice
                                                                                                                        as much   notice as
                                                                                                                                         as possible,
                                                                                                                                             possible,
       .
        •         ,     and prior to the hearing date in order to secure an interpreter.
            •

       6,               Assistive listening
                        Assistive listening systems,
                                            systems, computer-assisted

                                                  (951) 777-3769
                        (951) 777-3023 or TDD (951)       777-3769 between
                                                                             real time
                                                        computer-assisted real
                        available upon request ifif at least 5 days notice
                                                                      notice is
                                                                                   time captioning,
                                                                             is provided.
                                                                                                     or sign
                                                                                        captioning, or  sign language
                                                                                                             language interpreter
                                                                                provided. Contact the Office of the ADA Coordinator
                                                                                8:00 am
                                                                     between 8:00     am and
                                                                                         and 4:30
                                                                                              4:30 pm
                                                                                                    pm oror by
                                                                                                                                    services are
                                                                                                                        interpreter services
                                                                                                                             Coordinator by
                                                                                                                                              are
                                                                                                                                          by calling
                                                                                                               emailing ADA@riverside.courts.ca.gov
                                                                                                            by emailing  ADA@riverside.courts.ca.gov
                        to request
                        to request an
                                    an accommodation.
                                        accommodation. A    A Request
                                                              Request for   Accommodations by
                                                                        for Accommodations      by Persons
                                                                                                   Persons With    Disabilities and
                                                                                                              With Disabilities and Order  (form MC-
                                                                                                                                     Order (form
                        410) must
                        410)  must be   submitted when
                                    be submitted  when requesting
                                                          requesting anan accommodation.
                                                                           accommodation. (Civil
                                                                                              (Civil Code
                                                                                                     Code section
                                                                                                            section 54.8.)
                                                                                                                    54.8.)



                                                               CERTIFICATE OF MAILING
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      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said
                                               said copy
                                                    copy as stated above.


      Dated: 01/10/2023                                                          MARITA C. FORD,
                                                                                 Interim Court Executive Officer/Clerk of the Court



                                                                                 by:

                                                                                       V. Gonzalez, Deputy Clerk
CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev.




                                                                                                                                                           65
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                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                     Historic Court
                                                     Historic Court House
                                                                    House
                                             4050 Main
                                             4050 Main Street,
                                                       Street, Riverside,
                                                               Riverside, CA 92501
                                                                          CA 92501
                                                  www.riverside.courts.ca.gov
                                                  www.riverside.courts.ca.gov

  Case Number:
  Case Number:           CVRI2300103
                         CVRI2300103

  Case Name:
  Case Name:             MEZA vs
                         MEZA vs SWIFT BEEF COMPANY
                                 SWIFT BEEF COMPANY


  SWIFT BEEF COMPANY


                                    NOTICE OF
                                    NOTICE    CASE MANAGEMENT
                                           OF CASE MANAGEMENT CONFERENCE
                                                              CONFERENCE

      The Case Management Conference is scheduled as follows:

                            Hearing Date                 Hearing Time                   Department
                              03/13/2023                    8:30 AM                   Department 10
                      Location of Hearing:
                                             4050 Main Street, Riverside, CA 92501



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CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev.




                                                                                                                                66
                      Case 2:23-cv-01045 Document 1 Filed 02/10/23 Page 67 of 169 Page ID #:67

                        Interpreter services
                        Interpreter  services are
                                              are available
                                                  available upon
                                                              upon request.
                                                                    request. IfIf you
                                                                                  you need
                                                                                      need an
                                                                                            an interpreter,
                                                                                               interpreter, please  complete and
                                                                                                             please complete    and submit
                                                                                                                                    submit the
                                                                                                                                            the online
                                                                                                                                                online
                        Interpreter Request
                                     Request Form
                                              Form (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf)
                                                     (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf) or or contact  the clerk's
                                                                                                                                                 clerk’s
     [ii)).
          ",
                        Interpreter                                                                                                 contact the
                        office
                        office and  verbally request
                               and verbally  request an
                                                      an interpreter.
                                                          interpreter. All
                                                                       All requests
                                                                           requests must
                                                                                      must be
                                                                                           be made
                                                                                               made inin advance   with as
                                                                                                         advance with      much notice
                                                                                                                        as much   notice as
                                                                                                                                         as possible,
                                                                                                                                             possible,
       .
        •         ,     and prior to the hearing date in order to secure an interpreter.
            •

       6,               Assistive listening
                        Assistive listening systems,
                                            systems, computer-assisted

                                                  (951) 777-3769
                        (951) 777-3023 or TDD (951)       777-3769 between
                                                                             real time
                                                        computer-assisted real
                        available upon request ifif at least 5 days notice
                                                                      notice is
                                                                                   time captioning,
                                                                             is provided.
                                                                                                     or sign
                                                                                        captioning, or  sign language
                                                                                                             language interpreter
                                                                                provided. Contact the Office of the ADA Coordinator
                                                                                8:00 am
                                                                     between 8:00     am and
                                                                                         and 4:30
                                                                                              4:30 pm
                                                                                                    pm oror by
                                                                                                                                    services are
                                                                                                                        interpreter services
                                                                                                                             Coordinator by
                                                                                                                                              are
                                                                                                                                          by calling
                                                                                                               emailing ADA@riverside.courts.ca.gov
                                                                                                            by emailing  ADA@riverside.courts.ca.gov
                        to request
                        to request an
                                    an accommodation.
                                        accommodation. A    A Request
                                                              Request for   Accommodations by
                                                                        for Accommodations      by Persons
                                                                                                   Persons With    Disabilities and
                                                                                                              With Disabilities and Order  (form MC-
                                                                                                                                     Order (form
                        410) must
                        410)  must be   submitted when
                                    be submitted  when requesting
                                                          requesting anan accommodation.
                                                                           accommodation. (Civil
                                                                                              (Civil Code
                                                                                                     Code section
                                                                                                            section 54.8.)
                                                                                                                    54.8.)



                                                               CERTIFICATE OF MAILING
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      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said
                                               said copy
                                                    copy as stated above.


      Dated: 01/10/2023                                                          MARITA C. FORD,
                                                                                 Interim Court Executive Officer/Clerk of the Court



                                                                                 by:

                                                                                       V. Gonzalez, Deputy Clerk
CI-NOCMC
CI-NOCMC
(Rev. 03/02/22)
(Rev.




                                                                                                                                                           67
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Notice has
Notice has been
           been printed
                printed for the following
                        for the following Firm/Attorneys
                                          Firm/Attorneys or
                                                         or Parties:
                                                            Parties: CVRI2300103
                                                                     CVRI2300103


 LAVI,
 LAVI, JOSEPH
       JOSEPH                                       MEZA, FRANCISCO
                                                    MEZA, FRANCISCO JJ
 8889 W OLYMPIC
 8889 W OLYMPIC BLVD
                BLVD STE 200
                     STE 200

 Beverly Hills,
 Beverly Hills, CA
                CA 90211
                   90211


 SWIFT BEEF COMPANY
 SWIFT BEEF COMPANY




                                                                                     68
                                           Page 7
                                           Page 7 of
                                                  of 7
                                                     7 Pages
                                                       Pages
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                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                               Historic Court
                                                               Historic Court House
                                                                              House
                                                       4050 Main
                                                       4050 Main Street,
                                                                 Street, Riverside,
                                                                         Riverside, CA
                                                                                    CA 92501
                                                                                       92501
                                                            www.riverside.courts.ca.gov
                                                            www.riverside.courts.ca.gov

  Case Number:
  Case Number:                 CVRI2300103
                               CVRI2300103

  Case Name:
  Case Name:                   MEZA vs
                               MEZA vs SWIFT
                                       SWIFT BEEF
                                             BEEF COMPANY
                                                  COMPANY



                                                   NOTICE OF
                                                   NOTICE OF DEPARTMENT
                                                             DEPARTMENT ASSIGNMENT
                                                                        ASSIGNMENT

      The above entitled case is assigned to the Honorable Harold W. Hopp in Department 10 for All Purposes.

      Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

      The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
      Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
      court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
      internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

      To request oral argument, you must (1) notify the judicial secretary
                                                                   secretary at (760) 904-5722 and (2) inform all other
      parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
      4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

      The filing party shall serve a copy of this notice on all parties.


                  ,     Interpreter services
                        Interpreter   services are
                                               are available
                                                     available upon
                                                                 upon request.
                                                                       request. IfIf you
                                                                                     you need
                                                                                          need an
                                                                                               an interpreter,
                                                                                                   interpreter, please    complete and
                                                                                                                 please complete     and submit
                                                                                                                                         submit the
                                                                                                                                                 the online
                                                                                                                                                     online
      I ))) x4..        Interpreter Request Form (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf) or contact the clerk's      clerk’s
                        office
                        office and   verbally request
                               and verbally   request an an interpreter.
                                                             interpreter. All
                                                                          All requests
                                                                              requests must
                                                                                         must be
                                                                                               be made
                                                                                                  made in in advance    with as
                                                                                                             advance with       much notice
                                                                                                                             as much   notice as
                                                                                                                                              as possible,
                                                                                                                                                  possible,
                        and prior
                        and        to the
                             prior to  the hearing
                                           hearing date
                                                     date inin order
                                                               order to
                                                                     to secure
                                                                        secure an
                                                                                an interpreter.
                                                                                     interpreter.
          •

       6.         -
                        Assistive listening
                        Assistive
                        available
                                   listening systems,
                        available upon
                                             systems, computer-assisted
                                   upon request
                                          request ifif at
                        (951) 777-3023 or TDD (951)  (951) 777-3769
                                                             777-3769 between
                                                                                real time
                                                           computer-assisted real
                                                       at least
                                                          least 5
                                                                5 days
                                                                  days notice
                                                                         notice is
                                                                                      time captioning,
                                                                                is provided.
                                                                                   8:00 am
                                                                        between 8:00     am and
                                                                                                        or sign
                                                                                            captioning, or
                                                                                               Contact the
                                                                                   provided. Contact
                                                                                             and 4:30
                                                                                                  4:30 pm
                                                                                                            sign language
                                                                                                                  language interpreter
                                                                                                         the Office
                                                                                                        pm or
                                                                                                              Office of
                                                                                                             or by
                                                                                                                     of the
                                                                                                                        the ADA
                                                                                                                                         services are
                                                                                                                             interpreter services
                                                                                                                            ADA Coordinator
                                                                                                                                  Coordinator by
                                                                                                                                                   are
                                                                                                                                                   calling
                                                                                                                                               by calling
                                                                                                                    emailing ADA@riverside.courts.ca.gov
                                                                                                                by emailing   ADA@riverside.courts.ca.gov
                        to request
                        to request anan accommodation.
                                         accommodation. A      A Request
                                                                 Request for   Accommodations by
                                                                           for Accommodations       by Persons
                                                                                                       Persons With     Disabilities and
                                                                                                                   With Disabilities and Order  (form MC-
                                                                                                                                          Order (form
                        410) must be be submitted when requesting an accommodation. (Civil Code section 54.8.)


      Dated: 01/10/2023                                                            MARITA C. FORD,
                                                                                   Interim Court Executive Officer/Clerk of the Court



                                                                                   by:

                                                                                         V. Gonzalez, Deputy Clerk
CI-NODACV
CI-NODACV
(Rev. 02/16/21)
(Rev. 02/16/21)




                                                                                                                                                                69
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     F




         SUPERIOR COURT OF THE
         SUPERIOR COURT        STATE OF CALIFORNIA,
                           THE STATE                COUNTY OF
                                        CALIFORNIA, COUNTY    RIVERSIDE
                                                           OF RIVERSIDE

      TITLE: Meza v.
 CASE TITLE:         Swift Beef Company
                  v. Swift      Company                                 Department           E Q L E D
                                                                                        SL PERIOR COURT
                                                                                        Sl1PERIOR COURT OF
                                                                                                         OF CALIFORNIA
                                                                                                            CALIFORNIA
                                                                        10
                                                                        10                   COUNTY
                                                                                             COUNTY OF
                                                                                                     OF RIVERSIDE
 CASE NO.:
 CASE NO.:           CVRI2300103
                     CVRI2300103

 DATE:
 DATE:               January 10,
                     January 10, 2023
                                 2023                                                          JAN, .11
                                                                                               JAN,. 11 2023
                                                                                                        2023

                                                                                              E. Esc e
                                                                                              E. Esc
 PROCEEDING: Class Action
 PROCEEDING:              Case Management
                   Action Case Management Order
                                          Order# #1
                                                  1



      Unless otherwise
      Unless otherwise   ordered, this Case
                         ordered, this      Management Order ("
                                       Case Management          CMO") shall govern
                                                             ("CMO")        govern the
                                                                                   the
management of this
management     this case.
                    case.



A.
A.        IN GENERAL                                                                                                      z
1.
1.        The Court
                Court finds that this is a
                            that this    a complex
                                           complex case.
                                                   case. Cal. Rules of
                                                         Cal. Rules of Court,  rules 3.400(c)(6),
                                                                       Court, rules  3. 400( c)( 6),
          3.403(b).                                accordingly. The court will entertain objections
          3. 403( b). The clerk shall impose fees accordingly.  The court will  entertain  objections to
                                                                                                      to
          this designation
          this designation at the
                               the next  Case Management
                                   next Case               Conference or
                                              Management Conference    or status
                                                                          status conference.
                                                                                  conference.

2.
2.                                                   10, Judge Harold W. Hopp, for all purposes,
          This case has been assigned to Department 10,
          including case management,
          including      management, law
                                       law and motion, and
                                           and motion,     trial.
                                                       and trial.
3.
3.        The
          The plaintiff  shall serve
              plaintiff shall  serve aa copy
                                        copy of
                                             of this
                                                this CMO
                                                     CMO onon any
                                                               any defendant
                                                                   defendant who
                                                                             who has
                                                                                 has not yet appeared,
                                                                                     not yet appeared,
          and shall file proof  of service promptly   thereafter.
              shall file proof of service promptly thereafter.


B.
B.        CASE
          CASE MANAGEMENT
               MANAGEMENT AND THE CASE
                          AND THE      PROGRESSION PLAN
                                  CASE PROGRESSION PLAN

1.
l.        The Court
          The Court finds
                    finds that
                          that this case involves
                               this case          exceptional circumstances
                                         involves exceptional               that are
                                                              circumstances that are likely to prevent
                                                                                     likely to prevent
              case from
         this case
         this       from meeting        goals and deadlines
                           meeting the goals       deadlines set  by California
                                                              set by  California Rules
                                                                                 Rules of
                                                                                        of Court,   rule
                                                                                           Court, rule
         3. 713( b). Accordingly,
         3.713(b).                   this case is exempt
                      Accordingly, this                   from those
                                                  exempt from   those case
                                                                       case disposition
                                                                            disposition time   goals. Id.,
                                                                                        time goals.    Id.,
         rule 3.714(c)(1).
         rule                 With the input from
              3. 714( c)( 1). With                  the parties,
                                              from the           the Court
                                                        parties, the Court shall
                                                                            shall develop
                                                                                  develop a case
                                                                                             case
         progression    plan with
         progression plan     with the
                                   the goal
                                       goal of
                                            of disposing  of the
                                               disposing of  the case
                                                                  case within three years.
                                                                       within three  years. Id.,
                                                                                            Id., rule
                                                                                                 rule
         3.714(c)(2).
         3. 714( c)( 2).

2.
2.       Prior to the next Case
                           Case Management Conference, counsel for the
                                Management Conference,             the parties
                                                                       parties shall meet and
          confer
          confer regarding
                 regarding the joint statement
                           the joint statement required by RSC
                                               required by     Local Rule
                                                           RSC Local Rule 3160.
                                                                          3160.
3.
3.       Not later than five
                        five court days    advance of the next
                                   days in advance          next Case
                                                                 Case Management
                                                                       Management Conference,
                                                                                     Conference, all
         parties that have appeared shall file the joint statement  required by
                                                         statement required  by rule
                                                                                rule 3160
                                                                                     3160 instead
                                                                                           instead of
                                                                                                   of
         Judicial
         Judicial Council        CM- 110 [[case
                   Council form CM-110     case management
                                                 management    statement]. In addition
                                                               statement]. In addition to the
                                                                                          the items
                                                                                              items
         listed
         listed in Rule
                   Rule 3160,
                        3160, the
                              the statement
                                  statement shall:
                                             shall:

         a.
         a.      Advise   the Court
                 Advise the   Court whether
                                    whether any
                                              any of the parties
                                                  of the parties or their counsel
                                                                 or their counsel are
                                                                                  are aware
                                                                                      aware of
                                                                                             of any
                                                                                                any other
                                                                                                     other
                 class action, putative
                               putative class action, or other type of representative
                                                                        representative or collective
                                                                                          collective action
                 in this or any other jurisdiction
                                      jurisdiction that asserts claims similar to those here on behalf of


                                                 Page
                                                 Page 1
                                                      1 of 17
                                                                                                                         70
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                      putative class,
               class, putative
             a class,           class, or other group
                                       or other       of individuals
                                                group of             that in
                                                         individuals that in any
                                                                             any way overlaps with
                                                                                 way overlaps with
             the putative
             the putative class   alleged here.
                           class alleged here.
     b.
     b.      Describe the parties'
             Describe the                 progression plan,
                                     case progression
                          parties' case                      which shall
                                                       plan, which   shall include at least
                                                                           include at  least ((i)
                                                                                               i) aa
             statement as to whether
                             whether the    parties agree
                                        the parties       to pursue
                                                    agree to         mediation and
                                                             pursue mediation          ii) aa plan
                                                                                 and ((ii)    plan of   the
                                                                                                     of the
             informal discovery
             informal discovery and         formal discovery
                                        any formal
                                   and any          discovery to  be conducted
                                                               to be conducted inin preparation
                                                                                    preparation for  for
             mediation, class certification, or both.

4.
4.   At least five court days  before any
                         days before     any subsequent    Case Management
                                             subsequent Case                       Conference, Status
                                                                  Management Conference,         Status
     Conference,
     Conference,   or Trial Setting    Conference,   the parties  shall  file a joint statement
                      Trial Setting Conference, the parties shall file a joint statement that:   that:
     a.
     a.                     status of the case,
            Describes the status
            Describes                             including ((i)
                                            case, including    i) the results of
                                                                  the results      any mediation
                                                                                of any             or other
                                                                                        mediation or   other
            settlement efforts,
            settlement  efforts, ((ii) the degree
                                   ii) the degree to   which the
                                                   to which   the case   progression plan
                                                                   case progression          has been
                                                                                        plan has  been
            implemented and
            implemented     and ((iii) any changes
                                  iii) any changes or or additions
                                                         additions to   the case
                                                                    to the   case progression   plan; and
                                                                                   progression plan;   and
     b.
     b.      Identifies any
             Identifies any issues or concerns
                            issues or          that either
                                      concerns that        party wishes
                                                    either party wishes to discuss with
                                                                        to discuss      the Court.
                                                                                   with the Court.
5.
5.                    unsuccessful, the
         mediation is unsuccessful,
     If mediation                    the case
                                         case progression    plan shall
                                               progression plan         be expanded
                                                                  shall be expanded prior     to the
                                                                                        prior to the next
                                                                                                     next
     status
     status conference
            conference  to include
                        to include ((a) a pre-certification
                                     a) a pre- certification discovery
                                                             discovery  schedule,
                                                                        schedule, ( (b)
                                                                                     b) a deadline
                                                                                          deadline   for
     filing a motion  for class                and aa proposed
     filing a motion for class certification, and
                                certification,                  briefing schedule
                                                       proposed briefing             for that
                                                                          schedule for         motion.
                                                                                         that motion.
6.
6.   The Court
     The Court intends to conduct
               intends to conduct all Case            Conferences and
                                           Management Conferences
                                      Case Management                 Status Conferences
                                                                  and Status Conferences
     informally, in chambers.
     informally, in chambers.   Should an appearance be necessary,
                                          appearance be necessary, the Court will
                                                                   the Court will inform
                                                                                  inform all
                                                                                         all
     counsel
     counsel via email and/or
             via email         telephone.
                       and/ or telephone.



C.   MEDIATION
     MEDIATION

     The court expects the parties         engage in
                                       to engage
                               parties to             private mediation
                                                   in private  mediation at
                                                                          at the  earliest practicable
                                                                             the earliest  practicable time,
                                                                                                        time,
     i.e.,  as soon
     i. e., as      as all parties
               soon as     parties have
                                   have  obtained
                                         obtained—  — preferably
                                                      preferably through
                                                                 through   informal
                                                                           informal   means
                                                                                      means—  - sufficient
                                                                                                sufficient

     information
     information from      the opposing
                    from the              party(s)
                               opposing party(        enable them
                                                   to enable
                                                s) to         them to
                                                                    to engage
                                                                       engage in   meaningful mediation.
                                                                                in meaningful    mediation.


D.
D.   DISCOVERY
1.
1.   Counsel are encouraged to engage in informal discovery rather than relying  on formal
                                                                         relying on formal
     discovery. The Court does not stay or otherwise limit informal discovery.
                          does not stay or otherwise limit informal discovery.
2.
2.   The discovery
     The discovery stay
                   stay under RSC Local
                        under RSC       Rule 3160(B)
                                  Local Rule 3160( B) is vacated as
                                                      is vacated    to interrogatories
                                                                 as to interrogatories
                                        contact information for members
                                                                     members of thethe putative class. Any
                                                                                       putative class.
     concerning
     concerning the     identity of and contact
                    the identity                                                                       Any
     such interrogatories
     such                    propounded by
           interrogatories propounded      by the  plaintiff to
                                              the plaintiff     the defendant
                                                             to the  defendant shall   be accompanied
                                                                                shall be  accompanied byby
     (a)
      a) a
         a proposed                   notice,((b)
           proposed Belaire West notice,          the name
                                               b) the name of of aa proposed  third-party administrator,
                                                                    proposed third-party   administrator,
     and
     and( (c)    proposal regarding
           c) aa proposal             the allocation
                           regarding the  allocation of
                                                      of the
                                                         the cost   of the
                                                              cost of  the notice.
                                                                           notice.
3.
3.   All other formal
     All other           discovery concerning
                 formal discovery                class- certification issues
                                    concerning class-certification    issues is
                                                                              is stayed  pending further
                                                                                 stayed pending  further
     order  of the  court. Requests  for leave  to propound    formal  discovery    concerning
     order of the court. Requests for leave to propound formal discovery concerning class-     class-
     certification issues
     certification  issues may      made either
                                be made
                            may be         either by submitting aa declaration
                                                  by submitting      declaration and   proposed order
                                                                                   and proposed  order or
                                                                                                       or
     by making     an oral request at status  conferences  or  at informal  conferences   with
     by making an oral request at status conferences or at informal conferences with the Court the Court


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       in accordance       paragraph 55 below.
          accordance with paragraph                 The Court
                                           below. The            will grant
                                                         Court will         such aa request
                                                                      grant such    request ifif the
                                                                                                 the applicant
                                                                                                     applicant
       demonstrates:
       demonstrates:

       a.
       a.     That the parties have met and and conferred   to discuss
                                                 conferred to   discuss both  (i) the
                                                                        both (i)      scope and
                                                                                  the scope        sources of
                                                                                             and sources   of
              the information   needed either
                  information needed     either to  permit aa meaningful mediation or to support or
                                                 to permit    meaningful    mediation   or to  support  or
                        class- certification motion and
              oppose a class-certification             and((ii)
                                                             ii) whether
                                                                 whether the
                                                                         the parties   would agree
                                                                              parties would           to
                                                                                                agree to
              exchange
              exchange that   information informally;
                         that information    informally;
       b.
       b.      That     parties were
                    the parties
               That the         were unable to reach
                                     unable to       an agreement;
                                               reach an agreement; and
                                                                   and
       c.
       c.      The discovery
               The   discovery is             necessary either
                                  reasonably necessary
                               is reasonably            either ((i)    permit aa meaningful
                                                                    to permit
                                                                 i) to           meaningful mediation
                                                                                            mediation or
                                                                                                      or
               (ii)    make or oppose
                ii) to make    oppose aa certification
                                         certification motion.
                                                       motion.

4.
4.         formal discovery
       All formal
       All                    concerning solely
                  discovery concerning      solely the merits of
                                                   the merits of the plaintiffs claims
                                                                 the plaintiffs           as opposed
                                                                                 claims ((as          to
                                                                                              opposed to
       whether   class should
       whether a class             certified to prosecute
                       should be certified                  those claims)
                                                 prosecute those  claims) is
                                                                          is stayed  until aa motion
                                                                              stayed until    motion
       regarding class certification has   been  granted.
       regarding class certification has been granted.
5.
5.        discovery motions
       No discovery         may be
                    motions may    filed without
                                be filed without leave of court.
                                                 leave of court. If    discovery dispute
                                                                 If aa discovery dispute arises:
                                                                                         arises:
       a.
       a.      The  parties shall
               The parties               and confer
                                   meet and
                            shall meet        confer either in person
                                                     either in person or
                                                                       or by  telephone in
                                                                           by telephone   in aa good-faith
                                                                                                good- faith
               effort to resolve  the dispute.  If, despite that effort, the parties are unable
               effort to resolve the dispute. If, despite that effort, the parties are unable to  to resolve
                                                                                                     resolve
               the dispute, then counsel shall contact the clerk of this department to schedule an
               informal                   which the court will discuss
                          conference at which
               informal conference                                            dispute with counsel
                                                                 discuss the dispute         counsel and, if
                   resolved to
               not resolved          parties' satisfaction,
                                the parties'
                             to the           satisfaction, will consider any
                                                            will consider   any request  for leave
                                                                                 request for  leave to
                                                                                                    to file
                                                                                                       file aa
               formal  motion.
               formal motion.

       b.
       b.      The conference   may be
                    conference may     be conducted
                                           conducted by     telephone or
                                                         by telephone      in person,
                                                                        or in person, as
                                                                                      as counsel
                                                                                         counsel prefer.
                                                                                                   prefer.
               Prior to the conference,    the party   seeking  relief shall provide  the clerk
               Prior to the conference, the party seeking relief shall provide the clerk of thisof  this
               department
               department with
                            with a                          sentence) description
                                            two- to- three sentence)
                                    brief (two-to-three
                                  a brief(                             description in
                                                                                    in writing  of the
                                                                                       writing of  the reason
                                                                                                       reason
                   the conference.
               for the conference.   If the conference is to  to be     telephone, counsel
                                                                 be by telephone,  counsel shall
                                                                                             shall also
                                                                                                    also
               provide the
               provide  the clerk
                            clerk with  the call-in
                                   with the            telephone number
                                              call- in telephone  number andand passcode.
                                                                                passcode.
       c.
       c.      If
               If the
                  the opposing  side will
                      opposing side  will not
                                          not agree  to participate
                                               agree to             in the
                                                        participate in the informal    conference, then
                                                                           informal conference,          the
                                                                                                    then the
                        party shall
               moving party
               moving               bring an
                              shall bring an ex
                                              ex parte  application for
                                                 parte application  for leave  to file
                                                                        leave to          discovery motion.
                                                                                  file aa discovery  motion.
       d.      Requesting an
               Requesting        tolls the
                             IDC tolls
                          an IDC       the deadline
                                           deadline for the
                                                        the discovery motion. Cal. Civ. Proc.
                                                            discovery motion.           Proc.
               Code §§ 2016.080(c)(2).)       the court
                       2016. 080( c)( 2).) If the court grants the IDC
                                                        grants the IDC request, tolling ends
                                                                       request, tolling ends on the date
                                                                                             on the date
               the IDC
               the IDC is complete.
                          complete.

       e.
       e.                                                                   the court
              If the court denies the IDC request, tolling ends on the date the court gives
                                                                                      gives notice
                                                                                            notice of
                                                                                                   of
              the  denial, subject to California Code of Civil Procedure, section 1013(a).
              the denial, subject to California Code of Civil Procedure, section 1013( a).
       f.
       f.     If the court
              If the       takes no
                     court takes no action
                                    action on
                                           on the  request, tolling
                                               the request, tolling ends
                                                                    ends 30
                                                                         30 calendar
                                                                            calendar days
                                                                                     days after
                                                                                          after the
                                                                                                the
              request. Cal. Civ. Proc.
              request.            Proc. Code
                                         Code §§ 2016.080(d).
                                                 2016. 080( d).


E.     REQUESTS
       REOUESTS FOR DISMISSAL    CLASS CLAIMS
                    DISMISSAL OF CLASS CLAIMS

If
If the
   the plaintiff
       plaintiff seeks
                 seeks to
                       to dismiss
                          dismiss or
                                   or otherwise
                                      otherwise abandon
                                                  abandon either the entire
                                                          either the entire action,
                                                                            action, any
                                                                                    any cause
                                                                                        cause of
                                                                                               of action
                                                                                                  action
asserted
asserted on
          on behalf
             behalf of
                     of the
                        the putative
                            putative class,
                                      class, or
                                             or any
                                                any defendant
                                                    defendant against
                                                              against whom
                                                                      whom anyany cause
                                                                                   cause of
                                                                                         of action
                                                                                            action is
                                                                                                   is
asserted on behalf of the class,
                            class, Court approval must
                                                    must be sought as follows:
                                                                       follows:

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1.
1.                 shall not
         plaintiff shall
     The plaintiff
     The                      use the
                         not use  the preprinted   Request for
                                      preprinted Request           Dismissal, Judicial
                                                               for Dismissal,           Council form
                                                                               Judicial Council  form
                Instead,
     CIV-110. Instead,
     CIV- 110.            the request  shall
                              request shall  be  made   by   the submission   to the court
                                                 made by the submission to the court of an of an
     Application for Dismissal
     Application                       includes: ((a)
                                  that includes:
                      Dismissal that               a) a                      plaintiffs counsel;
                                                       a declaration from plaintiffs    counsel; ( (b)
                                                                                                    b) a
                                                                                                       a
     declaration
     declaration from  each named
                 from each            plaintiff; and
                              named plaintiff;   and ((c)    proposed order
                                                       c) aa proposed          of dismissal.
                                                                        order of  dismissal.
2.
2.   The declarations                                        has attempted
                                                   plaintiff has
          declarations shall state whether the plaintiff         attempted toto settle the plaintiff's
                                                                                settle the  plaintiff' s
     individual  claims, and
     individual claims,  and if so, the status
                                so, the  status of those   negotiations.
                                                    those negotiations.
3.
3.   The declarations
     The  declarations must            with California Rules
                             comply with
                        must comply                        Rules of         rule 3.770(a),
                                                                 of Court, rule               pertaining to
                                                                                 3. 770( a), pertaining    to
     any
     any  consideration
          consideration  being
                         being paid
                               paid  for  the
                                          the  dismissal.
                                               dismissal.   Because
                                                            Because  the
                                                                     the purpose
                                                                         purpose    of
                                                                                    of that
                                                                                       that  rule
                                                                                             rule is
                                                                                                  is to
                                                                                                     to  avoid
                                                                                                         avoid
     collusion  between the
     collusion between   the parties  to the
                             parties to       detriment of
                                         the detriment    of the           class members,
                                                                 potential class
                                                             the potential        members, the the showing
                                                                                                   showing
     must be made    by declaration  rather   than  by stipulation.
                        declaration rather than by stipulation.
4.
4.   If the                 exchange for
            dismissal is in exchange
        the dismissal                     any consideration
                                      for any                        than aa waiver
                                                               other than
                                               consideration other           waiver of
                                                                                    of costs,
                                                                                       costs, the
                                                                                              the
     declaration  of plaintiffs  counsel shall authenticate  a fully executed   copy of any  settlement
     declaration of plaintiffs counsel shall authenticate a fully executed copy of any settlement
     agreement. In addition,
     agreement.                the declaration
                     addition, the              shall address
                                   declaration shall           each of
                                                      address each      the following:
                                                                     of the following:
     a.
     a.      What
             What is   the form
                    is the  form and
                                  and value    the consideration,
                                      value of the consideration, how   was it
                                                                  how was       calculated, and
                                                                             it calculated, and to
                                                                                                 to
             whom    is it to be paid?
             whom is it to be paid?
     b.
     b.      Is the plaintiff
             Is the            required to
                    plaintiff required  to execute
                                           execute a release in addition
                                                   a release             to aa dismissal?
                                                                addition to                  so, what is
                                                                               dismissal? If so,
                  scope of that release?
             the scope           release?

     c.
     c.      How
             How is the retention            consideration either
                                       that consideration
                          retention of that                 either by  the plaintiff
                                                                   by the  plaintiff or the plaintiff's
                                                                                     or the plaintiff' s
             attorney consistent with their respective fiduciary duties to the class? In particular,
             attorney  consistent  with their respective  fiduciary  duties  to the class? In particular,
             if the plaintiff has negotiated a settlement of any individual claim against any
             if the plaintiff has negotiated  a settlement  of any  individual   claim against  any
             defendant separate from the representative claims, and that settlement         provides for
                                                                                settlement provides     for
             the  payment   to any plaintiff of consideration   other than  a waiver  of costs,
             the payment to any plaintiff of consideration other than a waiver of costs, the    the
             declaration shall
             declaration  shall as    each such
                                   to each
                                as to             individual claim:
                                            such individual   claim:

             i.
             i.      Estimate          A) the
                                both ((A)
                     Estimate both             total amount
                                           the total amount ofof damages,    monetary penalties,
                                                                  damages, monetary       penalties,
                     attorney' s fees and costs, interest, or other relief that the plaintiff would
                     attorney's  fees  and  costs, interest, or  other relief that  the plaintiff would be  be
                     awarded if the action
                     awarded                   were entirely
                                       action were   entirely successful
                                                              successful atat trial
                                                                              trial on  that claim,
                                                                                    on that  claim, and
                                                                                                      and ((B)
                                                                                                            B)
                               amount of damages,
                     the total amount        damages, monetary     penalties,  attorney's   fees  and
                                                       monetary penalties, attorney' s fees and costs,  costs,
                     interest,
                     interest, or other
                                  other  relief          plaintiff could
                                                that the plaintiff
                                                that the                  reasonably expect
                                                                    could reasonably             to be
                                                                                         expect to   be
                     awarded
                     awarded   at trial, taking into account the likelihood of prevailing and other
                                  trial, taking  into account   the likelihood   of  prevailing  and   other
                     attendant  risks;
                     attendant risks;

             ii.     Briefly describe
                     Briefly describe the
                                      the basis for those
                                          basis for those estimates;
                                                          estimates; and
                                                                     and
             iii.    Describe the
                     Describe  the form
                                   form and
                                        and value of the
                                            value of the consideration
                                                         consideration to be paid
                                                                       to be paid in
                                                                                  in satisfaction
                                                                                     satisfaction of
                                                                                                  of
                     that claim.
                     that claim.


5.
5.   The declarations
     The                by plaintiff
          declarations by   plaintiff and   plaintiff' s counsel
                                       and plaintiff's   counsel shall
                                                                  shall state
                                                                        state ((a)
                                                                                a) whether  the declarant
                                                                                   whether the   declarant
     has ever
     has ever informed anyany   of the
                                   the putative
                                       putative   class
                                                  class  members
                                                         members—  — whether
                                                                     whether    formally
                                                                                formally   or
                                                                                           or informally,
                                                                                              informally,
     orally
     orally or
            or in writing,  individually or
                  writing, individually     or as
                                               as aa group
                                                     group—— of  the preparation,
                                                              of the preparation, filing,
                                                                                    filing, or
                                                                                            or pendency
                                                                                               pendency of  of
         action, and ((b)
     the action,
     the               b) if so, both ((i)
                             so, both      the nature
                                        i) the          and extent
                                                nature and  extent of that
                                                                       that information
                                                                            information and     (ii) whether
                                                                                           and ( ii) whether
         declarant knows or has a means of discovering the name and mailing address of
     the declarant  knows    or has  a means    of discovering   the name   and   mailing  address   of the
                                                                                                        the
     putative
     putative  class member     or members     to whom    that information   was   communicated.
                                   members to whom that information was communicated.

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6.
6.             dismissal is in exchange
           the dismissal
        If the                               no consideration
                               exchange for no  consideration other
                                                                 other than   waiver of costs,
                                                                       than a waiver           the request
                                                                                        costs, the request
        shall explain
              explain the reason for  the dismissal.
                                          dismissal.  If the reason is that the named plaintiff no longer
                                                                            the named plaintiff no  longer
        wishes   to prosecute the case on behalf of  the  putative class:
        wishes to prosecute the case on behalf of the putative class:
        a.
        a.       The plaintiff
                 The  plaintiff shall
                                shall explain     reason for his
                                              the reason
                                      explain the            his or
                                                                 or her  change of heart.
                                                                     her change             Simply stating
                                                                                     heart. Simply stating
                 that the plaintiff no longer  wishes to represent  the class is not sufficient.
                 that the plaintiff no longer wishes to represent the class is not sufficient.
        b.       The plaintiffs
                 The plaintiffs counsel shall explain
                                counsel shall explain why
                                                      why counsel
                                                          counsel wishes to abandon
                                                                  wishes to         the class
                                                                            abandon the class
                 claims rather than
                 claims rather      locate a new class
                               than locate       class representative.
                                                       representative.

7.
7.      Any  request shall
        Any request  shall explain why the
                           explain why the putative class members
                                           putative class members will
                                                                  will not
                                                                       not be prejudiced by
                                                                           be prejudiced    the
                                                                                         by the
        requested dismissal.
        requested dismissal.

8.
8.             complaint alleges
        If the complaint   alleges any
                                    any claims    under California
                                         claims under    California Labor
                                                                       Labor Code    section 2699
                                                                              Code section    2699 ((PAGA),
                                                                                                      PAGA),
        and  the plaintiff intends  to  dismiss  any  of those  representative    claims  because   the
        and the plaintiff intends to dismiss any of those representative claims because the plaintiff   plaintiff
        has negotiated a settlement of individual claims against any       any defendant
                                                                               defendant separate
                                                                                            separate from  the
                                                                                                     from the
        representative
        representative claims,    and that
                         claims, and   that settlement
                                            settlement provides
                                                         provides forfor the
                                                                         the payment
                                                                             payment to to any plaintiff of any
                                                                                           any plaintiff of any
        consideration
        consideration ( (other
                         other than     waiver of
                                than a waiver    of costs) that is
                                                    costs) that  is in
                                                                    in addition  to or
                                                                       addition to  or instead
                                                                                       instead of  PAGA
                                                                                                of PAGA
        penalties,
        penalties, the plaintiff' s counsel's
                   the plaintiff's  counsel' s declaration   shall describe
                                                declaration shall    describe the
                                                                               the information    required by
                                                                                   information required     by
        section G.9.
                 G.9.



F.
F.      MOTIONS   APPLICATIONS GENERALLY
                & APPLICATIONS
        MOTIONS &              GENERALLY

1.
1.      A party   making an
           party making    an ex        application must,
                                  parte application
                               ex parte             must, inter
                                                           inter alia,
                                                                 alia, "[ attempt to determine whether
                                                                       "[attempt
        the
        the opposing    party
             opposing party   will
                              will appear
                                    appear to
                                           to oppose
                                              oppose  the
                                                      the application."
                                                          application."    Cal.
                                                                           Cal. Rules
                                                                                Rules of
                                                                                       of Court, rule
                                                                                          Court, rule
        3. 1204( a)( 2). That attempt
        3.1204(a)(2).          attempt shall be
                                              be made  by telephone.
                                                 made by  telephone.     Written notice
                                                                         Written          asking the
                                                                                 notice asking   the
        opposing
        opposing party    to inform
                    party to          the moving
                             inform the   moving party  of the
                                                  party of the opposing    party' s intentions
                                                                opposing party's    intentions is not
                                                                                               is not
        sufficient.
        sufficient.


2.
2.      A
        A party
          party desiring
                 desiring an  order shortening
                           an order  shortening time
                                                  time for
                                                        for notice
                                                            notice of     motion shall
                                                                    of aa motion       not bring
                                                                                 shall not  bring an ex parte
                                                                                                  an ex parte
        application for such an order
        application                order until
                                         until that  party has
                                               that party  has first      reserved the earliest available
                                                                     (a) reserved the earliest available
                                                               first (a)
        hearing  date for the motion   and (b)  filed  the motion.
        hearing date for the motion and ( b) filed the motion. The   The Court
                                                                           Court will not deem
                                                                                 will not        the ex
                                                                                          deem the      parte
                                                                                                     ex parte
        application
        application as
                     as constituting  the motion
                        constituting the  motion to       heard.
                                                       be heard.
                                                    to be


G.      MOTIONS FOR
        MOTIONS FOR PRELIMINARY APPROVAL OF SETTLEMENT
                    PRELIMINARY APPROVAL    SETTLEMENT

If the matter
If the matter is
               is settled,
                  settled, aa motion    for preliminary
                               motion for   preliminary approval
                                                             approval of   the settlement
                                                                        of the   settlement must
                                                                                              must be be filed.
                                                                                                          filed. All
                                                                                                                  All
applications for such
applications       such approval
                          approval shall    be made
                                      shall be  made by  by noticed   motion, and
                                                             noticed motion,      and shall      supported
                                                                                             be supported by
                                                                                       shall be                 by
declaration. In
declaration.   In order
                   order toto aid  the Court's
                              aid the            review, all
                                       Court' s review,     all declarations
                                                                declarations filed
                                                                                filed in
                                                                                      in support
                                                                                         support of of a  motion for
                                                                                                        a motion   for
preliminary
preliminary approval
              approval shall
                           shall include
                                  include appropriate      headings that
                                           appropriate headings       that identify
                                                                            identify the
                                                                                       the specific    paragraph of
                                                                                           specific paragraph       of
Section
Section GG which
           which is     being addressed.
                     is being   addressed. For
                                             For example,
                                                   example, counsel's
                                                                counsel' s estimate
                                                                             estimate of   the number
                                                                                        of the  number of    of
individuals
individuals in the
                 the class
                      class should
                             should be preceded
                                         preceded by  by aa heading    that identifies
                                                            heading that     identifies G(3)(a)(1),
                                                                                         G( 3)( a)( 1), and counsel's
                                                                                                               counsel' s
estimate
estimate of  the recovery
          of the  recovery by by the
                                   the average
                                       average class     member    if the settlement     were   approved
                                                 class member if the settlement were approved should be       should  be
preceded
preceded by   heading that
          by heading      that identifies
                                identifies G(3)(a)(iv).
                                            G( 3)( a)( iv).


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1.
1.   Settlement Agreements
     Settlement            in General
                Agreements in General

     a.
     a.     The            agreement shall
                settlement agreement
            The settlement           shall not provide      any order,
                                                       that any
                                               provide that            notice, form,
                                                                order, notice, form, or
                                                                                     or
           judgment    shall include
           judgment shall             any provision
                             include any  provision that   this order
                                                      that this order prohibits         being included
                                                                                  from being
                                                                      prohibits from           included
           in such
               such a  document. ( (See
                     a document.         §§ G.3
                                     See §§       through G.10
                                            G. 3 through   G. 10 and  I, infra.)
                                                                  and I, infra.)

     b.    The   settlement agreement
           The settlement    agreement shall       written, signed
                                         shall be written,               all necessary
                                                                    by all
                                                            signed by                  parties, and
                                                                             necessary parties,  and filed,
                                                                                                      filed,
            either in the form
            either                   separate stipulation
                          form of a separate                   as an authenticated
                                               stipulation or as                     attachment
                                                                     authenticated attachment to a to a
            declaration of counsel.
            declaration     counsel.

2.
2.   Notices of Settlement
     Notices    Settlement

     Regardless of the
     Regardless        terms of the proposed
                   the terms                              counsel shall
                                              settlement, counsel
                                    proposed settlement,                not file
                                                                  shall not         Notice of
                                                                            file aa Notice of
     Settlement           Case ((Judicial
                   Entire Case
     Settlement of Entire                 Council form
                                 Judicial Council  form CM-200).
                                                        CM- 200).

3.
3.   The Motion in
     The Motion in General
                   General

     a.
     a.     The  motion shall
            The motion    shall be   supported by aa declaration
                                 be supported           declaration from
                                                                     from the                attorney that,
                                                                                plaintiff'ss attorney
                                                                            the plaintiff'             that,
            inter
            inter alia:
                  alia:

            i.      Sets
                    Sets forth
                         forth the                 estimate of
                                      attorney' s estimate
                                the attorney's               of the number of
                                                                the number     of individuals
                                                                                  individuals inin the
                                                                                                   the class
                                                                                                       class
                    and for any    settlement   that  includes  a claim   for statutory  penalties
                             any settlement that includes a claim for statutory penalties under      under
                    PAGA, sets
                    PAGA,    sets forth
                                    forth the  attorney' s estimate
                                           the attorney's   estimate of
                                                                      of the  number of
                                                                         the number     of aggrieved
                                                                                           aggrieved
                    employees     employed     during   the applicable  PAGA
                    employees employed during the applicable PAGA period.         period.
            ii.     (A)
                     (A) Sets
                         Sets forth  the attorney's
                               forth the             estimate of
                                         attorney' s estimate   of the total amount
                                                                   the total  amount of  of damages,
                                                                                            damages,
                    monetary penalties other relief that the class would be awarded on
                    monetary    penalties  or other relief that the  class  would     be awarded   on each
                                                                                                        each
                    claim     that claim
                    claim if that         were entirely
                                   claim were   entirely successful
                                                          successful   at
                                                                       at trial;
                                                                          trial; (B)
                                                                                 ( B)  explains
                                                                                       explains  how
                                                                                                 how   that
                                                                                                       that
                    estimate        calculated; and ((C)
                               was calculated;
                    estimate was                          states the collective
                                                       C) states      collective total    for all
                                                                                    total for all of
                                                                                                  of the
                                                                                                     the
                    claims.
                    claims.


            iii.    Sets forth: ((A)
                                  A) the attorney' s estimate
                                     the attorney's   estimate as  to each
                                                                as to  each claim
                                                                              claim ofof the total amount
                                                                                         the total amount ofof
                    damages, monetary
                    damages,               penalties or
                               monetary penalties     or other  relief that
                                                         other relief        the class
                                                                       that the   class could   reasonably
                                                                                         could reasonably
                                   awarded at trial,
                    expect to be awarded              taking into
                                               trial, taking       account difficulties
                                                              into account    difficulties ofof proof, the
                                                                                                proof, the
                                  defenses, and other
                    defendant' s defenses,
                    defendant's                          attendant risks;
                                                  other attendant             B) the attorney's
                                                                    risks; ((B)                    reasons for
                                                                                      attorney' s reasons   for
                    those estimates;
                    those               C) and the likely
                          estimates; ( (C)          likely award
                                                            award at   trial for
                                                                    at trial for all  claims collectively.
                                                                                  all claims  collectively.
            iv.                     attorney' s estimate
                    Sets forth the attorney's    estimate of      recovery by
                                                              the recovery
                                                           of the               the average
                                                                            by the  average class
                                                                                             class
                               exclusive of any amounts
                    member, exclusive
                    member,                                  payable under
                                                   amounts payable           the settlement
                                                                       under the  settlement of
                                                                                             of any
                                                                                                 any
                             claim, if the settlement
                    PAGA claim,
                    PAGA                                were approved.
                                           settlement were                       recovery   by different
                                                               approved. If the recovery by different
                    class members will vary, the attorney shall
                    class members    will  vary,  the attorney        also estimate
                                                                shall also estimate the  range ((high
                                                                                     the range   high and
                                                                                                      and
                    low)  of possible  recoveries.
                    low) of possible recoveries.
            v.
            v.      Sets forth the attorney's
                    Sets forth     attorney' s estimate
                                               estimate of the recovery
                                                        of the recovery by the individual
                                                                        by the individual aggrieved
                                                                                          aggrieved
                    employees   under  the proposed  settlement  of any PAGA
                    employees under the proposed settlement of any PAGA claim.  claim.
            vi.
            vi.     Describes in detail
                    Describes                 nature and extent of the
                                   detail the nature                     formal and informal
                                                                    the formal       informal
                    discovery
                    discovery exchanged
                               exchanged andand other  factual investigation
                                                 other factual investigation conducted    to determine
                                                                                conducted to determine
                    the size
                    the         the class
                        size of the class and
                                           and the
                                               the strength of the
                                                   strength of  the class
                                                                    class claims.
                                                                           claims.



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      vii.
      vii.   States   A) whether
             States ((A)  whether the     attorney is
                                     the attorney    is aware  of any
                                                        aware of    any class,    representative or
                                                                         class, representative     or other
                                                                                                      other
             collective   action  in  any  other  court  in this  or any    other  jurisdiction
             collective action in any other court in this or any other jurisdiction that         that
             asserts
             asserts claims    similar to those
                      claims similar               asserted in this
                                            those asserted                          behalf of aa class
                                                                       action on behalf
                                                                 this action                     class or
                                                                                                        or
             group of individuals
             group      individuals somesome oror all
                                                  all of whom would
                                                      of whom     would alsoalso be  members of
                                                                                  be members        the
                                                                                                of the
             class defined
                   defined in    this action
                              in this  action and
                                               and((B)B) whether
                                                         whether the     attorney    made   reasonable
                                                                    the attorney made reasonable
                                 members of
             inquiry of other members         of the attorney' s law firm
                                                 the  attorney's   law   firm and    any associated
                                                                               and any    associated law
                                                                                                       law
             firm to determine whether those individuals             are  aware    of any  such
                                                      individuals are aware of any such similar  similar
             actions. If any such similar actions
             actions.                           actions are
                                                          are known
                                                              known to  to exist,
                                                                             exist, the  declaration shall
                                                                                    the declaration   shall
                          C) the name and
             also state ((C)                    case  number    of  any   such  case,   the nature  of the
                                                                                 case, the nature of the
             claims   asserted, the definition
             claims asserted,                              class or
                                       definition of the class    or other    parties on
                                                                      other parties        whose behalf
                                                                                       on whose    behalf
             the action   is brought,    and  the procedural   status   of
                 action is brought, and the procedural status of that case.  that  case.
b.
b.    The motion
      The           shall be supported
           motion shall      supported byby aa declaration
                                               declaration from   the defendant's
                                                            from the                attorney that
                                                                      defendant' s attorney    that
      states ((i)
               i) whether the attorney  is aware   of any class, representative  or other
                              attorney is aware of any class, representative or other
      collective action in any
      collective            any other  court in
                                 other court  in this
                                                 this or any other
                                                      or any        jurisdiction that
                                                              other jurisdiction that asserts
                                                                                       asserts
                                                             behalf of a class or group of
      claims similar to those asserted in this action on behalf
      claims                                                            a class or group  of
      individuals some or all of whom would also be members
      individuals                                                       the class defined in this
                                                           members of the                      this
                                           number of
                   ii) the name and case number
      action and ((ii)                              of any  such case,
                                                       any such  case, the nature of
                                                                       the nature     the claims
                                                                                   of the claims
      asserted, the definition
      asserted,                    the class
                     definition of the class or
                                             or other parties on
                                                other parties on whose   behalf the
                                                                 whose behalf   the action
                                                                                    action is
                                                                                            is
      brought, and
      brought,  and the  procedural status
                     the procedural  status of that case.
                                            of that case.
c.
c.        motion shall
      The motion
      The        shall describe how the
                       describe how     value of
                                    the value of any
                                                 any uncashed checks, unpaid
                                                     uncashed checks, unpaid cash
                                                                             cash
                        unclaimed or abandoned
      residue, or other unclaimed
      residue,                       abandoned funds will be distributed.
                                               funds will    distributed.

      i.
      i.          wage- and-hour case or any other case
             In a wage-and-hour                    case seeking relief on
                                                        seeking relief on behalf of aa class
                                                                          behalf of    class
             of employees,
                 employees, the the Court     believes that redistribution
                                     Court believes         redistribution of the
                                                                               the value      uncashed
                                                                                    value of uncashed
             settlement check
             settlement   check to     those class
                                    to those   class members
                                                      members who    have cashed
                                                                who have            their checks
                                                                           cashed their   checks will
                                                                                                   will
             better serve
             better              public interest
                            the public
                     serve the             interest and  the interest
                                                     and the interest of the class
                                                                      of the        than distribution
                                                                             class than   distribution
             in      manner otherwise
                the manner
             in the                           prescribed by
                               otherwise prescribed           California Code
                                                          by California   Code ofof Civil Procedure
                                                                                    Civil Procedure
             section
             section  384(b).
                       384( b).   If one   or  more
                                               more  of the parties disagree, then the motion shall
                                                            parties disagree,  then  the motion   shall
             be  supported   by   a  declaration    from  a party or the party's  counsel
             be supported by a declaration from a party or the party' s counsel explaining  explaining
             the factual
             the          basis for
                  factual basis         the disagreement.
                                   for the   disagreement.

      ii.
      ii.    In any
             In any other      of case,
                          type of
                    other type     case, the motion shall
                                         the motion shall describe the intended
                                                          describe the intended distribution
                                                                                 distribution
             of unclaimed  funds
                unclaimed funds   in accordance  with California  Code  of Civil Procedure
                                     accordance with California Code of Civil Procedure
             section
             section 384(b),  and shall
                     384( b), and  shall explain the reason
                                         explain the reason for
                                                            for choosing proposed recipient
                                                                choosing proposed recipient
             as opposed
                opposed to
                         to other  potential recipients considered.
                             other potential recipients considered.
      iii.                    be supported
             The motion shall be                 declaration from
                                           by aa declaration
                                 supported by                        knowledgeable person
                                                             from aa knowledgeable person
             from the proposed recipient. The declaration  shall:
             from the proposed recipient. The declaration shall:
             A.      Establish that the recipient is a nonprofit organization, foundation, or
                     program of
                     program    the type
                             of the type described
                                         described in that subdivision.
                                                   in that subdivision.
             B.
             B.      Describe     history of
                              the history
                     Describe the         of the recipient, the
                                             the recipient, the types
                                                                types of  projects that
                                                                       of projects  that it
                                                                                         it has
                                                                                            has
                     conducted or supported over   the last
                                              over the last five years, and
                                                            five years, and any    particular use
                                                                             any particular   use
                     to which it would intend to devote the unpaid    residue  if received.

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             C.
             C.      Describe the geographic
                     Describe                  area in
                                   geographic area  in which
                                                       which the  recipient operates
                                                              the recipient  operates in
                                                                                       in
                     general, and the nature and  extent of the services it provides
                     general, and the nature and extent of the services it provides inin
                     Riverside County
                     Riverside County in  particular.
                                       in particular.
      iv.    The declarations
             The                     the attorneys
                   declarations of the   attorneys for
                                                     for the plaintiff and
                                                         the plaintiff and for
                                                                            for the  defendant shall
                                                                                the defendant   shall
             describe  both   (A)  any  relationship   between   the proposed    recipient
             describe both ( A) any relationship between the proposed recipient and ( 1)   and (1)
                  class representative
             any class
             any         representative or    other party,
                                          or other  party, ((2) any officer,
                                                             2) any  officer, director,
                                                                              director, or manager
                                                                                        or manager
             of any party, or    3) any
                             or((3) any attorney    or law
                                          attorney or  law firm   for any
                                                            firm for  any party,   and (B) the
                                                                           party, and  (B) the
             inquiries  the attorney
             inquiries the   attorney made     to determine   whether   there is
                                       made to determine whether there is any suchany such
             relationship.
             relationship.

      v.
      v.     The agreement
                   agreement shall  not provide
                              shall not            that the
                                         provide that        unclaimed funds
                                                        the unclaimed           be deposited
                                                                         funds be   deposited into
                                                                                                into
             the Industrial Relations
             the            Relations Unpaid     Wage Fund. Cal. Lab.
                                        Unpaid Wage                    Lab. Code §§ 96.6.
                                                                                     96. 6. That
                                                                                             That
                                                        benefits determined
             fund is limited to wages or monetary benefits                     by the
                                                                   determined by   the Labor
                                                                                       Labor
             Commissioner
             Commissioner to to be  due to
                                 be due  to an  employee after
                                            an employee      after an investigation  by  the Labor
                                                                   an investigation by the    Labor
             Commissioner,    and  thus  will  not accept   wages,  penalties  or
             Commissioner, and thus will not accept wages, penalties or interest  interest
             distributed
             distributed as part of
                         as part     the settlement
                                  of the settlement ofof aa lawsuit
                                                            lawsuit brought   by aa plaintiff
                                                                     brought by     plaintiff other
                                                                                              other
             than the
             than      Labor Commissioner.
                   the Labor Commissioner.

d.       the settlement
      If the settlement contemplates
                         contemplates the  use of an administrator
                                       the use                        implement the terms
                                                     administrator to implement     terms of
      the settlement,
      the                  motion shall
                       the motion
           settlement, the               be supported
                                  shall be  supported by:
                                                      by:
      i.     A declaration
                declaration from
                            from the  plaintiff'ss attorney,
                                 the plaintiff'    attorney, stating
                                                             stating whether   bids were
                                                                      whether bids  were sought
                                                                                           sought
                            potential administrators
                   multiple potential
             from multiple                              and, if
                                      administrators and,    if so,
                                                                so, the
                                                                    the results of that
                                                                        results of that
             competitive  bidding. If
             competitive bidding.  If the parties did
                                      the parties       not select
                                                    did not select the lowest bidder,
                                                                   the lowest  bidder, the
                                                                                        the
             declaration shall explain
             declaration shall         that decision.
                               explain that decision.

      ii.    A declaration
             A declaration from
                           from the administrator describing:
                                the administrator describing:
             A.
             A.      The administrator'ss experience;
                     The administrator'   experience;

             B.
             B.      The fee to be charged
                                   charged by  the administrator
                                            by the administrator to perform the
                                                                 to perform the services
                                                                                services
                     described
                     described in the settlement agreement  and  proposed order;
                                      settlement agreement and proposed order;
             C.
             C.                                        hourly, or
                    Whether that fee is (1) fixed, (2) hourly,
                    Whether that fee is ( 1) fixed, ( 2)       or ((3)
                                                                    3) hourly with a
                                                                       hourly with a cap;
                                                                                     cap; and
                                                                                          and
             D.
             D.     How
                    How the
                        the fee
                            fee was
                                was calculated.
                                    calculated.

e.
e.    Any  release to
      Any release   to be
                       be given by the
                          given by      participating class
                                    the participating class members
                                                            members ((other than the
                                                                      other than the class
                                                                                     class
      representatives)  shall be limited to:
      representatives) shall be limited to:

      i.     The defendants
             The            named in the complaint,
                 defendants named                   together with
                                         complaint, together      their officers,
                                                             with their officers,
             directors, employees
             directors, employees and
                                    and agents.
                                         agents. If
                                                  If any
                                                     any other parties are
                                                         other parties are sought
                                                                           sought to
                                                                                  to be
                                                                                     be
                                         both (A)
             released, the motion shall both   (A) identify those other parties by name and
                                                    identify those other parties by name and
             (B) explain the facts that justify their inclusion.
              B) explain the facts that justify their inclusion.
      ii.    The claims
             The  claims stated
                           stated in
                                  in the
                                     the complaint
                                         complaint and
                                                   and those based solely
                                                       those based solely upon
                                                                          upon the
                                                                               the facts
                                                                                   facts
             alleged
             alleged in  the complaint.
                      in the  complaint.

      iii.   Liability
             Liability that
                       that arose
                            arose during the class
                                  during the class period
                                                   period as
                                                          as defined
                                                             defined by the settlement
                                                                     by the settlement
             agreement.
             agreement.


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      iv.          release of claims
             Any release
             Any                          for PAGA
                                 claims for   PAGA penalties      shall bind
                                                      penalties shall   bind only
                                                                              only the named plaintiff
                                                                                   the named    plaintiff
             and the State
             and                                    shall release
                                   California and shall
                        State of California               release only   those  claims  described in
                                                                   only those claims described      in
             the notice   sent  by   plaintiff to the LWDA, and only to the extent that they are
                                     plaintiff to the LWDA,      and  only to the extent  that they  are
             alleged
             alleged in the    complaint. An
                           the complaint.         example of an acceptable
                                              An example            acceptable release   is as
                                                                                release is  as follows:
                                                                                               follows:
             "Plaintiff
              Plaintiff releases         claims for statutory
                          releases all claims        statutory penalties   that could
                                                                 penalties that        have been
                                                                                could have    been
             sought
             sought by         Labor Commissioner
                           the Labor
                       by the           Commissioner for      the violations  identified  in Plaintiff's
                                                         for the violations identified in Plaintiff' s
             pre- filing letter to the LWDA; Plaintiff does
             pre-filing   letter  to the LWDA;      Plaintiff  does not release any
                                                                    not release  any aggrieved
                                                                                      aggrieved
             employee' s claim for wages or damages."
             employee's                             damages."

f.
f.       notice is
      If notice    not to
                is not    be given
                       to be        by first
                              given by  first class
                                              class mail  to addresses
                                                    mail to  addresses believed    to be
                                                                         believed to  be current,   the
                                                                                          current, the
      motion shall
      motion         discuss the
               shall discuss  the proposed    method of
                                  proposed method      of giving
                                                          giving notice,   the alternative
                                                                  notice, the  alternative methods
                                                                                            methods
      considered, and the reasons
      considered,                     that the
                             reasons that  the proposed    method is
                                                proposed method     is the
                                                                       the one  most likely
                                                                            one most          to give
                                                                                      likely to  give
      actual notice to  the greatest
                     to the          number of
                            greatest number        class members.
                                                of class members.
g.
g.    If the settlement
      If the              requires any
              settlement requires    any of
                                         of the  class members
                                            the class   members to    submit claims,
                                                                   to submit   claims, the  motion
                                                                                        the motion
      shall explain
      shall           why aa claim
             explain why      claim process   is reasonably
                                     process is                necessary. If
                                                  reasonably necessary.         the defendant knows
                                                                             If the defendant  knows
      (A)  the identity
       A) the   identity of the
                            the  class
                                 class members,
                                       members,    ((B)
                                                     B) their
                                                        their  addresses
                                                               addresses   or
                                                                           or former
                                                                              former  addresses,
                                                                                      addresses, and
                                                                                                 and
      (C)  the facts
       C) the         necessary to
                facts necessary      calculate the
                                  to calculate  the recovery
                                                     recovery ofof each  class member,
                                                                   each class             the Court
                                                                                member, the   Court
      will require a strong    showing of
                       strong showing    of necessity
                                             necessity for     claims process.
                                                        for aa claims  process.
h.
h.    If the settlement provides that any
             settlement provides        any portion  of the
                                             portion of       consideration paid
                                                         the consideration           or deposited
                                                                               paid or  deposited by
                                                                                                  by
      the  defendant may   revert to the  defendant,  the  motion  shall   explain
      the defendant may revert to the defendant, the motion shall explain ( i) the  (i) the
      circumstances
      circumstances   under which
                      under               reversion would
                                     that reversion
                              which that             would occur,      ii) the maximum amount of
                                                              occur, ((ii)

      any reversion,  and ((iii)
           reversion, and   iii) why  that reversion
                                 why that  reversion is
                                                     is fair.
                                                        fair.
i.    If the             includes compensation
             settlement includes
         the settlement                                 unpaid wages,
                                    compensation for unpaid    wages, the   motion shall
                                                                       the motion  shall describe
                                                                                         describe
      how
      how   the employer's   share
                employer' s share    of any  applicable payroll taxes will be handled.  The
                                             applicable payroll taxes will be handled. The
      Court suggests that the employer's
                                 employer' s share
                                               share not    paid out
                                                         be paid
                                                     not be      out of the gross
                                                                     of the gross settlement
                                                                                  settlement
      fund. The Court is not likely to   to include the amount
                                                        amount of
                                                                of those payments when
                                                                   those payments   when
      calculating      plaintiff'ss counsel's
                   the plaintiff'
      calculating the                           percentage attorney's fee.
                                    counsel' s percentage attorney' s fee.
j.    The
      The motion    shall describe
            motion shall           how individual
                          describe how   individual settlement     payments will
                                                       settlement payments         be allocated
                                                                              will be allocated for
                                                                                                 for
      tax purposes
      tax  purposes among    wages, interest
                     among wages,              and non-PAGA
                                     interest and   non- PAGA penalties
                                                                  penalties and  how such
                                                                             and how  such
      allocation       determined.   Payments    to  aggrieved   employees
      allocation was determined. Payments to aggrieved employees pursuant to  pursuant to the
                                                                                           the
      settlement of any PAGA claim should be addressed separately and allocated solely
      settlement  of any  PAGA    claim  should  be   addressed   separately  and allocated  solely
      as penalties.
      as penalties.  The
                     The  25%
                          25%   portion  of  PAGA    penalties  payable   to aggrieved employees
                                portion of PAGA penalties payable to aggrieved employees
                  be included
      should not be   included as
                                as part
                                   part of  the net
                                        of the      settlement amount.
                                                net settlement   amount.
k.
k.    The documents that will be read by
      The documents that will be read     by or  used by
                                              or used    the class
                                                      by the  class members     the proposed
                                                                    members—— the   proposed
      notice, objection form, exclusion
      notice, objection   form,                   and any
                                 exclusion form, and any
                                           form,           claim
                                                           claim  form
                                                                  form—— shall
                                                                         shall be
                                                                               be drafted
                                                                                  drafted in a
      manner   that is
      manner that   is likely
                       likely to
                              to be
                                 be readily understood by
                                    readily understood  by the
                                                            the members
                                                                 members of  the class.
                                                                          of the class.
      i.     In particular,
             In particular, they
                            they shall not contain
                                 shall not  contain any
                                                     any Latin  terms((such
                                                         Latin terms    such as
                                                                              as et
                                                                                 et al.
                                                                                     al. and
                                                                                         and et
                                                                                             et
             seq.), any
             seq.), any legal terms
                              terms of
                                    of  art
                                        art((such
                                             such as
                                                  as  nonexempt
                                                      nonexempt    and
                                                                   and  class
                                                                        class certification),
                                                                              certification),   or
                                                                                                or

             any unfamiliar symbols
             any unfamiliar   symbols or
                                       or abbreviations     such as
                                           abbreviations ( (such     §, LLC,
                                                                  as §, LLC, and   IWO).
                                                                              and IWO).

      ii.    To assist the Court in
             To                  in determining
                                    determining whether those documents
                                                whether those documents comply
                                                                        comply with
                                                                               with
             that directive,
             that            the motion
                  directive, the motion shall
                                        shall be
                                              be supported by aa declaration
                                                 supported by    declaration of
                                                                             of the
                                                                                the defendant
                                                                                    defendant
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                               knowledge concerning
                      personal knowledge
                  on personal                         the likely
                                         concerning the            age, education,
                                                           likely age,             and experience
                                                                        education, and experience
                  of the class                 their ability
                               members, and of their
                         class members,              ability to  read and
                                                              to read      comprehend English.
                                                                      and comprehend    English.
4.
4.   The Proposed Order
     The Proposed Order

     a.
     a.    The
           The motion         be accompanied
                        shall be
                motion shall      accompanied by                 proposed order
                                                       separate proposed
                                                 by aa separate                    which shall
                                                                            order which    shall include,
                                                                                                 include,
           as attachments  to the  order, the proposed   notice  (Cal. Rules  of  Court,  rule 3.769(e)),
           as attachments to the order, the proposed notice ( Cal. Rules of Court, rule 3. 769( e)),
           proposed exclusion
           proposed                     proposed objection
                                 form, proposed
                      exclusion form,                         form, any
                                                  objection form,    any proposed    claim form,
                                                                          proposed claim     form, and
                                                                                                    and
           any
           any other  form that is proposed
                other form         proposed toto accompany
                                                 accompany the the notice.  The Court
                                                                   notice. The          is likely
                                                                                 Court is          to
                                                                                           likely to
                          proposed forms.
           modify those proposed                          the Court
                                              Therefore, the
                                     forms. Therefore,        Court will   not issue
                                                                     will not  issue an   order that
                                                                                     an order   that
           merely  incorporates   by reference  the forms  attached   to the settlement   agreement.
           merely incorporates by reference the forms attached to the settlement agreement.
     b.
     b.    The settlement
           The            agreement shall
               settlement agreement       not be attached
                                    shall not    attached to the order.
                                                          to the order.

     c.
     c.    Counsel shall carefully review both the  terms and
                                                the terms  and the  terminology of
                                                                the terminology     the order
                                                                                 of the  order and
                                                                                               and
           accompanying    forms (notice, objection form,  exclusion  form, and any   claim
           accompanying forms ( notice, objection form, exclusion form, and any claim form) form)
              confirm that the various
           to confirm                                  internally consistent,
                                       documents are internally
                               various documents                              consistent with
                                                                  consistent, consistent  with each
                                                                                               each
           other, and consistent with the settlement agreement.
     d.    The  order shall
           The order   shall state     name of
                             state the name   of any settlement administrator,
                                                 any settlement                and shall
                                                                administrator, and  shall describe
                                                                                          describe
                                                 administrator will be
                              services that the administrator
           the nature of the services                               be required to perform,
                                                                       required to perform, either
                                                                                             either
           directly or
           directly    by reference
                    or by             to the
                           reference to  the settlement  agreement.
                                             settlement agreement.
     e.
     e.    The
           The Order
                Order shall  provide that
                       shall provide that the
                                           the notice
                                               notice shall be accompanied
                                                      shall be  accompanied by      an exclusion
                                                                                by an  exclusion form
                                                                                                  form
           that the class members may
                    class members         use. The
                                     may use.    The order
                                                     order shall  provide  that any  exclusion
                                                           shall provide that any exclusion formform
           shall be submitted to the settlement administrator rather than filed with the court.
           The order shall       require the class
                       shall not require            member to send copies
                                              class member                        the exclusion
                                                                       copies of the             form to
                                                                                      exclusion form   to
           counsel,  but may
           counsel, but                the settlement
                               require the
                         may require        settlement administrator
                                                        administrator toto do
                                                                           do so.
                                                                              so. The   order shall
                                                                                  The order   shall
           provide that the settlement administrator shall file a declaration concurrently with
                                         administrator   shall file a declaration  concurrently   with
           the filing of any  motion  for final  approval, authenticating   a copy   of every  exclusion
                         any motion for final approval, authenticating a copy of every exclusion
           form
           form received by
                 received      the administrator.
                            by the administrator.
     f.
     f.    The  proposed order
           The proposed   order shall            that the
                                        provide that
                                  shall provide       the notice
                                                          notice shall  be accompanied
                                                                  shall be accompanied by by anan
           objection
           objection  form  that the class  members may use. The order shall provide that any
                                            members    may  use. The   order shall provide   that any
           objection shall be submitted to the settlement administrator rather        than filed with
                                                                              rather than
                      The order shall not require
           the court. The                            the class member
                                            require the         member toto send copies
                                                                                  copies of the
                                                                                              the
           objection form to counsel, but may require the settlement administrator to do
           objection  form  to counsel,   but may  require  the settlement  administrator   to  do so.
                                                                                                   so.
           The  order shall provide   that the settlement  administrator   shall file a declaration
           The order shall provide that the settlement administrator shall file a declaration
                                                   motion for
           concurrently with the filing of any motion      for fmal
                                                               fmal approval,
                                                                     approval, authenticating
                                                                                authenticating aa copy
                                                                                                    copy
           of
           of every objection   form   received by  the administrator.
              every objection form received by the administrator.
     g.
     g.    Neither the order,
           Neither      order, the
                               the notice,
                                   notice, nor
                                           nor the
                                               the objection
                                                   objection form
                                                             form shall
                                                                   shall require an objecting
                                                                         require an objecting party
                                                                                              party
           to do
           to do either
                 either of the following,
                        of the following, either
                                           either personally
                                                  personally or through counsel:
                                                             or through  counsel:
           i.     To
                  To appear
                     appear at  the hearing
                             at the         on the
                                    hearing on the motion
                                                   motion for
                                                          for fmal
                                                              fmal approval
                                                                   approval for that party's
                                                                            for that party' s
                  objection to be
                  objection to be considered.
                                   considered.

           ii.    To file
                  To file or serve,
                             serve, or to state
                                          state in the objection,
                                                       objection, a notice
                                                                    notice of intention
                                                                              intention to appear
                                                                                           appear at
                  the hearing
                  the hearing on
                              on the
                                 the motion
                                     motion for
                                            for final
                                                final approval.
                                                      approval.

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     h.
     h.                                 proposed date
                             provide aa proposed
           The order shall provide                       for the
                                                   date for  the Final  Approval Hearing.
                                                                 Final Approval                The order
                                                                                    Hearing. The    order
           shall require  that either
                 require that         counsel or
                               either counsel  or the  administrator must
                                                  the administrator          give notice
                                                                       must give           to any
                                                                                   notice to  any
           objecting            any continuance
                      party of any
           objecting party           continuance of   the hearing
                                                   of the  hearing of
                                                                    of the motion for
                                                                       the motion       final approval.
                                                                                    for final  approval.
     i.    Neither the order nor the notice shall purport
                                                     purport toto enjoin the class
                                                                  enjoin the        members from
                                                                              class members     from
           filing any actions or administrative    claims   or proceedings   pending   the  final
                                   administrative claims or proceedings pending the final hearing hearing
           on the settlement,
                   settlement, or  for any
                                or for      other period.
                                       any other  period.
     j.     If notice
               notice is
                      is to be given
                         to be given by  mail, and
                                      by mail, and if
                                                   if the
                                                      the class members will
                                                          class members      be required
                                                                        will be          to submit
                                                                                required to submit
           aa claim  form,  the order shall provide:
              claim form, the order shall provide:
           i.     That            be accompanied
                           notice be
                       the notice
                  That the                       by aa stamped
                                     accompanied by            envelope addressed
                                                       stamped envelope addressed to the
                                                                                  to the
                  claims administrator;
                  claims administrator; and
                                        and

           ii.                     administrator be required
                           claims administrator
                  That the claims                              to send
                                                      required to      a reminder
                                                                  send a reminder notice  to every
                                                                                   notice to every
                  class member
                  class         from whom
                        member from    whom no              exclusion request
                                                  claim or exclusion
                                              no claim                        is received
                                                                      request is received within
                                                                                           within
                  30
                  30 days  of mailing
                      days of         the notice.
                              mailing the notice.
5.
5.   The Proposed Notice
     The Proposed Notice
     a.
     a.    The  notice shall
           The notice        include an estimate
                       shall include      estimate of the likely  recovery by
                                                           likely recovery   by the individual class
                                                                                the individual    class
           member
           member toto whom
                       whom thethe notice
                                   notice is sent,     known. If it is
                                              sent, if known.          not known,
                                                                    is not known, the    notice shall
                                                                                     the notice  shall
           include an estimate
           include                  the likely
                       estimate of the          recovery by
                                        likely recovery   by the  average class
                                                              the average  class member.
                                                                                  member. If If the
                                                                                                the
                        different members will vary, the notice shall also include an estimate of
           recovery by different   members    will  vary, the notice shall also  include  an  estimate  of
                        possible recoveries.
           the range of possible  recoveries.
     b.
     b.    To  avoid discouraging
           To avoid                   any dissenting
                       discouraging any                class members
                                           dissenting class            from objecting
                                                              members from   objecting to  the proposed
                                                                                        to the proposed
           settlement,
           settlement,   the  notice shall clearly indicate that the Court has determined only that
                                           clearly indicate  that the Court has determined   only  that
           there is sufficient
           there                 evidence to suggest
                    sufficient evidence       suggest that  the proposed
                                                       that the proposed settlement   might be
                                                                          settlement might   be fair,
                                                                                                fair,
           adequate,                          that any final determination
                             reasonable, and that
           adequate, and reasonable,                                         of those
                                                              determination of  those issues
                                                                                      issues will  be
                                                                                              will be
           made
           made at        final hearing.
                     the final
                  at the        hearing.
     c.
     c.    The notice shall advise the class members of       of where
                                                                 where they    can find
                                                                         they can        the settlement
                                                                                   find the  settlement
           agreement,   by describing     (i) the full title and filing  date either of the settlement
           agreement, by describing ( i) the full title and filing date either of the settlement
           agreement or of the declaration or other document to which the         the agreement was
           attached when
           attached  when filed
                           filed with    the Court,
                                  with the             ii) the address
                                              Court, ((ii)                 the courthouse
                                                               address of the   courthouse to which
                                                                                                which the
                   assigned, and ((iii)
           case is assigned,                   address of the court's
                                     iii) the address           court' s website     which the case file
                                                                         website at which            file
           can     viewed on-line.
                be viewed
           can be          on- line.

     d.    Neither the
           Neither     notice nor
                   the notice         documents enclosed
                                  the documents
                              nor the           enclosed with
                                                         with it shall describe
                                                              it shall          any settlement
                                                                       describe any settlement
           administrator  as the
           administrator as  the ""claims administrator" unless
                                   claims administrator" unless the class members
                                                                the class members are
                                                                                  are required
                                                                                      required to
                                                                                               to
           submit
           submit claims.
                  claims.


     e.
     e.    The notice shall include a description
                                      description of
                                                  of any         being given
                                                         release being
                                                     any release             by the
                                                                       given by the class
                                                                                    class
           members.
           members.


     f.
     f.           action includes
           If the action includes aa claim
                                     claim for
                                            for statutory penalties under
                                                statutory penalties       PAGA, the
                                                                    under PAGA,  the notice
                                                                                     notice shall
                                                                                             shall
           explain what PAGA is and advise class members/aggrieved employees that they      they
           may neither object to nor opt out of the PAGA settlement. The Notice shall also
           may   neither object to nor  opt out of the PAGA   settlement.  The Notice shall  also

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            describe     terms of the settlement
            describe the terms                                           including who
                                       settlement of the PAGA claim, including      who isis an
                                                                                             an
            aggrieved employee
            aggrieved             and shall
                       employee and          provide an
                                       shall provide  an estimate of the
                                                         estimate of      individual aggrieved
                                                                     the individual  aggrieved
            employee' s share of the penalties and advise aggrieved employees that the
            employee's  share  of the penalties and  advise  aggrieved  employees   that the
            payments  will be reported  on  a Form  1099.
            payments will be reported on a Form 1099.
6.
6.                Claim Form
         Proposed Claim
     The Proposed       Form

          information required to be provided by the
     The information                                      class member
                                                     the class  member on    any claim
                                                                          on any         form shall
                                                                                 claim form         not
                                                                                              shall not
     exceed
     exceed the   minimum information
              the minimum                necessary to
                             information necessary   to ((a)
                                                          a) identify the claimant,
                                                             identify the             b) process
                                                                          claimant, ((b) process the
                                                                                                 the
     claim,  and  (c) contact the claimant to clarify any   uncertainties.
     claim, and( c) contact the claimant to clarify any uncertainties.
7.
7.   The Proposed Objection
     The Proposed Objection Form
                            Form

     a.
     a.     The objection
            The             form shall
                 objection form   shall ((i)
                                          i) instruct  the objecting
                                             instruct the  objecting class    member that
                                                                        class member          the objection
                                                                                        that the   objection
            must be
            must  be mailed   or
                              or delivered
                                 delivered   to
                                             to  the
                                                 the settlement
                                                     settlement   administrator,
                                                                  administrator, ( (ii)
                                                                                    ii) state
                                                                                        state  the
                                                                                               the  name and
                                                                                                    name  and
            address of
            address  of the settlement administrator,
                        the settlement   administrator, andand( (iii)
                                                                 iii) state the date
                                                                      state the date by
                                                                                      by which
                                                                                          which thethe
            objection must
            objection        be mailed
                       must be   mailed oror otherwise
                                              otherwise delivered.
                                                          delivered.

     b.
     b.     The information     required to
                 information required        be provided
                                         to be  provided by     an objecting
                                                            by an             class member
                                                                    objecting class    member onon the
                                                                                                     the
            objection form shall,   not exceed the minimum information
                              shall,not                                          necessary to
                                                                  information necessary      to ((i)
                                                                                                  i) identify
                                                                                                     identify
            the objector as
            the objector   as a
                              a person  entitled to
                                person entitled  to object
                                                     object to  the settlement,
                                                             to the  settlement, ((ii) describe the
                                                                                   ii) describe   the nature
                                                                                                       nature
            of
            of and
               and basis   for the objection,  and  (iii) contact  the objector   to clarify
                    basis for the objection, and( iii) contact the objector to clarify any   any
            uncertainties.
            uncertainties.


     c.
     c.     If aa claim
                  claim must be submitted
                        must be            to participate
                                submitted to  participate in the settlement,
                                                          in the              the objection
                                                                 settlement, the   objection form
                                                                                             form
            shall remind the objector that, to participate in the settlement in the event that the
            shall  remind the objector that, to participate in the settlement  in the event that the
                                                  must also submit
            objection is overruled, the objector must         submit aa claim.
                                                                        claim.

8.
8.   The Proposed
     The          Exclusion Form
         Proposed Exclusion Form
     a.
     a.     The
            The exclusion  form shall
                 exclusion form shall ((i)
                                        i) instruct the class
                                           instruct the  class member    seeking exclusion
                                                               member seeking                  that the
                                                                                   exclusion that    the
            exclusion       must be
            exclusion form must  be mailed
                                    mailed or     delivered to
                                               or delivered  to the settlement administrator,
                                                                the settlement    administrator, ( (ii)
                                                                                                    ii) state
                name and
            the name
            the       and address
                          address of  the settlement
                                  of the   settlement administrator,    and ((iii)
                                                        administrator, and    iii) state the date
                                                                                   state the date by
                                                                                                   by
            which the exclusion form must be mailed or otherwise delivered.
     b.     The information
                 information required
                             required to
                                       to be  provided by
                                          be provided        class member
                                                       by aa class member on     the exclusion
                                                                              on the exclusion form
                                                                                                form
                  not exceed the minimum
            shall not             minimum information     necessary to
                                             information necessary   to ((i)
                                                                          i) identify     person as
                                                                                      the person
                                                                             identify the        as aa
            class member and   (ii) contact
                           and (ii) contact the person to
                                            the person to clarify
                                                          clarify any  uncertainties.
                                                                   any uncertainties.
     c.
     c.     The exclusion
            The  exclusion form
                            form shall
                                  shall indicate
                                        indicate that
                                                 that exclusion
                                                      exclusion from
                                                                from the class settlement
                                                                     the class settlement will
                                                                                          will not
                                                                                               not
            result in exclusion from   any  PAGA   settlement.
            result in exclusion from any PAGA settlement.
9.
9.   PAGA Penalties
          Penalties
     a.
     a.     If
            If the
               the action
                   action includes
                          includes aa claim
                                      claim for
                                             for statutory
                                                 statutory penalties  under PAGA,
                                                            penalties under           motion shall
                                                                                  the motion
                                                                            PAGA, the        shall
            explain
            explain the  terms of
                     the terms  of any
                                   any settlement
                                       settlement of   that claim.
                                                    of that claim.
     b.     If
            If the
               the settlement
                   settlement provides
                              provides for
                                        for the payment of
                                            the payment   of penalties under PAGA,
                                                             penalties under PAGA, thethe motion
                                                                                          motion
            shall
            shall be
                  be accompanied
                     accompanied byby aa declaration
                                         declaration describing
                                                      describing how
                                                                 how the
                                                                       the penalties
                                                                           penalties were
                                                                                     were calculated
                                                                                          calculated
            and  otherwise establishing  facts sufficient to allow the Court to  review
            and otherwise establishing facts sufficient to allow the Court to review andand approve
                                                                                            approve


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            those penalties as
            those penalties              by California
                               required by
                            as required                Labor Code
                                            California Labor Code section
                                                                  section 2699(1). In particular,
                                                                          2699( 4 In  particular,
            the
            the declaration shall explain:
                declaration shall explain:

            i.      The               alleged violations;
                        nature of the alleged
                    The nature                violations;

            ii.          number of alleged
                    The number     alleged individual  violations, including
                                            individual violations, including both the length
                                                                             both the length of
                                                                                             of the
                                                                                                the
                    relevant employment
                    relevant               period and
                             employment period        the number
                                                  and the number ofof employees
                                                                      employees allegedly
                                                                                 allegedly
                    employed  during  that period;
                    employed during that period;
            iii.    The  total amount
                    The total   amount of  penalties for
                                        of penalties for which the defendant
                                                         which the defendant is
                                                                             is potentially liable if
                                                                                potentially liable if
                    all allegations are proven;
                    all allegations are proven;
            iv.
            iv.     The  total amount
                    The total  amount of penalties defendant
                                      of penalties   defendant is
                                                                is likely  to be
                                                                   likely to      found liable
                                                                               be found  liable at  trial
                                                                                                 at trial
                    considering
                    considering the
                                 the weight
                                     weight of  the evidence,
                                            of the             the clarity
                                                     evidence, the   clarity of the applicable
                                                                             of the  applicable law,
                                                                                                  law, and
                                                                                                        and
                    the strength of any factual  or legal defense   likely  to be  asserted by
                    the strength of any factual or legal defense likely to be asserted by the   the
                    defendant;
                    defendant;

            v.
            v.      The likelihood           violations would
                         likelihood that any violations       be proven
                                                        would be proven to have been
                                                                        to have been knowing
                                                                                     knowing
                    and intentional;
                        intentional;

            vi.
            vi.     Any facts
                    Any       that tend
                        facts that      to suggest
                                   tend to         that the
                                           suggest that the imposition
                                                            imposition of the total
                                                                       of the total amount
                                                                                    amount of
                                                                                           of
                    statutory
                    statutory penalties
                              penalties for
                                        for which   the defendant
                                            which the   defendant would
                                                                  would be
                                                                         be likely  to be
                                                                             likely to be found
                                                                                          found liable
                                                                                                liable
                    at
                    at trial
                       trial would
                             would be
                                   be unjust,
                                      unjust, arbitrary
                                              arbitrary and
                                                         and oppressive,
                                                             oppressive, or
                                                                         or confiscatory;
                                                                            confiscatory;
            vii.
            vii.    How   the amount
                    How the   amount of
                                     of the
                                        the agreed-upon            was calculated
                                                         penalties was
                                            agreed- upon penalties     calculated or
                                                                                  or otherwise
                                                                                     otherwise
                    arrived at; and
                    arrived at; and

            viii.
            viii.   Any other factors that are
                    Any                    are material
                                               material to
                                                        to aa determination that the
                                                              determination that the amount
                                                                                     amount of the
                                                                                            of the
                    agreed-upon
                    agreed- upon penalties is fair.
                                 penalties is fair.
      c.
      c.    All
            All PAGA
                PAGA penalties
                      penalties shall  be distributed
                                 shall be  distributed among
                                                       among all
                                                             all aggrieved
                                                                 aggrieved employees,
                                                                           employees, even those
                                                                                      even those
            who opt out of the
                           the class settlement.
      d.    Any release of
            Any release of claims
                           claims for PAGA penalties:
                                  for PAGA penalties:
            i.      Shall
                    Shall bind
                          bind only
                               only the
                                    the named plaintiff and
                                        named plaintiff     the State
                                                        and the State of
                                                                      of California;
                                                                         California;
            ii.     Shall
                    Shall release
                           release only
                                    only the
                                          the defendant
                                              defendant named
                                                          named in    the complaint,
                                                                   in the   complaint, together
                                                                                       together with
                                                                                                 with its
                                                                                                      its
                    officers,
                    officers, directors,
                               directors, employees
                                           employees   and
                                                       and agents.
                                                            agents.    If any other parties  are sought
                                                                       If any other parties are sought toto
                    be
                    be released,   the motion
                        released, the  motion shall
                                                shall both
                                                      both ((i)
                                                             i) identify   those other
                                                                identify those         parties by
                                                                                 other parties by name
                                                                                                   name and
                                                                                                          and
                    (ii)
                     ii) explain  the facts
                         explain the  facts that justify
                                                 justify their inclusion; and
            iii.
            iii.    Shall release only
                    Shall release      those claims
                                  only those claims described
                                                     described in  the notice
                                                                in the notice sent
                                                                              sent by
                                                                                    by the
                                                                                       the plaintiff to
                                                                                           plaintiff to
                    the
                    the LWDA,
                        LWDA, andand only
                                     only to
                                          to the
                                             the extent
                                                 extent that
                                                        that they
                                                             they are
                                                                   are alleged
                                                                       alleged in
                                                                               in the
                                                                                  the complaint.
                                                                                      complaint.
            iv.     An example
                    An  example of an
                                    an acceptable
                                        acceptable release
                                                    release is as
                                                               as follows:
                                                                  follows: ""Plaintiff releases all
                                                                             Plaintiff releases
                    claims
                    claims for
                           for statutory  penalties that
                               statutory penalties  that could  have been
                                                         could have   been sought
                                                                           sought byby the
                                                                                       the Labor
                    Commissioner    for the violations  identified in Plaintiff's pre-filing
                    Commissioner for the violations identified in Plaintiff's pre- filing letter    to
                                                                                             letter to
                    the LWDA;
                    the LWDA; Plaintiff
                                 Plaintiff does not release
                                           does not  release any
                                                             any aggrieved
                                                                  aggrieved employee's
                                                                             employee' s claim
                                                                                           claim for
                                                                                                  for
                    wages
                    wages or damages."
                             damages."

10.
10.   Revised
      Revised Documents
              Documents

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       If the Court either denies         motion or continues
                                      the motion
                             denies the                continues the hearing on
                                                                 the hearing          motion, and
                                                                                 the motion,
                                                                              on the             and if
                                                                                                      if the
                                                                                                         the
       plaintiff thereafter   files any amended     settlement  agreement,  order, notice
       plaintiff thereafter files any amended settlement agreement, order, notice or form in or form   in
       support
       support of
                of either  that motion
                   either that   motion oror aa renewed   motion, the
                                                renewed motion,       plaintiff shall
                                                                  the plaintiff       file aa declaration
                                                                                shall file    declaration
       authenticating aa ""red-lined"
       authenticating                    version of
                            red- lined" version    of the amended document,
                                                      the amended   document, showing
                                                                                showing howhow thethe earlier
                                                                                                      earlier
       version was modified.
                     modified.


H.
H.     MOTIONS FOR FINAL
       MOTIONS FOR       APPROVAL OF
                   FINAL APPROVAL OF A
                                     A SETTLEMENT
                                       SETTLEMENT

     motion for
If a motion for preliminary approval is
                preliminary approval is granted,
                                        granted, the
                                                 the plaintiff
                                                     plaintiff must thereafter move
                                                               must thereafter move for
                                                                                    for final
                                                                                        final
approval    the settlement.
approval of the settlement.

1.
1.      The
        The order
             order granting preliminary approval
                   granting preliminary  approval will
                                                    will set
                                                          set the
                                                              the date
                                                                  date for     hearing on
                                                                           the hearing
                                                                       for the             the plaintiff'
                                                                                        on the  plaintiff'ss
       motion for final approval.   Promptly after
                          approval. Promptly   after the   entry of
                                                      the entry     that order,
                                                                 of that order, the
                                                                                the plaintiff shall reserve
                                                                                    plaintiff shall reserve
       aa law
          law and  motion hearing
              and motion   hearing on the date
                                   on the date set
                                                set in  the order.
                                                    in the  order.
2.
2.     Any  request for aa ""service,"
       Any request           service," ""enhancement,"
                                         enhancement,"   or
                                                         or""incentive"
                                                             incentive" payment  to aa named
                                                                         payment to    named class
                                                                                              class
       representative
       representative shall
                      shall bebe supported
                                 supported by
                                            by aa declaration
                                                  declaration from      proposed recipient
                                                                    the proposed
                                                              from the           recipient in
                                                                                           in which
                                                                                              which the
                                                                                                    the
       declarant:
       declarant:

       a.
       a.     Describes the services
              Describes the services performed
                                     performed by the declarant
                                               by the           to further
                                                      declarant to         the prosecution
                                                                   further the prosecution of
                                                                                           of the
                                                                                              the
              action;
              action;


       b.
       b.     Estimates
              Estimates the time incurred
                        the time             the declarant
                                          by the
                                 incurred by     declarant in performing those
                                                           in performing those services;
                                                                               services;
       c.
       c.     Describes     risks assumed
              Describes any risks assumed or benefits received
                                          or benefits received by the declarant
                                                               by the declarant in prosecuting the
                                                                                in prosecuting the
              action;
              action;


       d.     Describes
              Describes any
                         any adverse
                              adverse consequences  actually suffered
                                       consequences actually suffered by the declarant
                                                                      by the declarant as
                                                                                       as a
                                                                                          a result
                                                                                            result of
                                                                                                   of
              prosecuting the
              prosecuting  the action;
                               action; and
                                       and
       e.
       e.      States the amount
               States            that the
                          amount that the declarant
                                          declarant expects    receive as
                                                            to receive
                                                    expects to         as a
                                                                          a class member.
                                                                            class member.

3.
3.         request of
      Any request   of attorney's
                       attorney' s fees
                                   fees shall   be supported
                                         shall be  supported byby aa declaration
                                                                     declaration of   plaintiff's counsel
                                                                                  of plaintiff's            that
                                                                                                  counsel that
                evidence of
      provides evidence
      provides                the total
                           of the total amount
                                        amount of    time spent
                                                  of time         by counsel,
                                                           spent by   counsel, aa description
                                                                                  description of
                                                                                               of the
                                                                                                   the work
                                                                                                       work
      performed,  the  reasonableness    of the  fees  charged  and  a  detailed description  of
      performed, the reasonableness of the fees charged and a detailed description of the costs   the costs
      actually
      actually incurred.
               incurred. Additionally,
                           Additionally, if   relevant, the
                                           if relevant,  the request
                                                             request for
                                                                       for fees
                                                                           fees shall
                                                                                shall also
                                                                                      also advise
                                                                                           advise the
                                                                                                    the Court
                                                                                                        Court
      whether  there is an  agreement   about    how  attorney  fees  will  be paid, including   fee
      whether there is an agreement about how attorney fees will be paid, including fee splitting,   splitting,
      and
      and whether the client(s)
          whether the           has been
                      client(s) has been given
                                         given written
                                               written notice.
                                                       notice.
4.    Any          for compensation
          request for
      Any request      compensation forfor expenses
                                           expenses incurred
                                                     incurred by the plaintiffs
                                                              by the plaintiffs attorneys
                                                                                attorneys shall
                                                                                          shall be
                                                                                                be
      supported by  a detailed declaration  or other evidence describing  the date, nature,
      supported by a detailed declaration or other evidence describing the date, nature, andand
      amount
      amount of
              of each
                 each expense
                       expense incurred.
                                incurred.

5.
5.    The  motion shall
      The motion         be accompanied
                   shall be             by aa declaration
                            accompanied by    declaration from
                                                          from the
                                                               the settlement
                                                                   settlement administrator.
                                                                              administrator. That
                                                                                             That
      declaration
      declaration shall:
                  shall:

      a.
      a.      Describe  both ((i)
              Describe both       the administrator's
                               i) the  administrator' s distribution
                                                        distribution ofof the
                                                                          the notice,
                                                                              notice, objection
                                                                                      objection form,
                                                                                                 form,
              exclusion
              exclusion form,
                         form, and
                                and any
                                      any claim
                                          claim form,
                                                 form, and
                                                        and ((ii)
                                                              ii) the
                                                                  the results
                                                                      results thereof.
                                                                              thereof. If
                                                                                        If claims
                                                                                           claims are
                                                                                                   are
              required, the declaration
              required, the declaration shall
                                          shall describe  the number
                                                describe the   number of claims
                                                                            claims received
                                                                                    received and   the total
                                                                                               and the total

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              value of the claims. The
                       the claims.  The declaration shall clearly
                                        declaration shall clearly distinguish
                                                                  distinguish between valid forms
                                                                              between valid forms
              and
              and any
                  any forms
                      forms that   are untimely, incomplete,  or otherwise  invalid.
                              that are untimely, incomplete, or otherwise invalid.
      b.      Attach
              Attach and authenticate      i) a copy
                            authenticate ((i)   copy of
                                                     of the
                                                        the final
                                                             final version
                                                                   version ofof the   notice and
                                                                                the notice   and of
                                                                                                  of all
                                                                                                     all forms
                                                                                                         forms
              enclosed    with it, including
                                   including  the objection  form,  the exclusion     form, and  any
                                                  objection form, the exclusion form, and any claim    claim
              form, ((ii)                              form received,
                      ii) a copy of every objection form
                          a copy   of every objection         received, and
                                                                         and ((iii)
                                                                               iii) aa copy
                                                                                       copy of
                                                                                             of every
                                                                                                every
              exclusion form received. If the reasons
                                                  reasons stated on any objection form are in
                                                           stated  on any   objection    form are  in aa
              language
              language other
                          other than            the administrator
                                       English, the
                                than English,       administrator shall
                                                                    shall include      translation into
                                                                          include a translation     into
              English.
      c.
      c.      Describe ((i)  the services performed
                          i) the           performed byby the
                                                          the administrator to the
                                                              administrator to  the date
                                                                                    date of
                                                                                          of the
                                                                                             the
              declaration, (ii)
              declaration, (          time and expenses incurred to perform those services, and
                                  the time
                              ii) the          expenses   incurred to perform  those   services,     (iii)
                                                                                                 and (iii)
              either the fee
              either the fee charged
                               charged for those
                                            those the services    the agreed-upon
                                                      services or the agreed- upon flat
                                                                                     flat fee.
                                                                                          fee.

      d.
      d.      Describe
              Describe ((i)   the services
                           i) the  services to
                                            to be
                                               be performed   by the
                                                   performed by  the administrator
                                                                     administrator after the date
                                                                                   after the date of
                                                                                                  of the
                                                                                                     the
              declaration,
              declaration, ( (ii)  the estimated  time  and expenses  needed to perform   those services,
                               ii) the estimated time and expenses needed to perform those services,
                    iii) either the estimated fee for those the services or the agreed-upon
              and ((iii)                                                         agreed- upon flat fee.

6.
6.     If the settlement includes
          the settlement  includes compensation
                                      compensation forfor unpaid
                                                          unpaid wages,
                                                                  wages, and     the employer's
                                                                          and if the employer' s share
                                                                                                 share of
                                                                                                       of
      the payroll
      the   payroll taxes
                    taxes is
                           is to
                              to be
                                 be paid
                                     paid out
                                          out of
                                              of the
                                                 the settlement
                                                      settlement funds,  the motion
                                                                  funds, the motion shall  be supported
                                                                                     shall be           by
                                                                                              supported by
      aa declaration
         declaration estimating
                      estimating thethe amount
                                        amount ofof those  taxes.
                                                    those taxes.
7.
7.    The
      The motion
          motion shall be accompanied
                 shall be accompanied by
                                      by a proposed judgment
                                         a proposed judgment or,
                                                             or, if
                                                                 if counsel prefer, aa proposed
                                                                    counsel prefer,    proposed
      combined
      combined order
               order and  judgment.
                      and judgment.
8.
8.    The judgment
      The judgment shall
                   shall require that:
                         require that:
      a.
      a.      Any envelope
              Any envelope transmitting
                           transmitting aa settlement
                                           settlement distribution to aa class
                                                      distribution to    class member
                                                                               member shall
                                                                                      shall bear the
                                                                                            bear the
              notation,. "YOUR
              notation,." YOUR CLASS
                               CLASS ACTION SETTLEMENT
                                            SETTLEMENT CHECK IS ENCLOSED."
                                                                ENCLOSED."
      b.      Any settlement distribution
                             distribution check
                                          check shall
                                                shall be
                                                      be negotiable
                                                         negotiable for
                                                                    for at
                                                                        at least
                                                                           least 90
                                                                                 90 days
                                                                                    days but
                                                                                         but not
                                                                                             not
              more than
              more than 180
                        180 days
                            days from
                                 from the
                                      the date
                                          date of mailing.
                                               of mailing.
      c.
      c.          administrator shall
              The administrator
              The               shall mail
                                      mail aa reminder
                                              reminder postcard to any
                                                       postcard to any class
                                                                       class member
                                                                             member whose
                                                                                    whose
             settlement
             settlement distribution
                         distribution check has not
                                      check has not been
                                                    been negotiated
                                                         negotiated within
                                                                    within 60 days
                                                                              days after
                                                                                   after the date
                                                                                             date
             of
             of mailing.
                mailing.
      d.     If
             If((i)
                 i) any
                    any of the
                           the class
                               class members
                                      members are  are current
                                                       current employees
                                                                employees of thethe defendant,
                                                                                    defendant, ((ii)   the
                                                                                                   ii) the
             distribution
             distribution mailed
                           mailed toto those
                                       those employees
                                               employees is is returned to the
                                                               returned to  the administrator
                                                                                administrator as as being
                                                                                                     being
             undeliverable,
             undeliverable, and
                              and ((iii)
                                    iii) the
                                         the administrator
                                              administrator isis unable
                                                                 unable to
                                                                         to locate
                                                                            locate a  valid mailing
                                                                                    a valid mailing address,
                                                                                                        address,
             the administrator
                  administrator shall
                                 shall arrange
                                         arrange with
                                                  with the defendant    to have
                                                             defendant to  have those
                                                                                  those distributions
                                                                                         distributions
             delivered
             delivered to  the employees
                        to the employees at   at their
                                                 their place
                                                       place of
                                                              of employment.
                                                                 employment.
9.
9.    The
      The first
            first reference
                  reference in
                             in the   judgment to
                                 the judgment   to the
                                                   the settlement
                                                       settlement agreement
                                                                   agreement shall
                                                                               shall include
                                                                                     include aa statement
                                                                                                statement ofof
      (a) the title
       a) the  title of
                     of the
                        the settlement
                            settlement agreement,
                                         agreement, ((b)
                                                       b) the date
                                                              date the agreement
                                                                       agreement waswas filed,
                                                                                        filed, and
                                                                                               and ((c) the
                                                                                                     c) the
      name
      name of of the
                 the document
                      document to  to which
                                      which the
                                            the agreement
                                                 agreement was
                                                             was attached,
                                                                  attached, if
                                                                            if any.
                                                                               any.
10.
10.   The  judgment shall
      The judgment    shall state
                            state the names of
                                  the names of any
                                               any class
                                                   class members who excluded themselves from
      the settlement,
      the settlement, if
                       if any.
                          any.


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11.
11.   If multiple law
      If multiple  law firms           the plaintiff,
                             represent the
                       firms represent                the judgment
                                           plaintiff, the judgment shall separately state
                                                                   shall separately state the
                                                                                          the fees
                                                                                              fees and
                                                                                                   and
      expenses   to be paid to each firm.
      expenses to be paid to each firm.
12.
12.   If
      If the
         the settlement
             settlement agreement
                        agreement provides
                                    provides for  the distribution
                                              for the distribution of
                                                                    of any
                                                                       any funds
                                                                           funds to     cy pres
                                                                                  to aa cy pres recipient,
                                                                                                recipient,
      the  judgment shall state the recipient's name   and  address, and  shall describe
      the judgment shall state the recipient' s name and address, and shall describe the   the
      circumstances
      circumstances under
                     under which
                            which funds
                                    funds would
                                          would bebe paid  to that
                                                      paid to that recipient.
                                                                   recipient.
13.
13.   The judgment shall
      The judgment       not:
                   shall not:
      a.
      a.       Expose  the class
               Expose the        members to
                           class members       potential contempt
                                         to aa potential contempt charge by barring
                                                                  charge by  barring or
                                                                                     or otherwise
                                                                                        otherwise
               enjoining the  class members from  prosecuting the released claims.
               enjoining the class members from prosecuting the released claims.
      b.
      b.      Include    provision that
              Include aa provision  that the
                                         the class
                                              class members
                                                     members shall   be deemed
                                                               shall be  deemed to
                                                                                 to have
                                                                                    have agreed  not to
                                                                                          agreed not to
              sue on any   released claims,   or  any other  provision  that may expose  the
              sue on any released claims, or any other provision that may expose the class   class
              members to
              members       potential liability
                         to potential liability for
                                                 for either
                                                     either breach  of contract
                                                            breach of  contract or
                                                                                or misrepresentation.
                                                                                   misrepresentation.
      c.
      c.       Provide     the dismissal
               Provide for the dismissal of the
                                            the action.
                                                action. ((Cal.
                                                          Cal. Rules
                                                               Rules of Court,
                                                                        Court, rule
                                                                               rule 3.769(h).)
                                                                                    3. 769( h).)

14.
14.   The judgment
      The judgment may restrict the
                   may restrict the plaintiff and the
                                    plaintiff and the defendant
                                                      defendant from
                                                                from offering
                                                                     offering the
                                                                              the settlement
                                                                                  settlement
      agreement into
      agreement   into evidence
                       evidence in
                                in actions
                                   actions between
                                           between each
                                                    each other, but shall
                                                         other, but        not purport
                                                                     shall not         to prevent
                                                                               purport to  prevent
      other parties from
      other parties from doing
                          doing so
                                so or to otherwise
                                   or to otherwise predetermine
                                                   predetermine its
                                                                 its admissibility
                                                                     admissibility in
                                                                                   in litigation
                                                                                      litigation
      involving
      involving third
                 third parties.
                       parties.
15.
15.   The  judgment shall
      The judgment     shall describe       the text
                                      both the
                             describe both      text of
                                                     of the
                                                        the notice
                                                            notice ofof entry
                                                                        entry of judgment to
                                                                              of judgment  to be
                                                                                              be given
                                                                                                 given to
                                                                                                        to
      the
      the class
          class members
                 members California    Rules of
                            California Rules   of Court, rule 3. 771( b), the
                                                         rule 3.771(b),   the party
                                                                              party or
                                                                                    or person
                                                                                       person required   to
                                                                                               required to
      give that  notice, and
            that notice, and the
                              the manner
                                  manner in
                                          in which   that notice
                                              which that  notice is     be given.
                                                                     to be
                                                                  is to    given.
16.
16.    If the Court
       If the Court either
                    either denies   the motion
                            denies the   motion for
                                                 for final
                                                      final approval
                                                            approval or
                                                                      or continues the hearing
                                                                         continues the hearing on
                                                                                                on the
                                                                                                    the
      motion,
       motion, and
                and if the plaintiff
                    if the  plaintiff thereafter
                                      thereafter files
                                                  files any
                                                        any amended    proposed order
                                                             amended proposed    order or judgment, or
                                                                                       or judgment,    or
       other document in support of either that motion or a renewed motion, the plaintiff shall file
      other   document   in support   of either that  motion  or a renewed   motion, the plaintiff shall  file
      aa declaration authenticating    a "red-lined"    version of the amended   document,   showing
         declaration authenticating a " red- lined" version of the amended document, showing how        how
      the earlier version
                  version was modified.
17.
17.   The
      The order
          order granting  the motion
                granting the  motion for
                                      for final
                                          final approval
                                                approval shall
                                                          shall provide
                                                                provide aa date
                                                                            date for
                                                                                 for the Final Report
                                                                                     the Final  Report
       Nonappearance) Hearing
      (Nonappearance)    Hearing and
                                 and aa deadline
                                        deadline for
                                                  for the
                                                      the filing
                                                          filing of
                                                                 of aa report
                                                                       report concerning  the amount
                                                                              concerning the   amount
      of money distributed.
      of money  distributed.
I.    FINAL
      FINAL REPORT
            REPORT ((NONAPPEARANCE)
                     NONAPPEARANCE) HEARING
                                    HEARING

      Any     report pursuant
       Any report     pursuant to to California
                                     California Code
                                                   Code ofof Civil
                                                             Civil Procedure
                                                                    Procedure section 384(b),
                                                                               section      384( b), shall
                                                                                                      shall be
                                                                                                            be filed
                                                                                                               filed
      within
       within 5  5 court
                    court days
                          days ofof the
                                    the nonappearance       hearing and
                                        nonappearance hearing         and shall   be in
                                                                           shall be      the form
                                                                                      in the  form ofof a
                                                                                                        a declaration
                                                                                                          declaration
       from    the
       from the administrator or other declarant with personal knowledge of the facts, and,
                    administrator    or other  declarant    with  personal   knowledge      of the  facts, and, if
                                                                                                                if
      there    is unpaid   residue   to be  distributed,   shall be  accompanied      by  a
      there is unpaid residue to be distributed, shall be accompanied by a proposed amended proposed    amended
      judgment. The
      judgment.             report shall
                      The report           be in the
                                    shall be     the form
                                                       form of a declaration
                                                                   declaration from
                                                                                 from the
                                                                                        the settlement
                                                                                             settlement
      administrator
       administrator or  or other
                             other declarant    with personal
                                    declarant with     personal knowledge
                                                                  knowledge of  of the
                                                                                    the facts,
                                                                                        facts, and   to describe
                                                                                                and to  describe ((i)
                                                                                                                   i)
      the date the
      the   date   the checks
                       checks were     mailed, ((ii)
                                were mailed,          the total
                                                  ii) the total number
                                                                 number of checks
                                                                              checks mailed
                                                                                        mailed toto class
                                                                                                    class members,
                                                                                                           members,
      (iii)  the average
        iii) the  average amount
                             amount of those
                                          those checks,
                                                 checks, ( (iv)
                                                            iv) the number of checks that remain uncashed,
      (v)
        v) the
            the total
                 total value
                       value of those    uncashed checks,
                                  those uncashed      checks, ( (vi)
                                                                 vi) the
                                                                     the average
                                                                         average amount
                                                                                     amount of thethe uncashed
                                                                                                       uncashed
      checks,
      checks, and ((vii)      the nature
                        vii) the  nature and date of the disposition
                                                             disposition of those      unclaimed funds.
                                                                               those unclaimed       funds.


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        applicable, the proposed
     If applicable,     proposed amended     judgment shall
                                  amended judgment             require counsel
                                                         shall require  counsel for
                                                                                  for Plaintiff  to send
                                                                                      Plaintiff to  send aa
     copy of any
              any amended
                   amended judgment     which distributes
                             judgment which                 funds  to a cy   pres recipient  to
                                               distributes funds to a cy pres recipient to the  the
     Judicial Council in compliance with California
                                             California Code
                                                          Code ofof Civil Procedure section
                                                                    Civil Procedure    section 384.5.
                                                                                                 384. 5.
     Further the correspondence
                  correspondence byby counsel
                                       counsel shall  include aa cover
                                                shall include     cover letter  providing the
                                                                         letter providing       Judicial
                                                                                            the Judicial
     Council with   the information
               with the information required   pursuant to
                                     required pursuant       California Government
                                                          to California   Government CodeCode section
                                                                                                section
      68520. Proof of Service
     68520.                     shall be filed with  the court  within  15
                                                                        15  days  of the
                                                                                     the filing of
                                                                                         filing   of the
                                                                                                     the
     judgment.
     judgment.


J.
J.   MOTIONS REGARDING CLASS
     MOTIONS REGARDING CLASS CERTIFICATION
                             CERTIFICATION

1.
1.      motion for class certification
     No motion                            to deny class
                         certification or to      class certification
                                                        certification shall be filed
                                                                      shall be filed without
                                                                                     without leave
                                                                                             leave
     of
     of court.
        court. Before
               Before leave  to file
                      leave to  file such
                                     such a  motion is
                                          a motion      requested, the
                                                     is requested,  the Court
                                                                        Court expects the parties
                                                                              expects the parties to
                                                                                                  to
     have exhausted
     have exhausted efforts     mediate aa resolution
                             to mediate
                     efforts to             resolution of  the case.
                                                        of the case.

2.
2.   At the time that the
                      the Court
                          Court grants
                                 grants leave  of court
                                         leave of court to
                                                        to file
                                                           file either    motion for
                                                                either aa motion for class
                                                                                     class certification
                                                                                           certification
     or a motion denying   class certification, the Court  will also establish a briefing  schedule
          motion denying class certification, the Court will also establish a briefing schedule
     and
     and will
         will set
               set a status conference
                   a status conference onon a
                                            a date
                                              date after
                                                    after the
                                                          the reply  brief is due. At the
                                                              reply brief              the status
                                                                                           status
     conference,
     conference, the
                   the Court   will determine
                       Court will   determine the
                                               the date
                                                    date on  which the
                                                         on which   the motion will
                                                                        motion        be
                                                                                 will be heard.
                                                                                         heard.   The
                                                                                                  The

     hearing date
     hearing  date may
                    may bebe far
                             far enough
                                 enough in
                                         in the
                                            the future  to allow
                                                 future to allow for
                                                                  for further  mediation.
                                                                      further mediation.
3.
3.      multiple classes
     If multiple classes or
                         or subclasses
                            subclasses are
                                       are alleged,     motion shall
                                                    the motion
                                           alleged, the         shall address  the issues
                                                                      address the  issues of
                                                                                          of
     definition, ascertainability and numerosity  separately as to each  class or subclass.
     definition, ascertainability and numerosity separately as to each class or subclass.
4.
4.   If multiple class
     If multiple       representatives are
                 class representatives are proposed,
                                           proposed, the
                                                     the motion   shall address
                                                         motion shall   address the
                                                                                the issues
                                                                                    issues of
                                                                                           of
     typicality and adequacy  of  representation separately as to each  representative.
                and adequacy of representation separately as to each representative.
5.
5.                     claims are alleged, the motion shall address the issue of whether common
     If multiple class claims
     questions of
     questions  of law
                   law and
                       and fact  predominate separately
                            fact predominate  separately as to each
                                                         as to each such
                                                                    such claim.
                                                                         claim.
6.
6.   A motion
     A        for class
       motion for class certification
                        certification shall
                                      shall include:
                                            include:

     a.
     a.     A trial
            A  trial plan that explains
                     plan that            how the
                               explains how     the plaintiff will establish
                                                    plaintiff will establish aa prima
                                                                                prima facie    case at
                                                                                        facie case       trial.
                                                                                                      at trial.
            If     plaintiff intends
               the plaintiff
            If the           intends toto rely
                                          rely upon  statistical evidence
                                               upon statistical  evidence toto prove
                                                                               prove any
                                                                                      any portion
                                                                                            portion of of any
                                                                                                          any
            class  claim, the  plan  shall describe  that evidence    and how   it will be used
            class claim, the plan shall describe that evidence and how it will be used to promote  to promote
            manageability. If
            manageability.       the defendant
                              If the              has raised
                                      defendant has   raised any   affirmative defenses
                                                              any affirmative   defenses that     rely upon
                                                                                           that rely   upon
            individual evidence, the the plan  that explains
                                         plan that  explains how    those defenses
                                                              how those   defenses can    be litigated.
                                                                                     can be   litigated.
     b.
     b.     A declaration
            A declaration of   proposed class
                           of proposed          counsel, describing
                                          class counsel, describing his
                                                                    his or her experience
                                                                        or her experience in
                                                                                          in
            representing
            representing aa class
                            class at trial.
                                  at trial.


                                                                      L3 -
                                            Harold
                                            Harold W.
                                                   W. Hopp
                                                       Hopp
                                            Judge of the Superior
                                            Judge        Superior Court
                                                                  Court




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                      SUPERIOR COURT OF CALIFORNIA,
                      SUPERIOR COURT                       OF RIVERSIDE
                                                    COUNTY OF
                                        CALIFORNIA, COUNTY    RIVERSIDE
                                                          Historic Court House
                                                          Historic Court House
                                                  4050 Main         Riverside, CA 92501
                                                       Main Street, Riverside,    92501


  Case Number:
  Case Number:              CVRI2300103
                            CVRI2300103


  Case Name:
  Case Name:                MEZA vs
                            MEZA    SWIFT BEEF
                                 vs SWIFT BEEF COMPANY
                                               COMPANY




                                                         CERTIFICATE OF MAILING
                                                         CERTIFICATE OF MAILING



       II certify that II am   currently employed
                          am currently    employed by     the Superior
                                                       by the  Superior Court
                                                                          Court ofof California, County of
                                                                                     California, County      Riverside, and
                                                                                                          of Riverside,      that II am
                                                                                                                         and that     am not
                                                                                                                                          not aa
       party   to this
        party to  this action   or proceeding.
                        action or   proceeding. In     my capacity,
                                                    In my  capacity, II am   familiar with  the practices  and   procedures
                                                                        am familiar with the practices and procedures used inused    in
       connection
       connection with       the mailing
                       with the  mailing ofof correspondence.
                                              correspondence. Such  Such correspondence
                                                                           correspondence is   is deposited
                                                                                                  deposited in   the outgoing
                                                                                                              in the outgoing mail
                                                                                                                               mail of   the
                                                                                                                                      of the
       Superior     Court.    Outgoing   mail  is delivered   to and mailed    by  the United   States  Postal  Service,
       Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the postage   prepaid,   the
       same day in the ordinary course of            business.   I certify that I served   a copy  of the foregoing   notice on this
                                                  of business. I certify that I served a copy of the foregoing notice on this date, by date, by
       depositing said
       depositing     said copy
                            copy as    stated above.
                                   as stated   above.

                                          Notices Mailed:
                                          Notices         Class Action
                                                  Mailed: Class        Case Management
                                                                Action Case Management Order
                                                                                       Order##1
                                                                                              1

       Dated:
       Dated: 01/11/2023
              01/ 11/ 2023                                                   MARITA C.C. FORD,
                                                                                         FORD,
                                                                             Interim Court Executive
                                                                             Interim                 Officer/ Clerk of
                                                                                           Executive Officer/Clerk  of the
                                                                                                                       the Court
                                                                                                                           Court




                                                                             by:
                                                                             bY:   cir,j),
                                                                                        G44_
                                                                                   E. Escobedo,
                                                                                   E.           Deputy Clerk
                                                                                      Escobedo, Deputy Clerk




CW-CCM
CW- CCM
(Rev.
 Rev. 08/24/17)
      08124i 17)




                                                                                                                                                     87
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Notice
Notice has
       has been printed for the
           been printed     the following Firm/Attorneys
                                following Firm/ Attorneys or. Parties: CVRI2300103
                                                          or. Parties: CVRI2300103


       JOSEPH
 LAVI, JOSEPH
 LAVI,
 8889 W OLYMPIC
 8889 W OLYMPIC BLVD STE 200
                BLVD STE 200


 Beverly Hills,
 Beverly        CA 90211
         Hills, CA 90211




                                                                                     88
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                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                        Historic Court
                                                        Historic Court House
                                                                       House
                                                4050 Main
                                                4050 Main Street, Riverside, CA
                                                          Street, Riverside, CA 92501
                                                                                92501

  Case Number:
  Case Number:            CVRI2300103
                          CVRI2300103

  Case Name:
  Case Name:              MEZA vs
                          MEZA vs SWIFT BEEF COMPANY
                                  SWIFT BEEF COMPANY


  JOSEPH LAVI
  8889 W
  8889 W OLYMPIC BLVD STE 200

  Beverly Hills, CA 90211




                                                       CERTIFICATE OF MAILING
                                                       CERTIFICATE OF MAILING


      II certify
         certify that
                 that II am
                         am currently
                             currently employed
                                       employed by by the
                                                      the Superior
                                                          Superior Court
                                                                     Court ofof California,
                                                                                 California, County
                                                                                             County ofof Riverside,
                                                                                                         Riverside, and
                                                                                                                    and that
                                                                                                                         that II am
                                                                                                                                 am not
                                                                                                                                      not a
                                                                                                                                          a
       party  to this
       party to  this action
                       action or
                              or proceeding.
                                 proceeding. In In my
                                                   my capacity,
                                                       capacity, II am
                                                                    am familiar
                                                                        familiar with
                                                                                  with the
                                                                                        the practices
                                                                                            practices and
                                                                                                       and procedures
                                                                                                             procedures used
                                                                                                                         used in in
       connection
       connection withwith the
                           the mailing
                               mailing of
                                        of correspondence.
                                           correspondence. SuchSuch correspondence
                                                                      correspondence is    is deposited
                                                                                              deposited inin the
                                                                                                             the outgoing
                                                                                                                 outgoing mail
                                                                                                                           mail ofof the
                                                                                                                                     the
       Superior Court.
       Superior    Court. Outgoing     mail is
                            Outgoing mail   is delivered to and
                                               delivered to and mailed
                                                                 mailed byby the
                                                                               the United
                                                                                   United States
                                                                                            States Postal
                                                                                                    Postal Service,
                                                                                                            Service, postage
                                                                                                                     postage prepaid,
                                                                                                                                prepaid, the
                                                                                                                                          the
       same day
       same    day in
                    in the
                        the ordinary
                            ordinary course
                                     course ofof business.
                                                 business. II certify
                                                              certify that
                                                                      that II served
                                                                              served a a copy
                                                                                         copy of
                                                                                               of the
                                                                                                  the foregoing
                                                                                                      foregoing notice
                                                                                                                  notice on
                                                                                                                         on this
                                                                                                                            this date,
                                                                                                                                   date, by
                                                                                                                                         by
       depositing    said copy
       depositing said     copy as
                                 as stated
                                    stated above.
                                            above.

                                        Notices Mailed: Class
                                        Notices Mailed: Class Action
                                                              Action Case
                                                                     Case Management
                                                                          Management Order #1
                                                                                     Order #1

      Dated: 01/11/2023                                                   MARITA C. FORD,
                                                                          Interim Court Executive Officer/Clerk
                                                                                  Court Executive               of the
                                                                                                  Officer/Clerk of the Court
                                                                                                                       Court



                                                                          by:

                                                                                E. Escobedo,
                                                                                E. Escobedo, Deputy
                                                                                             Deputy Clerk
                                                                                                    Clerk




CW-CCM
CW-CCM
(Rev. 08/24/17)
(Rev. 08/24/17)




                                                                                                                                                89
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Notice has
Notice has been
           been printed
                printed for the following
                        for the following Firm/Attorneys
                                          Firm/Attorneys or
                                                         or Parties:
                                                            Parties: CVRI2300103
                                                                     CVRI2300103


 LAVI,
 LAVI, JOSEPH
       JOSEPH
 8889 W OLYMPIC
 8889 W OLYMPIC BLVD
                BLVD STE 200
                     STE 200

 Beverly Hills,
 Beverly Hills, CA
                CA 90211
                   90211




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                                                         Pages
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                       Historic Court House
                   Court Ruling re: Class Action Case Management Order #1

                                                                            01/11/2023
                                                                             8:30 AM
                                                                            Department 10


CVRI2300103
MEZA vs SWIFT BEEF COMPANY

Honorable Harold W. Hopp, Judge
E. Escobedo, Courtroom Assistant
Court Reporter: None


APPEARANCES:
No Appearances




Court deems case complex pursuant to Section CRC 3.400.
Minute entry completed.




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                        Exhibit
                        Exhibit B
                                B




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                                                                               ID #:401




                   JOINT STIPULATION OF SETTLEMENT AGREEMENT AND

                                              RELEASE

            This Joint Stipulation of Settlement Agreement and Release is made and entered

     between and among Defendant Swift Beef Company and Defendant JBS USA Food

                                     “Defendant”) and Plaintiff Silvia Valdivia De Cabrera
     Company Holdings (collectively, "Defendant")

     and Plaintiff Eddie Duron ("Plaintiffs"),
                               (“Plaintiffs”), on their own behalf and on behalf of a putative

     class and each of its Class Members (as defined herein) in Silvia Valdivia
                                                                       Valdivia De Cabrera v.

           Beef Company, Case No. 5:18-cv-02551-PSG-E,
     Swift Beef                   5:18-cv-02551-PSG-E, and Eddie Duron v. JBS
                                                                          JBS USA Food

     Company Holdings, Case No. 5:19-cv-00702-PSG-E (together, "the
                                                               “the Litigation”),
                                                                    Litigation"), with the

     assistance of counsel.     Plaintiffs and Defendant are referred to in this Agreement

                         “Parties.” Subject to the approval of the Court, the Parties agree that the
     collectively as the "Parties."

     Litigation and the Released Claims and PAGA Released Claims (as defined herein) shall

     be fully and finally compromised, settled and released, and dismissed with prejudice and

     final judgment be entered upon the terms and conditions as set forth herein.

     I.     DEFINITIONS

            In addition to the other terms defined in this Agreement, the terms below have the

     following meanings:

            1.      Administration Costs: The costs and expenses incurred by the Settlement

     Administrator to administer this Settlement. All Administration Costs shall be paid from

     the Qualified Settlement Fund.

            2.      Agreement, Settlement Agreement, or Settlement:                The settlement

     agreement memorialized in this document, subject to approval by the Court, entitled "Joint
                                                                                         “Joint

     Stipulation of Settlement Agreement and Release."
                                             Release.”

            3.      Attorneys’ Fee Award: The amount, not to exceed Two Hundred Forty
                    Attorneys'

     Nine Thousand Nine Hundred Ninety Nine Dollars and Ninety Nine Cents ($249,999.99),

           Plaintiffs’ attorneys will request the Court to approve. The Attorneys'
     which Plaintiffs'                                                  Attorneys’ Fee Award
                                                   1
                                                                                                       93
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     shall be finally
              fmally approved by the Court. The Attorneys'
                                                Attorneys’ Fee Award shall be paid from the

     Qualified Settlement Fund. Defendant will not oppose Class Counsel's
                                                                Counsel’s application for an

     Attorneys’ Fee Award. If the Court awards less than the amount requested, the Net
     Attorneys'

     Settlement Amount shall be recalculated to reflect the actual Attorneys'
                                                                   Attorneys’ Fee Award, and

     shall not be a reason to invalidate or terminate this Agreement. Class Counsel shall disclose

     to the Court the existence of any fee sharing agreements between and among them.

            4.      Class:    All current and former non-exempt employees employed by

     Defendant in the State of California at any time from November 2, 2014, to the date the

     Court grants Preliminary Approval. Defendant has provided Plaintiffs a list of 1,138

     current and former non-exempt employees for the time period November 2, 2014 through

     May 9, 2019 with each class member's
                                 member’s dates of employment. The parties estimate the size

     of the class will increase due to additional workweeks and new hires.

            5.      Class Counsel: Andranik Tsarukyan and Armen Zenjiryan of Remedy Law

     Group LLP and Shaun Setareh of Setareh Law Group.

            6.      Class Data: The information Defendant will provide to the Settlement

     Administrator as defined in Section III.9.b.i below.

            7.      Class Member: Each person eligible to participate in this Settlement who

     is a member of the Class as defined above. If such person is incompetent or deceased, the

     person’s legal guardian, executor, heir or successor-in-interest.
     person's

            8.      Class Notice or Notice:         The Notice of Class Action Settlement,

     substantially similar to the form attached hereto as Exhibit A, or as otherwise approved by

     the Court, which is to be mailed to Class Members.

            9.      Class Representatives or Plaintiffs: Silvia Valdivia De Cabrera and Eddie

     Duron will ask the Court to be approved as the Class Representatives. Defendant will not

     oppose this request.


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                                                                                                     94
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            10.     Class Representative Enhancement Payment: The amount the Court

     awards to Plaintiff Silvia Valdivia De Cabrera and Plaintiff Eddie Duron for their service

     as Class Representatives, which will not exceed Seven Thousand Five Hundred Dollars

     ($7,500.00) for each Plaintiff, for the efforts taken by them on behalf of the Class. This

     payment shall be paid from the Qualified Settlement Fund. Defendant will not oppose

     Plaintiffs’ request for a Class Representative Enhancement Payment, which shall be subject
     Plaintiffs'

     to approval of the Court. If the Court awards less than the amount requested, the Net

     Settlement Amount shall be recalculated to reflect the actual Class Representative

     Enhancement Payment, and shall not be a reason to invalidate or terminate this Agreement.

            11.     Cost Award: The amount that the Court orders to be paid to Class Counsel

     for payment of recoverable litigation costs, which shall not exceed Ten Thousand Dollars

     ($10,000.00). The Cost Award will be paid from the Qualified Settlement Fund and

                                     Counsel’s Cost Award request. The Cost Award is subject
     Defendant will not oppose Class Counsel's

     to Court approval. If the Court awards less than the amount requested, the Net Settlement

     Amount shall be recalculated to reflect the actual Cost Award, and shall not be a reason to

     invalidate or terminate this Agreement. The Cost Award approved by the Court shall

     encompass, without limitation, all work performed and costs and expenses incurred by, or

     at the direction of, any attorney purporting to represent the Class through the Effective

     Date, including costs to be incurred in connection with approval by the Court of the

     Settlement, and all work to be performed and costs and expenses, if any, incurred in

     connection with administering the Settlement through entry of judgment with prejudice.

            12.     Counsel for Defendant: Attorneys Kelly K. Robinson and Jonathon

     Watson of Sherman & Howard L.L.C.

            13.     Defendant: Swift Beef Company, JBS USA Food Company Holdings, and

     any defendant identified in Duron v. JBS
                                          JBS USA Food Company Holdings (Civil Action 5:19-


                                                 3
                                                                                                   95
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     cv-00702-PSG-E) pending in the United States District Court for the Central District of

     California, as that action may be severed, amended, or remanded to the state court.

            14.      Effective Final Settlement Date:        Shall be the date when all of the
     following events have occurred: (a) this Stipulation has been executed by all Parties and

                       Defendant’s Counsel; (b) the Court has given preliminary approval to
     Class Counsel and Defendant's

     the Settlement; (c) Class Notice has been given to Class Members providing them an

     opportunity to exclude themselves from the Settlement; (d) the Court has held a Final

     Approval Hearing and entered a final order approving this Stipulation; and (e) the time for

     appeal, if applicable, has expired. If no objection was made to the Settlement, there is no

     right to appeal and the Effective Date is the date the Court signs the final order and

     judgment. If an objection has been filed, the Effective Date means: (i) the date of final

     affirmation of the Final Approval Hearing, the expiration of the time for, or the denial of,

     a petition to review, or if review is granted, the date of final affirmation of the Final

     Approval Hearing following review pursuant to the grant; or (ii) the date of final dismissal

     of any appeal from the Final Approval Hearing or the final dismissal of any proceeding to

     review the Final Approval Hearing, provided the final affirmation of the Final Approval

     Hearing is affirmed and not reversed in any part; or (iii) if no appeal is filed, the expiration

     date of the time for the filing or noticing of any appeal from the Court's
                                                                        Court’s final affirmation

     of the Final Approval Hearing.

            15.      Exclusion Form: Election Not to Participate or Opt-out statement by a

     Class Member, as described further in Section III.9.d.

            16.      Final Approval Hearing: The final hearing held to ascertain the fairness,

     reasonableness, and adequacy of the Settlement.

            17.      Final Judgment or Final Approval: The final order entered by the Court

     finally approving this Agreement and entering judgment.


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            18.     Gross Settlement Amount or GSA: The total value of the Settlement is a
     non-reversionary amount of Seven Hundred Fifty Thousand Dollars ($750,000.00) to be

     paid into the Qualified Settlement Fund by Defendant as a full settlement of the Litigation,

     Released Claims, and PAGA Released Claims. The GSA shall cover: (1) the Net

     Settlement Amount to be paid to Participating Class Members; (2) the Attorneys'
                                                                          Attorneys’ Fee

                                               attorneys’ fees and costs, as approved by the
     Award and Cost Award to Class Counsel for attorneys'

     Court; (3) the Class Representative Enhancement payment to the Class Representatives, as

     approved by the Court; (4) Administration Costs, as approved by the Court; (5) Required

     Tax Withholding; and (6) the California Labor Code Private Attorneys General Act of 2004

     (Cal. Labor Code §§ 2698 et seq.) ("PAGA")
                                       (“PAGA”) Payment, as approved by the Court. No

     portion of the Gross Settlement Amount will revert to Defendant, unless the Settlement is

     not approved by the Court or is otherwise voided or terminated. The Gross Settlement

     Amount does not include Employer’s
                             Employer's Payroll Taxes, which shall be paid separately and in

     addition to the GSA by Defendant.

            19.     Individual Settlement Share(s): The amount payable to each Participating

     Class Member under the terms of this Settlement Agreement after Required Tax

     Withholding. Class Members are not required to submit a claim form to receive their

     Individual Settlement Shares pursuant to this Agreement.

            20.     LWDA: The California Labor and Workforce Development Agency. Class

     Counsel shall be responsible for timely submitting any copies of judgments or orders that

     are required to be submitted to the LWDA.

            21.     Net Settlement Amount or NSA: The total amount of money available for

     payout to Participating Class Members, which is the GSA less Required Tax Withholding,

         Attorneys’ Fee Award, Cost Award, Class Representative Enhancement, the PAGA
     the Attorneys'

     Payment, and Administration Costs. For avoidance of doubt, the NSA does not include

     Employer’s
     Employer's Payroll Taxes, which shall be paid separately by Defendant. In other words,
                                                  5
                                                                                                    97
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     the NSA is the portion of the GSA that will be distributed to Class Members who do not

     validly and timely complete an Exclusion Form.

             22.    PAGA Employees:          All current and former non-exempt employees

     employed by Defendant in the State of California at any time from November 30, 2017 to

     the date the Court grants Preliminary Approval. PAGA Employees are not required to

     submit a claim form to receive their share of the PAGA Fund pursuant to this Agreement.

             23.    PAGA Fund: Twenty-five percent (25%) of the PAGA Payment to be

     distributed to PAGA Employees.

             24.    PAGA Payment: The PAGA Payment consists of Seven Thousand Five

     Hundred Dollars ($7,500.00) of the Gross Settlement Amount allocated to satisfy the

     PAGA penalties claim as alleged in the Litigation. Subject to the approval of the Court,

     seventy-five percent (75%) of the PAGA Payment or Five Thousand Six Hundred Twenty-

     Five Dollars ($5,625.00) shall be paid to the LWDA, and twenty-five percent (25%) of the

     PAGA Payment or One Thousand Eight Hundred Seventy-Five Dollars ($1,875.00) shall

     be distributed to PAGA Employees. In the event the LWDA or the Court rejects this

     allocation, the Parties will meet and confer with the Court and the LWDA to reach a penalty

     allocation acceptable to all Parties and the Court that does not materially alter the terms of

     the Settlement, nor require Defendant to pay more than the GSA. The Settlement

     Administrator will provide proof of service of the PAGA Payment made to the LWDA to

     the Parties.

             25.    Participating Class Members: All Class Members who do not submit a

     valid and timely Exclusion Form.

             26.    Employer’s
                    Employer's Payroll Taxes: Defendant's
                                              Defendant’s share of applicable federal, state,

     or local payroll taxes, including those collected/paid under authority of the Federal

     Insurance Contributions Act, Federal Unemployment Tax Act, and/or State

     Unemployment Tax Act, attributable to Participating Class Members'
                                                               Members’ Individual
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     Settlement Shares that constitute wages. The amount of Employer’s
                                                            Employer's Payroll Taxes shall be

     determined by the Settlement Administrator but shall not be paid out of the Qualified

     Settlement Fund. Employer’s
                      Employer's Payroll Taxes shall be paid by Defendant separately and in

     addition to any payment obligations set forth in this Agreement.

            27.     Preliminary Approval or Preliminary Approval Order: The Court's
                                                                            Court’s
     order preliminarily approving the proposed Settlement.

            28.     Qualified Settlement Fund or QSF: A fund within the meaning of Section

     468B of the Internal Revenue Code of 1986, as amended, and the Treasury Regulations

     promulgated thereunder, that is established by the Settlement Administrator for the benefit

     of Participating Class Members, PAGA Employees, Plaintiffs and Class Counsel. This

     amount shall be made up of the Gross Settlement Amount.

            29.     Released Claims: The claims that Plaintiffs and the other Participating

     Class Members are releasing in exchange for the consideration provided for by this

     Agreement include any and all claims, liabilities, demands, causes of actions, rights, and

     obligations for (1) failure to provide meal periods; (2) failure to provide rest periods; (3)

     failure to pay overtime wages; (4) failure to pay minimum wages; (5) failure to maintain

     required records; (6) failure to provide accurate wage statements; (7) failure to pay wages

     upon separation of employment; (8) any related claims, including for unfair business

                               California’s Business and Professions Code, Section 17200, and
     practices in violation of California's

     (9) any and all claims under federal or state law, statutory, constitutional, contractual or

     common law claims that were or could have been pled based upon the factual allegations

     contained in the Litigation, except those under the Fair Credit Reporting Act, Investigative

     Consumer Reporting Agencies Act, or Consumer Credit Reporting Agencies Act. The

     Released Claims include all claims described above—that is, those claims that are or

     reasonably could have been asserted in the Litigation, except those under the Fair Credit

     Reporting Act, Investigative Consumer Reporting Agencies Act, or Consumer Credit
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     Reporting Agencies Act—whether known or unknown, which may arise out of or directly

     or indirectly relate to such facts alleged in the Litigation, including all claims for wages,

     overtime pay, premium pay such as meal and rest period premiums, final wages, waiting

     time penalties, minimum wages, penalties such as penalties for incorrect wage statements,

     wages due on termination, any and all equitable relief, liquidated damages or any pay,

     premium, or civil or statutory penalty provided for under the California Labor Code,

     California’s Business and Professions Code, or other applicable wage-and-hour statute.
     California's

     Thus, if a Class Member participates in the Settlement, then even if the Class Member

     discovers facts in addition to or different from those that he or she now knows or believes

     to be true or otherwise fails to discover facts, with respect to the subject matter of the

     Released Claims, those claims will remain released and forever barred. Class Members

     who do not timely opt out will be deemed to have acknowledged and agreed that their

     claims for wages and/or penalties in the Litigation are undisputed. Class Members will be

     deemed to have acknowledged and agreed that California Labor Code Section 206.5 is not

     applicable to the Settlement. That section provides in pertinent part as follows:

               “An employer shall not require the execution of a release of a
               "An
               claim or right on account of wages due, or to become due, or
               made as an advance on wages to be earned, unless payment of
               those wages has been made.”
                                    made."
     The Released Claims shall extend from November 2, 2014 through the date the Court

     grants Preliminary Approval (the "Released
                                      “Released Period").
                                                Period”).

            30.     PAGA Released Claims: The claims that Plaintiffs and other PAGA
     Employees are releasing in exchange for the PAGA Payment provided for by this

     Agreement include all claims, liabilities, demands, causes of action, rights, penalties, and

     obligations of any nature under the California Private Attorneys General Act of 2004 (Cal.

     Labor Code §§ 2698 et seq.). Without limiting the generality of the foregoing, PAGA

     Released Claims include all claims that are or reasonably could have been asserted in the

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     First Amended Complaint, whether known or unknown, which may arise out of or directly

     or indirectly relate to such facts alleged in the First Amended Complaint, including all

     claims for wages, overtime pay, premium pay such as meal and rest period premiums, final

     wages, waiting time penalties, minimum wages, penalties such as penalties for incorrect

     wage statements, wages due on termination, any and all equitable relief, liquidated

     damages or any pay, premium, or civil or statutory penalty, and any derivative violation

     under PAGA. The PAGA Released Claims shall extend from November 30, 2017 through

                                                         “PAGA Released Period").
     the date the Court grants Preliminary Approval (the "PAGA          Period”). In order

     for the Released Parties to achieve a full and complete release, each PAGA Employee

     acknowledges that this Settlement is intended to release all PAGA claims of any nature,

     including any PAGA claims that could be made in Eddie Duron v. JBS
                                                                    JBS USA Food Company

     Holdings (Case No. 5:19-cv-00702-PSG-E), as that action may be severed, amended, or

     remanded to the state court.

            31.     Released Parties:    Defendant and its past, present and future parent

     companies, subsidiaries, affiliates, divisions, and agents and their respective partners,

     principals, managers, officers, directors, employees, shareholders, members, advisors,

     consultants, insurers and reinsurers, subrogees, auditors, heirs, personal or legal

     representatives, accountants, attorneys, trustees, assigns, real or alleged alter egos,

     predecessors, successors, transferees, managing agents, and investors. Without limiting

     the generality of the foregoing, the Released Parties include Swift Beef Company, JBS

     USA, LLC, JBS USA Holdings, Inc., JBS USA, JBS USA, Inc., Swift & Company, Inc.,

     Pilgrim’s Pride Corporation, JBS USA Food Company, and JBS USA Food Company
     Pilgrim's

     Holdings.

            32.     Release Period: November 2, 2014 through the date the Court grants

     Preliminary Approval.


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            33.     PAGA Release Period: November 30, 2017 through the date the Court

     grants Preliminary Approval.

            34.     Response Deadline: Forty-five (45) calendar days from the initial mailing

     of the Notice (and in the case of a re-mailed Notice, forty- five (45) days from the original

     distribution or fourteen (14) days from the date of re-mailing, whichever is greater). If the

     Response Deadline is a Saturday, Sunday, or holiday, then the Response Deadline shall be

     extended to the next calendar day that is not a Saturday, Sunday, or holiday ("holiday"
                                                                                  (“holiday” is

     one that is observed by the Court).

            35.                                                   Members’ shares of
                    Required Tax Withholding: Participating Class Members'

     applicable federal, state, or local payroll taxes, including those collected/paid under

     authority of the Federal Insurance Contributions Act, Federal Unemployment Tax Act,

     and/or State Unemployment Tax Act, attributable to Participating Class Members'
                                                                            Members’

     Individual Settlement Shares that constitute wages. Required Tax Withholding amounts

     shall be determined by the Settlement Administrator and will be paid out of the Qualified

     Settlement Fund.

            36.     Settlement Administration: The Settlement Administrator will conduct

     all Settlement Administration duties as described in this Settlement Agreement and as

     ordered by the Court.

            37.     Settlement Administrator: The third-party administrator Phoenix Class

     Action Administration Solutions to administer this Settlement. The Court will approve the

     appointment of a third-party administrator.

            38.     Court: United States District Court for the Central District of California,

     acting in Case No. 5:18-cv-02551-PSG-E and in Case No. 5:19-cv-00702-PSG-E.




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     II.
     II.    RECITALS
            RECITALS

            1.      Plaintiff Silvia Valdivia De Cabrera filed her action on November 2, 2018

     in Riverside County Superior Court of the State of California and thereafter was removed

     to the United States District Court for the Central District of California and bears Case No.

     5:18-cv-02551-PSG-E. On February 5, 2019, Plaintiff filed a First Amended Complaint,

     claiming Defendant (a) failed to provide meal breaks by requiring Class Members to take

     less than 30-minute meal periods or to work through meal periods without premium

     payments; (b) failed to provide compensated 10-minute rest breaks for every four hours

     worked; (c) failed to compensate Class Members with overtime wages for all hours worked

     in excess of 8 hours per day and/or 40 hours per week; (d) failed to pay minimum wage for

     all hours worked in a payroll period, including all hours worked by, among other things,

     requiring Class Members to work off the clock, through meal and rest periods, and due to

     inaccurate time recording; (e) failed to maintain required records reflecting, among other

     things, total daily hours worked by Class Members, applicable rates of pay, all deductions,

     meal periods, when each employee begins and ends the day, and accurate itemized wages

     statements; (f) failed to provide timely, accurate, and itemized wage statements in writing

     with all required information; (g) failed to pay wages upon separation of employment; and

     (h) violated the Business and Professions Code and Private Attorneys General Act.

            2.      Plaintiff Eddie Duron filed his action on March 13, 2019 in Riverside

     County Superior Court of the State of California and thereafter was removed to the United

     States District Court for the Central District of California and bears Case No. 5:19-cv-

                                                              Duron’s complaint alleges
     00702-RGK-(SHKx). Relating to this settlement, Plaintiff Duron's

     Defendant (a) failed to provide meal breaks by requiring Class Members to take less than

     30-minute meal periods or to work through meal periods without premium payments; (b)

     failed to provide compensated 10-minute rest breaks for every four hours worked; (c) failed

     to compensate Class Members with overtime wages for all hours worked in excess of 8
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     hours per day and/or 40 hours per week and failed to pay minimum wage for all hours

     worked in a payroll period, including all hours worked by, among other things, requiring

     Class Members to work off the clock, through meal and rest periods, and due to inaccurate

     time recording; (d) failed to provide timely, accurate, and itemized wage statements in

     writing with all required information; (e) failed to pay wages upon separation of

     employment; and (f) violated the Business and Professions Code.

            3.                         Plaintiffs’ complaints, denying all allegations.
                    Defendant answered Plaintiffs'

            4.      The Parties conducted investigation and discovery of the facts and law.

     Defendant produced documents relating to its policies, practices, and procedures regarding

     paying non-exempt employees for all hours worked; meal and rest period policies; and

                                                         Defendant’s production, Plaintiffs also
     general payroll policies and procedures. As part of Defendant's

     reviewed and analyzed time records, pay records, and information relating to the size and

     scope of the Class, as well as data permitting Plaintiffs to understand the number of

                                        Plaintiffs’ review and analysis of such records, with
     workweeks as defined by the Class. Plaintiffs'

     the assistance of an expert statistician, showed that some material factual allegations

                Plaintiffs’ claims are not substantiated. Plaintiffs believe that the above-
     underlying Plaintiffs'

     described investigation and evaluation, as well as the information exchanged during the

     arms-length settlement negotiations, are more than sufficient to assess the merits of the

                Parties’ positions and to compromise the issues on a fair and equitable basis.
     respective Parties'

     Plaintiffs’ independent investigation and discovery of the facts and law underlying this
     Plaintiffs'

     Settlement provides a sound understanding of the merits of their respective positions to

     evaluate the worth of the claims, potential amount of recovery, and defenses asserted. The

     Parties believe the proposed Settlement is fair, adequate, and reasonable, given the costs,

     risks, and probability of success, if the Litigation continued. The Parties have

     independently assessed: (a) the nature of the monetary relief; (b) the amount and manner

     of equitable distribution of compensation to be provided to Participating Class Members;
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     (c) the circumstances in which amounts available for payment in Settlement might not be

     paid to Class Members; (d) the notices that will be provided to Class Members, which will

                   Members’ options to freely opt-out of the Settlement or object to the
     explain Class Members'

     Settlement; and (e) the scope of the Released Claims and PAGA Released Claims.

            5.      Benefits of Settlement to Class Members. Plaintiffs and Class Counsel

     recognize the expense and length of continued proceedings necessary to continue the

     litigation against Defendant through trial and through any possible appeals. Plaintiffs and

     Class Counsel also have taken into account the uncertainty and risk of further litigation,

     the potential outcome, and the difficulties and delays inherent in such litigation. Class

                                              Parties’ respective positions and has assessed
     Counsel has a sound understanding of the Parties'

     the amount in controversy and the realistic range of outcomes of the Litigation. Plaintiffs

     and Class Counsel have conducted extensive settlement negotiations, including formal

     conversations and written correspondence with Defendant. Based on the foregoing,

     Plaintiffs and Class Counsel believe the Settlement set forth in this Agreement is a fair,

     adequate, and reasonable settlement, and is in the best interests of the Class Members.

            6.      Defendant’s Reasons for Settlement.
                    Defendant's                                  Defendant recognizes that the

     defense of this Litigation will be protracted and expensive. Substantial amounts of time,

     energy, and resources of Defendant has been and, unless this Settlement is made, will

     continue to be devoted to the defense of the claims asserted by Plaintiffs. Defendant takes

     into account all relevant factors, present and potential, and its extensive assessment of the

     claims and defenses in this Litigation. Defendant, therefore, has agreed to settle in the

     manner and upon the terms set forth in this Agreement to put to rest the Litigation, Released

     Claims, and PAGA Released Claims.

            7.      Defendant’s Denial of Wrongdoing. Nothing in this Stipulation shall be
                    Defendant's

     construed as or deemed to be an admission by any Party of any liability, culpability,

     negligence, or wrongdoing toward any other Party, or any other person, and the Parties
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     specifically disclaim any liability, culpability, negligence, or wrongdoing. Defendant

     generally and specifically denies any and all liability or wrongdoing of any sort with regard

     to any of the claims alleged, makes no concessions or admissions of liability of any sort,

     and contends that for any purpose other than this Settlement, the Litigation is not

     appropriate for class treatment. Neither this Agreement, nor any document referred to or

     contemplated herein, nor any action taken to carry out this Agreement, is or may be

     construed as, or may be used as an admission, concession, or indication by or against

     Defendant or any of the Released Parties of any fault, wrongdoing, or liability whatsoever.

     Nor should the Agreement be construed as an admission, other than for settlement purposes

     only, that Plaintiffs can serve as adequate Class Representatives. There has been no final

     determination by any court as to the merits of the claims asserted by Plaintiffs against

     Defendant or as to whether a class or classes should be certified, other than for settlement

     purposes only.

            8.        Plaintiffs’
                      Plaintiffs' Claims. Plaintiffs assert that Defendant's
                                                                 Defendant’s defenses are without

     merit. However, in the event that this Settlement is finally approved by the Court, Plaintiffs,

                                                      Defendant’s efforts to use this
     Class Members, and Class Counsel will not oppose Defendant's

     Agreement to prove that Plaintiffs and Class Members have resolved and are forever barred

     from re-litigating the Released Claims and PAGA Released Claims.

                       III.   SETTLEMENT TERMS AND CONDITIONS

            1.        Gross Settlement Amount. Subject to the terms and conditions of this

     Agreement, and apart from Employer’s
                               Employer's Payroll Taxes, the maximum Gross Settlement

     Amount that Defendant is obligated to pay under this Settlement Agreement is Seven

     Hundred Fifty Thousand Dollars ($750,000.00). The Settlement is intended to fully, finally,

     and forever resolve, discharge, and settle the Released Claims and PAGA Released Claims

     based on and subject to the terms and conditions set forth in this Settlement Agreement.

     Except Employer's
            Employer’s Payroll Taxes, the Gross Settlement Amount shall constitute the only
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     payment required by Defendant pursuant to the Settlement. In the event (a) the class size

     for the time period November 2, 2014 through May 9, 2019 exceeds 1,138 class members

     by more than 10% or (b) the total number of workweeks for all class members for the time

     period November 2, 2014 through May 9, 2019 is greater than 10% of the total number of

     workweeks represented by Defendant during that time period, the Gross Settlement

     Amount shall be increased by the average workweek amount for each additional workweek

     during that time period. The foregoing exception is based on information and data

     Defendant has provided Plaintiff about the class for the time period November 2, 2014

     through May 9, 2019. To avoid confusion, the class is not limited to 1,138 members or for

     the time period November 2, 2014 through May 9, 2019.

             2.      Settlement Class Certification. Solely for the purposes of this Settlement,

     the Parties stipulate and agree to certification of the claims asserted on behalf of Class

     Members by Plaintiffs. As such, the Parties stipulate and agree that in order for this

     Settlement to occur, the Court must certify the Class for the purpose of settlement as

     defined in this Agreement.

            3.       Conditional Nature of Stipulation for Certification. The Parties stipulate

     and agree to the certification of the claims asserted on behalf of Plaintiffs and Class

     Members for purposes of this Settlement only. If the Settlement does not become effective,

     the fact that the Parties were willing to stipulate to certification as part of the Settlement

     shall not be admissible or used in any way in connection with the question of whether the

     Court should certify any claims in a non-settlement context in this Litigation or in any other

     lawsuit. If the Settlement does not become effective, Defendant reserves the right to

     contest any issues relating to class certification and liability.

             4.      Appointment of Class Representative. The Parties stipulate and agree

     Plaintiffs shall be appointed as the representatives for the Class.


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            5.      Appointment of Class Counsel. The Parties stipulate and agree that the

     Court appoint Class Counsel to represent the Class.

            6.      Individual Settlement Share. Subject to the terms and conditions of this

     Agreement, the Settlement Administrator will pay an Individual Settlement Share from the

     Net Settlement Amount to each Participating Class Member.

                    a.     Individual Settlement Share Calculation.        Each Participating

     Class Member will receive a proportionate share of the Net Settlement Amount that is equal

     to (i) the number of weeks he or she worked during the Released Period based on the Class

     Data provided by Defendant, divided by (ii) the total number of weeks worked by all

     Participating Class Members based on the same Class Data, (iii) which is then multiplied

     by the Net Settlement Amount. For purposes of these payments, a week worked shall be

     defined as any regular workweek in which the Class Member received wages for three or

     more calendar days (whether wages were paid for actually working those days or while on

     paid, approved vacation or sick leave). If any Class Member opts out of the Settlement,

     his or her share will be added to the Net Settlement Amount and the Individual Settlement

     Share Calculation will be recalculated.

                    b.     Payment to PAGA Employees. The PAGA Fund that is paid to

     each PAGA Employee shall be determined based on the following formula: the payment

     to PAGA Employees will be based on the number of weeks employed by Defendant by

     each PAGA Employee during the PAGA Released Period. The amount to be paid per

     workweek employed by a PAGA Employee will be calculated on a pro rata basis by

     dividing the value of the portion of the PAGA Fund that will be paid to each PAGA

     Employee by the total number of weeks employed by all PAGA Employees during the

     PAGA Released Period. For the purpose of this definition, a week of employment means

     three or more calendar days whether wages were paid or actually worked or while on sick

     leave, vacation, or paid time off. The payment to the PAGA Employees is on account of a
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     Settlement of the PAGA Released Claims. As such, it shall not be treated as wages, and

     the Settlement Administrator shall issue a Form 1099 to each PAGA Employee for this

     payment. For the avoidance of doubt, an individual who is both a Participating Class

     Member and a PAGA Employee will receive the sum of: (1) a payment based on its

     allocated share of the PAGA Fund and (2) an Individual Settlement Share.

                    c.     Dispute Resolution. Any Class Member may dispute his or her

     Individual Settlement Share Calculation or his or her share of the PAGA Fund, if the Class

                     Defendant’s records regarding weeks of employment are inaccurate, by
     Member believes Defendant's

     submitting information to the Settlement Administrator no later than the Response

     Deadline. The Settlement Administrator will jointly work with the Parties to resolve the

     dispute in good faith. Defendant's
                            Defendant’s records will be presumed determinative, unless the

     Class Member produces pay stubs, wage statements or other documents which conflict

          Defendant’s records. If the Parties cannot agree over the workweeks to be credited,
     with Defendant's

     the Settlement Administrator shall make the final
                                                 fmal decision based on the information

     presented by the Class Member and Defendant.

                    d.     Tax Withholdings.      Each Participating Class Member's
                                                                           Member’s gross

     Individual Settlement Share will be apportioned as follows: 20% wages and 80% interest

     and penalties, which is subject to the approval of the Court. The Settlement Administrator

     shall calculate the total Required Tax Withholding and Employer’s
                                                            Employer's Payroll Taxes due as a

     result of the wage portion of all Individual Settlement Shares. The amounts paid as wages

     by the Settlement Administrator shall be subject to all tax obligations and withholdings

     customarily associated with wages, and required withholdings shall be reported by Forms

     W-2. Payment of all amounts will be made subject to backup withholding unless a duly

     executed W-9 form is received from the payee(s). The amounts paid as penalties and

     interest shall be subject to all authorized and required withholdings other than the tax

     withholdings customarily made from employees’
                                        employees' wages and shall be reported by IRS 1099
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     forms. The Settlement Administrator will withhold Required Tax Withholding from each

                         Members’ Individual Settlement Share.
     Participating Class Members'


                    e.      No Additional Compensation.            The Parties agree that the

     Individual Settlement Shares and PAGA Fund are not additional compensation for

                                 “regular rate”
     purposes of calculating the "regular rate" of pay under California or federal law for the

     period during which it is received, and no additional compensation is required as a result

     of such payment. Any claim to entitlement to any additional compensation by Participating

     Class Members is expressly waived under the terms of the Settlement.


                    f.      Defendant’s Duty to Comply with CAFA. Defendant shall comply
                            Defendant's

                                                                U.S.C.
     with the requirements of the Class Action Fairness Act (28 U. S.C. § 1715), which provides,

                            “[n]ot later than 10 days after a proposed settlement of a class action
     in relevant part, that "[n]ot

     is filed in court, each defendant that is participating in the proposed settlement shall serve

     upon the appropriate State official of each State in which a class member resides and the

                                                            settlement[.]”
     appropriate Federal official, a notice of the proposed settlement[.]"

            7.      Settlement Disbursement. Subject to the terms and conditions of this

     agreement, the Settlement Administrator will make the following payments from the Gross

     Settlement Amount:

                    a.      To the Plaintiffs Silvia Valdivia De Cabrera and Eddie Duron:

     In addition to their respective Individual Settlement Share, and subject to the Court's
                                                                                     Court’s

     approval, Plaintiffs each will receive up to Seven Thousand Five Hundred Dollars

     ($7,500.00) as a Class Representative Enhancement Payment.                  The Settlement

     Administrator will pay the Class Representative Enhancement Payment out of the

     Qualified Settlement Fund. Payroll and income taxes will not be withheld from the Class

     Representative Enhancement Payment. IRS Forms 1099 will be issued to Plaintiffs with
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     respect to their Class Representative Enhancement Payment. Plaintiffs shall be responsible

     for the payment of any and all taxes with respect to the Class Representative Enhancement
     Payment and shall hold Defendant harmless from any and all liability with regard thereto.

                    b.     To Class Counsel. Class Counsel will apply to the Court for, and

                                             Attorneys’ Fee Award not to exceed Two Hundred
     Defendant agrees not to oppose, a total Attorneys'

     Forty Nine Thousand Nine Hundred Ninety Nine Dollars and Ninety Nine

     Cents ($249,999.99) and a Cost Award not to exceed Ten Thousand Dollars ($10,000.00).

     The Settlement Administrator will pay the court-approved amounts for the Attorneys'
                                                                              Attorneys’ Fee

     Award and Cost Award out of the Gross Settlement Fund. IRS Forms 1099 will be issued

     to Class Counsel by the Settlement Administrator for these payments. The approval by the

     Court of any such lesser sum(s) shall not be grounds for Plaintiffs and/or Class Counsel to

     terminate the Settlement. As a condition of this Settlement, Class Counsel agrees to pursue

     fees and costs only in manner reflected herein, which should reflect all work performed

     and costs to be incurred in connection with approval by the Court of the Class Settlement

     and in connection with administering the Settlement through entry of judgment in the

     Litigation.

                    c.     To the Appropriate Tax Authorities.                The Settlement

     Administrator will pay Required Tax Withholding in accordance with this Agreement to

     the appropriate taxing authorities. The Settlement Administrator shall provide Defendant

     the amount and calculation for Employer’s
                                    Employer's Payroll Taxes, which shall be paid by

     Defendant to the appropriate tax authorities.

                    d.     To the Settlement Administrator. The Settlement Administrator

     will pay to itself Administration Costs (reasonable fees and expenses) approved by the

     Court not to exceed a total of Fifteen Thousand Dollars ($15,000.00). This will be paid

     out of the Qualified Settlement Fund.


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                    e.     To Class Members.         The Settlement Administrator will pay

     Participating Class Members according to the Individual Settlement Share calculations set

     forth above. All payments to Participating Class Members shall be made from the

     Qualified Settlement Fund.

                    f.     PAGA Payment.        The Parties allocate Seven Thousand Five

     Hundred Dollars ($7,500.00) to the PAGA claims.         Of that amount, the Settlement

     Administrator will pay seventy-five percent (75%), or Five Thousand Six Hundred

     Twenty-Five Dollars ($5,625.00), to the LWDA and twenty-five percent (25%), or One

     Thousand Eight Hundred Seventy-Five Dollars ($1,875.00), will be in the PAGA Fund for

     distribution to PAGA Employees. The Settlement Administrator will provide proof of

     service of the PAGA Payment provided to the LWDA to the Parties.

            8.     Appointment of Settlement Administrator. The Parties have selected

     Phoenix Class Action Administration Solutions as the Settlement Administrator. Pursuant

     to an order of the Court, the Settlement Administrator will be responsible for maintaining

     and administering the Qualified Settlement Fund. The Settlement Administrator shall be

     responsible for preparing, printing, and mailing the Class Notice; keeping track of any

     objections or requests for exclusion from Class Members; handling inquiries from Class

     Members; performing skip traces and remailing Notices and Individual Settlement Shares

                                   Employer’s Payroll Taxes as required by any taxing
     to Class Members; calculating Employer's

     authority; calculating and paying Required Tax Withholding as required by any taxing

                                       Member’s Individual Settlement Share; calculating each
     authority; calculating each Class Member's

     PAGA Employee’s
          Employee's PAGA Payment; providing weekly status reports to Defendant's
                                                                      Defendant’s

     Counsel and Class Counsel, which is to include updates on any objections or requests for

     exclusion that have been received; providing a due diligence declaration for submission to

     the Court prior to the Final Approval Hearing; mailing Individual Settlement Shares to

     Participating Class Members; mailing the PAGA Fund to individual PAGA Employees;
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     calculating and mailing seventy-five percent (75%) of the PAGA Payment to the LWDA

                                               Attorneys’ Fee Award and Cost Award to Class
     as ordered by the Court; distributing the Attorneys'

     Counsel; printing and providing Class Members and Plaintiffs with W-2s and 1099 forms

     as required under this Agreement and applicable law; providing a due diligence declaration

     for submission to the Court upon the completion of the Settlement; providing any funds

     remaining in the QSF as a result of uncashed checks as ordered by the Court, including the

     administration of related tax items; providing notice of the final judgment to the class by

     posting for no less than 90 days the final judgment on a website created or maintained by

     the Settlement Administrator; and for such other tasks as the Parties mutually agree. The

     Settlement Administrator will carry out any additional duties as set forth in this Agreement

     or as ordered by the Court.

            9.      Procedure for Approving Settlement.
                    a.    Motion for Preliminary Approval and Conditional
                          Certification.
                            (i)
                            (i)     Plaintiffs will move for an order conditionally certifying the

     Class for settlement purposes only, giving Preliminary Approval of the Settlement, setting

     a date for the Final Approval Hearing, and approving the Class Notice.

                            (ii)    At the Preliminary Approval hearing, the Class Counsel will

     appear, support the granting of the motion, and submit a proposed order that grants

     conditional certification of the Class and Preliminary Approval of the Settlement; appoints

     the Class Representative, Class Counsel, and Settlement Administrator; approves the Class

     Notice; and sets the Final Approval Hearing.

                            (iii)   Should the Court decline to Preliminarily Approve all

     material aspects of the Settlement, the Settlement will be null and void, and the Parties will

     have no further obligations under it. The Parties agree that, if the Court declines to

     preliminarily approve non-material aspects of the Settlement, the Parties will work

     cooperatively to make such changes required by the Court. In the event that the Settlement
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     Agreement is null and void, the Parties will each be responsible to pay to the Settlement

     Administrator one-third of the Administration Costs actually incurred not to exceed a total

     of Fifteen Thousand Dollars ($15,000.00).

                    b.     Notice to Class Members. After the Court enters its Preliminary

     Approval Order, every Class Member will be provided with the Class Notice in accordance

     with the following procedure:

                           (i)       Within forty-five (45) days after entry of the Preliminary

     Approval Order, Defendant shall deliver to the Settlement Administrator the following

     information about each Class Member for the Release Period in an Excel spreadsheet or

     other electronic database: (1) first and last name; (2) last known mailing address and phone

     number; (3) social security number; and (4) dates of employment for each Class Member

                   “Class Data").
     (collectively "Class Data”). If any or all of this information is unavailable to Defendant,

     Defendant will so inform Class Counsel and the Parties will make their best efforts to

     reconstruct or otherwise agree upon how to deal with the unavailable information. The

     Settlement Administrator will conduct a search on the National Change of Address

     database for the address of all former Defendant employee Class Members prior to mailing.

     The Class Data shall be based on Defendant's
                                      Defendant’s records. The Database shall be marked

     “Confidential Attorneys'
     "Confidential Attorneys’ and Settlement Administrator's
                                             Administrator’s Eyes Only"
                                                                  Only” and be held in the

     strictest confidence. The Settlement Administrator shall not disclose or divulge the

     contents of the Database to any Class Member, including Plaintiffs, or to any third party.

     The Settlement Administrator shall use commercially reasonable efforts to avoid

     inadvertent or unauthorized disclosure or use of such data other than as permitted by this

     Settlement Agreement and shall destroy the data (and all copies) in a complete and secure
     manner when such data is no longer required for purposes of this Settlement Agreement.

                           (ii)      Within fourteen (14) days after receipt of the Class Data, the

     Settlement Administrator will mail the Class Notice to all identified Class Members via
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     first-class regular U.S. Mail, using the mailing address information provided by Defendant

     and the results of the search on the National Change of Address database performed on all

     former Defendant employee Class Members.
                            (iii)   If a Class Notice is returned because of an incorrect address,

     within seven (7) days from receipt of the returned Class Notice, the Settlement

     Administrator will conduct a search for a more current address for the Class Member and

     re-mail the Class Notice to the Class Member. The Settlement Administrator will use the

     National Change of Address Database and skip traces to attempt to find the current address.

     The Settlement Administrator will be responsible for taking reasonable steps to trace the

     mailing address of any Class Member for whom a Class Notice is returned by the U.S.

     Postal Service as undeliverable. These reasonable steps shall include, at a minimum, the

     tracking of all undelivered mail; performing address searches for all mail returned without

     a forwarding address; and promptly re-mailing to Class Members for whom new addresses

     are found. If the Settlement Administrator is unable to locate a better address, the Class

     Notice shall be re-mailed to the original address. If the Class Notice is re-mailed, the

     Settlement Administrator will note for its own records the date and address of each re-

     mailing. It will be presumed that, if an envelope containing the Class Notice re-mailing

     has not been returned within thirty (30) calendar days of the mailing, the Class Member

     received the Class Notice.

                            (iv)    If any Exclusion Form received is incomplete or deficient,

     the Settlement Administrator shall send a letter informing the Class Member of the

     deficiency and allow fourteen (14) days to cure the deficiency. If after the cure period the

     Exclusion Form is not cured, it will be determined that the Class Member did not exclude
     himself from the Settlement and will be bound by the Settlement.

                            (v)     The Settlement Administrator shall provide a weekly status

     report to the Parties. As part of its weekly status report, the Settlement Administrator will
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                              Defendant’s Counsel of the number of Class Notices mailed, the
     inform Class Counsel and Defendant's

     number of Class Notices returned as undeliverable, the number of Notices re-mailed, and

     the number of Exclusion Forms received.

                            (vi)    No later than fourteen (14) days after the Response Deadline,

     the Settlement Administrator will serve on the Parties a declaration of due diligence setting

     forth its compliance with its obligations under this Agreement. The declaration from the

     Settlement Administrator shall also be filed with the Court by Class Counsel no later than

     ten (10) days before the Final Approval Hearing. Before the Final Approval Hearing, the

     Settlement Administrator will supplement its declaration of due diligence if any material

     changes occur from the date of the filing of its prior declaration.

                    c.      Objections to Settlement. The Class Notice will provide that the

     Class Members who wish to object to the Settlement must do so in writing, signed, dated,

     and mailed to the Settlement Administrator postmarked no later than the Response

     Deadline. A Class Member who desires to object but who fails to comply with the time

     and objection procedure set forth herein shall be deemed to have not objected, which means

     they will be bound by the release of Released Claims, will be deemed to participate in the

     Settlement and shall become a Settlement Participant.

                            (i)     Format. Any Objections shall: (a) state the objecting

     person’s full name, address, and telephone number; (b) state the words "Notice
     person's                                                               “Notice of

     Objection” or "Formal
     Objection"    “Formal Objection";
                           Objection”; (c) describe, in clear and concise terms, the grounds for

     objection; (d) indicate whether the Class Member is represented by counsel; (e) indicate

     whether the Class Member would like to appear at the Final Approval Hearing; and (f)

     reasonably identify the Litigation.

                            (ii)    Option to Appear. Class Members may (though are not

                                                                                        objector’s
     required to) appear at the Final Approval Hearing, either in person or through the objector's

     own counsel. A timely filed valid objection will still be considered even if an objecting
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     Class Member does not appear at the Final Approval Hearing, either in person or through

         objector’s own counsel. Class Members may withdraw their objections, if any, at any
     the objector's

     time in writing to the Settlement Administrator. Class Members who submit an objection

     shall remain subject to and bound by the Released Claims provisions in this Settlement in

     any order granting Final Approval upon its Effective Date.

                    d.      Request for Exclusion from the Settlement ("Opt-Out").
                                                                      (“Opt-Out”).

     Members of the Settlement Class shall have forty-five (45) days from the distribution of

     the Class Notice (and in the case of a re-mailed Class Notice, forty- five (45) days from the

     original distribution or fourteen (14) days from the date of re-mailing, whichever is greater)

     to request to opt out. The Class Notice will provide that Class Members who wish to

     exclude themselves from the Settlement must mail to the Settlement Administrator an

     Exclusion Form. To be valid, a written request to opt out must: (1) state the Class

     Member’s name, last four digits of his or her social security number, address and telephone
     Member's

     number; (2) state that the Class Member wishes to opt out from the Settlement; (3) be

     signed by the Class Member or his or her lawful representative; and (4) be postmarked no

     later than the Response Deadline. Members of the Settlement Class who opt-out shall still

     be entitled to a PAGA Payment and still are subject to the release of the PAGA Released

     Claims.

                            (i)
                            (i)     Confirmation of Authenticity. If there is a question about

     the authenticity of a signed request for exclusion, the Settlement Administrator may

                                          Member’s identity. Any Class Member who returns
     demand additional proof of the Class Member's

     a timely, valid, and executed Exclusion Form will not participate in or be bound by the

     Settlement and subsequent judgment and will not receive an Individual Settlement Share.

     A Class Member who does not complete and mail a timely Exclusion Form will

     automatically be included in the Settlement, will receive an Individual Settlement Share,

     and will be bound by all terms and conditions of the Settlement, if the Settlement is
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     approved by the Court, and by the subsequent judgment, regardless of whether he or she

     has objected to the Settlement.

                           (ii)    Report. No later than seven (7) days after the Response

     Deadline, the Settlement Administrator will provide the Parties with a complete and

     accurate accounting of the number of Class Notices mailed to Class Members, the number

     of Class Notices returned as undeliverable, the number of Class Notices re-mailed to Class

     Members, the number of re-mailed Class Notices returned as undeliverable, the number of

     Class Members who objected to the Settlement and copies of their submitted objections,

     the number of Class Members who returned valid Exclusion Forms and copies of those

     Exclusion Forms, and the number of Class Members who returned invalid Exclusion Forms.

                           (iii)   Defendant’s Option to Terminate.
                                   Defendant's                               If more than five

     percent (5%) of the Class Members submit Exclusion Forms, Defendant, at its sole option,

     may withdraw from the Settlement and this Agreement is null and void.

                           (iv)    If a Class Member submits both a timely and valid Exclusion

     Form and timely and valid objection, the objection will be rejected and the Class Member's
                                                                                       Member’s

     Exclusion Form will be accepted.

                    e.     No Solicitation of
                                           of Objection or Requests for Exclusion. Neither

     the Parties nor Class Counsel will solicit or otherwise encourage directly or indirectly any

     Class Member to object to the Settlement, request exclusion from the Settlement, or appeal

     from the Judgment.

                    f.     Motion for Final Approval.

                           (i)
                           (i)     Class Counsel will file unopposed motions and memoranda

     in support of Final Approval of the Settlement as described herein. Class Counsel will also

     move the Court for an order of Final Approval (and associated entry of Judgment) releasing

     and barring any Released Claims of the Class Members who do not opt out of the

     Settlement.
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                            (ii)    If the Court does not grant Final Approval of the Settlement,

               Court’s Final Approval of the Settlement is reversed or materially modified on
     or if the Court's

     appellate review, then this Settlement will become null and void. If that occurs, the Parties

     will have no further obligations under the Settlement, including any obligation by

     Defendant to pay the Gross Settlement Amount or any amounts that otherwise would have

     been owed under this Agreement. Further, should this occur, the Parties agree they shall

     be equally responsible for one-third of the Settlement Administrator's
                                                            Administrator’s Administration

     Costs incurred through that date. An award by the Court of a lesser amount than sought

     by Plaintiffs and Class Counsel for the Class Representative Enhancement, Attorneys'
                                                                               Attorneys’ Fee

     Award, or Cost Award will not constitute a material modification to the Settlement within

     the meaning of this paragraph. Notwithstanding the foregoing, the Parties and Class

     Counsel will cooperate with each other and use diligent and reasonable efforts to cure any

     deficiencies noted by the Court in attempting to secure Final Approval of the Settlement.

                            (iii)   Upon Final Approval of the Settlement, the Parties shall

     present to the Court a proposed Final Approval Order, approving of the Settlement and

     entering Judgment in accordance therewith. After entry of Judgment, the Court shall have

     continuing jurisdiction over the Litigation for purposes of: (1) enforcing this Settlement

     Agreement; (2) addressing settlement administration matters, and (3) addressing such post-

     Judgment matters as may be appropriate under Court rules and applicable law.

                    g.      Waiver of Right to Appeal.          Provided that the Judgment is

     consistent with the terms and conditions of this Agreement, if Class Members do not timely

     object to the Settlement, then the Class Members waive any and all rights to appeal from

     the Judgment, including, but not limited to, all rights to any post
                                                                    post-judgment
                                                                         judgment proceeding and

     appellate proceeding, such as a motion to vacate or set aside judgment, and any

     extraordinary writ, and the Judgment will become non-appealable at the time it is entered.

     The waiver of appeal does not include any waiver of the right to oppose any appeal,
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                              post-judgment
     appellate proceeding, or post judgment proceeding. Defendant, through its attorneys, shall

     cooperate with Class Counsel in opposing any appeal, appellate proceeding, or post-

     judgment proceeding.

                    h.      Stay Upon Appeal. In the event of a timely appeal from the

     approval of the Settlement and judgment, the judgment shall be stayed, and Defendant shall

     not be obligated to fund the Gross Settlement Amount or take any other actions required

     by the Settlement until all appeal rights have been exhausted by operation of law.

                    i.      Disbursement of Settlement Shares and Payments. Subject to the

     Court finally approving the Settlement, the Settlement Administrator shall distribute funds

                                                     Court’s Final Approval Order and
     pursuant to the terms of this Agreement and the Court's

     Judgment. The maximum amount Defendant can be required to pay under this Settlement

     for any purpose is the Gross Settlement Amount. The Settlement Administrator shall keep

     Defendant’s Counsel and Class Counsel apprised of all distributions from the Gross
     Defendant's

     Settlement Amount.      The Settlement Administrator shall respond to questions from

     Defendant’s Counsel and Class Counsel.
     Defendant's                                       No person shall have any claim against

                Defendant’s Counsel, Plaintiffs, Class Counsel, or the Settlement
     Defendant, Defendant's

     Administrator based on the distributions and payments made in accordance with this

     Agreement.

                            (i)     Funding the Settlement: No later than fifteen (15) calendar

     days after the Effective Final Settlement Date, Defendant shall transfer the Gross

     Settlement Amount of Seven Hundred Fifty Thousand Dollars ($750,000.00) needed to

     pay the entire GSA by wiring the funds into a QSF set up and controlled by the Settlement

     Administrator. In addition, no later than thirty (30) calendar days after the Effective Final

     Settlement Date, the Settlement Administrator shall provide to Defendant the amount of

     the employer’s
         employer's share of applicable payroll taxes with respect to the Net Settlement Amount.


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     Defendant shall transfer this amount into a QSF set up and controlled by the Settlement

     Administrator within ten (10) business days after receiving the amount.

                             (ii)    Disbursement: Within fifty (50) calendar days after the

     Effective Final Settlement Date, the Settlement Administrator shall calculate and pay all

     payments due under the Settlement Agreement, including all Individual Settlement Shares,

     Required Tax Withholding, the payments to PAGA Employees, the Attorneys'
                                                                   Attorneys’ Fee Award,

     the Cost Award, the Class Representative Enhancements, the PAGA Payment, and the

     Administration Costs. The Settlement Administrator will forward a check for seventy-five

     percent (75%) of the PAGA Payment to the LWDA for settlement of the PAGA claim.

                             (iii)   QSF: The Parties agree, pursuant to an order of the Court,

                            “Qualified Settlement Fund"
     that the QSF will be a "Qualified            Fund” under Section 468B of the Internal

     Revenue Code of 1986, as amended, and the Treasury Regulations promulgated thereunder,

     which the Settlement Administrator will be solely responsible for maintaining and

     administering, including with respect to all distributions. The Settlement Administrator

                                “administrator” within the meaning of Treasury Regulation §
     shall be classified as the "administrator"

     1.468B-2(k)(3) and shall be responsible, on behalf of the QSF, for filing any and all

     required federal, state, and local tax returns; for filing all required federal, state, and local

     information returns; and for ensuring compliance with all tax payment, notice, and

     withholding requirements with respect to the Gross Settlement Amount. The Parties shall

     cooperate in securing an order of the Court to establish the QSF in accordance with the

     terms hereof in conjunction with its Final Approval of the Settlement. The Court will retain

     jurisdiction over the administration of the QSF. The Parties and Settlement Administrator

     shall treat the QSF as coming into existence as a Qualified Settlement Fund on the earliest

     date permitted as set forth in Treasury Regulations Section 1.468B-1, and such election

     statement shall be attached to the appropriate returns as required by law. Any taxes due as

     a result of income earned by the QSF will be paid by the QSF.
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                    j.     Uncashed Checks.        Participating Class Members and PAGA

     Employees must cash or deposit their Individual Settlement Share checks and/or their
     check from the PAGA Fund within one hundred and eighty (180) calendar days after the

     checks are mailed to them. If any checks are not redeemed or deposited within ninety (90)

     days after mailing, the Settlement Administrator will send a reminder postcard indicating

     that unless the check is redeemed or deposited in the next ninety (90) days, it will expire

     and become non-negotiable, and offer to replace the check if it was lost or misplaced. If

     any checks remain uncashed or not deposited by the expiration of the 90-day period after

     mailing the reminder notice, the Settlement Administrator will, within two hundred (200)

     calendar days after the checks are mailed, pay the amount of the uncashed checks to the

     State Controller's
           Controller’s Office Unclaimed Property division as unclaimed property. Any failure

     to cash any such check within the deadline set forth above will not abrogate or affect that

                         Members’ waivers or releases of the Released Claims or PAGA
     Participating Class Members'

     Released Claims under this Settlement.

                    k.      Final Report by Settlement Administrator. Within ten (10) days

     after the disbursement of all funds, the Settlement Administrator will serve on the Parties

     a declaration providing a final report on the disbursements of all funds. Class Counsel will

     be responsible for submitting such a final report to the Court pursuant to the Court's
                                                                                    Court’s order

     or request.

                    l.
                    1.      Documents and Information. Assuming Defendant has made all

     of its required payments under this Settlement Agreement, Plaintiffs and Class Counsel

     shall destroy all documents and information produced by Defendant within 180 calendar

     days after the Individual Settlement Shares are issued, including but not limited to Class

     Data, personnel files, acknowledgements, payroll records, time records and company

     policies and procedures related. Class Counsel shall provide written confirmation that the


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     documents have been destroyed within 185 calendar days after the Individual Settlement

     Shares are issued.

            10.     Release of Claims. As of the Effective Final Settlement Date, Class

     Members who do not submit a timely and valid Request for Exclusion release the Released

     Parties from the Released Claims during the Released Period. Participating Class Members

     shall not to sue or otherwise make a claim against any of the Released Parties for any of

     the Released Claims. It is further understood and agreed that Plaintiffs, on behalf of

     themselves, the LWDA, and the Class, release Defendant and all Released Parties from

     any and all PAGA Released Claims. The Parties acknowledge that under the release, the

     right of the LWDA to investigate the released PAGA claims is not released, but PAGA

     Released Claims do include any claims for penalties by a PAGA Employee as a result of

     any such LWDA investigation, and all PAGA Employees are waiving their right to act as

     a private attorney general, regardless of whether he/she validly Opts-Out/Requests

     Exclusion from the Settlement.

            11.     Plaintiffs’
                    Plaintiffs' Release of Claims and General Release. As of the Effective

     Final Settlement Date, and in exchange for the Class Representative Enhancement Payment

     to the Plaintiffs in an amount ordered by the Court and not to exceed Seven Thousand Five

     Hundred Dollars ($7,500.00) for each, Plaintiffs agree to a general release of Released

     Parties from all claims, demands, rights, liabilities, grievances, demands for arbitration,

     and causes of action of every nature and description whatsoever, known or unknown,

     pending or threatened, asserted or that might have been asserted, whether brought in tort

     or in contract, whether under state or federal or local law. This general release includes all

     employment-related and non-employment-related claims, whether known or unknown,

     arising during the Release Period. Except as otherwise specifically provided under this

     Settlement Agreement, Plaintiffs expressly waive and relinquish all rights and benefits

     afforded by Section 1542 of the Civil Code of the State of California, which states:
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            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT

            THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
            SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF

            EXECUTING THE RELEASE, THAT IF KNOWN BY HIM OR HER
            WOULD HAVE MATERIALLY AFFECTED HIS OR HER

            SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

     This release excludes any release of any claims not permitted to be released by law. As a

     free and voluntary act, Plaintiffs agree that they will never seek or accept employment with

     any Released Party. If Plaintiffs seek or accept employment with any Released Party, their

     application may be rejected or they may be summarily discharged without any resulting

     liability to Defendant or the Released Party.

            12.     Termination of Settlement. In the event that the Settlement Agreement is

     terminated, cancelled, declared void or fails to become effective in accordance with its

     terms, or to the extent termination, cancellation, or voiding of the Settlement Agreement is

     otherwise provided, and if the Court should for any reason fail to approve the Settlement,

     or the Court should fail to enter judgment with prejudice, then the Settlement shall be

     considered null and void, and no payments shall be made or distributed to anyone in

     accordance with the terms of this Settlement Agreement. The Parties will bear their own

     costs and fees with regard to the efforts to obtain Court approval, and this Settlement

     Agreement shall be deemed null and void with no effect on the litigation whatsoever. The

     Parties will each be responsible to the Settlement Administrator for one-third the costs of

     such Administration Costs actually incurred not to exceed a total of Fifteen Thousand

     Dollars ($15,000.00). In such event, the terms and provisions of the Settlement Agreement

     shall have no further force and effect with respect to the Parties and shall not be used in

     this Litigation or any other proceeding for any purpose, and any judgment or order entered

     by the Court in accordance with the terms of the Settlement Agreement shall be treated as
                                                 32
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                   pro tunc. In the event of a termination of settlement, each party should bear
     vacated, nunc pro

                       attorneys’ fees. Notwithstanding the foregoing, the Parties may attempt
     its own costs and attorneys'

     in good faith to cure any perceived defects in the Settlement to facilitate approval.

             13.     Miscellaneous Terms.

                     a.      No Admission of Liability. Defendant makes no admission of

     liability or wrongdoing by virtue of entering into this Agreement. Defendant reserves the

     right to contest any issues relating to class certification and liability if the Settlement is not

     approved. Defendant denies that it has engaged in any unlawful activity, has failed to

     comply with the law in any respect, has any liability to anyone under the claims asserted

     in the Litigation, or that but for the Settlement, a Class should be certified in the Litigation.

     This Agreement is entered into solely for the purpose of compromising highly disputed

     claims. Nothing in this Agreement is intended or will be construed as an admission by

     Defendant of liability or wrongdoing. This Settlement and the Parties'
                                                                   Parties’ willingness to settle

     the Litigation will have no bearing on, and will not be admissible in connection with, any

     litigation (other than solely in connection with this Settlement). Defendant shall not be

     required to enter into any consent decree, nor shall Defendant be required to agree to any

     provision for injunctive relief, or to modify or eliminate any of its personnel, compensation

     or payroll practices, or adopt any new personnel, compensation or payroll practices, if the

     Settlement is approved.

                     b.      No Effect on Employee Benefits. Neither the Settlement nor any

     amounts paid under the Settlement will modify any previously credited hours, days, or

     weeks of service under any employee benefit plan, policy or bonus program sponsored by

     Defendant. Such amounts will not form the basis for additional contributions to, benefits

     under, or any other monetary entitlement under Defendant's
                                                    Defendant’s sponsored benefit plans,

     policies or bonus programs, if any. The payments made under the terms of this Stipulation

     shall not be applied retroactively, currently, or on a going forward basis, as salary, earnings,
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     wages, or any other form of compensation for the purposes of any of Defendant's
                                                                         Defendant’s benefit

     plan, policy or bonus program. Defendant retains the right to modify the language of its

     benefits plans, policies and bonus programs to effect this intent and to make clear that any

     amounts paid pursuant to this Stipulation are not for "weeks
                                                           “weeks worked,"
                                                                  worked,” "weeks
                                                                           “weeks paid,"
                                                                                  paid,”

     “weeks of service,"
     "weeks    service,” or any similar measuring term as defined by applicable plans, policies

     and bonus programs for purpose of eligibility, vesting, benefit accrual, or any other purpose,

     and that additional contributions or benefits are not required by this Stipulation. Defendant

     does not consider the Settlement payments "compensation"
                                               “compensation” for purposes of determining

     eligibility for, or benefit accrual within, any benefit plans, policies, or bonus programs, or

     any other plan sponsored by Defendant.

                    c.       Publicity.   Class Counsel agree to discuss the terms of this

     Settlement only in declarations submitted to a court to establish their adequacy to serve as

     class counsel; in declarations submitted to a court in support of motions for preliminary

     approval, final
               fmal approval, for attorneys'
                                  attorneys’ fees/costs, and any other pleading filed with the

     Court in conjunction with the Settlement; and in discussions with Class Members in the

     context of administrating this Settlement until the Preliminary Approval Order is issued.

     No Court filing will be circulated by Class Counsel nor will Class Counsel post such

     pleadings on any website, or initiate contact with the press, respond to press inquiries, or

     issue any press releases or advertisements identifying Defendant in connection with the

     Released Claims or PAGA Released Claims or about the Settlement. Plaintiffs agree that

     neither they, nor their spouse or agents, shall publicize the terms of settlement or the lawsuit

     beyond taking the steps necessary to reach a final resolution and judgment as described in

     this Settlement Agreement. The Parties, Class Counsel and Defendant's
                                                               Defendant’s Counsel further

     agree that none of them will post commentary about this Settlement or the terms of it on

     any social media website, or through any online or print media outlet, or in any article or

     blog.
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                    d.      Integrated Agreement.        After this Agreement is signed and

     delivered by all Parties and their counsel, this Agreement and its exhibits will constitute

     the entire Agreement between the Parties relating to the Settlement, and it will then be

     deemed that no oral representations, warranties, covenants, or inducements have been

     made to any Party concerning this Agreement or its exhibits, other than the representations,

     warranties, covenants, and inducements expressly stated in this Agreement and its exhibits.

                    e.      Authorization to Enter into Settlement Agreement.               Class

                 Defendant’s Counsel warrant and represent that they are authorized by
     Counsel and Defendant's

     Plaintiffs and Defendant, respectively, to take all appropriate action required or permitted

     to be taken by such Parties under this Agreement to effectuate its terms, and to execute any

     other documents required to effectuate the terms of this Agreement. The Parties and their

     counsel will cooperate with each other and use their best efforts to effect the

     implementation of the Settlement. In the event the Parties are unable to reach agreement

     on the form or content of any document needed to implement this Agreement, or on any

     supplemental provisions that may become necessary to effectuate the terms of this

     Agreement, the Parties will seek the assistance of the Court, and in all cases, all such

     documents, supplemental provisions, and assistance of the Court will be consistent with

     this Agreement.

                    f.      Exhibits and Headings. The terms of this Agreement include the

     terms set forth in the attached exhibits, which are incorporated by this reference as though

     fully set forth herein. Any exhibits to this Agreement are an integral part of the Settlement

     and must be approved substantially as written.

                    g.
                    g.      Interim Stay of Proceedings. The Parties agree to stay and hold

     all proceedings in the Litigation in abeyance, except the First through Fourth Causes of

     Action in Eddie Duron v. JBS
                              JBS USA Food Company Holdings, Case No. 5:19-cv-00702-

     PSG-E, as that action may be severed, amended, or remanded to the state court, under the
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     Fair Credit Reporting Act, Investigative Consumer Reporting Agencies Act, and Consumer

     Credit Reporting Agencies Act and such proceedings necessary to implement and complete

     the Settlement, pending the Final Approval Hearing to be conducted by the Court.

                    h.        Amendment or Modification of Agreement. This Agreement, and

     any and all parts of it, may be amended, modified, changed, or waived only by an express

     written instrument signed by counsel for all Parties or their successors-in-interest.

                    i.        Agreement Binding on Successors and Assigns. This Agreement

     will be binding upon, and inure to the benefit of, the successors and assigns of the Parties,

     as previously defined.

                    j.        No Prior Assignment. Plaintiffs hereby represent, covenant, and

     warrant that they have not directly, or indirectly, assigned, transferred, encumbered, or

     purported to assign, transfer, or encumber to any person or entity any portion of any

     liability, claim, demand, action, cause of action or rights herein released and discharged.

                    k.        Applicable Law. All terms and conditions of this Agreement and

     its exhibits will be governed by and interpreted according to the laws of the State of

     California, without giving effect to any conflict of law principles or choice of law principles.

                    l.
                    1.        Fair, Adequate, and Reasonable Settlement. The Parties and their

     respective counsel believe and warrant that this Agreement reflects a fair, reasonable, and

     adequate settlement of the Litigation and have arrived at this Agreement through arms-

     length negotiations, taking into account all relevant factors, current and potential.

                    m.        No Tax or Legal Advice. The Parties understand and agree that the

     Parties are neither providing tax or legal advice nor making representations regarding tax

     obligations or consequences, if any, related to this Agreement; that Class Members will

     assume any such tax obligations or consequences that may arise from this Agreement; and

     that Class Members shall not seek any indemnification from the Parties or any of the

     Released Parties in this regard. The Parties agree that, in the event that any taxing body
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     determines that additional taxes are due from any Class Member, such Class Member

                                                                              employers’ share
     assumes all responsibility for the payment of such taxes. Other than the employers'

     of payroll taxes as described in this Agreement, the Parties further agree that Defendants

     shall have no legal obligation to pay, on behalf of the Settlement Class Members, any taxes,

     deficiencies, levies, assessments, fines, penalties, interests or costs, which may be required

     to be paid with respect to settlement payments.

                    n.       Plaintiffs’
                             Plaintiffs' Waiver of Right to be Excluded and Object. By

     signing this Settlement Agreement, Plaintiffs are bound by the terms stated herein and

     further agrees not to opt out from the Settlement and agrees not to object to any of the terms

     of this Settlement Agreement. Any such opt out or objection by Plaintiffs shall therefore

     be void and of no force or effect. Plaintiffs agree not to disparage the Settlement to Class

     Members or encourage, in any way, any Class Member to opt out from the Settlement.

     Plaintiff Silvia Valdivia De Cabrera and Remedy Law Group LLP agree not to assist or aid

     in the prosecution of the action entitled Duron v. JBS
                                                        JBS USA Food Company Holdings (Civil

     Action 5:19-cv-00702-PSG-E), pending in the United States District Court for the Central

     District of California, as that action may be severed, amended, or remanded to the state

     court, other than as may be necessary to facilitate a settlement or prosecute the claims

     asserted in the Litigation in the event the Court does not approve this Settlement Agreement.

                    o.       Jurisdiction of the Court. The Litigation includes claims that

     would, if proven, authorize the Court to grant relief pursuant to the laws cited therein. If

     the Settlement is approved, the Court shall retain jurisdiction with respect to the

     interpretation, implementation, and enforcement of the terms of this Agreement and all

     orders and judgment entered in connection therewith, and the Parties and their counsel

     hereto submit to the jurisdiction of the Court for purposes of interpreting, implementing,

     and enforcing the Settlement embodied in this Agreement and all orders and judgments in

     connection therewith.
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                    p.          Invalidity of Any Provision; Severability. Before declaring any

     provision of this Agreement invalid, the Parties request that the Court first attempt to

     construe the provisions valid to the fullest extent possible consistent with applicable

      precedents, so as to define all provisions of this Agreement valid and enforceable. In the

     event any provision of this Agreement shall be found unenforceable, the unenforceable

     provision shall be deemed deleted, and the validity and enforceability of the remaining

     provisions shall not be affected thereby.

                    q.          Cooperation in Drafting. The Parties have cooperated in the

     drafting and preparation of this Agreement. This Agreement will not be construed against

     any Party on the basis that the Party was the drafter or participated in the drafting.

                       r.       Execution in Counterpart. This Agreement may be executed in

     one or more counterparts. All executed counterparts, and each of them, will be deemed to

     be one and the same instrument provided that counsel for the Parties will exchange between

     themselves original signed counterparts. Facsimile or PDF signatures will be accepted.

     Any executed counterpart will be admissible in evidence to prove the existence and

     contents of this Agreement.

     IV.     EXECUTION BY PARTIES

             The Parties hereby execute this Agreement.

      Dated: Jaatiapy fl. 2020                Silvia Valdivia De Cabrera



                                              5';/via   Valacq de cc( k-efm
      Dated: January        , 2020            Eddie Duron




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     Any executed counterpart will be admissible in evidence to prove the existence and

     contents of this Agreement.

     IV.    EXECUTION BY PARTIES
            The Parties hereby execute this Agreement.
     Dated: January        , 2020           Silvia Valdivia De Cabrera




     Dated: January        , 2020           Eddie Duron




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                 Dated: Januarytl,
                        January^!, 2020                  Swift Beef Company
                                                         Swift Beef Company


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                        January31, 2020                  JBS USA Food
                                                         JBS USA        mpany
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                                                         Name
                                                         Name:: Nicholas
                                                                NicholasWhite
                                                                         White
                                                         Title: General Counsel
                                                                         Counsel


                 Approvedas
                 Approved as to
                             to Form:

                 Dated:January
                 Dated: January ,,2020                   RemedyLaw
                                                         Remedy LawGroup
                                                                   Group LLP
                                                                         LLP


                                                         Armen Zenjiryan
                                                         Armen
                                                         Andranik Tsarukyan
                                                                   Tsarukyan
                                                         Attorneys
                                                         Attorneysfor
                                                                   for Plaintiff
                                                                        PlaintiffSilvia Valdivia De
                                                                                 Silvia Valdivia  De Cabrera,
                                                         on
                                                         on behalfofherselfandall others similarlysituated
                                                            behalf of herself and all others similarly



                                   l\
                             rt-, IA
                 Dated:-J3iraacy' ,, 2020
                 Dated:7arittary                         SetarehLaw
                                                         Setareh LawGroup

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                                                         ShaunSetareh
                                                         Shaun
                                                         Attorneys for Plaintiff
                                                         Attorneys for  Plaintiff Eddie
                                                                                  Eddie Duron
                                                                                         Duron onon behalf
                                                                                                    behalf of
                                                         himselfand
                                                         himself andall
                                                                     all others
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                                  Title:    liE4O oo-" c",44c ato1O7 me 41-5




   Dated: January31, 2020         JBS USA Food cgmpanyi             !dings




                                  Name:
                                                Nicholas White
                                  Title:        General Counsel


   Approved as to Form:

   Dated: Jaime*, -a0.10           Remedy Law Group LLP
        February 24,
        February  24, 2020
                      2020
                                   4
                                  Arme Zenjiryan
                                  Andranik Tsarukyan
                                  Attorneys for Plaintiff Silvia Valdivia De Cabrera,
                                  on behalf of herself and all others similarly situated




    Dated: January , 2020         Setareh Law Group



                                  Shaun Setareh
                                  Attorneys for Plaintiff Eddie Duron on behalf of
                                  himself and all others similarly situated

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             Aevoy 7
        Dated: fi r - , 2020        SHERIVIAN & HOWARD


                                    Kelly K obinson sq.
                                    Jonathon Watson, Esq.
                                    Attorneys for Defendant Swift Beef Company and
                                    Defendant JBS USA Food Company Holdings




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                        EXHIBIT A
                        EXHIBIT A




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             UNITED STATES
             UNITED             DISTRICT COURT,
                     STATES DISTRICT        COURT, CENTRAL
                                                     CENTRAL DISTRICT
                                                             DISTRICT OFOF CALIFORNIA
                                                                            CALIFORNIA
     SILVIA VALDIVIA
     SILVIA          DE CABRERA,
            VALDIVIA DE   CABRERA, etet al.
                                        al. v. SWIFT BEEF
                                            v. SWIFT BEEF COMPANY, Case No.
                                                          COMPANY, Case No. 5:18-CV-02551-PSG-E
                                                                             5:18-CV-02551-PSG-E
     EDDIE DURON,
     EDDIE  DURON, et
                   et al.
                      al. v. JBS USA
                          v. JBS     FOOD COMPANY
                                 USA FOOD                         Case No.
                                                        HOLDINGS, Case
                                               COMPANY HOLDINGS,       No. 5:19-CV-00702 PSG(Ex)
                                                                           5:19-CV-00702 PSG(Ex)

     NOTICE OF
     NOTICE OF CLASS
               CLASS ACTION
                     ACTION AND
                            AND PRIVATE ATTORNEYS GENERAL
                                PRIVATE ATTORNEYS         ACT SETTLEMENT
                                                  GENERAL ACT SETTLEMENT

                                    A court
                                    A  court authorized
                                              authorized this  notice. This
                                                          this notice.  This is not aa solicitation.
                                                                             is not    solicitation.
                                  This
                                  This is not a lawsuit against you and you are not being
                                        is not a lawsuit against  you  and you  are   not        sued.
                                                                                          being sued.
                                However, your
                                However,   your legal
                                                legal rights are affected
                                                      rights are affected by  whether you
                                                                          by whether     you act
                                                                                              act or
                                                                                                  or don't
                                                                                                     don’t act.
                                                                                                           act.

TO:
TO:       All current
          All current and
                       and former
                           former non-exempt
                                  non-exempt employees    employed by
                                                employees employed     Defendant in
                                                                    by Defendant in the
                                                                                    the State
                                                                                        State of
                                                                                              of California
                                                                                                 California at
                                                                                                            at
          any time
          any  time from November 2,
                    from November   2, 2014,
                                       2014, to
                                             to [Preliminary Approval date].
                                                [Preliminary Approval date].

The  United States
The United         District Court,
            States District Court, Central
                                     Central District
                                             District of
                                                      of California,
                                                         California, has
                                                                     has granted preliminary approval
                                                                         granted preliminary approval of
                                                                                                       of aa proposed
                                                                                                             proposed
settlement (“Settlement”)
settlement ("Settlement") ofof the
                               the above-captioned
                                    above-captioned actions
                                                      actions (collectively,
                                                              (collectively, the
                                                                             the "Class
                                                                                 “Class Action")
                                                                                        Action”) against
                                                                                                  against Swift  Beef
                                                                                                           Swift Beef
Company and
Company    and JBS   USA Food
                JBS USA     Food Company
                                   Company Holdings
                                              Holdings (collectively,   “Defendant”). Because
                                                         (collectively, "Defendant").  Because your
                                                                                                your rights   may be
                                                                                                      rights may   be
affected by  this Settlement,  it is important   that you read  this Notice  of Class Action  and  Private
affected by this Settlement, it is important that you read this Notice of Class Action and Private AttorneysAttorneys
General Act
General  Act Settlement  (“Notice”) carefully.
             Settlement ("Notice")    carefully.

The Court has
The Court has conditionally
              conditionally certified
                            certified the
                                      the following
                                          following class
                                                    class for
                                                          for settlement
                                                              settlement purposes
                                                                         purposes ("Class"
                                                                                  (“Class” or
                                                                                           or "Class
                                                                                              “Class Members"):
                                                                                                     Members”):

                     All current
                     All          and former
                         current and  former non-exempt  employees employed
                                              non-exempt employees   employed byby Defendant
                                                                                   Defendant in
                                                                                              in the
                                                                                                  the State of
                                                                                                      State of
                     California at
                     California at any
                                   any time
                                       time from November 2,
                                            from November 2, 2014,
                                                             2014, to
                                                                   to [Preliminary Approval date].
                                                                      [Preliminary Approval date].

The Court has
The Court      also preliminarily
           has also preliminarily approved
                                  approved aa settlement
                                              settlement of
                                                         of claims
                                                            claims under the Private
                                                                   under the Private Attorneys
                                                                                     Attorneys General Act
                                                                                               General Act
(“PAGA”) for
("PAGA")  for "PAGA
              “PAGA Employees"
                      Employees” who
                                   who are:
                                       are:

                     All current
                     All current and
                                  and former
                                       former non-exempt
                                               non-exempt employees
                                                          employees employed
                                                                     employed byby Defendant
                                                                                    Defendant in
                                                                                               in the
                                                                                                  the State of
                                                                                                      State of
                     California at
                     California at any
                                   any time
                                        time from
                                             from November
                                                  November 30,
                                                           30, 2017,
                                                               2017, to
                                                                     to [Preliminary
                                                                        [Preliminary Approval
                                                                                     Approval date].
                                                                                              date].

The  purpose of
The purpose   of this
                 this Notice
                       Notice is
                               is to
                                  to provide
                                     provide aa brief
                                                 brief description
                                                       description of
                                                                    of the
                                                                       the claims
                                                                           claims alleged,
                                                                                  alleged, the
                                                                                           the key
                                                                                               key terms
                                                                                                   terms of
                                                                                                         of the
                                                                                                            the
Settlement, and your
Settlement, and your rights
                      rights and
                             and options
                                 options with
                                         with respect
                                              respect to
                                                      to the
                                                         the Settlement.
                                                             Settlement.

YOU MAY
YOU     BE ENTITLED
    MAY BE ENTITLED TO  MONEY UNDER
                     TO MONEY         THE PROPOSED
                              UNDER THE   PROPOSED CLASS ACTION SETTLEMENT.
                                                   CLASS ACTION SETTLEMENT.
PLEASE READ THIS
PLEASE READ THIS NOTICE
                 NOTICE CAREFULLY; IT INFORMS
                        CAREFULLY; IT INFORMS YOU
                                              YOU ABOUT
                                                  ABOUT YOUR
                                                         YOUR LEGAL
                                                              LEGAL RIGHTS.
                                                                    RIGHTS.

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                                                        CONTENTS OF THIS
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                                                                         NOTICE

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                             Questions? Call
                             Questions? Call the
                                             the Settlement Administrator toll
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                                                                                              number]                                                            136
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 1.
 1.        Why Have II Received
           Why Have    Received this
                                this Notice?
                                     Notice?

Defendant’s records
Defendant's  records indicate
                     indicate you
                               you may
                                   may bebe aa Class
                                               Class Member
                                                     Member and/or
                                                              and/or PAGA
                                                                     PAGA Employee.     The Settlement
                                                                            Employee. The               will resolve
                                                                                            Settlement will  resolve
all Class
all Class Members'
          Members’ Released
                    Released Claims,
                               Claims, as
                                        as described
                                           described below,
                                                      below, from
                                                             from November
                                                                   November 2,2, 2014
                                                                                 2014 through
                                                                                      through [Date
                                                                                              [Date of
                                                                                                     of Preliminary
                                                                                                        Preliminary
Approval] (the
Approval]  (the "Release
                 “Release Period").
                          Period”). You
                                     You areare aa member
                                                   member of
                                                           of the
                                                               the Class
                                                                   Class if
                                                                         if you
                                                                             you were
                                                                                  were employed
                                                                                       employed asas aa non-exempt
                                                                                                        non-exempt
employee by
employee   by Defendant
               Defendant in
                          in the
                              the State  of California
                                  State of   California during
                                                        during the
                                                                the period
                                                                    period of
                                                                            of November
                                                                               November 2,2, 2014
                                                                                             2014 to
                                                                                                   to [Preliminary
                                                                                                       [Preliminary
Approval date].
Approval  date].

A Preliminary
A  Preliminary Approval
                Approval Hearing
                           Hearing was
                                    was held
                                         held on
                                              on [the
                                                 [the date
                                                      date of
                                                           of Preliminary
                                                              Preliminary Approval]
                                                                            Approval] in
                                                                                       in the
                                                                                          the United
                                                                                               United States District
                                                                                                      States District
Court, Central
Court,  Central District
                District of
                         of California.
                            California. The
                                        The Court
                                             Court conditionally
                                                    conditionally certified
                                                                  certified the
                                                                            the Class
                                                                                Class for
                                                                                      for settlement
                                                                                           settlement purposes
                                                                                                      purposes only
                                                                                                                only
and directed
and directed that
             that you
                  you receive
                       receive this
                               this Notice.
                                    Notice. The
                                            The Court
                                                Court also
                                                       also approved
                                                            approved the
                                                                      the PAGA
                                                                          PAGA settlement
                                                                                 settlement (described
                                                                                              (described in
                                                                                                         in Question
                                                                                                            Question
12 below).
12 below).

The   Court has
The Court   has determined
                determined only
                           only that
                                 that there
                                      there is
                                            is sufficient
                                               sufficient evidence
                                                          evidence to
                                                                   to suggest
                                                                      suggest that
                                                                               that the
                                                                                    the proposed
                                                                                        proposed Settlement   might be
                                                                                                 Settlement might   be
fair, adequate, and
fair, adequate, and reasonable,
                    reasonable, and
                                and that
                                     that any
                                          any final  determination of
                                               final determination of these
                                                                      these issues
                                                                            issues will
                                                                                    will be
                                                                                         be made
                                                                                            made at
                                                                                                 at the
                                                                                                    the Final
                                                                                                        Final Fairness
                                                                                                              Fairness
Hearing.
Hearing.

The  Court will
The Court  will hold
                hold aa Final
                        Final Fairness
                              Fairness Hearing
                                       Hearing concerning
                                               concerning the
                                                           the proposed
                                                               proposed Settlement  on [the
                                                                         Settlement on [the date
                                                                                            date of
                                                                                                 of final approval
                                                                                                    final approval
hearing], 2020
hearing], 2020 at
                at [time
                   [time a.m./p.m.]
                          a.m./p.m.] before
                                      before Judge
                                             Judge Philip
                                                    Philip S. Gutierrez located
                                                           S. Gutierrez located in
                                                                                in Department
                                                                                   Department 6A6A atat the
                                                                                                        the United
                                                                                                            United
States District Court,
States District Court, Central
                        Central District
                                District of
                                         of California,
                                            California, 350
                                                        350 West
                                                            West 1st
                                                                  1st Street,
                                                                      Street, 6th Floor, Los
                                                                              6th Floor,     Angeles, California
                                                                                         Los Angeles,    California
90012.
90012.

 2.
 2.        What is this
           What is this Class Action About?
                        Class Action About?

 The  action entitled
 The action   entitled SILVIA
                       SILVIA VALDIVIA
                                VALDIVIA DE DE CABRERA,
                                                CABRERA, et       al. v.
                                                               et al.     SWIFT BEEF
                                                                       v. SWIFT   BEEF COMPANY,
                                                                                         COMPANY, Case Case No.
                                                                                                             No. 5:18-CV-
                                                                                                                   5:18-CV-
 02551-PSG-E, was
 02551-PSG-E,     was commenced
                       commenced in  in the
                                        the United
                                            United States  District Court,
                                                    States District   Court, Central
                                                                              Central District
                                                                                       District of
                                                                                                of California
                                                                                                   California as
                                                                                                               as aa putative
                                                                                                                     putative
 class action.
 class action. The
               The action
                     action entitled
                            entitled EDDIE
                                     EDDIE DURON,
                                             DURON, et  et al.
                                                           al. v.   JBS USA
                                                                v. JBS        FOOD COMPANY
                                                                         USA FOOD                   HOLDINGS, Case
                                                                                      COMPANY HOLDINGS,             Case No.
                                                                                                                         No.
 5:19-CV-00702      PSG(Ex),  was   commenced   in the Riverside     County   Superior Court  of the  State
 5:19-CV-00702 PSG(Ex), was commenced in the Riverside County Superior Court of the State of California as  of California  as
aa putative
   putative class
             class action
                    action and
                            and then
                                 then removed
                                      removed toto the
                                                   the United
                                                        United States      District Court,
                                                                   States District  Court, Central
                                                                                           Central District
                                                                                                    District of
                                                                                                              of California.
                                                                                                                 California.
 Plaintiffs Silvia
Plaintiffs         Valdivia De
            Silvia Valdivia  De Cabrera
                                 Cabrera and
                                          and Eddie  Duron are
                                              Eddie Duron    are referred   to herein
                                                                   referred to        as "Plaintiffs."
                                                                               herein as “Plaintiffs.”

Relating to
Relating   to this
               this Settlement, Plaintiffs’ action
                    Settlement, Plaintiffs' action against
                                                    against Defendant
                                                              Defendant seeks
                                                                         seeks damages,   restitution, penalties,
                                                                               damages, restitution,    penalties, interests,
                                                                                                                    interests,
costs, attorney's
costs,  attorney’s fees,
                    fees, and
                          and other
                              other relief based on
                                    relief based  on the
                                                     the following
                                                          following alleged
                                                                     alleged causes of action:
                                                                             causes of action: 1)1) failure
                                                                                                    failure to
                                                                                                            to provide
                                                                                                                provide meal
                                                                                                                        meal
periods; 2)
periods;   2) failure to provide
              failure to provide rest periods; 3)
                                 rest periods;  3) failure  to pay
                                                   failure to  pay overtime
                                                                   overtime wages;
                                                                            wages; 4)
                                                                                    4) failure  to pay
                                                                                       failure to  pay minimum
                                                                                                        minimum wage;
                                                                                                                    wage; 5)
                                                                                                                           5)
failure to
failure  to maintain
             maintain required   records; 6)
                        required records;  6) failure
                                              failure to
                                                       to provide
                                                           provide accurate
                                                                    accurate wage
                                                                             wage statements;
                                                                                   statements; 7) 7) failure   to pay
                                                                                                      failure to  pay wages
                                                                                                                       wages
upon separation
upon   separation ofof employment;
                       employment; 8)    violation of
                                      8) violation  of Business
                                                       Business and
                                                                  and Professions
                                                                      Professions Code
                                                                                  Code Sections      17200, et
                                                                                         Sections 17200,      et seq.; and 9)
                                                                                                                 seq.; and 9)
enforcement of
enforcement     of the
                   the Private
                       Private Attorneys
                               Attorneys General
                                           General Act
                                                    Act ("PAGA").
                                                         (“PAGA”).

The  Court has
The Court         not made
            has not   made any any determination
                                    determination as as to
                                                        to whether
                                                           whether the
                                                                     the claims
                                                                           claims advanced
                                                                                   advanced byby Plaintiffs
                                                                                                  Plaintiffs have   any merit.
                                                                                                              have any   merit. InIn
other words,
other words, thethe Court
                    Court has
                           has not
                                 not determined     whether any
                                      determined whether      any laws
                                                                  laws have      been violated,
                                                                          have been    violated, nor
                                                                                                 nor has
                                                                                                     has it  decided in
                                                                                                          it decided   in favor
                                                                                                                          favor ofof
Plaintiffs or
Plaintiffs or Defendant.
               Defendant. Instead,     both sides
                             Instead, both    sides agreed
                                                    agreed to
                                                            to resolve
                                                               resolve the
                                                                         the Class
                                                                              Class Action
                                                                                     Action with
                                                                                             with no
                                                                                                  no decision
                                                                                                      decision oror admission
                                                                                                                    admission of  of
who is
who  is right  or wrong.
        right or  wrong. By
                          By agreeing
                                agreeing toto resolve the Class
                                              resolve the  Class Action,
                                                                 Action, allall parties
                                                                                parties avoid
                                                                                        avoid the
                                                                                              the risks and cost
                                                                                                  risks and  cost of
                                                                                                                  of aa trial.
                                                                                                                        trial.
Defendant expressly
Defendant   expressly denies
                        denies that
                                  that it
                                       it did
                                          did anything
                                               anything wrong
                                                         wrong oror that
                                                                    that it
                                                                          it violated
                                                                             violated the
                                                                                       the law
                                                                                           law and
                                                                                               and further
                                                                                                    further denies
                                                                                                             denies any
                                                                                                                     any liability
                                                                                                                           liability
whatsoever to
whatsoever    to Plaintiffs,
                 Plaintiffs, the
                              the Class,
                                  Class, or
                                          or PAGA
                                              PAGA Employees.
                                                      Employees.

                                                           -2-
                                                           -2-
                          Questions? Call
                          Questions? Call the
                                          the Settlement Administrator toll
                                              Settlement Administrator toll free at [phone
                                                                            free at [phone number]
                                                                                           number]                                               137
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 3.
 3.      Am II aa Class
         Am             Member?
                  Class Member?


You are
You  are aa member
            member ofof the
                        the Class
                            Class if
                                  if you
                                     you were
                                          were employed
                                               employed as
                                                        as aa non-exempt
                                                              non-exempt employee
                                                                          employee by
                                                                                   by Defendant
                                                                                      Defendant in
                                                                                                 in the
                                                                                                    the State of
                                                                                                        State of
California at
California  at any
               any time
                   time during
                         during the
                                the period
                                     period of
                                            of November
                                               November 2,
                                                        2, 2014
                                                           2014 to
                                                                 to [Preliminary
                                                                    [Preliminary Approval
                                                                                 Approval date].
                                                                                          date].

 4.
 4.      How Does
         How Does this
                  this Class Action Settlement
                       Class Action Settlement Work?
                                               Work?

In  this Class
In this  Class Action,
                 Action, Plaintiffs
                          Plaintiffs sued
                                     sued on
                                          on behalf
                                              behalf of
                                                      of themselves
                                                         themselves and
                                                                      and all
                                                                            all other
                                                                                other similarly-situated
                                                                                       similarly-situated employees.
                                                                                                            employees.
Plaintiffs and
Plaintiffs  and these
                 these other
                       other current
                              current and
                                      and former
                                          former employees
                                                   employees comprise
                                                               comprise aa "Class"
                                                                            “Class” and
                                                                                      and are
                                                                                            are "Class
                                                                                                “Class Members"
                                                                                                         Members” for
                                                                                                                   for
purposes of
purposes   of Settlement.
              Settlement. The
                          The Settlement  of this
                               Settlement of this Class
                                                  Class Action
                                                        Action resolves
                                                                resolves the
                                                                         the Released
                                                                             Released Claims
                                                                                         Claims of
                                                                                                 of all
                                                                                                    all Class
                                                                                                        Class Members
                                                                                                              Members
except for
except  for Class
             Class Members
                   Members whowho exclude
                                   exclude themselves
                                           themselves from   the Class
                                                       from the  Class by
                                                                       by requesting
                                                                           requesting toto be
                                                                                           be excluded
                                                                                               excluded in
                                                                                                         in the
                                                                                                            the manner
                                                                                                                manner
set forth
set forth below.
          below.

Plaintiffs and
Plaintiffs and Class
               Class Counsel
                     Counsel believe
                              believe the
                                       the Settlement  is fair
                                           Settlement is  fair and
                                                               and reasonable.
                                                                    reasonable. The   Court must
                                                                                The Court    must also
                                                                                                   also review   the terms
                                                                                                        review the   terms
of the
of the Settlement   and determine
        Settlement and   determine if
                                    if it
                                       it is
                                          is fair
                                             fair and
                                                  and reasonable
                                                      reasonable to  to the
                                                                        the Class.
                                                                            Class. The
                                                                                    The Court
                                                                                          Court file
                                                                                                file has
                                                                                                     has the
                                                                                                           the Settlement
                                                                                                               Settlement
documents, which
documents,    which explain    the Settlement
                      explain the  Settlement in in greater   detail. If
                                                    greater detail.       you would
                                                                       If you  would like    copies of
                                                                                        like copies   of the
                                                                                                          the Settlement
                                                                                                               Settlement
documents,   you  can contact Plaintiffs’ counsel,  whose   contact   information  is below, and  they  will
documents, you can contact Plaintiffs' counsel, whose contact information is below, and they will provide you provide  you
with aa copy
with    copy via
             via e-mail
                 e-mail free of charge.
                        free of charge.

 5.
 5.      Who are the
         Who are the Attorneys
                     Attorneys Representing
                               Representing the
                                            the Class?
                                                Class?

             Attorneys for
             Attorneys for Plaintiff and the
                           Plaintiff and the Class
                                             Class

             Andranik Tsarukyan,
             Andranik  Tsarukyan, Bar
                                  Bar No.
                                      No. 258241
                                          258241
              Armen Zenjiryan,
              Armen   Zenjiryan, Bar
                                 Bar No.
                                     No. 261073
                                         261073
                REMEDY LAW
                REMEDY     LAW GROUP
                                 GROUP LLPLLP
              610 E.
              610    Providencia Avenue,
                  E. Providencia Avenue, Unit
                                          Unit B
                                               B
                     Burbank, CA
                     Burbank,  CA 91501
                                   91501
                  Telephone:   818.422.5941
                  Telephone: 818.422.5941

                Shaun
                Shaun Setareh,  Bar No.
                       Setareh, Bar No. 204514
                                         204514
                Thomas
                Thomas Segal,   Bar No.
                         Segal, Bar No. 222791
                                         222791
                  SETAREH
                  SETAREH LAW        GROUP
                              LAW GROUP
                315 S.
                315    Beverly Drive,
                    S. Beverly  Drive, Suite 315
                                       Suite 315
                   Beverly Hills,
                   Beverly  Hills, CA
                                   CA 90212
                                       90212
                   Telephone:  310.888.7771
                   Telephone: 310.888.7771
                       Fax: 310.888-0109
                       Fax: 310.888-0109

                 Attorneys for
                 Attorneys for Plaintiffs,
                               Plaintiffs,
        SILVIA VALDIVIA DE
        SILVIA VALDIVIA   DE CABRERA
                               CABRERA and and EDDIE
                                               EDDIE
                        DURON
                        DURON

The  Court has
The Court   has conditionally
                conditionally decided
                              decided that
                                       that REMEDY
                                            REMEDY LAW       GROUP LLP
                                                      LAW GROUP            and SETAREH
                                                                      LLP and   SETAREH LAW       GROUP are
                                                                                            LAW GROUP        are
qualified to
qualified to represent
             represent you
                       you and
                           and all
                               all other
                                   other Class
                                         Class Members
                                                Members simultaneously.
                                                         simultaneously. As
                                                                         As part
                                                                            part of
                                                                                 of this
                                                                                    this Settlement, Plaintiffs’
                                                                                         Settlement, Plaintiffs'
Counsel is
Counsel  is working
            working on
                    on your
                       your behalf.
                            behalf. If you want
                                    If you want your
                                                your own
                                                     own attorney,
                                                         attorney, you
                                                                   you may
                                                                       may hire
                                                                           hire one
                                                                                one at
                                                                                    at your
                                                                                       your own
                                                                                            own cost.
                                                                                                cost.



                                                      -3-
                                                      -3-
                     Questions? Call
                     Questions? Call the
                                     the Settlement Administrator toll
                                         Settlement Administrator toll free at [phone
                                                                       free at [phone number]
                                                                                      number]                           138
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 6.
 6.       What are My
          What are My Options?
                      Options?

The purpose of
The purpose  of this
                this Notice
                     Notice is
                            is to
                                to inform
                                   inform you
                                           you of
                                               of the
                                                  the proposed
                                                      proposed Settlement and of
                                                               Settlement and  of your
                                                                                  your options.
                                                                                       options. Each
                                                                                                Each option
                                                                                                     option has
                                                                                                             has its
                                                                                                                 its
consequences, which
consequences,  which you
                      you should
                           should understand
                                     understand before
                                                 before making
                                                        making your
                                                                your decision.
                                                                     decision. Your
                                                                               Your rights
                                                                                     rights regarding
                                                                                            regarding each
                                                                                                      each option,
                                                                                                            option,
and the
and the steps
        steps you
              you must
                   must take
                         take to
                               to select
                                   select each
                                          each option,
                                               option, are
                                                       are summarized
                                                           summarized below
                                                                       below and
                                                                              and explained
                                                                                   explained in
                                                                                             in more
                                                                                                more detail
                                                                                                      detail in this
                                                                                                             in this
Notice.
Notice.

Important Note:
Important   Note: Defendant
                   Defendant will  take no
                              will take no actions
                                           actions against
                                                   against you
                                                           you in any way
                                                               in any     because you
                                                                      way because you participate
                                                                                      participate or
                                                                                                  or do not
                                                                                                     do not
participate in
participate in this
               this Settlement.
                    Settlement.

 •• Do NOTHING:
    DO NOTHING:            If you do
                           If you       nothing and
                                    do nothing     and the
                                                        the Court
                                                             Court grants
                                                                   grants final   approval of
                                                                           final approval    of the
                                                                                                the Settlement,    you will
                                                                                                     Settlement, you    will
                           become part
                           become    part of
                                           of this
                                              this Class
                                                   Class Action
                                                         Action and
                                                                 and will
                                                                     will receive  an Individual
                                                                          receive an   Individual Settlement
                                                                                                   Settlement Share   based
                                                                                                                Share based
                           on the
                           on  the total
                                    total number
                                            number of of workweeks
                                                         workweeks youyou were
                                                                            were employed
                                                                                   employed by by Defendant
                                                                                                    Defendant during
                                                                                                                 during the
                                                                                                                        the
                           Release Period.
                           Release   Period. AsAs aa result,
                                                     result, you
                                                             you will
                                                                 will waive
                                                                      waive all
                                                                              all of
                                                                                  of the
                                                                                     the Released
                                                                                         Released Claims,
                                                                                                    Claims, asas defined
                                                                                                                 defined in
                                                                                                                         in
                           Section
                           Section 9   below, against
                                    9 below,    against Defendant
                                                         Defendant and
                                                                   and all
                                                                        all Released
                                                                            Released Parties,
                                                                                       Parties, and
                                                                                                and you
                                                                                                     you will
                                                                                                         will give
                                                                                                               give up
                                                                                                                    up your
                                                                                                                       your
                           right to
                           right to file
                                     file aa lawsuit
                                             lawsuit against
                                                      against any
                                                              any Released
                                                                   Released Parties
                                                                              Parties based
                                                                                       based on
                                                                                              on the
                                                                                                  the Released
                                                                                                      Released Claims
                                                                                                                  Claims as
                                                                                                                         as
                           defined in
                           defined  in Section
                                        Section 9   below.
                                                  9 below.

 •• OPT OUT:
    OPT OUT:               If you do
                           If you      not want
                                  do not   want to
                                                 to participate
                                                    participate as
                                                                 as aa Class
                                                                       Class Member,
                                                                              Member, youyou may
                                                                                             may "opt
                                                                                                   “opt out,"
                                                                                                        out,” which
                                                                                                                which will
                                                                                                                        will
                           remove you
                           remove   you from
                                         from the
                                               the Class
                                                   Class and
                                                          and this
                                                               this Class
                                                                    Class Action.
                                                                           Action. If the Court
                                                                                   If the  Court grants
                                                                                                 grants final
                                                                                                        final approval
                                                                                                               approval of
                                                                                                                         of
                           the Settlement,
                           the              you will
                               Settlement, you    will not receive an
                                                       not receive   an Individual
                                                                        Individual Settlement
                                                                                    Settlement Share    and you
                                                                                                 Share and   you will
                                                                                                                   will not
                                                                                                                        not
                           give up
                           give up the
                                    the right
                                        right to
                                              to sue
                                                 sue the
                                                     the Released
                                                         Released Parties
                                                                     Parties for any of
                                                                             for any  of the
                                                                                         the Released
                                                                                             Released Claims
                                                                                                      Claims as  as defined
                                                                                                                    defined
                           in Section
                           in Section 9  below. If
                                       9 below.     you are
                                                 If you  are aa PAGA
                                                                PAGA Employee,      you will,
                                                                        Employee, you     will, however,
                                                                                                however, still
                                                                                                          still release
                                                                                                                release the
                                                                                                                        the
                           PAGA Released
                           PAGA    Released Claims
                                               Claims and
                                                       and receive
                                                            receive aa payment
                                                                        payment from
                                                                                  from the
                                                                                         the PAGA
                                                                                             PAGA Fund
                                                                                                     Fund (described
                                                                                                            (described inin
                           Question 12).
                           Question   12).

    OBJECT:
 •• OBJECT:                You may
                           You may file
                                    file aa legal objection to
                                            legal objection   to the
                                                                 the proposed
                                                                     proposed Settlement.
                                                                              Settlement. If you would
                                                                                          If you would like to object,
                                                                                                       like to object,
                           you may
                           you may not
                                   not opt
                                        opt out
                                             out of
                                                  of this
                                                     this Settlement.
                                                          Settlement.

The procedures for
The procedures     opting out
               for opting out and
                              and objecting
                                  objecting are
                                            are set
                                                set forth  below in
                                                     forth below     the sections
                                                                  in the sections entitled “How do
                                                                                  entitled "How do II Opt
                                                                                                      Opt Out
                                                                                                          Out or
                                                                                                              or
Exclude Myself from this Settlement” and “How   do  I Object to the Settlement?”
Exclude Myself from this Settlement" and "How do I Object to the Settlement?"

 7.
 7.      How do
         How do II Opt Out or
                   Opt Out or Exclude
                              Exclude Myself
                                      Myself from
                                              from this
                                                   this Settlement?
                                                        Settlement?

 If you do
 If you  do not
            not wish
                wish to
                      to participate
                         participate in
                                      in the
                                         the Settlement,  you may
                                             Settlement, you  may be
                                                                   be excluded
                                                                      excluded (i.e.,
                                                                                 (i.e., "opt
                                                                                        “opt out")
                                                                                              out”) by
                                                                                                    by sending
                                                                                                         sending aa timely
                                                                                                                    timely
 written Request
 written Request for
                  for Exclusion   that contains
                      Exclusion that   contains your
                                                 your name,
                                                       name, address,
                                                             address, telephone
                                                                      telephone number,
                                                                                  number, thethe last
                                                                                                 last four  digits of
                                                                                                       four digits of your
                                                                                                                      your
 Social
 Social Security  number, and
         Security number,   and the
                                 the names
                                     names ofof the
                                                the cases
                                                    cases and
                                                          and case
                                                              case numbers
                                                                   numbers for  the Class
                                                                            for the  Class Action
                                                                                            Action (Silvia
                                                                                                      (Silvia Valdivia  De
                                                                                                              Valdivia De
 Cabrera
 Cabrera v.   Swift Beef
           v. Swift  Beef Company,      Case No.
                            Company, Case      No. 5:18-CV-02551-PSG-E,
                                                    5:18-CV-02551-PSG-E, and  and Eddie
                                                                                    Eddie Duron
                                                                                            Duron v.      JBS USA
                                                                                                      v. JBS          Food
                                                                                                               USA Food
 Company                Case No.
            Holdings, Case
 Company Holdings,             No. 5:19-CV-00702-PSG-E).
                                     5:19-CV-00702-PSG-E). If      you opt
                                                                If you  opt out
                                                                            out of
                                                                                 of the
                                                                                     the Settlement,
                                                                                          Settlement, you you will
                                                                                                              will not
                                                                                                                    not be
                                                                                                                        be
 releasing the
 releasing the claims
               claims set
                       set forth in Question
                           forth in Question 9.
                                              9.
 The Exclusion Form
 The Exclusion Form must
                      must be
                           be signed,
                              signed, dated,
                                      dated, and
                                             and mailed
                                                 mailed by
                                                        by First
                                                           First Class
                                                                 Class U.S.
                                                                       U.S. Mail,
                                                                            Mail, postmarked
                                                                                  postmarked no
                                                                                             no later
                                                                                                later than
                                                                                                      than [the
                                                                                                           [the
 Response Deadline],
 Response   Deadline], to:
                       to: De
                           De Cabrera
                               Cabrera & & Duron
                                           Duron Class
                                                  Class Action,   c/o Phoenix
                                                         Action, c/o   Phoenix Class
                                                                                Class Action
                                                                                       Action Administration
                                                                                              Administration
 Solutions,
 Solutions, 1411  N. Batavia
            1411 N.  Batavia St., Suite 105, Orange,  CA  92863.
                             St., Suite 105, Orange, CA 92863.


                                                      -4-
                                                      -4-
                     Questions? Call
                     Questions? Call the
                                     the Settlement Administrator toll
                                         Settlement Administrator toll free at [phone
                                                                       free at [phone number]
                                                                                      number]                             139
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                                                                           PagePage
                                                                                ID #:140
                                                                                    ID #:448
 The  Court will
 The Court  will exclude  any Class
                 exclude any   Class Member
                                     Member who
                                              who submits
                                                    submits aa complete
                                                                complete and
                                                                          and timely
                                                                              timely Exclusion Form as
                                                                                     Exclusion Form  as described
                                                                                                        described in
                                                                                                                  in
 the paragraph
 the paragraph above.
                above. Any
                        Any Class
                             Class Member
                                    Member who
                                             who fails   to submit
                                                   fails to submit aa valid
                                                                      valid and
                                                                            and timely
                                                                                timely Exclusion  Form on
                                                                                       Exclusion Form   on or
                                                                                                           or before
                                                                                                              before
 the above-specified
 the above-specified deadline
                      deadline will
                                will be
                                     be bound
                                        bound by
                                               by all
                                                  all terms
                                                      terms of
                                                             of the
                                                                the Settlement, Release and
                                                                    Settlement, Release and any
                                                                                            any Judgment  entered in
                                                                                                Judgment entered  in
 the Class
 the Class Action
           Action if the Settlement
                  if the Settlement receives
                                     receives final approval from
                                              final approval        the Court.
                                                              from the  Court.


 8.
 8.      How do
         How do II Object to the
                   Object to the Settlement?
                                 Settlement?

If you are
If you  are aa Class
               Class Member
                     Member who who does
                                      does not
                                            not opt
                                                opt out
                                                     out of
                                                         of the
                                                            the Settlement, you may
                                                                Settlement, you  may choose
                                                                                      choose to
                                                                                              to object  to the
                                                                                                 object to  the Settlement,
                                                                                                                 Settlement,
personally or
personally   or through
                through an
                         an attorney,
                             attorney, by
                                       by mailing
                                           mailing aa written
                                                      written objection
                                                               objection to
                                                                         to the
                                                                            the Settlement  Administrator at
                                                                                Settlement Administrator     at De
                                                                                                                De Cabrera
                                                                                                                    Cabrera
& Duron
&   Duron Class
            Class Action,
                   Action, c/o
                             c/o Phoenix
                                  Phoenix Class
                                            Class Action
                                                   Action Administration
                                                            Administration Solutions,   1411 N.
                                                                             Solutions, 1411   N. Batavia
                                                                                                  Batavia St.,
                                                                                                            St., Suite  105,
                                                                                                                 Suite 105,
Orange, CA
Orange,   CA 92863
               92863 byby [the   Response Deadline].
                           [the Response     Deadline]. The   written objection
                                                         The written  objection must:
                                                                                must: (a)
                                                                                       (a) state
                                                                                           state your
                                                                                                 your full
                                                                                                       full name,   address,
                                                                                                            name, address,
and telephone
and  telephone number;
                  number; (b)
                            (b) state
                                state the
                                      the words
                                          words "Notice
                                                  “Notice ofof Objection"
                                                               Objection” or
                                                                           or "Formal
                                                                              “Formal Objection";
                                                                                       Objection”; (c)
                                                                                                     (c) describe,
                                                                                                         describe, inin clear
                                                                                                                        clear
and concise
and  concise terms,
               terms, the
                       the grounds
                            grounds for
                                      for your
                                           your objection;
                                                 objection; (d)
                                                             (d) indicate
                                                                 indicate whether
                                                                          whether you
                                                                                    you are
                                                                                         are represented
                                                                                             represented byby counsel;
                                                                                                               counsel; (e)
                                                                                                                          (e)
indicate whether
indicate  whether you
                    you would
                         would like
                                 like to
                                      to appear
                                         appear at
                                                 at the
                                                    the Final
                                                        Final Approval
                                                               Approval Hearing;
                                                                         Hearing; and
                                                                                   and (f)
                                                                                       (f) identify the name
                                                                                           identify the name of of the
                                                                                                                   the Class
                                                                                                                       Class
Action (Silvia
Action   (Silvia Valdivia  De Cabrera
                  Valdivia De   Cabrera v.   Swift Beef
                                          v. Swift Beef Company,    Case No.
                                                         Company, Case    No. 5:18-CV-02551-PSG-E,
                                                                              5:18-CV-02551-PSG-E, and   and Eddie
                                                                                                              Eddie Duron
                                                                                                                      Duron
v. JBS USA
v. JBS        Food Company
        USA Food                             Case No.
                                 Holdings, Case
                     Company Holdings,             No. 5:19-CV-00702-PSG-E).
                                                       5:19-CV-00702-PSG-E).

Class Members
Class  Members whowho timely
                        timely file
                                file valid
                                     valid objections
                                           objections to
                                                       to the
                                                          the Settlement   may appear
                                                               Settlement may   appear at
                                                                                        at the
                                                                                           the Final
                                                                                                Final Approval
                                                                                                      Approval Hearing,
                                                                                                                   Hearing,
either in
either     person or
       in person  or through
                      through the
                               the objector's
                                    objector’s own
                                                own counsel,    provided the
                                                     counsel, provided    the objector
                                                                              objector has
                                                                                       has first  notified the
                                                                                            first notified   the Settlement
                                                                                                                 Settlement
Administrator by
Administrator   by sending
                    sending his/her
                             his/her written
                                      written objections
                                               objections to
                                                           to the
                                                              the Settlement  Administrator, postmarked
                                                                  Settlement Administrator,    postmarked no      later than
                                                                                                               no later than
[the Response
[the Response Deadline].
                 Deadline]. Class
                            Class Members'
                                    Members’ timely
                                                timely and
                                                       and valid
                                                             valid objections
                                                                   objections to
                                                                              to the
                                                                                 the Settlement   will still
                                                                                     Settlement will   still be
                                                                                                              be considered
                                                                                                                 considered
even if
even     the objector
      if the objector does not appear
                      does not  appear at
                                        at the
                                           the Final
                                               Final Approval
                                                     Approval Hearing.
                                                                 Hearing.

If the Court
If the Court rejects
             rejects the
                     the Notice
                         Notice of
                                of Objection,
                                   Objection, the
                                               the Class
                                                   Class Member
                                                         Member will
                                                                will receive an Individual
                                                                     receive an Individual Settlement
                                                                                           Settlement Share and
                                                                                                      Share and
will be
will be bound
        bound by
               by the
                  the terms
                      terms of
                            of the
                               the Settlement.
                                   Settlement.

 9.
 9.      How does
         How does this
                  this Settlement
                       Settlement Affect
                                  Affect My
                                         My Rights?
                                            Rights? What are the
                                                    What are the Released
                                                                 Released Claims?
                                                                          Claims?

If the proposed
If the proposed Settlement
                 Settlement isis approved
                                 approved byby the
                                               the Court,
                                                    Court, aa Final
                                                              Final Judgment     will be
                                                                     Judgment will    be entered
                                                                                          entered by
                                                                                                   by the
                                                                                                       the Court.
                                                                                                            Court. All
                                                                                                                   All Class
                                                                                                                        Class
Members who
Members    who do
                do not
                     not validly
                         validly opt-out  of the
                                  opt-out of the Settlement    will be
                                                  Settlement will   be bound
                                                                        bound byby the
                                                                                    the Court's
                                                                                        Court’s Final
                                                                                                 Final Judgment     and will
                                                                                                         Judgment and     will
fully
fully release and discharge
      release and  discharge Defendant
                              Defendant and
                                          and its  past, present
                                               its past, present and
                                                                  and future  parent companies,
                                                                       future parent   companies, subsidiaries,
                                                                                                    subsidiaries, affiliates,
                                                                                                                   affiliates,
divisions, and
divisions,  and agents
                 agents and
                          and their
                                their respective
                                      respective partners,
                                                   partners, principals,
                                                               principals, managers,
                                                                             managers, officers,     directors, employees,
                                                                                          officers, directors,   employees,
shareholders, members,
shareholders,  members, advisors,
                           advisors, consultants,
                                      consultants, insurers   and reinsurers,
                                                    insurers and    reinsurers, subrogees,
                                                                                 subrogees, auditors,
                                                                                              auditors, heirs,
                                                                                                          heirs, personal
                                                                                                                 personal oror
legal  representatives, accountants,
legal representatives,    accountants, attorneys,
                                         attorneys, trustees,
                                                      trustees, assigns,
                                                                 assigns, real
                                                                            real or
                                                                                  or alleged
                                                                                      alleged alter
                                                                                                alter egos,
                                                                                                       egos, predecessors,
                                                                                                               predecessors,
successors, transferees,
successors,  transferees, managing
                           managing agents,
                                       agents, and
                                               and investors
                                                     investors (collectively,    “Released Parties")
                                                                (collectively, "Released     Parties”) from
                                                                                                         from the
                                                                                                               the Released
                                                                                                                    Released
Claims. Without
Claims.  Without limiting
                   limiting the
                             the foregoing,
                                 foregoing, Released
                                             Released Parties
                                                         Parties include
                                                                 include Swift    Beef Company,
                                                                           Swift Beef   Company, JBS       USA, LLC,
                                                                                                     JBS USA,     LLC, JBS
                                                                                                                         JBS
USA Holdings,
USA    Holdings, Inc.,
                 Inc., JBS  USA, JBS
                       JBS USA,    JBS USA,
                                        USA, Inc.,
                                               Inc., Swift
                                                     Swift && Company,
                                                               Company, Inc.,     Pilgrim’s Pride
                                                                            Inc., Pilgrim's  Pride Corporation,
                                                                                                    Corporation, JBS    USA
                                                                                                                   JBS USA
Food Company,
Food   Company, and
                  and JBS   USA Food
                       JBS USA    Food Company
                                        Company Holdings.
                                                    Holdings. The    “Released Claims"
                                                                The "Released    Claims” are
                                                                                           are as
                                                                                               as follows:
                                                                                                  follows:

Plaintiffs and
Plaintiffs  and the
                 the other
                      other Class
                             Class Members
                                   Members who  who do
                                                     do not    opt out
                                                          not opt      are releasing,
                                                                   out are  releasing, in
                                                                                        in exchange    for the
                                                                                            exchange for   the consideration
                                                                                                                consideration
provided for
provided       by the
           for by  the Settlement,  all claims,
                        Settlement, all claims, liabilities,
                                                 liabilities, demands,
                                                              demands, causes
                                                                         causes of
                                                                                 of actions,
                                                                                    actions, rights,
                                                                                              rights, and
                                                                                                      and obligations
                                                                                                          obligations for
                                                                                                                        for (1)
                                                                                                                            (1)
failure to provide
failure to provide meal
                     meal periods;
                           periods; (2)
                                    (2) failure
                                         failure to
                                                 to provide
                                                    provide rest
                                                              rest periods;
                                                                   periods; (3)
                                                                            (3) failure
                                                                                failure to
                                                                                         to pay
                                                                                            pay overtime
                                                                                                 overtime wages;
                                                                                                           wages; (4)
                                                                                                                    (4) failure
                                                                                                                        failure
to pay
to  pay minimum
         minimum wages;wages; (5)
                                (5) failure
                                    failure toto maintain
                                                  maintain required
                                                             required records;
                                                                        records; (6)
                                                                                  (6) failure
                                                                                       failure toto provide
                                                                                                     provide accurate
                                                                                                              accurate wage
                                                                                                                          wage
statements; (7)
statements;   (7) failure to pay
                  failure to pay wages
                                  wages upon
                                         upon separation
                                                separation ofof employment;
                                                                employment; (8)(8) any
                                                                                   any related
                                                                                        related claims,
                                                                                                 claims, including
                                                                                                         including for
                                                                                                                     for unfair
                                                                                                                         unfair
business practices
business   practices in
                      in violation
                         violation of
                                   of California's
                                      California’s Business
                                                     Business andand Professions
                                                                     Professions Code,
                                                                                   Code, Sections     17200, et
                                                                                           Sections 17200,             and (9)
                                                                                                                 seq., and
                                                                                                             et seq.,       (9)
any and
any  and all
          all claims
              claims under
                       under federal
                              federal or
                                      or state
                                          state law,
                                                law, statutory,
                                                     statutory, constitutional,
                                                                  constitutional, contractual
                                                                                  contractual oror common
                                                                                                   common lawlaw claims
                                                                                                                   claims that
                                                                                                                           that
                                                       -5-
                                                       -5-
                      Questions? Call
                      Questions? Call the
                                      the Settlement Administrator toll
                                          Settlement Administrator toll free at [phone
                                                                        free at [phone number]
                                                                                       number]                               140
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were or
were or could
        could have
               have been
                    been pled
                          pled based
                               based upon
                                     upon the
                                          the factual
                                               factual allegations
                                                        allegations contained
                                                                    contained in
                                                                              in the
                                                                                 the Class
                                                                                     Class Action
                                                                                           Action complaints,
                                                                                                  complaints,
except those
except those under
              under the
                    the Fair
                         Fair Credit
                              Credit Reporting
                                      Reporting Act,
                                                 Act, Investigative   Consumer Reporting
                                                       Investigative Consumer    Reporting Agencies
                                                                                            Agencies Act,
                                                                                                     Act, or
                                                                                                          or
Consumer Credit
Consumer  Credit Reporting
                 Reporting Agencies
                           Agencies Act.
                                     Act.

Without limiting
Without             the foregoing,
          limiting the  foregoing, the
                                    the Released
                                        Released Claims
                                                  Claims include
                                                            include all
                                                                      all claims
                                                                          claims described
                                                                                  described above—that
                                                                                              above—that is,     those claims
                                                                                                             is, those  claims
that are
that are or
         or reasonably
             reasonably could
                          could have   been asserted
                                 have been  asserted in
                                                      in the
                                                         the Class
                                                               Class Action
                                                                      Action byby Plaintiffs,
                                                                                   Plaintiffs, except  those under
                                                                                               except those    under the
                                                                                                                      the Fair
                                                                                                                           Fair
Credit Reporting
Credit   Reporting Act,
                      Act, Investigative   Consumer Reporting
                            Investigative Consumer      Reporting Agencies
                                                                      Agencies Act,Act, or
                                                                                         or Consumer
                                                                                             Consumer Credit
                                                                                                          Credit Reporting
                                                                                                                    Reporting
Agencies Act—whether
Agencies   Act—whether known
                           known or or unknown,
                                       unknown, which
                                                  which may
                                                         may arise
                                                                arise out
                                                                      out of
                                                                           of or
                                                                              or directly or indirectly
                                                                                 directly or             relate to
                                                                                              indirectly relate  to such
                                                                                                                    such facts
                                                                                                                          facts
alleged in
alleged  in the
             the Class
                 Class Action
                        Action pleadings,
                                 pleadings, including   all claims
                                            including all    claims for   wages, overtime
                                                                     for wages,    overtime pay,
                                                                                               pay, bonuses,
                                                                                                    bonuses, commissions,
                                                                                                                commissions,
premium pay
premium    pay such
                such as
                      as meal
                          meal and
                                and rest
                                     rest period
                                          period premiums,
                                                 premiums, final      wages, waiting
                                                                final wages,   waiting time
                                                                                        time penalties,
                                                                                               penalties, minimum
                                                                                                           minimum wages,
                                                                                                                       wages,
penalties such
penalties  such as
                 as penalties
                    penalties for
                              for incorrect
                                  incorrect wage
                                            wage statements,
                                                  statements, wages
                                                                 wages due
                                                                         due on
                                                                             on termination,
                                                                                 termination, any
                                                                                                any and
                                                                                                    and all
                                                                                                         all equitable
                                                                                                             equitable relief,
                                                                                                                         relief,
liquidated  damages or
liquidated damages     or any
                          any pay,
                               pay, premium,
                                    premium, oror civil
                                                  civil or
                                                        or statutory
                                                            statutory penalty
                                                                       penalty provided
                                                                                 provided for
                                                                                            for under
                                                                                                under the
                                                                                                       the California
                                                                                                           California Labor
                                                                                                                         Labor
Code, California's
Code,  California’s Business
                     Business and
                                and Professions
                                    Professions Code,
                                                 Code, or
                                                        or other
                                                            other applicable
                                                                   applicable wage-and-hour
                                                                               wage-and-hour statutes.
                                                                                                 statutes.

Thus,  if aa Class
Thus, if      Class Member
                     Member participates
                                participates in  the Settlement,
                                             in the                 then even
                                                       Settlement, then   even if
                                                                                if the
                                                                                   the Class
                                                                                        Class Member
                                                                                               Member discovers
                                                                                                          discovers facts   in
                                                                                                                     facts in
addition to,
addition   to, or
                or different
                   different from,   those that
                              from, those  that he
                                                 he oror she
                                                         she now
                                                              now knows
                                                                   knows or or believes
                                                                               believes toto be
                                                                                              be true
                                                                                                 true or
                                                                                                       or otherwise
                                                                                                          otherwise fails   to
                                                                                                                      fails to
discover   facts  with respect  to the subject matter   of  the Released  Claims,   those  claims  will remain
discover facts with respect to the subject matter of the Released Claims, those claims will remain released andreleased   and
forever  barred. Class
forever barred.     Class Members
                          Members who who do
                                           do not
                                               not timely
                                                    timely opt
                                                             opt out
                                                                 out will
                                                                     will be
                                                                          be deemed
                                                                              deemed toto have
                                                                                           have acknowledged
                                                                                                 acknowledged andand agreed
                                                                                                                       agreed
that their
that their claims   for wages
            claims for  wages and/or
                                and/or penalties
                                       penalties in
                                                  in the
                                                     the Class
                                                         Class Action
                                                                Action are
                                                                       are undisputed.
                                                                            undisputed. The    Release Claims
                                                                                          The Release   Claims will
                                                                                                                will be
                                                                                                                     be as
                                                                                                                         as to
                                                                                                                            to
the Released
the Released Parties
                Parties for
                        for the
                            the period
                                 period from November 2,
                                        from November      2, 2014
                                                              2014 to
                                                                   to [Preliminary
                                                                      [Preliminary Approval
                                                                                      Approval date].
                                                                                                date].

 10.
 10.      How Much
          How Much Can
                   Can II Expect
                          Expect to
                                 to Receive
                                    Receive From
                                            From This Settlement?
                                                 This Settlement?

The total maximum
The total maximum amount
                   amount that
                          that Defendant
                               Defendant could
                                         could be
                                                be required
                                                   required to
                                                            to pay
                                                               pay under
                                                                   under this
                                                                         this Settlement shall be
                                                                              Settlement shall be $750,000.00
                                                                                                  $750,000.00
(“Gross Settlement
("Gross            Amount”) plus
        Settlement Amount") plus the
                                 the employer's
                                     employer’s share
                                                share of
                                                      of applicable
                                                         applicable payroll
                                                                    payroll taxes.
                                                                            taxes.

The “Net Settlement
The "Net              Amount” means
         Settlement Amount"    means the
                                       the portion
                                           portion of
                                                   of the
                                                      the Gross
                                                          Gross Settlement Amount available
                                                                Settlement Amount available for distribution to
                                                                                            for distribution to
Class Members
Class Members after
               after the
                     the deduction
                         deduction of
                                   of the
                                      the following:
                                          following:

    ••   Attorneys’ Fee
         Attorneys' Fee Award
                        Award (up
                               (up to
                                   to $249,999.99),
                                      $249,999.99),
    ••   Cost Award
         Cost Award (up
                     (up to
                         to $10,000.00),
                            $10,000.00),
    ••   Class Representative
         Class Representative Enhancements  (up to
                              Enhancements (up  to $7,500.00
                                                   $7,500.00 for
                                                             for each
                                                                 each named
                                                                      named plaintiff),
                                                                            plaintiff),
    ••   PAGA Payment
         PAGA   Payment ($7,500.00)
                         ($7,500.00) and
                                      and
    ••   Administration Costs
         Administration Costs (up to $15,000.00).
                              (up to $15,000.00).

All of
All of these
       these payments
             payments are
                      are subject
                          subject to
                                  to Court
                                     Court approval.
                                           approval.

After deducting
After deducting the
                 the above-referenced
                     above-referenced items,
                                         items, the
                                                the remaining
                                                    remaining NetNet Settlement    Amount will
                                                                     Settlement Amount     will be
                                                                                                be distributed
                                                                                                   distributed amongst
                                                                                                                amongst
all Class
all Class Members
          Members who who have
                             have not
                                   not opted-out.
                                        opted-out. The
                                                     The Settlement      Administrator will
                                                          Settlement Administrator      will calculate
                                                                                             calculate the
                                                                                                         the Individual
                                                                                                             Individual
Settlement
Settlement Shares
            Shares for     Participating Class
                     for Participating     Class Members.
                                                  Members. EachEach Participating
                                                                       Participating Class
                                                                                      Class Member
                                                                                             Member willwill receive
                                                                                                              receive aa
proportionate share  of  the Net  Settlement  Amount    that is  equal  to (i) the number of weeks   he  or
proportionate share of the Net Settlement Amount that is equal to (i) the number of weeks he or she worked  she  worked
based on
based  on the
          the data
              data provided
                    provided by by Defendant,
                                   Defendant, divided
                                                 divided by
                                                          by (ii)
                                                              (ii) the
                                                                   the total
                                                                        total number
                                                                               number of
                                                                                       of weeks
                                                                                          weeks worked
                                                                                                 worked by by all
                                                                                                               all Class
                                                                                                                   Class
Members who
Members   who did
               did not
                   not opt
                        opt out,
                            out, which
                                 which is
                                        is then
                                           then multiplied
                                                multiplied by
                                                           by the
                                                                the Net
                                                                    Net Settlement   Amount.
                                                                         Settlement Amount.

Although your
Although your exact
               exact share
                     share of
                           of the
                              the Net
                                  Net Settlement   Amount cannot
                                        Settlement Amount   cannot be
                                                                    be precisely
                                                                        precisely calculated
                                                                                  calculated until
                                                                                              until after
                                                                                                    after the
                                                                                                          the time
                                                                                                              time
during which
during which individuals
             individuals may
                         may object
                              object or
                                     or seek
                                         seek exclusion
                                              exclusion from
                                                        from the
                                                              the Settlement, based upon
                                                                  Settlement, based  upon the
                                                                                           the calculation
                                                                                               calculation above,
                                                                                                            above,
your approximate
your approximate share
                  share of
                         of the
                            the Net
                                Net Settlement    Amount is
                                     Settlement Amount     is $$______________ (your
                                                                                   (your "Individual
                                                                                         “Individual Settlement
                                                                                                        Settlement
                                                       -6-
                                                       -6-
                      Questions? Call
                      Questions? Call the
                                      the Settlement Administrator toll
                                          Settlement Administrator toll free at [phone
                                                                        free at [phone number]
                                                                                       number]                                141
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Share”),
Share"), less tax withholdings
         less tax withholdings customarily made from
                               customarily made       employee’s wages.
                                                from employee's   wages. This
                                                                         This is based on
                                                                              is based on Defendant's
                                                                                          Defendant’s records,
                                                                                                      records,
which show
which  show you
              you worked
                   worked ___ workweeks
                                workweeks during
                                           during the
                                                  the period
                                                       period of
                                                              of November
                                                                 November 2,
                                                                           2, 2014
                                                                               2014 to
                                                                                     to [Preliminary
                                                                                        [Preliminary Approval
                                                                                                     Approval
date].
date].

If you believe
If you believe the
               the number
                   number of
                           of workweeks
                              workweeks is is incorrect,
                                              incorrect, you
                                                         you may
                                                             may provide
                                                                   provide documentation
                                                                           documentation and/or
                                                                                         and/or an
                                                                                                an explanation
                                                                                                   explanation to
                                                                                                                to
show contrary
show  contrary information  to the
                information to the Settlement   Administrator at
                                   Settlement Administrator    at De
                                                                  De Cabrera
                                                                      Cabrera &
                                                                              & Duron
                                                                                Duron Class
                                                                                       Class Action,
                                                                                             Action, c/o
                                                                                                      c/o Phoenix
                                                                                                          Phoenix
Class Action
Class  Action Administration
              Administration Solutions,   1411 N.
                               Solutions, 1411   N. Batavia
                                                    Batavia St.,
                                                             St., Suite 105, Orange,
                                                                  Suite 105, Orange, CA
                                                                                     CA 92863
                                                                                         92863 on
                                                                                                on or
                                                                                                   or before
                                                                                                       before [the
                                                                                                              [the
Response
Response  Deadline].
          Deadline].

Twenty    percent (20%)
Twenty percent     (20%) of
                          of your
                             your Individual
                                   Individual Settlement
                                               Settlement Share  will be
                                                           Share will be treated
                                                                         treated as
                                                                                 as unpaid
                                                                                    unpaid wages.
                                                                                            wages. Applicable
                                                                                                    Applicable taxes
                                                                                                                taxes
will be
will be withheld
         withheld from
                   from the
                         the wages
                             wages portion
                                    portion of
                                             of your
                                                your Individual
                                                     Individual Settlement
                                                                Settlement Share  only and
                                                                           Share only  and reported
                                                                                           reported on
                                                                                                     on an
                                                                                                        an IRS  Form
                                                                                                           IRS Form
W-2. The
W-2.        remaining eighty
      The remaining    eighty percent
                               percent (80%)
                                        (80%) ofof your
                                                   your Individual
                                                        Individual Settlement
                                                                   Settlement Share  will be
                                                                              Share will  be treated
                                                                                             treated as
                                                                                                     as penalties
                                                                                                        penalties and
                                                                                                                  and
interest and
interest and will
              will be
                   be paid
                      paid pursuant
                           pursuant to
                                     to an
                                        an IRS  Form 1099.
                                           IRS Form   1099.

It  is strongly
It is  strongly recommended
                 recommended that
                                that upon
                                     upon receipt
                                          receipt of
                                                  of your
                                                     your Individual
                                                           Individual Settlement
                                                                      Settlement Share  check, you
                                                                                  Share check, you immediately
                                                                                                    immediately cash
                                                                                                                cash
it. If
it.     any Settlement
     If any               checks remain
             Settlement checks   remain uncashed
                                         uncashed oror not
                                                       not deposited
                                                            deposited by
                                                                      by the
                                                                          the expiration
                                                                              expiration of
                                                                                         of the
                                                                                            the 180-day
                                                                                                180-day period
                                                                                                         period after
                                                                                                                after
mailing, the
mailing,   the Settlement   Administrator will,
                Settlement Administrator  will, within
                                                within two
                                                       two hundred
                                                            hundred (200)
                                                                     (200) calendar
                                                                           calendar days
                                                                                    days after
                                                                                         after the
                                                                                               the checks
                                                                                                   checks are
                                                                                                          are mailed,
                                                                                                              mailed,
pay the
pay    the amount
            amount of of the
                         the uncashed
                             uncashed checks
                                       checks toto the
                                                   the State  Controller’s Office
                                                        State Controller's  Office Unclaimed
                                                                                   Unclaimed Property
                                                                                                Property Division
                                                                                                         Division as
                                                                                                                   as
unclaimed property.
unclaimed     property.

11.
11.      How Will
         How      the Attorneys
             Will the Attorneys for
                                for the
                                    the Class and the
                                        Class and the Class Representative be
                                                      Class Representative be Paid?
                                                                              Paid?

The  attorneys for
The attorneys   for Plaintiffs
                    Plaintiffs and
                               and the
                                   the Class
                                        Class will
                                               will be
                                                    be paid
                                                       paid from   the Gross
                                                             from the   Gross Settlement   Amount. Subject
                                                                              Settlement Amount.             to Court
                                                                                                    Subject to  Court
approval, the
approval,  the attorneys
               attorneys for Plaintiff and
                         for Plaintiff and the
                                           the Class
                                                Class shall
                                                      shall be
                                                            be paid
                                                               paid an
                                                                     an amount
                                                                        amount not
                                                                               not toto exceed one-third of
                                                                                        exceed one-third of the
                                                                                                            the Gross
                                                                                                                Gross
Settlement  Amount (or
Settlement Amount    (or $249,999.99)
                         $249,999.99) for   attorney fees
                                        for attorney fees and
                                                          and up
                                                               up to
                                                                  to $10,000
                                                                     $10,000 for
                                                                             for litigation costs.
                                                                                 litigation costs.

The Plaintiffs will
The Plaintiffs will also
                    also be
                         be paid
                            paid aa Class
                                    Class Representative
                                          Representative Enhancement
                                                         Enhancement Payment,
                                                                     Payment, up
                                                                              up to
                                                                                 to $7,500.00
                                                                                    $7,500.00 each, subject to
                                                                                              each, subject to
Court approval.
Court approval.

12. What
12.      are the
    What are the PAGA
                 PAGA Released
                      Released Claims?
                               Claims?

If you were
If you  were employed
             employed by by Defendant
                             Defendant at
                                       at any
                                          any time
                                              time in
                                                   in the
                                                      the State of California
                                                          State of California during
                                                                              during the
                                                                                     the period
                                                                                         period of
                                                                                                of November
                                                                                                   November 30,
                                                                                                            30,
2017 to
2017   to [date
          [date of
                 of Preliminary
                     Preliminary Approval]
                                  Approval] you
                                             you are
                                                  are aa "PAGA
                                                         “PAGA Employee.”
                                                                   Employee." The    Court approved
                                                                               The Court    approved the
                                                                                                     the PAGA
                                                                                                         PAGA
settlement on
settlement on [date
               [date of
                     of Preliminary
                        Preliminary Approval].
                                    Approval].

As part
As  part of
         of the
            the Settlement, Defendant has
                Settlement, Defendant  has agreed
                                           agreed to
                                                  to pay
                                                     pay aa PAGA
                                                            PAGA Payment
                                                                 Payment ofof $7,500.
                                                                              $7,500. Seventy-five percent (75%)
                                                                                      Seventy-five percent (75%)
of the
of the PAGA
        PAGA Payment
                 Payment goes
                          goes to
                                to the
                                   the California
                                        California Labor
                                                   Labor and
                                                           and Workforce
                                                               Workforce Development
                                                                          Development Agency
                                                                                         Agency ("LWDA")
                                                                                                 (“LWDA”) andand
twenty-five percent
twenty-five   percent (25%)
                      (25%) is
                             is divided
                                divided among
                                         among PAGA
                                                 PAGA Employees.
                                                        Employees. The
                                                                    The 25%
                                                                         25% that
                                                                               that goes
                                                                                    goes to
                                                                                         to PAGA
                                                                                            PAGA Employees
                                                                                                   Employees isis
called the
called the PAGA
            PAGA Fund.
                   Fund.

The  PAGA Fund
The PAGA     Fund is
                  is allocated
                     allocated to
                                to each
                                   each PAGA
                                        PAGA Employee
                                                Employee based
                                                            based on
                                                                  on the
                                                                     the number
                                                                          number of of weeks
                                                                                       weeks worked
                                                                                              worked by
                                                                                                      by each
                                                                                                          each PAGA
                                                                                                                PAGA
Employee   during the
Employee during   the period
                       period of
                               of November
                                  November 30,
                                             30, 2017
                                                  2017 to
                                                        to [date
                                                           [date of
                                                                 of Preliminary
                                                                    Preliminary Approval].
                                                                                  Approval]. The
                                                                                              The amount
                                                                                                   amount toto be
                                                                                                               be paid
                                                                                                                  paid
per workweek
per  workweek worked
               worked byby aa PAGA
                              PAGA Employee
                                     Employee will
                                                 will be
                                                      be calculated on aa pro
                                                         calculated on    pro rata
                                                                              rata basis
                                                                                   basis by
                                                                                          by dividing the value
                                                                                             dividing the value of
                                                                                                                 of the
                                                                                                                    the
portion of
portion of the
           the PAGA
               PAGA Fund
                       Fund that
                             that will
                                  will be
                                       be paid
                                          paid to
                                               to each
                                                  each PAGA
                                                       PAGA Employee
                                                                Employee byby the
                                                                              the total
                                                                                   total number
                                                                                         number of
                                                                                                 of weeks
                                                                                                    weeks worked
                                                                                                           worked by by
all PAGA
all PAGA Employees     during the
           Employees during    the PAGA
                                   PAGA Period.
                                          Period.


                                                      -7-
                                                      -7-
                     Questions? Call
                     Questions? Call the
                                     the Settlement Administrator toll
                                         Settlement Administrator toll free at [phone
                                                                       free at [phone number]
                                                                                      number]                        142
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                                                                              ID #:143
                                                                                     #:451
                                                                                  ID #:451
In  consideration for
In consideration     for the
                          the PAGA
                              PAGA Payment,
                                       Payment, Plaintiffs
                                                  Plaintiffs and
                                                               and the
                                                                    the other
                                                                        other PAGA
                                                                              PAGA Employees
                                                                                        Employees areare releasing
                                                                                                          releasing all
                                                                                                                     all claims,
                                                                                                                         claims,
liabilities,  demands, causes
liabilities, demands,      causes of
                                   of action,
                                      action, rights,
                                               rights, penalties,
                                                       penalties, andand obligations
                                                                          obligations ofof any
                                                                                            any nature
                                                                                                 nature under
                                                                                                         under the
                                                                                                                 the California
                                                                                                                      California
Private Attorneys
Private   Attorneys General
                       General Act
                                 Act of
                                      of 2004
                                          2004 (Cal.
                                                 (Cal. Labor
                                                       Labor CodeCode §§
                                                                       §§ 2698
                                                                           2698 etet seq.)   against all
                                                                                      seq.) against  all Released
                                                                                                          Released Parties
                                                                                                                     Parties (as
                                                                                                                              (as
defined above).
defined   above). Without
                    Without limiting
                              limiting the
                                        the generality
                                            generality ofof the
                                                             the foregoing,
                                                                 foregoing, "PAGA
                                                                             “PAGA Released
                                                                                        Released Claims"
                                                                                                   Claims” include
                                                                                                             include all
                                                                                                                      all claims
                                                                                                                          claims
that are
that are or
          or reasonably
              reasonably could
                            could have
                                  have been
                                        been asserted
                                              asserted in
                                                        in the
                                                            the Class
                                                                 Class Action
                                                                       Action under
                                                                               under PAGA,
                                                                                        PAGA, whether
                                                                                                whether known
                                                                                                           known oror unknown,
                                                                                                                      unknown,
which may
which    may arise
               arise out
                      out of
                           of or
                              or directly  or indirectly
                                  directly or              relate to
                                              indirectly relate    to such
                                                                      such facts   alleged, including
                                                                            facts alleged,   including all
                                                                                                         all claims
                                                                                                             claims for   wages,
                                                                                                                     for wages,
overtime pay,
overtime     pay, premium
                  premium pay  pay such
                                    such as
                                          as meal
                                              meal and
                                                    and rest     period premiums,
                                                          rest period    premiums, final      wages, waiting
                                                                                       final wages,   waiting time
                                                                                                                time penalties,
                                                                                                                      penalties,
minimum wages,
minimum      wages, penalties
                      penalties such
                                 such as
                                       as penalties
                                          penalties for  incorrect wage
                                                    for incorrect    wage statements,
                                                                           statements, wages
                                                                                          wages due
                                                                                                 due on
                                                                                                     on termination,
                                                                                                          termination, any
                                                                                                                        any and
                                                                                                                             and
all equitable
all             relief, liquidated
    equitable relief,                damages or
                        liquidated damages     or any
                                                  any pay,
                                                       pay, premium,
                                                               premium, oror civil
                                                                             civil or
                                                                                    or statutory
                                                                                       statutory penalty,
                                                                                                  penalty, and
                                                                                                            and any
                                                                                                                 any derivative
                                                                                                                      derivative
violation under
violation  under PAGA.
                   PAGA. The      PAGA Released
                             The PAGA     Released Claims
                                                    Claims shall
                                                               shall extend
                                                                     extend from   November 30,
                                                                            from November           2017 [date
                                                                                                30, 2017         of Preliminary
                                                                                                           [date of Preliminary
Approval].
Approval].

If you are
If you are aa Class
              Class Member
                    Member who
                             who does  not opt-out
                                  does not opt-out of
                                                   of the
                                                       the Settlement and is
                                                           Settlement and is aa PAGA
                                                                                PAGA Employee,
                                                                                      Employee, youyou will
                                                                                                       will only
                                                                                                            only
receive one
receive one check
             check that
                   that combines
                        combines your
                                 your Individual
                                      Individual Settlement
                                                 Settlement Share  and your
                                                            Share and  your payment
                                                                            payment related
                                                                                    related to
                                                                                            to the
                                                                                               the PAGA
                                                                                                   PAGA Fund.
                                                                                                          Fund.

It is strongly
It is strongly recommended
                recommended thatthat upon
                                      upon receipt
                                           receipt of
                                                    of your
                                                        your check,
                                                             check, you
                                                                    you immediately
                                                                          immediately cash
                                                                                        cash it.
                                                                                             it. If any checks
                                                                                                 If any checks remain
                                                                                                               remain
uncashed    or not deposited  by  the expiration of the  180-day  period after  mailing, the Settlement
uncashed or not deposited by the expiration of the 180-day period after mailing, the Settlement          Administrator
                                                                                                         Administrator
will, within
will,  within two
               two hundred
                    hundred (200)
                             (200) calendar
                                     calendar days
                                               days after
                                                     after the
                                                           the checks
                                                               checks are
                                                                       are mailed,
                                                                            mailed, pay
                                                                                    pay the
                                                                                         the amount
                                                                                             amount ofof the
                                                                                                         the uncashed
                                                                                                             uncashed
checks to
checks   to the
            the State Controller’s Office
                State Controller's Office Unclaimed
                                          Unclaimed Property
                                                       Property Division
                                                                Division asas unclaimed
                                                                              unclaimed property.
                                                                                         property.

                                                          **   **   **


IF  YOU NEED
IF YOU     NEED MORE
                   MORE INFORMATION
                           INFORMATION OR       OR HAVE
                                                    HAVE ANYANY QUESTIONS,
                                                                  QUESTIONS, you you may
                                                                                      may contact
                                                                                           contact Class
                                                                                                   Class Counsel
                                                                                                         Counsel
listed above or
listed above  or the
                 the Settlement Administrator at
                     Settlement Administrator   at the
                                                   the telephone
                                                       telephone number
                                                                 number listed
                                                                        listed below,
                                                                               below, toll
                                                                                      toll free.
                                                                                           free. When
                                                                                                 When contacting
                                                                                                       contacting
the Settlement
the             Administrator, please
     Settlement Administrator, please refer
                                      refer to
                                            to the
                                               the De
                                                   De Cabrera
                                                       Cabrera &
                                                               & Duron
                                                                 Duron Class
                                                                       Class Action.
                                                                             Action.

This  Notice does
This Notice   does not
                    not contain
                         contain all
                                  all of
                                      of the
                                          the terms
                                              terms of
                                                     of the
                                                        the proposed
                                                             proposed Settlement
                                                                        Settlement oror all
                                                                                        all of
                                                                                            of the
                                                                                                the details
                                                                                                    details of
                                                                                                            of these
                                                                                                                these
proceedings. For
proceedings.  For more
                  more detailed
                        detailed information,
                                 information, you
                                               you may
                                                   may refer
                                                        refer to
                                                              to the
                                                                 the underlying
                                                                     underlying documents
                                                                                  documents and
                                                                                             and papers
                                                                                                  papers on
                                                                                                         on file with
                                                                                                            file with
the Court
the Court at
          at the
             the United
                 United States District Court,
                        States District  Court, Central
                                                Central District
                                                        District of
                                                                 of California
                                                                    California at
                                                                               at 350
                                                                                  350 West
                                                                                      West 1st
                                                                                            1st Street, Los Angeles,
                                                                                                Street, Los Angeles,
California 90012
California        between 8:30
           90012 between         a.m. and
                           8:30 a.m.  and 4:00
                                           4:00 p.m.
                                                p.m.

You may
You  may also
          also contact
               contact Plaintiffs'
                        Plaintiffs’ counsel,
                                    counsel, whose
                                             whose contact
                                                   contact information
                                                           information is
                                                                        is above,
                                                                           above, and
                                                                                  and they
                                                                                      they will
                                                                                           will provide
                                                                                                provide you
                                                                                                        you with
                                                                                                            with aa
copy via
copy via email
         email of
                of the
                   the Settlement   documents or
                       Settlement documents   or case
                                                 case documents
                                                      documents free
                                                                 free of
                                                                      of charge.
                                                                         charge.

PLEASE DO NOT
PLEASE DO NOT TELEPHONE THE COURT
              TELEPHONE THE COURT OR
                                  OR COURT'S
                                     COURT’S CLERK
                                             CLERK FOR INFORMATION ABOUT
                                                   FOR INFORMATION ABOUT
THIS SETTLEMENT.
THIS SETTLEMENT.




                                                        -8-
                                                        -8-
                       Questions? Call
                       Questions? Call the
                                       the Settlement Administrator toll
                                           Settlement Administrator toll free at [phone
                                                                         free at [phone number]
                                                                                        number]                                143
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                          Exhibit
                          Exhibit C
                                  C




                                                                             144
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     COZEN
     COZEN O’CONNOR
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 6   Facsimile: (310) 394-4700
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     SPENCER FANE LLP
 9   1700 Lincoln St. Suite 2000
     Denver CO, 80203
10   Telephone: (303) 839-3800
11   Facsimile: (303) 839-3838

12   Attorneys for Defendant
13   SWIFT BEEF COMPANY

14                           UNITED STATES DISTRICT COURT

15                         CENTRAL DISTRICT OF CALIFORNIA

16   FRANCISCO J. MEZA, on behalf of                          Case No. _______________
     himself and others similarly situated,
17                                                            DECLARATION OF ARACELI
18                  Plaintiff,                                BURKET IN SUPPORT OF
                                                              DEFENDANT’S NOTICE OF
                                                              DEFENDANT'S
19          vs.
            VS.                                               REMOVAL OF STATE COURT
20                                                            CIVIL ACTION
     SWIFT BEEF COMPANY; and DOES 1
21   to 100, inclusive,                                       Removed from the Superior Court of
22                                                            the State of California, County of
                    Defendants.                               Riverside
23
24                                                            State Court Case No. CVRI2300103
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                                                 DEFENDANT’S NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
     DECLARATION OF ARACELI BURKET IN SUPPORT OF DEFENDANT'S
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 1            I, Araceli Burket, declare as follows:
 2            1.                       (“Defendant”) maintains a production facility in
                    Swift Beef Company ("Defendant")
 3 Riverside, California, and I have been employed at the facility in various human
 4 resources positions since 2018. I have personal knowledge of each matter stated
 5 herein based on my employment at the facility, my involvement in the matters
 6 discussed below, and my review of personnel information, including lists of
 7 employees and their wage and hour and payroll data, to which I regularly have access
 8 in the ordinary course of my duties. I submit this Declaration in support of
 9 Defendant's
   Defendant’s Notice of Removal of State Court Civil Action in the above captioned
10 matter.
11            2.                                (“Plaintiff”) began employment with
                    Plaintiff Francisco J. Meza ("Plaintiff')
12 Defendant on or about August 31, 2020, and he continues to be employed by
13 Defendant at its production facility in Riverside, California. During his employment,
14 Plaintiff has worked at least 600 shifts lasting more than 3.5 hours, with 595 of those
15 shifts lasting more than 5 hours. When Plaintiff was hired, his wage rate was $28 per
16 hour, and his current wage rate is $36.25 per hour. His average wage rate during his
17 employment is approximately
   employment is approximately $32.70.
                               $32.70. Throughout
                                       Throughout Plaintiff’s
                                                  Plaintiff's employment, he has
                                                              employment, he has
18 been paid on a weekly basis.
19            3.    On
                    On October 13, 2022,
                       October 13, 2022, II executed
                                            executed aa Declaration in Support
                                                        Declaration in Support of Defendant’s
                                                                               of Defendant's
20 Notice of Removal of State Court Civil Action in Garcia v. Swift Beef
                                                                    Beef Company, Case
21 No. 5:22-cv-01825-PSG-E (C.D. Cal.), using personnel information for individuals
   working at
22 working at Swift Beef Company’s
              Swift Beef           production facility
                         Company's production          in Riverside,
                                              facility in Riverside, California.
                                                                     California. In
23 preparing this declaration and the estimates below, I have used the same personnel
24 and payroll information, which I have confirmed and believe to be accurate through
25 October 13, 2022.
26            4.    Based on my review of personnel information, I estimate that from June
27 26, 2020, through October 13, 2022, a total of 1,123 hourly, temporary, and other
28 non-exempt employees worked at the Riverside facility. Thus, I estimate there are at146
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                                                  DEFENDANT’S NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
      DECLARATION OF ARACELI BURKET IN SUPPORT OF DEFENDANT'S


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               putative class
 1 least 1,123 putative       members in
                        class members in Plaintiff’s proposed class
                                         Plaintiff's proposed class of hourly non-exempt
 2 employees. These 1,123 putative class members worked a total of 158,652 shifts from
 3 June 26, 2020, through October 13, 2022. Upon information and belief, the number
 4 of employees who have worked at the Riverside facility has increased since October
 5 13, 2022.
 6            5.    Based on my review of personnel information, I estimate that 840 of the
 7 1,123 putative class members were regular hourly employees paid on a weekly basis.
 8 These 840 regular hourly employees had an average wage rate of $18.69 per hour. I
 9 further estimate that these 840 regular hourly employees worked at least 149,634
10 shifts longer than 3.5 hours, with at least 146,659 of those shifts being longer than 5
11 hours. I estimate that the average shift length for these regular hourly employees
12 during this time period was 7.9 hours. At least 386 of these hourly employees have
13 separated from their employment since June 26, 2020. Additionally, using a
14 representative sample of 13 months of data since September 13, 2021, I estimate that
15 542 hourly employees have worked a total of 16,379 workweeks since January 9,
16 2022.
17            6.    Based on my review of personnel information, I estimate that 237 of the
18 1,123 putative class members were temporary hourly employees. These 237
19 employees had an average wage rate of $17.42 per hour. I further estimate that these
20 237 temporary employees worked at least 2,274 shifts longer than 3.5 hours, with
21 1,635 of those shifts being longer than 8 hours. I estimate that the average shift length
22 for these temporary employees during this time period was 9.0 hours. All 237
23 temporary employees have separated from their employment since June 26, 2020.
24            7.    Based on my review of personnel information, I estimate that the
25 remaining 46 of the 1,123 putative class members were other hourly, non-exempt
26 employees paid on a bi-weekly basis. These 46 employees had an average wage rate
27 of $22.22 per hour. I further estimate that these 46 non-exempt employees worked at
28 least 6,744 shifts longer than 3.5 hours, with at least 6,569 of those shifts being longer147
                                                       3
                                                  DEFENDANT’S NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
      DECLARATION OF ARACELI BURKET IN SUPPORT OF DEFENDANT'S


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 1 than 5 hours. I estimate that the average shift length for these non-exempt employees
 2 during this time period has been 8.2 hours. At least 16 of these non-exempt employees
 3 have separated from their employment since June 26, 2020. Additionally, using a
 4 representative sample of 13 months of data since September 13, 2021, I estimate that
 5 33 of these non-exempt employees have worked a total of 857 workweeks since
 6 January 9, 2022.
 7             I declare under penalty of perjury under the laws of the United States of
 8 America that the foregoing is true and correct and that this Declaration was executed
 9 in Riverside, California on February               , 2023.
10
11                                                 By:
                                                           Araceli Burket
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      DECLARATION OF ARACELI BURKET IN SUPPORT OF DEFENDANTS NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION

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                         Exhibit D
                         Exhibit D




                                                                             149
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13   SWIFT BEEF COMPANY
14                           UNITED STATES DISTRICT COURT
15                         CENTRAL DISTRICT OF CALIFORNIA
16   FRANCISCO J. MEZA, on behalf of                        Case No.
     himself and others similarly situated,
17
                                                            DECLARATION OF DYLAN
18                  Plaintiff,                              MOORE IN SUPPORT OF
                                                            DEFENDANT’S NOTICE OF
                                                            DEFENDANT'S
19
            vs.
            VS.                                             REMOVAL OF STATE COURT
20                                                          CIVIL ACTION
     SWIFT BEEF COMPANY; and DOES 1
21                                                          Removed from the Superior Court of
     to 100, inclusive,
22                                                          the State of California, County of
                    Defendants.                             Riverside
23
24                                                          State Court Case No. CVRI2300103
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                                               DEFENDANT’S NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
      DECLARATION OF DYLAN MOORE IN SUPPORT OF DEFENDANT'S
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 1         I, Dylan Moore, declare as follows:
 2         1.      I am Corporate Counsel for Swift Beef Company. I have personal
 3 knowledge of each matter stated herein based on my employment and position with
 4 Swift Beef Company, my involvement in the matters discussed below, and my review
 5 of corporate incorporation information to which I regularly have access in the
                                                                         Defendant’s
 6 ordinary course of my duties. I submit this declaration in support of Defendant's
 7 Notice of Removal of State Court Civil Action.
 8         2.      Swift Beef Company is presently, and at the time this action was
 9 commenced, incorporated in Delaware. Swift
                                        Swift Beef Company’s headquarters and
                                              Beef Company's
10 principal place of business are currently, and at the time this action was commenced,
11 in Greeley, Colorado.
12         I declare under penalty of perjury under the laws of the United States of
13 America that the foregoing is true and correct and that this declaration was executed
                                  th
14 in Greeley, Colorado on this 9
                                9th  day of February 2023.
15
16                                                 By: ___________________________
                                                       Dylan
                                                       Dy an Moore, Corporate Counsel
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                                                       2
      DECLARATION OF
      DECLARATION OF DYLAN
                     DYLAN MOORE
                           MOORE IN
                                 IN SUPPORT
                                    SUPPORT OF DEFENDANT’S NOTICE
                                            OF DEFENDANT'S NOTICE OF
                                                                  OF REMOVAL
                                                                     REMOVAL OF
                                                                             OF STATE
                                                                                STATE COURT
                                                                                      COURT CIVIL ACTION
                                                                                            CIVIL ACTION
                                                                                                DN 7362841.1
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                         Exhibit
                         Exhibit E
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        Attorneys for PLAINTIFF
                      PLAINTIFF FIDEL
                                   FIDEL ALTAMIRANO
                                           ALTAMIRANO
10
10      on behalf
        on behalf of
                  of himself
                     himself and
                             and others
                                 others similarly
                                        similarly situated
                                                  situated
11
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12
                                    UNITED STATES
                                    UNITED STATES DISTRICT
                                                  DISTRICT COURT
                                                           COURT
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13
                                  NORTHERN DISTRICT
                                  NORTHERN DISTRICT OF
                                                    OF CALIFORNIA
                                                       CALIFORNIA
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15
        FIDEL ALTAMIRANO,
        FIDEL   ALTAMIRANO, on    on behalf
                                     behalf of
                                            of himself
                                               himself an
                                                       and Case
                                                           Case No.:
                                                                No.: C13-00939-HSG
                                                                     C13-00939-HSG
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16
        others similarly
               similarly situated
                         situated
        others
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17                                                         MEMORANDUM OF
                                                           MEMORANDUM          OF POINTS    AND
                                                                                    POINTS AND
                                                           AUTHORITIES IN
                                                           AUTHORITIES      IN SUPPORT
                                                                                SUPPORT OF
                                                                                         OF THE
                                                                                            THE
                PLAINTIFF,
                PLAINTIFF,                                 MOTION FOR
                                                           MOTION     FOR FINAL    APPROVAL OF
                                                                            FINAL APPROVAL   OF
18
18
                                                           REQUESTED ATTORNEYS'
                                                           REQUESTED      ATTORNEYS' FEES   AND
                                                                                       FEES AND
         vs.
        VS.                                                COSTS
                                                           COSTS
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20                                                           Date:
                                                             Date:      January
                                                                        January 7, 2016
                                                                                7, 2016
20      SHAW
        SHAW INDUSTRIES,
                 INDUSTRIES, INC.,INC., aa corporation;
                                             corporation;    Time:
                                                             Time:      2:00 p.m.
                                                                        2:00 p.m.
        SHAW      INDUSTRIES GROUP,
        SHAW INDUSTRIES            GROUP, INC.,INC., aa      Courtroom: 15
                                                             Courtroom: 15
21
21      corporation; and DOES
        corporation; and DOES 11 to
                                 to 100,
                                    100, Inclusive.
                                         Inclusive.
22                                                           Before Hon.
                                                             Before  Hon. Haywood
                                                                            Haywood S.
                                                                                    S. Gilliam,
                                                                                       Gilliam, Jr., United
                                                                                                Jr., United
22             DEFENDANTS.
               DEFENDANTS.                                   States District Judge
                                                             States District Judge
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            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
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                                                                CASE NO.:
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                          Counsel Carefully
                                     Carefully Analyzed
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                         Settlement is Beneficial to
                                    is Beneficial to Class
                                                     Class Members
                                                               Members Without Without Requiring
                                                                                              Requiring the    the Class
                                                                                                                     Class
77
                    Members to
                    Members    to Locate  Representation, File
                                  Locate Representation,      File aa Lawsuit,
                                                                          Lawsuit, or    or PutPut Themselves
                                                                                                      Themselves at        at
88                  Risk for
                    Risk for Costs
                             Costs and/or
                                   and/or Retaliation
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99               C. Class
                 C. Class Counsel
                          Counsel Devoted
                                  Devoted Substantial
                                          Substantial Time and Resources
                                                      Time and Resources to
                                                                         to This
                                                                            This Litigation
                                                                                 Litigation ....................4
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10
10               D. Class
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                          Members’ Response
                                    Response toto the
                                                  the Settlement
                                                       Settlement and     and thethe Request
                                                                                        Request for          Fees and
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                    Costs Has
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                                                               Award of    of Attorneys'
                                                                                Attorneys’ Fees   Fees Out Out of  of the
                                                                                                                       the Common
                                                                                                                              Common
13
13                  Fund ..................................................................................................................................55
                    Fund
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14
                            1. The
                            1. The equitable   common fund
                                     equitable common      fund doctrine
                                                                    doctrine applies
                                                                                  applies when,when, as   as in   this case,
                                                                                                              in this     case, thethe
15
15                             litigation  has recovered
                               litigation has  recovered aa certain
                                                                certain and  and calculable
                                                                                    calculable fund   fund on  on behalf
                                                                                                                     behalf of   of aa
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                               group   of beneficiaries
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                            2. The  fee award
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                                                                                      FINAL
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                            REQUESTED ATTORNEY'S
                                       ATTORNEY'S FEES
                                                  FEES AND
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                                                         SUPPORT OF      MOTION FOR
                                                                     THE MOTION  FOR FINAL
                                                                                      FINAL
                APPROVAL OF
                APPROVAL OF REQUESTED
                            REQUESTED ATTORNEY'S
                                       ATTORNEY'S FEES
                                                  FEES AND
                                                       AND COSTS,
                                                            COSTS, CASE
                                                                   CASE NO.:
                                                                        NO.: C13-00939-HSG
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        Martin    AmeriPride Servs.,
               v. AmeriPride Servs.,
1
1            No. 08cv440-MMA
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2
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        Missouri    Jenkins by
                 v. Jenkins     Agyei,
                             by Agyei,
3
3            491 U.S.
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4       Officers for Justice
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                             v. Civil Serv. Comm’n,
                                Civil Serv. Comm'n,
              688  F.2d 615  (9th Cir.
              688 F.2d 615 (9th Cir.   1982)
                                       1982) .....................................................................................................10
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6
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        Paul, Johnson, Alston
                       Alston &
                              & Hunt
                                 Hunt v.
                                       v. Graulty,
                                          Graulty,
6
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                           (9th Cir.
                                Cir. 1989)
                                     1989) .......................................................................................................77
77
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        Romero    Producers Dairy
               v. Producers Dairy Foods,
                                  Foods, Inc.,
                                         Inc.,
88          No. 1:05cv0484
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                            DLB, 2007
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                                       U.S. Dist.
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        In    Safety Components,
           re Safety               Inc. Sec.
                      Components, Inc.  Sec. Litig.,
                                             Litig.,
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11      Schwarm v.
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                   Craighead,
            814 F. Supp.2d
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                   Supp.2d 1025 (E.D. Cal.
                                      Cal. Sep. 27, 2011)
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        Singer    Becton Dickinson
               v. Becton   Dickinson and    and Co.,
                                                   Co.,
13
13
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                                                                         Dist. LEXIS
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14
14
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        Six Mexican Workers
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                                                 Growers,
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                                Cir. 1990)
                                     1990) .................................................................................................1,
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16
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        State of Fla.
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                      v. Dunne,
17
17
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                                       1990) .......................................................................................................88
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18
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               v. Boeing Co.,
19
19           327  F.3d 938
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20
20      Sutton v.
        Sutton    Bernard,
               v. Bernard,
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                                     2007) .......................................................................................................77
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22      Swedish Hosp.
        Swedish Hosp. Corp.
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                            v. Shalala,
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                    1261 (D.C.
                         (D.C. Cir.
                               Cir. 1993)
                                    1993) ..................................................................................................6,
                                                                                                                                            6, 7
                                                                                                                                               7
23
23
        In re
        In    Safety Components,
           re Safety               Inc. Sec.
                     Components, Inc.   Sec. Litig.,
                                             Litig.,
24
24            166 F.
              166  F. Supp. 2d 72
                      Supp. 2d 72 (D. N.J. 2001)
                                  (D. N.J. 2001) ............................................................................................11
                                                                                                                                             11
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25
        In re
        In    Synthroid Mktg.
           re Synthroid Mktg. Litig.
                              Litig.
26
26            264 F.3d
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                                     2001) .......................................................................................................77

27
27      Tuttle
        Tuttle v. Sky Bell
               v. Sky Bell Asset
                           Asset Mgmt,
                                 Mgmt, LLC,
                                       LLC,
              No. C
              No.  C 10-03588
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                               WHA, 2012
                                      2012 U.S.
                                           U.S. Dist.
                                                Dist. LEXIS 146174 (N.D.
                                                      LEXIS 146174 (N.D. Cal.
                                                                         Cal. Oct.
                                                                              Oct. 10,
                                                                                   10, 2012)
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                               POINTS AND AUTHORITIES IN
                                                       IN SUPPORT OF THE
                                                          SUPPORT OF      MOTION FOR
                                                                      THE MOTION  FOR FINAL
                                                                                       FINAL
                APPROVAL OF
                APPROVAL OF REQUESTED
                            REQUESTED ATTORNEY'S
                                       ATTORNEY'S FEES
                                                  FEES AND
                                                        AND COSTS,
                                                             COSTS, CASE
                                                                    CASE NO.:
                                                                         NO.: C13-00939-HSG
                                                                              C13-00939-HSG
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1       Vasquez
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                          Valley Roofing, Inc.,
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                              (E.D. Cal. 2010)................................................................................................. 99
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2
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3
3
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                                West. Inc.,
4
4            557   F.2d 759
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                                 Cir. 1977)
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6
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                                 Cir. 2002)
                                      2002) ........................................................................................... 6,
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                                      U.S.A., Inc.,
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                                    2005) ......................................................................................................11
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        In re Wells Fargo Loan
              Wells Fargo Loan Processor
                               Processor Overtime Pay Litig.,
                                         Overtime Pay Litig.,
99
              No. C-07-1841,
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                             2011 U.S.
                                  U.S. Dist.
                                       Dist. LEXIS
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                                                   84541 (N.D.  Aug. 2,
                                                                     2, 2011)
                                                                        2011) .....................................1,
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10
10
                                                                  OTHER SOURCES
                                                                  OTHER SOURCES
11
11
        Alba Conte
        Alba Conte &
                   & Herbert
                     Herbert B.   B. Newberg,
                                       Newberg, Newberg Newberg on     on Class       Actions (4th
                                                                            Class Actions          (4th ed.,     2002)
                                                                                                          ed., 2002)
12
12            § 14:06
              §                                                                                                                                           11
                14:06 ....................................................................................................................................11
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               MEMORANDUM   OF POINTS AND AUTHORITIES
                               POINTS AND AUTHORITIES IN
                                                      IN SUPPORT OF THE
                                                         SUPPORT OF      MOTION FOR
                                                                     THE MOTION  FOR FINAL
                                                                                      FINAL
                APPROVAL OF
                APPROVAL OF REQUESTED
                            REQUESTED ATTORNEY'S
                                       ATTORNEY'S FEES
                                                  FEES AND
                                                       AND COSTS,
                                                            COSTS, CASE
                                                                   CASE NO.:
                                                                        NO.: C13-00939-HSG
                                                                             C13-00939-HSG
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1
1                            MEMORANDUM OF
                             MEMORANDUM OF POINTS AND AUTHORITIES
                                           POINTS AND AUTHORITIES

2
2       I.
        I.     INTRODUCTION
               INTRODUCTION

33             In this settlement
               In this settlement process,
                                  process, Plaintiffs'
                                           Plaintiffs’ counsel
                                                       counsel secured
                                                               secured aa non-reversionary
                                                                          non-reversionary settlement
                                                                                           settlement of:
                                                                                                      of: (1)
                                                                                                          (1)

4
4       Five Hundred
        Five Hundred Thousand Dollars and
                     Thousand Dollars and Zero
                                          Zero Cents
                                               Cents ($500,000.00)
                                                     ($500,000.00) for
                                                                   for the
                                                                       the Class
                                                                           Class Members;
                                                                                 Members; (2)
                                                                                          (2) aa

55      requested enhancement/incentive
        requested                       award of
                  enhancement/incentive award of up to Four
                                                 up to Four Thousand
                                                            Thousand Four
                                                                     Four Hundred
                                                                          Hundred Dollars
                                                                                  Dollars ($4,400),
                                                                                          ($4,400), or
                                                                                                    or

6
6       0.88% of
        0.88% of the
                 the total
                     total settlement
                           settlement amount,
                                      amount, for
                                              for Plaintiff;
                                                  Plaintiff; (3)
                                                             (3) aa request of attorney's
                                                                    request of attorney’s fee's not to
                                                                                          fee's not to exceed
                                                                                                       exceed

7
7       One Hundred
        One Hundred Twenty Five Thousand
                    Twenty Five Thousand Dollars
                                         Dollars ($125,000);
                                                 ($125,000); (4)
                                                             (4) aa request
                                                                    request of
                                                                            of attorney's
                                                                               attorney's costs
                                                                                          costs not
                                                                                                not to
                                                                                                    to

88      exceed Seventeen
        exceed           Thousand Dollars
               Seventeen Thousand Dollars ($17,000.00);
                                          ($17,000.00); (5)
                                                        (5) aa payment
                                                               payment to
                                                                       to the
                                                                          the LWDA of One
                                                                              LWDA of One Thousand
                                                                                          Thousand

9
9       Five Hundred
        Five Hundred Dollars
                     Dollars ($1,500);
                             ($1,500); and
                                       and (6)
                                           (6) settlement administration costs
                                               settlement administration costs not
                                                                               not to
                                                                                   to exceed Twenty Four
                                                                                      exceed Twenty Four

10
10      Thousand Dollars ($24,000).
        Thousand Dollars ($24,000). The
                                    The aforementioned
                                        aforementioned amounts
                                                       amounts result
                                                               result in an approximate
                                                                      in an approximate distributable
                                                                                        distributable

11
11      amount of
        amount of $328,100
                  $328,100 for
                           for aa class
                                  class of
                                        of approximately
                                           approximately 735
                                                         735 class members. Based
                                                             class members. Based on
                                                                                  on the
                                                                                     the data submitted
                                                                                         data submitted

12
12      to the
        to the claims
               claims administrator,
                      administrator, the
                                     the current
                                         current high
                                                 high valid
                                                      valid claim
                                                            claim is presently $4,512.42.
                                                                  is presently            (Declaration of
                                                                               $4,512.42. (Declaration of

13
13      Joseph
        Joseph Lavi in Support
               Lavi in         of Plaintiffs
                       Support of Plaintiff’s Motion
                                              Motion (hereinafter
                                                     (hereinafter "Lavi
                                                                  “Lavi Dec.")
                                                                        Dec.”) ¶20.)
                                                                               ¶20.) If
                                                                                     If 100%
                                                                                        100% of
                                                                                             of the
                                                                                                the class
                                                                                                    class

14
14      members submit
        members submit claims
                       claims the
                              the average
                                  average settlement
                                          settlement payment
                                                     payment per
                                                             per valid
                                                                 valid claimant
                                                                       claimant would
                                                                                would be
                                                                                      be approximately
                                                                                         approximately

15
15      $446.39 (estimated
        $446.39 (estimated net
                           net settlement
                               settlement amount
                                          amount of
                                                 of $328,100 ÷ 735
                                                    $328,100 ±     class members
                                                               735 class members =
                                                                                 = $446.39).
                                                                                   $446.39). These
                                                                                             These

16
16      amounts are
        amounts are minimum
                    minimum numbers
                            numbers because
                                    because it is likely
                                            it is        that less
                                                  likely that      than 100%
                                                              less than 100% of
                                                                             of the
                                                                                the class
                                                                                    class members
                                                                                          members will
                                                                                                  will

17
17      submit claims
        submit claims resulting
                      resulting in each class
                                in each class member's
                                              member's individual settlement increasing
                                                       individual settlement increasing pro
                                                                                        pro rata.
                                                                                            rata. (Lavi
                                                                                                  (Lavi Dec.
                                                                                                        Dec.

18
18      Ex.
        Ex. 11 p.
               p. 19:23-20:5,
                  19:23-20:5, 24:13-15
                              24:13-15 [no
                                       [no unclaimed
                                           unclaimed funds
                                                     funds because
                                                           because entire
                                                                   entire distributable
                                                                          distributable amount
                                                                                        amount is
                                                                                               is

19
19      distributed to
        distributed to Class
                       Class Members
                             Members who
                                     who submit
                                         submit aa claim].)
                                                   claim].) For
                                                            For their
                                                                their efforts, Class Counsel
                                                                      efforts, Class Counsel now
                                                                                             now seeks
                                                                                                 seeks an
                                                                                                       an

20
20      attorneys’ fee
        attorneys'     award of
                   fee award of 25%
                                25% of
                                    of the
                                       the Gross
                                           Gross Settlement
                                                 Settlement fund, or $125,000.00
                                                            fund, or $125,000.00 (lodestar
                                                                                 (lodestar cross
                                                                                           cross check is
                                                                                                 check is

21
21      $135,732.50) and aa costs
        $135,732.50) and          award of
                            costs award of $17,000 (present incurred
                                           $17,000 (present incurred costs
                                                                     costs of
                                                                           of $20,625.23).
                                                                              $20,625.23).

22
22             The
               The requested
                   requested fee award is
                             fee award is fair, reasonable, and
                                          fair, reasonable, and appropriate
                                                                appropriate under
                                                                            under the
                                                                                  the common
                                                                                      common fund
                                                                                             fund
23
23      doctrine or
        doctrine or under
                    under aa lodestar
                             lodestar analysis.
                                      analysis. The
                                                The Ninth
                                                    Ninth Circuit
                                                          Circuit has
                                                                  has directed
                                                                      directed that,
                                                                               that, to
                                                                                     to determine
                                                                                        determine what
                                                                                                  what
24
24      constitutes aa fair
        constitutes         and reasonable
                       fair and reasonable percentage
                                           percentage of
                                                      of the
                                                         the settlement
                                                             settlement for purposes of
                                                                        for purposes of calculating common
                                                                                        calculating common
25
25      fund attorney's
        fund attorney’s fees, courts should
                        fees, courts should use
                                            use aa "benchmark"
                                                   “benchmark” percentage
                                                               percentage of
                                                                          of 25%
                                                                             25% of
                                                                                 of the
                                                                                    the total
                                                                                        total fund. In re
                                                                                              fund. In re
26
26      Wells Fargo Loan
        Wells Fargo Loan Processor
                         Processor Overtime Pay Litig.,
                                   Overtime Pay Litig., No.
                                                        No. C-07-1841,
                                                            C-07-1841, 2011
                                                                       2011 U.S.
                                                                            U.S. Dist.
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                                                                                             84541,

27
27      *29-30 (N.D. Aug.
        *29-30 (N.D. Aug. 2,
                          2, 2011)
                             2011) (citing Six Mexican
                                   (citing Six Mexican Workers
                                                       Workers v. Arizona Citrus
                                                               v. Arizona Citrus Growers,
                                                                                 Growers, 904 F.2d
                                                                                          904 F.2d
28
28
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                                               -1
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                             POINTS AND AUTHORITIES IN
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                                                        SUPPORT OF      MOTION FOR
                                                                    THE MOTION  FOR FINAL
                                                                                     FINAL
              APPROVAL OF
              APPROVAL OF REQUESTED
                          REQUESTED ATTORNEY'S
                                     ATTORNEY'S FEES
                                                FEES AND
                                                      AND COSTS,
                                                           COSTS, CASE
                                                                  CASE NO.:
                                                                       NO.: C13-00939-HSG
                                                                            C13-00939-HSG
     Case Case
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1
1       1301, 1311
        1301, 1311 (9th
                   (9th Cir.
                        Cir. 1990)
                             1990) (referring
                                   (referring to
                                              to 25%
                                                 25% as
                                                     as the
                                                        the "standard
                                                            “standard award").
                                                                      award”). The Gross Settlement
                                                                               The Gross Settlement

2
2       Amount obtained
        Amount obtained through
                        through the
                                the efforts of Plaintiffs
                                    efforts of Plaintiff's counsel
                                                           counsel is
                                                                   is $500,000.00, and Plaintiff's
                                                                      $500,000.00, and Plaintiff’s counsel
                                                                                                   counsel
3
3       seeks no
        seeks    more than
              no more than 25%
                           25% of
                               of the
                                  the Gross,
                                      Gross, or
                                             or $125,000,
                                                $125,000, and
                                                          and $17,000.00
                                                              $17,000.00 for litigation costs.
                                                                         for litigation costs.
4
4               In addition to
                In addition to the
                               the cases
                                   cases which
                                         which support
                                               support the
                                                       the percentage
                                                           percentage of
                                                                      of the
                                                                         the common
                                                                             common fund award for
                                                                                    fund award for
55      attorney’s fees
        attorney's      in class
                   fees in class actions,
                                 actions, this
                                          this Court
                                               Court also
                                                     also should
                                                          should consider:
                                                                 consider: (1)
                                                                           (1) the
                                                                               the successful
                                                                                   successful result
                                                                                              result obtained
                                                                                                     obtained by
                                                                                                              by
6
6       Plaintiff’s counsel
        Plaintiff's counsel following
                            following aa careful
                                         careful analysis
                                                 analysis of
                                                          of the
                                                             the complex
                                                                 complex legal and factual
                                                                         legal and factual issues
                                                                                           issues in
                                                                                                  in this
                                                                                                     this action;
                                                                                                          action;
77      (2) the
        (2) the lack of objections
                lack of objections by
                                   by any
                                      any of
                                          of the
                                             the class
                                                 class members
                                                       members to
                                                               to the
                                                                  the requested attorney’s fees
                                                                      requested attorney's      and costs
                                                                                           fees and costs
88      when they
        when they had
                  had notice of such
                      notice of such request;
                                     request; and
                                              and (3)
                                                  (3) the
                                                      the contingency risk taken
                                                          contingency risk taken by
                                                                                 by Plaintiffs'
                                                                                    Plaintiffs’ counsel.
                                                                                                counsel.
99      II.
        II.   FACTUAL BACKGROUND
              FACTUAL BACKGROUND

10
10              A. Class
                A. Class Counsel  Carefully Analyzed
                          Counsel Carefully Analyzed the
                                                     the Case
                                                         Case Before
                                                              Before Beginning Settlement
                                                                     Beginning Settlement
                   Negotiations
                   Negotiations
11
11
                Class Counsel
                Class Counsel engaged
                              engaged in fact-gathering, informal
                                      in fact-gathering,          and formal
                                                         informal and        discovery before
                                                                      formal discovery before agreeing
                                                                                              agreeing to
                                                                                                       to
12
12
        the terms
        the terms of
                  of the
                     the proposed
                         proposed settlement.
                                  settlement. (Lavi
                                              (Lavi Decl.
                                                    Decl. ¶¶
                                                          ¶¶ 5-12; Majarian Decl.
                                                             5-12; Majarian Decl. ¶¶
                                                                                  ¶¶ 7-8.)
                                                                                     7-8.) The parties
                                                                                           The parties
13
13
        served multiple
        served multiple sets
                        sets of
                             of discovery,
                                discovery, including
                                           including Request
                                                     Request for Production of
                                                             for Production of Documents,
                                                                               Documents, Interrogatories,
                                                                                          Interrogatories,
14
14
        and Request
        and Request for Admissions. (Lavi
                    for Admissions. (Lavi Decl.
                                          Decl. ¶¶
                                                ¶¶ 6.)
                                                   6.) Defendants
                                                       Defendants had
                                                                  had scheduled
                                                                      scheduled the
                                                                                the deposition
                                                                                    deposition of
                                                                                               of Plaintiff
                                                                                                  Plaintiff
15
15
        and were
        and were in
                 in the
                    the process
                        process of
                                of filing
                                   filing their
                                          their Motion
                                                Motion for
                                                       for Summary Adjudication. Defendants
                                                           Summary Adjudication. Defendants produced
                                                                                            produced
16
16
        thousands of
        thousands of pages
                     pages of
                           of documents
                              documents (in
                                        (in both
                                            both hardcopy
                                                 hardcopy and
                                                          and electronic
                                                              electronic form) and detailed
                                                                         form) and detailed information
                                                                                            information
17
17
        relevant to
        relevant to the
                    the putative
                        putative Class
                                 Class Members'
                                       Members’ payroll
                                                payroll records, timesheets, and
                                                        records, timesheets, and other
                                                                                 other payroll
                                                                                       payroll information.
                                                                                               information.
18
18
        (Id.) Defendants
        (Id.) Defendants produced
                         produced the
                                  the timesheets
                                      timesheets for
                                                 for an
                                                     an agreed
                                                        agreed upon
                                                               upon random sampling of
                                                                    random sampling of the
                                                                                       the entire class
                                                                                           entire class
19
19
        members for
        members for the
                    the class
                        class period.
                              period. (Id.)
                                      (Id.) In
                                            In addition,
                                               addition, Defendants
                                                         Defendants produced
                                                                    produced numerous
                                                                             numerous policies
                                                                                      policies dealing
                                                                                               dealing
20
20
        with meal
        with meal and
                  and rest
                      rest breaks,
                           breaks, work
                                   work time,
                                        time, recording
                                              recording time,
                                                        time, and
                                                              and other
                                                                  other workplace
                                                                        workplace policies
                                                                                  policies applicable
                                                                                           applicable to
                                                                                                      to the
                                                                                                         the
21
21
        claims being
        claims being asserted
                     asserted by
                              by the
                                 the putative
                                     putative class as well
                                              class as well as
                                                            as declarations
                                                               declarations from the putative
                                                                            from the putative class obtained
                                                                                              class obtained
22
22
        in aa separate
        in    separate but
                       but similar
                           similar lawsuit
                                   lawsuit against
                                           against Defendants,
                                                   Defendants, including Plaintiff, in
                                                               including Plaintiff,    support of
                                                                                    in support of Defendants'
                                                                                                  Defendants’
23
23
        defenses, such
        defenses, such as
                       as attesting
                          attesting to
                                    to receiving and taking
                                       receiving and taking meal
                                                            meal and
                                                                 and rest
                                                                     rest breaks
                                                                          breaks and
                                                                                 and to
                                                                                     to being
                                                                                        being paid
                                                                                              paid for all
                                                                                                   for all
24
24
        hours worked.
        hours worked. (Id.)
                      (Id.) Defendants
                            Defendants also
                                       also produced
                                            produced aa declaration
                                                        declaration from
                                                                    from aa corporate
                                                                            corporate representative
                                                                                      representative further
                                                                                                     further
25
25
        attesting to
        attesting to Defendants'
                     Defendants’ authorizing
                                 authorizing and
                                             and permitting
                                                 permitting of
                                                            of rest
                                                               rest breaks
                                                                    breaks for the putative
                                                                           for the putative class
                                                                                            class during
                                                                                                  during the
                                                                                                         the
26
26
        relevant time
        relevant time period.
                      period. During
                              During the
                                     the investigation
                                         investigation of
                                                       of the
                                                          the claims,
                                                              claims, Plaintiff
                                                                      Plaintiff alleged
                                                                                alleged additional
                                                                                        additional claims
                                                                                                   claims that
                                                                                                          that
27
27
        Defendants failed
        Defendants failed to
                          to provide
                             provide rest
                                     rest periods
                                          periods in compliance with
                                                  in compliance with California
                                                                     California law
                                                                                law and
                                                                                    and that
                                                                                        that Defendants
                                                                                             Defendants
28
28
                                                          -2 -
                                                          -2                                                  159
              MEMORANDUM OF
              MEMORANDUM   OF POINTS AND AUTHORITIES
                              POINTS AND AUTHORITIES IN
                                                     IN SUPPORT OF THE
                                                        SUPPORT OF      MOTION FOR
                                                                    THE MOTION  FOR FINAL
                                                                                     FINAL
               APPROVAL OF
               APPROVAL OF REQUESTED
                           REQUESTED ATTORNEY'S
                                      ATTORNEY'S FEES
                                                 FEES AND
                                                      AND COSTS,
                                                           COSTS, CASE
                                                                  CASE NO.:
                                                                       NO.: C13-00939-HSG
                                                                            C13-00939-HSG
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1
1       failed to
        failed to provide
                  provide all
                          all meal
                              meal periods
                                   periods in
                                           in compliance
                                              compliance with
                                                         with the
                                                              the law.
                                                                  law.

2
2              After the
               After the parties
                         parties exchanged significant amounts
                                 exchanged significant amounts of
                                                               of discovery and allowed
                                                                  discovery and allowed for
                                                                                        for time
                                                                                            time to
                                                                                                 to

3
3       analyze the
        analyze the documents
                    documents and
                              and data,
                                  data, the
                                        the parties
                                            parties engaged
                                                    engaged in mediation. (Lavi
                                                            in mediation. (Lavi Decl.¶¶
                                                                                Decl.¶¶ 6-7).
                                                                                        6-7). Plaintiff
                                                                                              Plaintiff and
                                                                                                        and

4
4       Defendants mediated
        Defendants mediated for
                            for aa full
                                   full day and into
                                        day and into the
                                                     the evening before an
                                                         evening before an experienced
                                                                           experienced and
                                                                                       and well-regarded
                                                                                           well-regarded

55      mediator, Steve
        mediator,       Rottman on
                  Steve Rottman on October
                                   October 25,
                                           25, 2013.
                                               2013. (Id.)
                                                     (Id.) While
                                                           While the
                                                                 the mediation
                                                                     mediation did
                                                                               did not
                                                                                   not culminate
                                                                                       culminate in
                                                                                                 in aa

6
6       settlement on
        settlement on that
                      that day,
                           day, the
                                the parties
                                    parties continued to utilize
                                            continued to utilize the
                                                                 the services
                                                                     services of
                                                                              of Mr.
                                                                                 Mr. Rottman
                                                                                     Rottman to
                                                                                             to continue the
                                                                                                continue the

77      settlement discussions.
        settlement discussions. After
                                After an
                                      an additional
                                         additional year
                                                    year and
                                                         and after
                                                             after additional
                                                                   additional informal
                                                                              informal discovery
                                                                                       discovery and
                                                                                                 and expert
                                                                                                     expert

88      analysis of
        analysis of approximately
                    approximately 11.71%
                                  11.71% of
                                         of the
                                            the class
                                                class members'
                                                      members’ punch
                                                               punch history,
                                                                     history, the
                                                                              the continued
                                                                                  continued efforts of the
                                                                                            efforts of the

99      parties and
        parties and mediator
                    mediator culminated
                             culminated in the Stipulation
                                        in the             and Settlement
                                               Stipulation and            Agreement, which
                                                               Settlement Agreement, which the
                                                                                           the Parties
                                                                                               Parties are
                                                                                                       are

10
10      now seeking
        now seeking final approval. (Id.)
                    final approval. (Id.)

11
11             By the
               By the time
                      time of
                           of the
                              the mediation
                                  mediation and
                                            and ultimate
                                                ultimate settlement,
                                                         settlement, Plaintiffs'
                                                                     Plaintiffs’ Class
                                                                                 Class Counsel
                                                                                       Counsel were
                                                                                               were fully
                                                                                                    fully

12
12      informed about
        informed about the
                       the strengths
                           strengths and
                                     and weaknesses
                                         weaknesses of
                                                    of their
                                                       their case and thoroughly
                                                             case and thoroughly familiar
                                                                                 familiar with
                                                                                          with Defendant's
                                                                                               Defendant’s

13
13      policies. The
        policies. The information
                      information enabled
                                  enabled the
                                          the Parties
                                              Parties to
                                                      to have
                                                         have aa meaningful
                                                                 meaningful discussion
                                                                            discussion of
                                                                                       of the
                                                                                          the issues
                                                                                              issues and
                                                                                                     and

14
14      participate in
        participate in the
                       the mediation.
                           mediation.

15
15             B. The
               B. The Settlement
                       Settlement is  Beneficial to
                                  is Beneficial  to Class
                                                    Class Members
                                                           Members Without
                                                                       Without Requiring
                                                                               Requiring the
                                                                                          the Class
                                                                                               Class
                  Members to
                  Members   to Locate
                               Locate Representation,
                                      Representation, File
                                                      File aa Lawsuit,
                                                              Lawsuit, or
                                                                       or Put Themselves at
                                                                          Put Themselves    Risk for
                                                                                         at Risk for
16
16                Costs and/or Retaliation
                  Costs and/or Retaliation
17
17             The Class consists
               The Class consists of
                                  of approximately
                                     approximately 735 current and
                                                   735 current and former
                                                                   former hourly-paid,
                                                                          hourly-paid, non-exempt
                                                                                       non-exempt
18
18      employees who
        employees who were
                      were employed
                           employed by
                                    by Shaw between January
                                       Shaw between         22, 2009,
                                                    January 22, 2009, and
                                                                      and July 24, 2015
                                                                          July 24, 2015 in
                                                                                        in
19
19      California. (Lavi
        California. (Lavi Dec.
                          Dec. Ex. 1 p.
                               Ex. 1 p. 2:4-8,
                                        2:4-8, 2:21-22;
                                               2:21-22; see
                                                        see Ex. 2 [order
                                                            Ex. 2        granting preliminary
                                                                  [order granting preliminary approval
                                                                                              approval
20
20      entered July
        entered      24, 2015];
                July 24, 2015]; see
                                see also
                                    also Lavi Dec. ¶20
                                         Lavi Dec. ¶20 [based
                                                       [based on
                                                              on data supplied to
                                                                 data supplied to claims
                                                                                  claims administrator
                                                                                         administrator there
                                                                                                       there
21
21      are approximately
        are approximately 735
                          735 class
                              class members].)
                                    members].) Based
                                               Based on
                                                     on the
                                                        the data submitted to
                                                            data submitted to the
                                                                              the claims
                                                                                  claims administrator
                                                                                         administrator and
                                                                                                       and
22
22      assuming that
        assuming that 100%
                      100% of
                           of the
                              the class
                                  class members
                                        members submit
                                                submit claims,
                                                       claims, the
                                                               the current
                                                                   current high
                                                                           high valid
                                                                                valid claim
                                                                                      claim is
                                                                                            is presently
                                                                                               presently
23
23      $4,512.42 and
        $4,512.42 and aa minimum
                         minimum average
                                 average settlement
                                         settlement payment
                                                    payment per
                                                            per valid
                                                                valid claimant
                                                                      claimant of
                                                                               of $446.39
                                                                                  $446.39 (estimated
                                                                                          (estimated net
                                                                                                     net
24
24      settlement amount
        settlement amount of
                          of $328,100
                             $328,100 ±
                                      ÷ 735
                                        735 class members =
                                            class members = $446.39).
                                                            $446.39). These amounts are
                                                                      These amounts are minimum
                                                                                        minimum
25
25      numbers because
        numbers because it
                        it is
                           is likely
                              likely that
                                     that less
                                          less than
                                               than 100%
                                                    100% of
                                                         of the
                                                            the class
                                                                class members
                                                                      members will
                                                                              will submit
                                                                                   submit claims
                                                                                          claims resulting
                                                                                                 resulting
26
26      in each
        in each class
                class members
                      members individual
                              individual settlement
                                         settlement increasing pro rata,
                                                    increasing pro rata, e.g.,
                                                                         e.g., if
                                                                               if 50% make claims
                                                                                  50% make        the
                                                                                           claims the
27
27      average would
        average would be
                      be $892.79
                         $892.79 ($328,100
                                 ($328,100 ±
                                           ÷ 367.5
                                             367.5 class
                                                   class members
                                                         members =
                                                                 = $892.79). (Lavi Dec.
                                                                   $892.79). (Lavi Dec. ¶
                                                                                        ¶ 20,
                                                                                          20, Ex.
                                                                                              Ex. 11 p.
                                                                                                     p.
28
28
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             MEMORANDUM OF
             MEMORANDUM   OF POINTS AND AUTHORITIES
                             POINTS AND AUTHORITIES IN
                                                     IN SUPPORT OF THE
                                                        SUPPORT OF      MOTION FOR
                                                                    THE MOTION  FOR FINAL
                                                                                     FINAL
              APPROVAL OF
              APPROVAL OF REQUESTED
                          REQUESTED ATTORNEY'S
                                     ATTORNEY'S FEES
                                                FEES AND
                                                      AND COSTS,
                                                           COSTS, CASE
                                                                  CASE NO.:
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1
1       19:23-21:7, 24:13-15
        19:23-21:7, 24:13-15 [no
                             [no unclaimed
                                 unclaimed funds
                                           funds because
                                                 because entire
                                                         entire distributable
                                                                distributable amount
                                                                              amount is
                                                                                     is distributed
                                                                                        distributed to
                                                                                                    to
2
2       Class Members
        Class Members who
                      who submit
                          submit aa claim].)
                                    claim].)
3
3              C.
               C. Class Counsel Devoted
                  Class Counsel Devoted Substantial
                                        Substantial Time
                                                    Time and Resources to
                                                         and Resources to This Litigation
                                                                          This Litigation
4
4              The Declaration of
               The Declaration of Joseph
                                  Joseph Lavi
                                         Lavi describes the specific
                                              describes the specific tasks
                                                                     tasks Class
                                                                           Class Counsel
                                                                                 Counsel performed,
                                                                                         performed, which
                                                                                                    which
55      include but
        include but are
                    are not
                        not limited
                            limited to:
                                    to: review
                                        review of
                                               of thousands
                                                  thousands of
                                                            of pages
                                                               pages of
                                                                     of documents
                                                                        documents (in
                                                                                  (in hardcopy
                                                                                      hardcopy and
                                                                                               and
6
6       electronic form)
        electronic       and detailed
                   form) and detailed information
                                      information regarding
                                                  regarding class data including
                                                            class data including putative
                                                                                 putative Class
                                                                                          Class Members'
                                                                                                Members’
77      payroll records,
        payroll records, timesheets,
                         timesheets, and
                                     and other
                                         other payroll
                                               payroll information. Defendant also
                                                       information. Defendant also disclosed policies and
                                                                                   disclosed policies and
88      procedures related
        procedures related to
                           to meal
                              meal and
                                   and rest breaks, work
                                       rest breaks, work time,
                                                         time, recording
                                                               recording time,
                                                                         time, and
                                                                               and other
                                                                                   other workplace
                                                                                         workplace policies
                                                                                                   policies
99      applicable to
        applicable to the
                      the Plaintiffs
                          Plaintiff’s class claims. (Lavi
                                      class claims. (Lavi Dec.
                                                          Dec. ¶¶6-7.)
                                                               ¶¶6-7.) Prior
                                                                       Prior to
                                                                             to the
                                                                                the mediation,
                                                                                    mediation, counsel
                                                                                               counsel
10
10      conducted an
        conducted an extensive
                     extensive investigation into the
                               investigation into the claims
                                                      claims alleged
                                                             alleged by
                                                                     by Plaintiff,
                                                                        Plaintiff, interviewed Plaintiff,
                                                                                   interviewed Plaintiff,

11
11      conducted legal
        conducted       research regarding
                  legal research           the application
                                 regarding the application of
                                                           of the
                                                              the applicable
                                                                  applicable Labor Code sections.
                                                                             Labor Code sections. (Id.)
                                                                                                  (Id.)
12
12      Counsel engaged
        Counsel engaged in
                        in aa detailed
                              detailed evaluation and review
                                       evaluation and review of
                                                             of the
                                                                the time
                                                                    time records
                                                                         records and
                                                                                 and payroll
                                                                                     payroll data
                                                                                             data as
                                                                                                  as well
                                                                                                     well as
                                                                                                          as
13
13      meal and
        meal and rest
                 rest break
                      break policies,
                            policies, analysis
                                      analysis of
                                               of the
                                                  the provided
                                                      provided policies,
                                                               policies, procedures
                                                                         procedures and
                                                                                    and data,
                                                                                        data, and
                                                                                              and prior
                                                                                                  prior to
                                                                                                        to the
                                                                                                           the
14
14      mediation, retained
        mediation, retained an
                            an expert
                               expert to
                                      to review
                                         review and
                                                and analyze
                                                    analyze the
                                                            the provided
                                                                provided timecards.
                                                                         timecards. (Id.)
                                                                                    (Id.) The
                                                                                          The expert
                                                                                              expert
15
15      determined: 1)
        determined: 1) the
                       the number
                           number of
                                  of unique
                                     unique employees
                                            employees in the Excel
                                                      in the       documents; 2)
                                                             Excel documents; 2) the
                                                                                 the total
                                                                                     total number
                                                                                           number of
                                                                                                  of the
                                                                                                     the
16
16      hours contained
        hours contained in
                        in the
                           the Excel document; 3)
                               Excel document; 3) the
                                                  the total
                                                      total number
                                                            number of
                                                                   of days worked contained
                                                                      days worked contained in
                                                                                            in the
                                                                                               the Excel
                                                                                                   Excel
17
17      document; 4)
        document; 4) the
                     the total
                         total amount
                               amount of
                                      of overpaid
                                         overpaid and
                                                  and underpaid
                                                      underpaid hours
                                                                hours by
                                                                      by comparing
                                                                         comparing the
                                                                                   the employees'
                                                                                       employees’ actual
                                                                                                  actual
18
18      timecard punch
        timecard punch history
                       history to
                               to the
                                  the employees'
                                      employees’ paid
                                                 paid time
                                                      time history;
                                                           history; 5) the total
                                                                    5) the total number
                                                                                 number of
                                                                                        of times
                                                                                           times that
                                                                                                 that the
                                                                                                      the
19
19      employees worked
        employees worked 10
                         10 or
                            or more
                               more hours; 6) the
                                    hours; 6) the total
                                                  total number
                                                        number of
                                                               of times
                                                                  times that
                                                                        that there
                                                                             there was
                                                                                   was aa punch
                                                                                          punch for 2 nd
                                                                                                for 2nd
20
20      meal breaks;
        meal breaks; 7)
                     7) total
                        total number
                              number of
                                     of missed 2nd meal
                                        missed 2nd meal breaks
                                                        breaks by
                                                               by determining
                                                                  determining the
                                                                              the total
                                                                                  total number
                                                                                        number of
                                                                                               of times
                                                                                                  times
21
21      that the
        that the employees
                 employees worked
                           worked 10
                                  10 or
                                     or more
                                        more hours,
                                             hours, without
                                                    without there being aa 22nd meal
                                                            there being         meal break
                                                                                     break punch;
                                                                                           punch; and
                                                                                                  and 8)
                                                                                                      8)
22
22      total number
        total number of
                     of untimely 1st meal
                        untimely 1St meal breaks
                                          breaks by
                                                 by determining
                                                    determining the
                                                                the number
                                                                    number of
                                                                           of times
                                                                              times that
                                                                                    that the
                                                                                         the employees’
                                                                                             employees'
23
23      1st meal
        1st meal break
                 break punch-out
                       punch-out was
                                 was after
                                     after 66 hours
                                              hours of
                                                    of work.
                                                       work. (Id.
                                                             (Id. ¶
                                                                  ¶ 8.)
                                                                    8.)
24
24             In addition, the
               In addition, the parties
                                parties could
                                        could not
                                              not agree
                                                  agree on
                                                        on aa negotiated
                                                              negotiated settlement
                                                                         settlement amount
                                                                                    amount at
                                                                                           at the
                                                                                              the mediation
                                                                                                  mediation

25
25      and continued
        and continued negotiations
                      negotiations through
                                   through the
                                           the mediator
                                               mediator for
                                                        for an
                                                            an additional
                                                               additional 10
                                                                          10 weeks.
                                                                             weeks. (Id.
                                                                                    (Id. ¶
                                                                                         ¶ 6). Yet the
                                                                                           6). Yet the

26
26      agreement still
        agreement still required
                        required extensive
                                 extensive iterations of comments
                                           iterations of          and edits
                                                         comments and edits to
                                                                            to the
                                                                               the proposed
                                                                                   proposed settlement
                                                                                            settlement

27
27      before culminating
        before culminating in
                           in the
                              the signing
                                  signing of
                                          of the
                                             the stipulation
                                                 stipulation and
                                                             and ultimate
                                                                 ultimate preliminary
                                                                          preliminary approval
                                                                                      approval by
                                                                                               by the
                                                                                                  the court.
                                                                                                      court.

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28
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            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
                            POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
             APPROVAL OF
             APPROVAL OF REQUESTED
                         REQUESTED ATTORNEY'S
                                    ATTORNEY'S FEES
                                               FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
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               D. Class
               D.       Members’ Present
                  Class Members'          Response to
                                  Present Response to the
                                                      the Settlement
                                                          Settlement and the Request
                                                                     and the Request for
                                                                                     for Fees
                                                                                         Fees and
                                                                                              and
1
1
                  Costs Appears Positive
                  Costs Appears Positive
2
2              The
               The claims administrator has
                   claims administrator has confirmed
                                            confirmed that
                                                      that class
                                                           class notices
                                                                 notices and
                                                                         and claim
                                                                             claim forms
                                                                                   forms were
                                                                                         were mailed
                                                                                              mailed to
                                                                                                     to the
                                                                                                        the
3
3       735 class
        735 class members
                  members on
                          on September 17, 2015.
                             September 17, 2015. (Lavi
                                                 (Lavi Dec.
                                                       Dec. ¶20.)
                                                            ¶20.) The
                                                                  The class
                                                                      class notices
                                                                            notices were
                                                                                    were sent
                                                                                         sent with
                                                                                              with the
                                                                                                   the claim
                                                                                                       claim
4
4       forms in
        forms    both English
              in both English and
                              and Spanish. (Lavi Dec.
                                  Spanish. (Lavi Dec. Ex. 13, 14.)
                                                      Ex. 13, 14.) Class
                                                                   Class members
                                                                         members were
                                                                                 were informed
                                                                                      informed of
                                                                                               of the
                                                                                                  the
55      settlement terms
        settlement terms and
                         and the
                             the gross
                                 gross amount
                                       amount of
                                              of $500,000,
                                                 $500,000, with
                                                           with the
                                                                the requested
                                                                    requested attorneys'
                                                                              attorneys’ fees
                                                                                         fees of
                                                                                              of up to
                                                                                                 up to
6
6       $125,000.00 (25%
        $125,000.00 (25% of
                         of the
                            the total
                                total settlement)
                                      settlement) and
                                                  and requested costs of
                                                      requested costs of no
                                                                         no more
                                                                            more than
                                                                                 than $17,000.
                                                                                      $17,000. (Lavi
                                                                                               (Lavi Dec.
                                                                                                     Dec. Ex.
                                                                                                          Ex.
77      13 p.
        13 p. 22 §5
                 §5 ¶
                    ¶ 3.)
                      3.) The claims administrator
                          The claims administrator has
                                                   has confirmed that as
                                                       confirmed that as of
                                                                         of October
                                                                            October 12,
                                                                                    12, 2015,
                                                                                        2015, no
                                                                                              no class
                                                                                                 class members
                                                                                                       members
88      have opted
        have opted out
                   out or
                       or objected
                          objected to
                                   to the
                                      the settlement.
                                          settlement. (Lavi
                                                      (Lavi Dec.
                                                            Dec. ¶20.)
                                                                 ¶20.) Instead, based on
                                                                       Instead, based on the
                                                                                         the data submitted to
                                                                                             data submitted to
99      the claims
        the        administrator and
            claims administrator and assuming
                                     assuming that
                                              that 100%
                                                   100% of
                                                        of the
                                                           the class
                                                               class members
                                                                     members submit
                                                                             submit claims,
                                                                                    claims, the
                                                                                            the current
                                                                                                current high
                                                                                                        high
10
10      valid claim
        valid claim is
                    is presently
                       presently $4,512.42
                                 $4,512.42 and
                                           and aa minimum
                                                  minimum average
                                                          average settlement
                                                                  settlement payment
                                                                             payment per
                                                                                     per valid
                                                                                         valid claimant
                                                                                               claimant of
                                                                                                        of
11
11      $446.39 (estimated
        $446.39 (estimated net
                           net settlement
                               settlement amount
                                          amount of
                                                 of $328,100
                                                    $328,100 ±
                                                             ÷ 735 class members
                                                               735 class members =
                                                                                 = $446.39) with aa likely
                                                                                   $446.39) with    likely
12
12      increase in
        increase    value of
                 in value of individual
                             individual claims
                                        claims as
                                               as less than all
                                                  less than all class
                                                                class members
                                                                      members will
                                                                              will likely
                                                                                   likely submit
                                                                                          submit claims.
                                                                                                 claims. (Lavi
                                                                                                         (Lavi
13
13      Dec. ¶
        Dec. ¶ 20,
               20, Ex.
                   Ex. 11 p.
                          p. 19:23-21:7,
                             19:23-21:7, 24:13-15
                                         24:13-15 [no
                                                  [no unclaimed
                                                      unclaimed funds
                                                                funds because
                                                                      because entire
                                                                              entire distributable
                                                                                     distributable amount
                                                                                                   amount is
                                                                                                          is
14
14      distributed to
        distributed to Class
                       Class Members
                             Members who
                                     who submit
                                         submit aa claim].)
                                                   claim].)
15
15      III. LEGAL
        III. LEGAL ARGUMENT
                   ARGUMENT
16
16             A. Counsel
               A.         Are Entitled
                  Counsel Are          To an
                              Entitled To an Award
                                             Award of
                                                   of Attorneys'
                                                      Attorneys’ Fees Out of
                                                                 Fees Out of the
                                                                             the Common
                                                                                 Common Fund
                                                                                        Fund
17
17                     1. The
                       1. The equitable
                                equitable common
                                           common fund
                                                     fund doctrine
                                                            doctrine applies
                                                                      applies when,
                                                                               when, as
                                                                                     as in
                                                                                        in this
                                                                                            this case,
                                                                                                  case, the
                                                                                                        the
                          litigation has
                          litigation has recovered
                                         recovered a  certain and
                                                   a certain       calculable fund
                                                              and calculable       on behalf
                                                                              fund on        of a
                                                                                      behalf of a group
                                                                                                   group of
                                                                                                         of
18
18                        beneficiaries
                          beneficiaries
19
19             For well
               For well over
                        over aa century,
                                century, federal and state
                                         federal and state courts
                                                           courts have
                                                                  have recognized that when
                                                                       recognized that when counsel's
                                                                                            counsel’s efforts
                                                                                                      efforts

20
20      result in
        result in the
                  the creation
                      creation of
                               of aa common
                                     common fund that benefits
                                            fund that benefits plaintiffs
                                                               plaintiffs and
                                                                          and unnamed
                                                                              unnamed class
                                                                                      class members,
                                                                                            members, counsel
                                                                                                     counsel

21
21      have an
        have an equitable
                equitable right
                          right to
                                to be
                                   be compensated
                                      compensated from that fund
                                                  from that      as aa whole
                                                            fund as    whole for their successful
                                                                             for their successful efforts
                                                                                                  efforts in
                                                                                                          in

22
22      creating it.
        creating     See, e.g.,
                 it. See, e.g., Boeing
                                Boeing Co.
                                       Co. v.
                                           v. Van
                                              Van Gemert, 444 U.S.
                                                  Gemert, 444 U.S. 472,
                                                                   472, 478
                                                                        478 (1980)
                                                                            (1980) (the
                                                                                   (the United
                                                                                        United States
                                                                                               States

23
23      Supreme Court "has
        Supreme Court “has recognized
                           recognized consistently
                                      consistently that
                                                   that aa litigant
                                                           litigant or
                                                                    or aa lawyer
                                                                          lawyer who
                                                                                 who recovers
                                                                                     recovers aa common
                                                                                                 common fund
                                                                                                        fund

24
24      …   is entitled
        ... is entitled to
                        to aa reasonable attorney’s fee
                              reasonable attorney's     from the
                                                    fee from the fund       whole”); Central
                                                                      as aa whole");
                                                                 fund as                     R.R. &
                                                                                     Central R.R. & Banking
                                                                                                    Banking Co.
                                                                                                            Co.

25
25      v. Pettus, 113
        v. Pettus, 113 U.S.
                       U.S. 116
                            116 (1885)
                                (1885) (recognizing
                                       (recognizing common
                                                    common fund
                                                           fund doctrine); Staton v.
                                                                doctrine); Staton    Boeing Co.,
                                                                                  v. Boeing      327 F.3d
                                                                                            Co., 327 F.3d

26
26      938,
        938, 967 (9th Cir.
             967 (9th Cir. 2003)
                           2003) (same).
                                 (same).

27
27             The common fund
               The common fund doctrine
                               doctrine rests
                                        rests on
                                              on the
                                                 the understanding
                                                     understanding that
                                                                   that attorneys
                                                                        attorneys should
                                                                                  should normally
                                                                                         normally be
                                                                                                  be paid
                                                                                                     paid

28
28
                                              -5 --
                                              -5                                                            162
            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
                            POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
             APPROVAL OF
             APPROVAL OF REQUESTED
                         REQUESTED ATTORNEY'S
                                    ATTORNEY'S FEES
                                               FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
                                                                      NO.: C13-00939-HSG
                                                                           C13-00939-HSG
     CaseCase
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                                             89-1 Filed   163 of 169
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                                                                       11    17#:163


1
1       by their
        by their clients. Boeing, 444
                 clients. Boeing, 444 U.S.
                                      U.S. at
                                           at 478.
                                              478. Where
                                                   Where the
                                                         the attorneys'
                                                             attorneys’ unnamed class member
                                                                        unnamed class member "clients"
                                                                                             “clients” have
                                                                                                       have

2
2       no express
        no express retainer
                   retainer agreement,
                            agreement, those
                                       those who
                                             who benefit
                                                 benefit from
                                                         from the
                                                              the fund without contributing
                                                                  fund without              to it
                                                                               contributing to it would
                                                                                                  would be
                                                                                                        be

33      unjustly enriched
        unjustly          if attorneys'
                 enriched if attorneys’ fees were not
                                        fees were not paid
                                                      paid out
                                                           out of
                                                               of the
                                                                  the common       Id. Further,
                                                                             fund. Id.
                                                                      common fund.     Further, it
                                                                                                it is well-settled
                                                                                                   is well-settled

4
4       that "[t]he
        that “[t]he common
                    common fund
                           fund doctrine
                                doctrine provides
                                         provides that
                                                  that aa private
                                                          private plaintiff,
                                                                  plaintiff, or
                                                                             or his
                                                                                his attorney,
                                                                                    attorney, whose
                                                                                              whose efforts
                                                                                                    efforts create,
                                                                                                            create,

55      discover, increase
        discover,          or preserve
                  increase or preserve aa fund to which
                                          fund to which others
                                                        others also
                                                               also have
                                                                    have aa claim
                                                                            claim is
                                                                                  is entitled
                                                                                     entitled to
                                                                                              to recover
                                                                                                 recover from the
                                                                                                         from the

6
6       fund the
        fund the costs
                 costs of
                       of his
                          his litigation [including attorney's
                              litigation [including            fees]." Carter
                                                    attorney’s fees].” Carter v. Anderson Merchandisers,
                                                                              v. Anderson Merchandisers, LP,
                                                                                                         LP,

7
7       2010 U.S.
        2010 U.S. Dist.
                  Dist. LEXIS
                        LEXIS 55629 (C.D. Cal.
                              55629 (C.D. Cal. 2010) (quoting Vincent
                                               2010) (quoting Vincent v. Hughes Air
                                                                      v. Hughes Air West. Inc., 557
                                                                                    West. Inc.,     F.2d
                                                                                                557 F.2d

88      759, 769
        759, 769 (9th
                 (9th Cir.
                      Cir. 1977)); see also
                           1977)); see also Schwarm
                                            Schwarm v.
                                                    v. Craighead,
                                                       Craighead, 814 F. Supp.2d
                                                                  814 F.         1025, 1029
                                                                         Supp.2d 1025, 1029 (E.D.
                                                                                            (E.D. Cal.
                                                                                                  Cal. Sep.
                                                                                                       Sep.

9
9       27, 2011)
        27,       (quoting Class
            2011) (quoting       Plaintiffs v.
                           Class Plaintiffs    Jaffe &
                                            v. Jaffe & Schlesinger,
                                                       Schlesinger, P.A.,
                                                                    P.A., 19
                                                                          19 F.3d
                                                                             F.3d 1306,
                                                                                  1306, 1308
                                                                                        1308 (9th
                                                                                             (9th Cir.
                                                                                                  Cir. 1994)).
                                                                                                       1994)).

10
10              This litigation
                This            has resulted
                     litigation has resulted in
                                             in aa settlement
                                                   settlement wherein
                                                              wherein Defendant
                                                                      Defendant would
                                                                                would pay
                                                                                      pay up
                                                                                          up to
                                                                                             to $500,000
                                                                                                $500,000

11
11      non-reversionary, whereas class
        non-reversionary, whereas       members’ claims
                                  class members' claims could
                                                        could never
                                                              never result
                                                                    result in
                                                                           in payment
                                                                              payment due to Defendant's
                                                                                      due to Defendant's

12
12      defenses and
        defenses and the
                     the difficulties
                         difficulties of
                                      of certifying and establishing
                                         certifying and establishing class
                                                                     class actions.
                                                                           actions. Because
                                                                                    Because none
                                                                                            none of
                                                                                                 of the
                                                                                                    the class
                                                                                                        class

13
13      members have
        members have paid
                     paid plaintiffs'
                          plaintiffs’ counsel
                                      counsel fees
                                              fees for
                                                   for counsel’s efforts during
                                                       counsel's efforts during the
                                                                                the litigation,
                                                                                    litigation, equity
                                                                                                equity requires
                                                                                                       requires

14
14      them to
        them to pay
                pay aa fair and reasonable
                       fair and reasonable fee,
                                           fee, based
                                                based on
                                                      on what
                                                         what the
                                                              the market
                                                                  market traditionally
                                                                         traditionally would
                                                                                       would require,
                                                                                             require, no
                                                                                                      no less
                                                                                                         less

15
15      than if
        than    they had
             if they     hired private
                     had hired private counsel
                                       counsel to
                                               to litigate
                                                  litigate their
                                                           their cases
                                                                 cases individually. Boeing, 444
                                                                       individually. Boeing, 444 U.S.
                                                                                                 U.S. at
                                                                                                      at 479-81.
                                                                                                         479-81.

16
16              B. The
                B. The fee award should
                       fee award should be calculated as
                                        be calculated as a
                                                         a percentage of the
                                                           percentage of the common
                                                                             common fund
                                                                                    fund

17
17              The traditional method
                The traditional method for calculating aa fee
                                       for calculating    fee award
                                                              award in common fund
                                                                    in common fund cases
                                                                                   cases is
                                                                                         is to
                                                                                            to award
                                                                                               award

18
18      counsel aa percentage
        counsel    percentage of
                              of the
                                 the total
                                     total fund. See Blum
                                           fund. See Blum v. Stenson, 465
                                                          v. Stenson, 465 U.S.
                                                                          U.S. 886,
                                                                               886, 900 n.16 (1984).
                                                                                    900 n.16 (1984).

19
19      Moreover, "[i]n
        Moreover, “[i]n evaluating
                        evaluating aa fee
                                      fee award
                                          award based
                                                based on
                                                      on aa percentage
                                                            percentage of
                                                                       of aa common
                                                                             common fund,
                                                                                    fund, ‘The
                                                                                          `The question
                                                                                               question is
                                                                                                        is

20
20      not whether
        not whether the
                    the district
                        district court
                                 court should
                                       should have
                                              have applied
                                                   applied some
                                                           some other
                                                                other percentage,
                                                                      percentage, but
                                                                                  but whether
                                                                                      whether in
                                                                                              in arriving
                                                                                                 arriving at
                                                                                                          at

21
21      its percentage
        its percentage it
                       it considered
                          considered all
                                     all the
                                         the circumstances
                                             circumstances of
                                                           of the
                                                              the case
                                                                  case and
                                                                       and reached
                                                                           reached aa reasonable
                                                                                      reasonable percentage."'
                                                                                                 percentage.’”

22
22      City of Roseville
        City of Roseville Emples.
                          Emples. Ret.
                                  Ret. Sys.
                                       Sys. v.
                                            v. Orloff, 484 Fed.
                                               Orloff, 484 Fed. Appx.
                                                                Appx. 138,
                                                                      138, 140
                                                                           140 (9th
                                                                               (9th Cir.
                                                                                    Cir. 2012)
                                                                                         2012) (quoting
                                                                                               (quoting

23
23      Vizcaino
        Vizcaino v. Microsoft Corp.,
                 v. Microsoft        290 F.3d
                              Corp., 290 F.3d 1043,
                                              1043, 1048
                                                    1048 (9th
                                                         (9th Cir.
                                                              Cir. 2002)).
                                                                   2002)).

24
24              The percentage of
                The percentage of the
                                  the fund method is
                                      fund method    appropriate for
                                                  is appropriate for aa number
                                                                        number of
                                                                               of reasons.
                                                                                  reasons. The percentage
                                                                                           The percentage

25
25      method comports
        method comports with
                        with the
                             the legal marketplace, where
                                 legal marketplace, where counsel's
                                                          counsel’s success
                                                                    success is frequently measured
                                                                            is frequently measured in
                                                                                                   in

26
26      terms of
        terms of the
                 the results
                     results counsel has achieved,
                             counsel has achieved, and
                                                   and "aligns
                                                       “aligns the
                                                               the interests of counsel
                                                                   interests of counsel and
                                                                                        and the
                                                                                            the class
                                                                                                class by
                                                                                                      by

27
27      allowing class
        allowing class counsel
                       counsel to
                               to directly
                                  directly benefit
                                           benefit from
                                                   from increasing
                                                        increasing the
                                                                   the size
                                                                       size of
                                                                            of the
                                                                               the class fund.” Craft
                                                                                   class fund." Craft v.
                                                                                                      v. County
                                                                                                         County

28
28
                                               -6 --
                                               -6                                                                163
             MEMORANDUM OF
             MEMORANDUM   OF POINTS AND AUTHORITIES
                             POINTS AND AUTHORITIES IN
                                                     IN SUPPORT OF THE
                                                        SUPPORT OF      MOTION FOR
                                                                    THE MOTION  FOR FINAL
                                                                                     FINAL
              APPROVAL OF
              APPROVAL OF REQUESTED
                          REQUESTED ATTORNEY'S
                                     ATTORNEY'S FEES
                                                FEES AND
                                                      AND COSTS,
                                                           COSTS, CASE
                                                                  CASE NO.:
                                                                       NO.: C13-00939-HSG
                                                                            C13-00939-HSG
     CaseCase
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1
1       of San
        of San Bernardino,
               Bernardino, 624 F.Supp.2d 1113,
                           624 F.Supp.2d 1113, 1123-24
                                               1123-24 (C.D.
                                                       (C.D. Cal.
                                                             Cal. 2008)
                                                                  2008) (citing Swedish Hosp.
                                                                        (citing Swedish Hosp. Corp.
                                                                                              Corp. v.
                                                                                                    v.

2
2       Shalala, 11 F.3d
        Shalala,    F.3d 1261,
                         1261, 1269
                               1269 (D.C.
                                    (D.C. Cir.
                                          Cir. 1993)
                                               1993) which
                                                     which states
                                                           states in
                                                                  in common
                                                                     common fund cases "the
                                                                            fund cases “the monetary
                                                                                            monetary

3
3       amount of
        amount of the
                  the victory
                      victory is often the
                              is often the true
                                           true measure
                                                measure of
                                                        of [counsel's]
                                                           [counsel’s] success,
                                                                       success, and
                                                                                and therefore
                                                                                    therefore it
                                                                                              it is
                                                                                                 is most
                                                                                                    most

4
4       efficient that
        efficient that it
                       it influence the fee
                          influence the     award” and
                                        fee award" and the
                                                       the percentage
                                                           percentage method
                                                                      method "more
                                                                             “more accurately
                                                                                   accurately reflects
                                                                                              reflects the
                                                                                                       the

55      economics of
        economics of litigation practice”) (also
                     litigation practice")       citing Gaskill
                                           (also citing Gaskill v.
                                                                v. Gordon, 160 F.3d
                                                                   Gordon, 160 F.3d 361,
                                                                                    361, 363
                                                                                         363 (7th
                                                                                             (7th Cir.
                                                                                                  Cir. 1998)
                                                                                                       1998)

6
6       which states
        which states in
                     in "defming
                        “defining aa reasonable
                                     reasonable fee in representative
                                                fee in representative actions,
                                                                      actions, the
                                                                               the law should ‘mimic
                                                                                   law should        the
                                                                                              `mimic the

77      market’”).
        market").

88             When clients
               When clients do
                            do not
                               not pay
                                   pay an
                                       an ongoing
                                          ongoing hourly
                                                  hourly fee
                                                         fee to
                                                             to their
                                                                their counsel, they typically
                                                                      counsel, they typically negotiate
                                                                                              negotiate an
                                                                                                        an

99      agreement in
        agreement in which
                     which counsel's
                           counsel’s fee is based
                                     fee is based upon
                                                  upon aa percentage
                                                          percentage of
                                                                     of any
                                                                        any recovery.
                                                                            recovery. The percentage of
                                                                                      The percentage of the
                                                                                                        the

10
10      fund approach
        fund approach mirrors
                      mirrors this
                              this aspect
                                   aspect of
                                          of the
                                             the market
                                                 market and,
                                                        and, accordingly,
                                                             accordingly, reflects
                                                                          reflects the
                                                                                   the fee
                                                                                       fee that
                                                                                           that would
                                                                                                would have
                                                                                                      have

11
11      been negotiated
        been            by the
             negotiated by the class members in
                               class members in advance,
                                                advance, had
                                                         had such
                                                             such negotiations
                                                                  negotiations been
                                                                               been feasible, given the
                                                                                    feasible, given the

12
12      prospective uncertainties
        prospective uncertainties and
                                  and anticipated
                                      anticipated risks and burdens
                                                  risks and burdens of
                                                                    of the
                                                                       the litigation. See, e.g.,
                                                                           litigation. See, e.g., Cohorst
                                                                                                  Cohorst v.
                                                                                                          v.

13
13      BRE Props,
        BRE Props, No.
                   No. 3:10-CV-26664M-BGS,
                       3:10-CV-2666-JM-BGS, 2011
                                            2011 U.S.
                                                 U.S. Dist.
                                                      Dist. LEXIS 151719, *55-56
                                                            LEXIS 151719,        (S.D. Cal.
                                                                          *55-56 (S.D. Cal. Nov.
                                                                                            Nov.

14
14      14, 2011)
        14, 2011) (quoting Paul, Johnson,
                  (quoting Paul, Johnson, Alston
                                          Alston & Hunt v.
                                                 & Hunt v. Graulty,
                                                           Graulty, 886 F.2d 268,
                                                                    886 F.2d 268, 271
                                                                                  271 (9th
                                                                                      (9th Cir.
                                                                                           Cir. 1989)
                                                                                                1989) ("It
                                                                                                      (“It

15
15      is well
        is well settled
                settled that
                        that the
                             the lawyer
                                 lawyer who
                                        who creates
                                            creates aa common
                                                       common fund
                                                              fund is allowed an
                                                                   is allowed an extra reward, beyond
                                                                                 extra reward, beyond that
                                                                                                      that

16
16      which he
        which    has arranged
              he has arranged with
                              with his
                                   his client, so that
                                       client, so that he
                                                       he might
                                                          might share
                                                                share the
                                                                      the wealth
                                                                          wealth of
                                                                                 of those
                                                                                    those upon
                                                                                          upon whom
                                                                                               whom he
                                                                                                    he has
                                                                                                       has

17
17      conferred aa benefit.");
        conferred                Sutton v.
                     benefit.”); Sutton    Bernard, 504
                                        v. Bernard,     F.3d 688,
                                                    504 F.3d 688, 692 (7th Cir.
                                                                  692 (7th Cir. 2007)
                                                                                2007) ("In
                                                                                      (“In deciding
                                                                                           deciding fee levels
                                                                                                    fee levels

18
18      in common
        in common fund cases, we
                  fund cases, we have
                                 have consistently directed district
                                      consistently directed district courts
                                                                     courts to
                                                                            to ‘do their best
                                                                               `do their best to
                                                                                              to award
                                                                                                 award

19
19      counsel the
        counsel the market
                    market price
                           price for legal services,
                                 for legal services, in
                                                     in light of the
                                                        light of the risk
                                                                     risk of
                                                                          of nonpayment
                                                                             nonpayment and
                                                                                        and the
                                                                                            the normal
                                                                                                normal rate
                                                                                                       rate of
                                                                                                            of

20
20      compensation in
        compensation in the
                        the market
                            market at
                                   at the
                                      the time.")
                                          time.’”) (quoting In re
                                                   (quoting In    Synthroid Mktg.
                                                               re Synthroid Mktg. Litig.,
                                                                                  Litig., 264
                                                                                          264 F.3d
                                                                                              F.3d 712,
                                                                                                   712, 718
                                                                                                        718

21
21      (7th Cir.
        (7th Cir. 2001)); cf. Missouri
                  2001)); cf. Missouri v. Jenkins by
                                       v. Jenkins    Agyei, 491
                                                  by Agyei, 491 U.S.
                                                                U.S. 274,
                                                                     274, 285
                                                                          285 (1989)
                                                                              (1989) (market
                                                                                     (market factors
                                                                                             factors should
                                                                                                     should

22
22      be considered
        be            in evaluating
           considered in evaluating reasonableness).
                                    reasonableness).

23
23             This market-based percentage
               This market-based percentage approach
                                            approach to
                                                     to common
                                                        common fund fee awards
                                                               fund fee awards has
                                                                               has other
                                                                                   other benefits
                                                                                         benefits and
                                                                                                  and

24
24      advantages, as
        advantages, as well.
                       well. Because
                             Because the
                                     the percentage
                                         percentage approach
                                                    approach mimics
                                                             mimics the
                                                                    the market,
                                                                        market, it
                                                                                it helps
                                                                                   helps provide
                                                                                         provide highly
                                                                                                 highly

25
25      qualified attorneys
        qualified attorneys the
                            the necessary
                                necessary incentive to bring
                                          incentive to bring large, complex class
                                                             large, complex       actions, even
                                                                            class actions,      though by
                                                                                           even though by

26
26      definition it
        definition it is
                      is impossible
                         impossible in such cases
                                    in such cases to
                                                  to negotiate
                                                     negotiate aa fee
                                                                  fee with
                                                                      with the
                                                                           the unnamed
                                                                               unnamed class
                                                                                       class members
                                                                                             members in
                                                                                                     in

27
27      advance. The
        advance.     percentage method
                 The percentage method is
                                       is also
                                          also far
                                               far easier
                                                   easier for
                                                          for courts
                                                              courts to
                                                                     to calculate than any
                                                                        calculate than any alternative
                                                                                           alternative

28
28
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            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
                            POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
             APPROVAL OF
             APPROVAL OF REQUESTED
                         REQUESTED ATTORNEY'S
                                    ATTORNEY'S FEES
                                               FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
                                                                      NO.: C13-00939-HSG
                                                                           C13-00939-HSG
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1
1       method. See id.;
        method. See      see also
                    id.; see also In
                                  In re Activision Sec.
                                     re Activision Sec. Litig.,
                                                        Litig., 723 F. Supp.
                                                                723 F.       1373, 1378
                                                                       Supp. 1373, 1378 (N.D.
                                                                                        (N.D. Cal.
                                                                                              Cal. Oct.
                                                                                                   Oct. 3,
                                                                                                        3,

2
2       1989).
        1989).

33               As touched
                 As touched on
                            on above,
                               above, aligning
                                      aligning the
                                               the incentives
                                                   incentives of
                                                              of the
                                                                 the class
                                                                     class and
                                                                           and its
                                                                               its counsel
                                                                                   counsel encourages
                                                                                           encourages counsel
                                                                                                      counsel

4
4       to spend
        to spend their
                 their time
                       time efficiently
                            efficiently and
                                        and to
                                            to focus
                                               focus on
                                                     on maximizing
                                                        maximizing the
                                                                   the size
                                                                       size of
                                                                            of the
                                                                               the class'
                                                                                   class’ recovery,
                                                                                          recovery, rather
                                                                                                    rather than
                                                                                                           than

55      their own
        their own lodestar
                  lodestar hours.
                           hours. As
                                  As Judge Patel wrote
                                     Judge Patel wrote in
                                                       in criticizing
                                                          criticizing the
                                                                      the inflexibility of the
                                                                          inflexibility of the lodestar
                                                                                               lodestar

6
6       approach:
        approach:

7
7                       The
                        The question
                              question thisthis court
                                                 court is      compelled to
                                                           is compelled        to ask
                                                                                   ask is,
                                                                                         is, "Is
                                                                                             “Is this
                                                                                                  this [lodestar]
                                                                                                        [lodestar]
                        process necessary?”
                        process   necessary?" UnderUnder aa cost-benefit         analysis, the
                                                                 cost-benefit analysis,       the answer
                                                                                                   answer would
                                                                                                            would
88                      be aa resounding,
                        be    resounding, "No!"“No!” Not Not only
                                                                only do     [lodestar] analyses
                                                                       do [lodestar]      analyses consume
                                                                                                     consume an an
                        undue amount
                        undue   amount of  of court
                                               court time
                                                       time with
                                                               with little
                                                                      little resulting
                                                                              resulting advantage
                                                                                          advantage to to anyone,
                                                                                                          anyone,
9
9                       but, in
                        but, in fact,
                                fact, it  may be
                                       it may    be to
                                                     to the
                                                         the detriment
                                                               detriment of  of the
                                                                                the class
                                                                                     class members.
                                                                                             members. They     are
                                                                                                         They are
                        forced to
                        forced   to wait
                                     wait until
                                             until the
                                                    the court
                                                            court has
                                                                    has done
                                                                           done aa thorough,
                                                                                     thorough, conscientious
                                                                                                   conscientious
10
10
                        analysis of
                        analysis   of the
                                      the attorneys'
                                            attorneys' feefee petition.
                                                                petition. Or,
                                                                            Or, class
                                                                                 class members
                                                                                        members may  may suffer
                                                                                                          suffer aa
11
11                      further diminution
                        further  diminution of   of their
                                                    their fund      when aa special
                                                             fund when         special master
                                                                                         master isis retained
                                                                                                     retained and
                                                                                                               and
                        paid from
                        paid  from the
                                     the fund.    Most important,
                                          fund. Most      important, however,
                                                                          however, is  is the
                                                                                          the effect
                                                                                               effect the process
                                                                                                      the process
12
12                      has  on the
                        has on         litigation and
                                  the litigation     and the the timing
                                                                  timing of  of settlement.
                                                                                settlement. Where       attorneys
                                                                                                Where attorneys
                        must depend
                        must   depend on on aa lodestar
                                                lodestar approach
                                                              approach therethere is  little incentive
                                                                                   is little incentive to   arrive
                                                                                                         to arrive
13
13                      at an
                        at an early
                               early settlement.
                                      settlement.
14
14      In re
        In    Activision Sec.
           re Activision Sec. Litig.,
                              Litig., 723
                                      723 F.
                                          F. Supp. at 1375
                                             Supp. at 1375 (emphasis
                                                           (emphasis added); see also
                                                                     added); see also Vizcaino, 290 F.3d
                                                                                      Vizcaino, 290 F.3d at
                                                                                                         at
15
15      1050 n.5
        1050 n.5 ("it
                 (“it is
                      is widely
                         widely recognized that the
                                recognized that the lodestar method creates
                                                    lodestar method creates incentives
                                                                            incentives for counsel to
                                                                                       for counsel to expend
                                                                                                      expend
16
16      more hours
        more hours than
                   than may
                        may be
                            be necessary
                               necessary on
                                         on litigating
                                            litigating aa case
                                                          case so
                                                               so as
                                                                  as to
                                                                     to recover
                                                                        recover aa reasonable
                                                                                   reasonable fee, since the
                                                                                              fee, since the
17
17      lodestar method
        lodestar method does
                        does not
                             not reward
                                 reward early
                                        early settlement."); State of
                                              settlement.”); State of Fla.
                                                                      Fla. v. Dunne, 915
                                                                           v. Dunne,     F.2d 542,
                                                                                     915 F.2d 542, 545 (9th
                                                                                                   545 (9th
18
18      Cir. 1990)
        Cir. 1990) (recognizing
                   (recognizing aa "recent
                                   “recent groundswell of support
                                           groundswell of support for mandating aa percentage-of-the-fund
                                                                  for mandating    percentage-of-the-fund
19
19      approach in
        approach in common
                    common fund cases"); Camden
                           fund cases”); Camden II Condominium Ass'n, Inc.
                                                   Condominium Ass'n, Inc. v. Dunkle, 946
                                                                           v. Dunkle,     F.2d 768,
                                                                                      946 F.2d 768,
20
20      773 (11th
        773 (11th Cir.
                  Cir. 1991)
                       1991) ("[E]very
                             (“[E]very Supreme Court case
                                       Supreme Court case addressing
                                                          addressing the
                                                                     the computation
                                                                         computation of
                                                                                     of aa common
                                                                                           common fund
                                                                                                  fund
21
21      fee award
        fee award has
                  has determined
                      determined such
                                 such fees on aa percentage
                                      fees on    percentage of
                                                            of the
                                                               the fund
                                                                   fund basis.").
                                                                        basis.”).
22
22               In light of
                 In light of these
                             these benefits,
                                   benefits, courts
                                             courts have
                                                    have regularly
                                                         regularly approved
                                                                   approved the
                                                                            the percentage
                                                                                percentage of
                                                                                           of the
                                                                                              the fund
                                                                                                  fund method
                                                                                                       method
23
23      for calculating
        for calculating aa reasonable
                           reasonable fee
                                      fee award
                                          award in
                                                in common
                                                   common fund cases. In
                                                          fund cases. In this
                                                                         this case, the award
                                                                              case, the award of
                                                                                              of counsel's
                                                                                                 counsel’s
24
24      common fund
        common      fees should
               fund fees should be
                                be assessed
                                   assessed as
                                            as aa percentage
                                                  percentage of
                                                             of the
                                                                the total
                                                                    total fund
                                                                          fund and
                                                                               and the
                                                                                   the monetary
                                                                                       monetary benefits
                                                                                                benefits it
                                                                                                         it
25
25      will have
        will      on Defendant's
             have on Defendant’s current
                                 current and
                                         and future
                                             future employees.
                                                    employees.
26
26               C. The Requested
                 C. The Requested Fee Award is
                                  Fee Award is Fair
                                               Fair and Reasonable
                                                    and Reasonable
27
27               The Ninth Circuit
                 The Ninth Circuit has
                                   has directed
                                       directed that,
                                                that, to
                                                      to determine what constitutes
                                                         determine what constitutes aa fair and reasonable
                                                                                       fair and reasonable
28
28
                                              -8 --
                                              -8                                                                      165
            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
                            POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
             APPROVAL OF
             APPROVAL OF REQUESTED
                         REQUESTED ATTORNEY'S
                                    ATTORNEY'S FEES
                                               FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
                                                                      NO.: C13-00939-HSG
                                                                           C13-00939-HSG
     CaseCase
          2:23-cv-01045   Document Document
               4:13-cv-00939-HSG   1 Filed 02/10/23
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                                             89-1 Filed   166 of 169
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1
1       percentage of
        percentage of the
                      the settlement
                          settlement for
                                     for purposes
                                         purposes of
                                                  of calculating common fund
                                                     calculating common fund attorney's
                                                                             attorney’s fees,
                                                                                        fees, courts
                                                                                              courts should
                                                                                                     should

2
2       use aa "benchmark"
        use    “benchmark” percentage
                           percentage of
                                      of 25%
                                         25% of
                                             of the
                                                the total
                                                    total fund. In re
                                                          fund. In re Wells Fargo Loan
                                                                      Wells Fargo Loan Processor
                                                                                       Processor Overtime
                                                                                                 Overtime

3
3       Pay Litig.,
        Pay Litig., 2011
                    2011 U.S.
                         U.S. Dist.
                              Dist. LEXIS
                                    LEXIS 84541 at *23-30
                                          84541 at                Six Mexican
                                                          (citing Six
                                                   *23-30 (citing     Mexican Workers
                                                                              Workers v. Arizona Citrus
                                                                                      v. Arizona Citrus

4
4       Growers,
        Growers, 904 F.2d at
                 904 F.2d at 1311
                             1311 (25%
                                  (25% is the "standard
                                       is the           award”); Vizcaino,
                                              “standard award");           290 F.3d
                                                                 Vizcaino, 290 F.3d at
                                                                                    at 1047
                                                                                       1047 (describing
                                                                                            (describing

55      20%-30% as
        20%-30% as the
                   the "usual
                       “usual range"
                              range” of
                                     of fees).
                                        fees). Some courts have
                                               Some courts have held
                                                                held that
                                                                     that the
                                                                          the upper
                                                                              upper limit
                                                                                    limit for
                                                                                          for fees should be
                                                                                              fees should be

6
6       50%, with District
        50%, with District Courts
                           Courts in
                                  in California
                                     California awarding
                                                awarding fees in the
                                                         fees in the range
                                                                     range of
                                                                           of 30%-50%
                                                                              30%-50% for
                                                                                      for settlements
                                                                                          settlements with
                                                                                                      with

77      smaller common
        smaller common funds, i.e., less
                       funds, i.e.,      $10 million,
                                    less $10 million, and
                                                      and adjusting
                                                          adjusting below
                                                                    below 25%
                                                                          25% for settlements with
                                                                              for settlements with larger
                                                                                                   larger

88      common funds,
        common        i.e., greater
               funds, i.e., greater than
                                    than $10
                                         $10 million. Lo v.
                                             million. Lo v. Oxnard European Motors,
                                                            Oxnard European Motors, LLC,
                                                                                    LLC, No.
                                                                                         No. 11CV1009
                                                                                             11CV1009

99      JLS
        JLS (MDD), 2012 U.S.
            (MDD), 2012 U.S. Dist.
                             Dist. LEXIS 73983, *8-10
                                   LEXIS 73983, *8-10 (S.D.
                                                      (S.D. Cal.
                                                            Cal. May
                                                                 May 29,
                                                                     29, 2012)
                                                                         2012) (approving
                                                                               (approving an
                                                                                          an award
                                                                                             award of
                                                                                                   of

10
10      33% of
        33% of aa common
                  common fund
                         fund of
                              of $49,100.00
                                 $49,100.00 for settlement after
                                            for settlement after just
                                                                 just two
                                                                      two months
                                                                          months of
                                                                                 of litigation; Martin v.
                                                                                    litigation; Martin v.

11
11      AmeriPride Servs.,
        AmeriPride Servs., No.
                           No. 08cv440-MMA
                               08cv440-MMA (JMA),
                                           (JMA), 2011
                                                  2011 U.S.
                                                       U.S. Dist.
                                                            Dist. LEXIS
                                                                  LEXIS 61796,
                                                                        61796, *22-23 (S.D. Cal.
                                                                               *22-23 (S.D. Cal. June
                                                                                                 June

12
12      9,
        9, 2011). More to
           2011). More to the
                          the point,
                              point, District
                                     District Courts
                                              Courts in California routinely
                                                     in California routinely award
                                                                             award attorney's
                                                                                   attorney’s fees
                                                                                              fees in
                                                                                                   in the
                                                                                                      the 30%-
                                                                                                          30%-

13
13      40% range
        40% range for wage and
                  for wage and hour
                               hour class
                                    class actions. See Vasquez
                                          actions. See Vasquez v.
                                                               v. Coast
                                                                  Coast Valley Roofing, Inc.,
                                                                        Valley Roofing, Inc., 266
                                                                                              266 F.R.D.
                                                                                                  F.R.D. 482,
                                                                                                         482,

14
14      491-92 (E.D.
        491-92       Cal. 2010)
               (E.D. Cal. 2010) (citing
                                (citing to
                                        to five
                                           five recent awards in
                                                recent awards in wage
                                                                 wage and
                                                                      and hour
                                                                          hour actions
                                                                               actions between
                                                                                       between 30% and
                                                                                               30% and

15
15      33%); Singer v.
        33%); Singer    Becton Dickinson
                     v. Becton Dickinson and
                                         and Co., No. 08-CV-821-IEG
                                             Co., No.               (BLM), 2010
                                                      08-CV-821-IEG (BLM), 2010 U.S.
                                                                                U.S. Dist.
                                                                                     Dist. LEXIS
                                                                                           LEXIS

16
16      53416, * 20-23
        53416, * 20-23 (S.D.
                       (S.D. Cal.
                             Cal. June 1, 2010)
                                  June 1, 2010) (approving
                                                (approving an
                                                           an award
                                                              award of
                                                                    of 33.33%
                                                                       33.33% of
                                                                              of the
                                                                                 the common
                                                                                     common fund and
                                                                                            fund and

17
17      holding it
        holding    was similar
                it was similar to
                               to fee awards ranging
                                  fee awards ranging from 30.3%-40% in
                                                     from 30.3%-40%    three other
                                                                    in three other wage
                                                                                   wage and
                                                                                        and hour
                                                                                            hour actions).
                                                                                                 actions).

18
18      “Empirical studies
        "Empirical studies show
                           show that,
                                that, regardless whether the
                                      regardless whether the percentage
                                                             percentage method
                                                                        method or
                                                                               or the
                                                                                  the lodestar method is
                                                                                      lodestar method is used,
                                                                                                         used,

19
19      fee awards
        fee awards in
                   in class
                      class actions
                            actions average
                                    average around
                                            around one-third
                                                   one-third of
                                                             of the
                                                                the recovery." Romero v.
                                                                    recovery.” Romero    Producers Dairy
                                                                                      v. Producers Dairy

20
20      Foods, Inc.,
        Foods, Inc., No.
                     No. 1:05cv0484
                         1:05cv0484 DLB,
                                    DLB, 2007
                                         2007 U.S.
                                              U.S. Dist.
                                                   Dist. LEXIS
                                                         LEXIS 86270,
                                                               86270, * 3-10 (E.D.
                                                                      * 3-10 (E.D. Cal.
                                                                                   Cal. Nov.
                                                                                        Nov. 14,
                                                                                             14, 2007)
                                                                                                 2007)

21
21      (quoting 4
        (quoting 4 Newberg
                   Newberg and
                           and Conte, Newberg on
                               Conte, Newberg on Class Actions §
                                                 Class Actions § 14.6
                                                                 14.6 (4th
                                                                      (4th ed.
                                                                           ed. 2007)
                                                                               2007) and
                                                                                     and approving
                                                                                         approving an
                                                                                                   an

22
22      award of
        award of 33%
                 33% to
                     to aa small
                           small plaintiff-side
                                 plaintiff-side employment
                                                employment firm
                                                           firm where
                                                                where the
                                                                      the issue
                                                                          issue of
                                                                                of whether
                                                                                   whether overtime
                                                                                           overtime

23
23      compensation was
        compensation was barred
                         barred by
                                by the
                                   the Motor
                                       Motor Carrier
                                             Carrier Act
                                                     Act exemption
                                                         exemption of
                                                                   of the
                                                                      the FLSA
                                                                          FLSA was
                                                                               was deemed
                                                                                   deemed aa "complex
                                                                                             “complex

24
24      legal issue").
        legal issue”).

25
25              Accordingly, Plaintiff's
                Accordingly, Plaintiff’s counsel'
                                         counsel’ fee request of
                                                  fee request of 25%
                                                                 25% is
                                                                     is fair and reasonable
                                                                        fair and reasonable fee.
                                                                                            fee. The gross
                                                                                                 The gross

26
26      settlement amount
        settlement amount obtained
                          obtained through
                                   through the
                                           the efforts
                                               efforts of
                                                       of Plaintiffs
                                                          Plaintiff's counsel is $500,000.00.
                                                                      counsel is $500,000.00. Adhering
                                                                                              Adhering to
                                                                                                       to the
                                                                                                          the

27
27      benchmark, Plaintiffs
        benchmark, Plaintiff's counsel
                               counsel is
                                       is seeking
                                          seeking no
                                                  no more
                                                     more than
                                                          than 25%
                                                               25% of
                                                                   of the
                                                                      the Gross,
                                                                          Gross, or
                                                                                 or $125,000
                                                                                    $125,000 for
                                                                                             for fees as
                                                                                                 fees as

28
28
                                               -9 --
                                               -9                                                          166
             MEMORANDUM OF
             MEMORANDUM   OF POINTS AND AUTHORITIES
                             POINTS AND AUTHORITIES IN
                                                     IN SUPPORT OF THE
                                                        SUPPORT OF      MOTION FOR
                                                                    THE MOTION  FOR FINAL
                                                                                     FINAL
              APPROVAL OF
              APPROVAL OF REQUESTED
                          REQUESTED ATTORNEY'S
                                     ATTORNEY'S FEES
                                                FEES AND
                                                      AND COSTS,
                                                           COSTS, CASE
                                                                  CASE NO.:
                                                                       NO.: C13-00939-HSG
                                                                            C13-00939-HSG
    CaseCase
         2:23-cv-01045   Document Document
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                                            89-1 Filed   167 of 169
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1      stated in
       stated in the
                 the settlement
                     settlement agreement
                                agreement and
                                          and the
                                              the Class
                                                  Class Notice
                                                        Notice to
                                                               to the
                                                                  the class
                                                                      class members,
                                                                            members, as
                                                                                     as well
                                                                                        well as
                                                                                             as $17,000.00
                                                                                                $17,000.00

2      (the maximum
       (the maximum allowable
                    allowable request).
                              request).

3             The fairness of
              The fairness of this
                              this fee
                                   fee award
                                       award is
                                             is further
                                                further supported
                                                        supported by
                                                                  by the
                                                                     the quality
                                                                         quality of
                                                                                 of Plaintiffs
                                                                                    Plaintiff's counsel's
                                                                                                counsel's legal
                                                                                                          legal

4      representation. The
       representation.     efforts expended
                       The efforts          by Class
                                   expended by Class Counsel
                                                     Counsel in this case
                                                             in this case are
                                                                          are described
                                                                              described above
                                                                                        above and
                                                                                              and are
                                                                                                  are

5      described in
       described in detail
                    detail in
                           in the
                              the Declarations
                                  Declarations of
                                               of Joseph
                                                  Joseph Lavi and Sahag
                                                         Lavi and       Majarian, II.
                                                                  Sahag Majarian, II. As
                                                                                      As the
                                                                                         the declarations
                                                                                             declarations

6      reflect, Plaintiffs
       reflect, Plaintiff's counsel's
                            counsel’s diligent
                                      diligent and
                                               and efficient
                                                   efficient pursuit
                                                             pursuit of
                                                                     of this
                                                                        this matter
                                                                             matter positioned
                                                                                    positioned Plaintiff
                                                                                               Plaintiff to
                                                                                                         to

7      successfully settle
       successfully settle this
                           this case,
                                case, and
                                      and to
                                          to avoid
                                             avoid the
                                                   the inevitable
                                                       inevitable expense,
                                                                  expense, the
                                                                           the risk
                                                                               risk attendant
                                                                                    attendant to
                                                                                              to protracted
                                                                                                 protracted

8      litigation as
       litigation as well
                     well as
                          as the
                             the potential
                                 potential of
                                           of the
                                              the class
                                                  class members'
                                                        members’ receiving
                                                                 receiving nothing
                                                                           nothing if the court
                                                                                   if the court denied
                                                                                                denied

9      certification or
       certification or found merit to
                        found merit to Defendant's
                                       Defendant's defenses.
                                                   defenses. The current response
                                                             The current response of
                                                                                  of the
                                                                                     the class
                                                                                         class members'
                                                                                               members’

10     further supports aa decision
       further supports    decision that
                                    that the
                                         the fee
                                             fee and
                                                 and costs
                                                     costs request
                                                           request is fair and
                                                                   is fair and reasonable.
                                                                               reasonable. The
                                                                                           The requested
                                                                                               requested

11     amount of
       amount of attorneys'
                 attorneys’ fees
                            fees and
                                 and costs were stated
                                     costs were stated expressly in the
                                                       expressly in the class
                                                                        class notice
                                                                              notice and
                                                                                     and at
                                                                                         at present
                                                                                            present no
                                                                                                    no class
                                                                                                       class

12     members have
       members have objected
                    objected or
                             or opted
                                opted out.
                                      out. (Lavi
                                           (Lavi Dec.
                                                 Dec. ¶
                                                      ¶ 20
                                                        20 Ex. 13, 14.)
                                                           Ex. 13, 14.) The
                                                                        The absence
                                                                            absence of
                                                                                    of any
                                                                                       any objections
                                                                                           objections to
                                                                                                      to

13     the fees
       the      and costs
           fees and costs requested
                          requested supports
                                    supports the
                                             the conclusion
                                                 conclusion that
                                                            that the
                                                                 the requested
                                                                     requested award
                                                                               award is
                                                                                     is fair, adequate, and
                                                                                        fair, adequate, and

14     reasonable. See Tuttle
       reasonable. See Tuttle v. Sky Bell
                              v. Sky Bell Asset
                                          Asset Mgmt,
                                                Mgmt, LLC,
                                                      LLC, No.
                                                           No. C
                                                               C 10-03588
                                                                 10-03588 WHA,
                                                                          WHA, 2012
                                                                               2012 U.S.
                                                                                    U.S. Dist.
                                                                                         Dist. LEXIS
                                                                                               LEXIS

15     146174, *5-7
       146174,      (N.D. Cal.
               *5-7 (N.D. Cal. Oct.
                               Oct. 10,
                                    10, 2012)
                                        2012) (citing
                                              (citing factors
                                                      factors supporting
                                                              supporting aa finding
                                                                            finding that
                                                                                    that the
                                                                                         the settlement
                                                                                             settlement

16     agreement was
       agreement was fair, reasonable, and
                     fair, reasonable, and adequate,
                                           adequate, as
                                                     as articulate in Officers
                                                        articulate in          for Justice
                                                                      Officers for Justice v.
                                                                                           v. Civil Serv.
                                                                                              Civil Serv.

17     Comm’n,
       Comm 'n, 688 F.2d 615,
                688 F.2d 615, 625 (9th Cir.
                              625 (9th Cir. 1982)).
                                            1982)).

18            D. The
              D. The Requested
                     Requested Fees Are Reasonable
                               Fees Are Reasonable Under
                                                   Under A
                                                         A Lodestar
                                                           Lodestar Crosscheck
                                                                    Crosscheck
19            A lodestar
              A          cross-check confirms
                lodestar cross-check          that the
                                     confirms that the percentage
                                                       percentage requested
                                                                  requested is             See Vizcaino,
                                                                               reasonable. See
                                                                            is reasonable.               290
                                                                                               Vizcaino, 290

20     F.3d at
       F.3d at 1050
               1050 ("while
                    (“while the
                            the primary
                                primary basis
                                        basis of
                                              of the
                                                 the fee
                                                     fee award
                                                         award remains the percentage
                                                               remains the percentage method,
                                                                                      method, the
                                                                                              the lodestar
                                                                                                  lodestar

21     may provide
       may provide aa useful
                      useful perspective
                             perspective on
                                         on the
                                            the reasonableness of aa given
                                                reasonableness of    given percentage
                                                                           percentage award").
                                                                                      award”). The
                                                                                               The

22     accompanying declarations
       accompanying declarations of
                                 of Joseph
                                    Joseph Lavi and Sahag
                                           Lavi and       Majarian, II
                                                    Sahag Majarian,    set forth
                                                                    II set forth the
                                                                                 the number
                                                                                     number of
                                                                                            of hours
                                                                                               hours and
                                                                                                     and

23     rates used
       rates used to
                  to calculate
                     calculate Class
                               Class Counsel's
                                     Counsel’s lodestar.
                                               lodestar.

24     Attorney
       Attorney                                   Hours
                                                  Hours              Hourly Rate
                                                                     Hourly Rate                         Total
                                                                                                         Total
       Joseph
       Joseph Lavi
              Lavi                                134.75
                                                  134.75                 $650
                                                                         $650                      $87,587.50
                                                                                                   $87,587.50
25
       Jordan D. Bello
       Jordan D. Bello                             35.1
                                                   35.1                  $450
                                                                         $450                      $15,795.00
                                                                                                   $15,795.00
26
       Vincent Granberry
       Vincent Granberry                            7.8
                                                    7.8                  $450
                                                                         $450                       $3,510.00
                                                                                                    $3,510.00
27
       Sahag Majarian, II
       Sahag Majarian, II                          41.20
                                                   41.20                 $700
                                                                         $700                      $28,840.00
                                                                                                   $28,840.00
28
                                             -10
                                             -10 --
                                                                                                           167
            MEMORANDUM OF
            MEMORANDUM   OF POINTS AND AUTHORITIES
                            POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
             APPROVAL OF
             APPROVAL OF REQUESTED
                         REQUESTED ATTORNEY'S
                                    ATTORNEY'S FEES
                                               FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
                                                                      NO.: C13-00939-HSG
                                                                           C13-00939-HSG
     CaseCase
          2:23-cv-01045   Document Document
               4:13-cv-00939-HSG   1 Filed 02/10/23
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                                             89-1 Filed   168 of 169
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                                                                             17#:168


1
1                                              Total
                                               Total                                                  $135,732.50
                                                                                                      $135,732.50

2
2       (Lavi Dec.
        (Lavi Dec. ¶¶24-29,
                   ¶¶24-29, Ex. 3; Majarian
                            Ex. 3; Majarian Dec.
                                            Dec. ¶9,
                                                 ¶9, Ex. B.) As
                                                     Ex. B.) As described
                                                                described in the declarations,
                                                                          in the declarations, attorney
                                                                                               attorney Lavi
                                                                                                        Lavi

3
3       worked in
        worked in excess of 134.75
                  excess of 134.75 hours
                                   hours in this matter
                                         in this matter for
                                                        for aa lodestar
                                                               lodestar amount
                                                                        amount of
                                                                               of $87,587.50.00.
                                                                                  $87,587.50.00. (Lavi
                                                                                                 (Lavi Dec.
                                                                                                       Dec.

4
4       ¶¶24-26, Ex.
        ¶¶24-26, Ex. 3.) Mr. Bello
                     3.) Mr. Bello has
                                   has spent
                                       spent 35.1 hours in
                                             35.1 hours    this matter
                                                        in this matter for
                                                                       for aa lodestar amount of
                                                                              lodestar amount of $15,795.00.
                                                                                                 $15,795.00. (Id.)
                                                                                                             (Id.)

55      Mr. Granberry
        Mr. Granberry spent
                      spent 7.8 hours for
                            7.8 hours for aa lodestar amount of
                                             lodestar amount of $3,510.00.
                                                                $3,510.00. Mr.
                                                                           Mr. Sahag Majarian, II,
                                                                               Sahag Majarian,     has spent
                                                                                               II, has spent

6
6
        41.20 for
        41.20 for aa lodestar
                     lodestar of
                              of $28,840.00.
                                 $28,840.00. Accordingly,
                                             Accordingly, the
                                                          the total
                                                              total lodestar
                                                                    lodestar in this matter
                                                                             in this matter is
                                                                                            is $135,732.50
                                                                                               $135,732.50 which
                                                                                                           which

77      is more
        is more than
                than the
                     the requested
                         requested fees. Counsel are
                                   fees. Counsel are frequently awarded multipliers
                                                     frequently awarded multipliers on
                                                                                    on their
                                                                                       their lodestar when
                                                                                             lodestar when

88      applying from
        applying from aa common
                         common fund. See Vizcaino,
                                fund. See           290 F.3d
                                          Vizcaino, 290 F.3d at
                                                             at 1051
                                                                1051 (approving
                                                                     (approving multiplier
                                                                                multiplier of 3.65); Wal-
                                                                                           of 3.65); Wal-

99      Mart Stores,
        Mart Stores, Inc.
                     Inc. v.
                          v. Visa
                             Visa U.S.A., Inc., 396
                                  U.S.A., Inc., 396 F.3d
                                                    F.3d 96, 123 (2nd
                                                         96, 123 (2nd Cir.
                                                                      Cir. 2005)
                                                                           2005) (approving
                                                                                 (approving multiplier
                                                                                            multiplier of
                                                                                                       of 3.5); In
                                                                                                          3.5); In

10
10
        re Safety Components,
        re Safety             Inc. Sec.
                  Components, Inc. Sec. Litig.,
                                        Litig., 166
                                                166 F.
                                                    F. Supp. 2d 72,
                                                       Supp. 2d 72, 104
                                                                    104 (D.
                                                                        (D. N.J.
                                                                            N.J. 2001)
                                                                                 2001) (approving
                                                                                       (approving multiplier
                                                                                                  multiplier of
                                                                                                             of

11
11
        2.81 and
        2.81 and citing
                 citing cases
                        cases approving
                              approving multiplier
                                        multiplier from
                                                   from 2.04-3.6); see also
                                                        2.04-3.6); see also Alba
                                                                            Alba Conte
                                                                                 Conte &
                                                                                       & Herbert
                                                                                         Herbert B.
                                                                                                 B. Newberg,
                                                                                                    Newberg,

12
12
        Newberg on
        Newberg on Class Actions §
                   Class Actions § 14:06
                                   14:06 at
                                         at 578 (4th ed.,
                                            578 (4th      2002) ("[M]ultiples
                                                     ed., 2002) (“[M]ultiples ranging from one
                                                                              ranging from one to
                                                                                               to four are
                                                                                                  four are

13
13
        frequently awarded
        frequently awarded in
                           in common
                              common fund
                                     fund cases
                                          cases when
                                                when the
                                                     the lodestar
                                                         lodestar method
                                                                  method is applied.”). Counsel
                                                                         is applied."). Counsel would
                                                                                                would

14
14
        generally be
        generally be entitled
                     entitled to
                              to aa multiplier
                                    multiplier but
                                               but as
                                                   as aa lodestar crosscheck, counsel
                                                         lodestar crosscheck, counsel does
                                                                                      does not
                                                                                           not require
                                                                                               require aa multiplier
                                                                                                          multiplier

15
15
        to reach
        to reach the
                 the requested
                     requested $125,000
                               $125,000 in
                                        in fees.
                                           fees.

16
16
                The
                The hours of work
                    hours of work performed
                                  performed by
                                            by Class
                                               Class Counsel
                                                     Counsel were
                                                             were reasonable and necessary.
                                                                  reasonable and necessary. The
                                                                                            The rates
                                                                                                rates used
                                                                                                      used

17
17
        in calculating
        in             the lodestar
           calculating the lodestar likewise are reasonable.
                                    likewise are reasonable. Class
                                                             Class Counsel's
                                                                   Counsel’s experience, reputation, and
                                                                             experience, reputation, and ability,
                                                                                                         ability,

18
18
        detailed in
        detailed in the
                    the accompanying
                        accompanying declarations
                                     declarations justify
                                                  justify the
                                                          the rates
                                                              rates charged. (Lavi Decl
                                                                    charged. (Lavi Decl ¶¶
                                                                                        ¶¶ 24-29,
                                                                                           24-29, Ex. 3;
                                                                                                  Ex. 3;

19
19
        Majarian Decl.
        Majarian Decl. ¶¶
                       ¶¶ 2-4,
                          2-4, Ex. B.) A
                               Ex. B.) A reasonable
                                         reasonable hourly
                                                    hourly rate is the
                                                           rate is the prevailing
                                                                       prevailing rate
                                                                                  rate charged
                                                                                       charged by
                                                                                               by attorneys
                                                                                                  attorneys of
                                                                                                            of

20
20
        similar skill
        similar skill and
                      and experience
                          experience in the relevant
                                     in the relevant community. Hopson v.
                                                     community. Hopson    Hanesbrands Inc.,
                                                                       v. Hanesbrands Inc., No.
                                                                                            No. CV08-0844
                                                                                                CV08-0844

21
21
        EDL, 2009 U.S.
        EDL, 2009 U.S. Dist.
                       Dist. LEXIS 33900 (N.D.
                             LEXIS 33900 (N.D. Cal.
                                               Cal. Apr.
                                                    Apr. 3,
                                                         3, 2009).
                                                            2009). Other
                                                                   Other wage
                                                                         wage and
                                                                              and hour
                                                                                  hour attorneys
                                                                                       attorneys working
                                                                                                 working

22
22      as class
        as class counsel
                 counsel before
                         before California
                                California courts
                                           courts charge
                                                  charge comparable
                                                         comparable if not higher
                                                                    if not higher rates
                                                                                  rates as
                                                                                        as indicated
                                                                                           indicated in the 2008
                                                                                                     in the 2008

23
23
        National Law
        National Law Journal
                     Journal Survey and the
                             Survey and the requested rates are
                                            requested rates are also
                                                                also in
                                                                     in line
                                                                        line with
                                                                             with the
                                                                                  the broadly
                                                                                      broadly used
                                                                                              used Laffey
                                                                                                   Laffey

24
24      Matrix. (Lavi
        Matrix.       Decl. ¶¶
                (Lavi Decl. ¶¶ 24-29
                               24-29 (experience
                                     (experience and
                                                 and Mr.
                                                     Mr. Lavi out of
                                                         Lavi out of law school and
                                                                     law school and practicing
                                                                                    practicing for
                                                                                               for 13
                                                                                                   13 years,
                                                                                                      years,

25
25
        Mr. Bello
        Mr. Bello out
                  out of
                      of law
                         law school
                             school for
                                    for 99 years
                                           years and
                                                 and in
                                                     in practice
                                                        practice with
                                                                 with Lavi & Ebrahimian,
                                                                      Lavi & Ebrahimian, LLP for over
                                                                                         LLP for over 88 years,
                                                                                                         years,

26
26
        Mr. Granberry
        Mr. Granberry out
                      out of
                          of law
                             law school
                                 school since
                                        since 2010
                                              2010 and
                                                   and practicing
                                                       practicing law since 2011),
                                                                  law since 2011), Ex.
                                                                                   Ex. 5 (2008 National
                                                                                       5 (2008 National Law
                                                                                                        Law

27
27
        Journal
        Journal Survey),
                Survey), Ex.
                         Ex. 6 (Laffey Matrix
                             6 (Laffey Matrix stating
                                              stating aa rate
                                                         rate of
                                                              of $661
                                                                 $661 per
                                                                      per hour
                                                                          hour for
                                                                               for attorneys
                                                                                   attorneys out
                                                                                             out of
                                                                                                 of law
                                                                                                    law school
                                                                                                        school

28
28      11-19 years,
        11-19 years, $586 per hour
                     $586 per hour for attorneys out
                                   for attorneys out of
                                                     of law
                                                        law school
                                                            school for
                                                                   for 8-10 years, and
                                                                       8-10 years, and $406 for attorneys
                                                                                       $406 for attorneys out
                                                                                                          out of
                                                                                                              of
                                                          -11
                                                          -11 -                                              168
             MEMORANDUM OF
             MEMORANDUM   OF POINTS AND AUTHORITIES
                             POINTS AND AUTHORITIES IN
                                                    IN SUPPORT OF THE
                                                       SUPPORT OF      MOTION FOR
                                                                   THE MOTION  FOR FINAL
                                                                                    FINAL
              APPROVAL OF
              APPROVAL OF REQUESTED
                          REQUESTED ATTORNEY'S
                                     ATTORNEY'S FEES
                                                FEES AND
                                                     AND COSTS,
                                                          COSTS, CASE
                                                                 CASE NO.:
                                                                      NO.: C13-00939-HSG
                                                                           C13-00939-HSG
 Case 2:23-cv-01045
    Case
    Case             DocumentDocument
          4:13-cv-00939-HSG
          4:13-cv-00939-HSG   1 Filed 02/10/23
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                                       89-1 Filed
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                                                                        17



 1   law
      lawschool
          school for
                  for4-7
                     4-7 years);
                         years);see
                                 see Lavi
                                     Lavi Dec.
                                          Dec.Ex.
                                               Ex.7-11
                                                   7-11 (recent
                                                         (recent orders
                                                                 ordersfinding
                                                                        findingrates
                                                                                ratesof
                                                                                     ofMr.
                                                                                        Mr.Lavi
                                                                                           Lavi and
                                                                                                 and Mr.
                                                                                                     Mr.Bello
                                                                                                         Bello
22   to
      to be
         be reasonable);
             reasonable); Majarian Dec. ~~2-4
                          Majarian Dec.  ¶¶2-4 (experience
                                                (experience and
                                                            and Mr.
                                                                Mr. Majarian
                                                                    Majarian IIII out
                                                                                  out of
                                                                                      of law
                                                                                          law school
                                                                                               school and
                                                                                                       and
33   practicing
     practicingover
                over 25
                     25 years),
                        years), Ex.
                                Ex. AA (Laffey
                                        (Laffey Matrix
                                                Matrix stating
                                                       statingaa rate
                                                                  rate of$796
                                                                       of $796 per
                                                                               per hour
                                                                                   hour for
                                                                                         for attorneys
                                                                                             attorneys practicing
                                                                                                       practicing

44   in
      in excess
         excessof20
                of 20 years).)
                      years).)
55           Finally,
             Finally, Plaintiff's
                      Plaintiff's requested
                                   requested attorneys'
                                             attorneys' costs
                                                        costs associated
                                                              associated with
                                                                         with Class
                                                                              Class Counsel's
                                                                                    Counsel's litigation
                                                                                               litigation of
                                                                                                          of the
                                                                                                              the
66   action
     action are
            are reasonable.
                 reasonable. Plaintiff
                             Plaintiff requests
                                        requests $17,000.00
                                                 $17,000.00 even
                                                            even though
                                                                  though he
                                                                         he has
                                                                            has incurred
                                                                                 incurred in
                                                                                           in excess
                                                                                              excess of
                                                                                                     of that
                                                                                                         that
77   amount
     amount in
             in litigating
                 litigating the
                             the matter.
                                 matter. The
                                         The requested
                                              requested amount
                                                        amount of$17,000
                                                               of $17,000 isis less
                                                                                less than
                                                                                      than the
                                                                                            the $20,625.23
                                                                                                $20,625.23 expended
                                                                                                           expended
88   in
      in litigation
          litigation by
                     by Class
                        Class Counsel
                              Counsel ($20,242.87
                                      ($20,242.87 for  L&E ++ $382.36
                                                   for L&E    $382.36 for  Majarian, IIII == $20,725.23)
                                                                       for Majarian,         $20,725.23) and
                                                                                                         and
99   excludes
     excludes any
              any future
                  future expenses
                         expenses (e.g.,
                                  (e.g., future
                                          future travel
                                                  travel expenses
                                                         expenses for
                                                                  for appearances),
                                                                      appearances), such
                                                                                    such as
                                                                                         as necessary
                                                                                            necessary travel
                                                                                                       travel to
                                                                                                               to
10
10   appear
     appear at
            at the
                the Final
                    Final Approval
                          Approval hearing.
                                   hearing. (Lavi Dec. ~30,
                                            (Lavi Dec. ¶30, Ex.
                                                            Ex. 4;
                                                                4; Majarian Dec. ~9,
                                                                   Majarian Dec. ¶9, Ex. C.) These
                                                                                     Ex. C.) These costs
                                                                                                   costs
11
11   included
      included reasonable
                reasonable amounts
                           amounts including
                                   including $1,439
                                             $1,439 in
                                                     in filing
                                                        filing fees;
                                                                fees; $2,870.83
                                                                      $2,870.83 in
                                                                                 in service
                                                                                    service and
                                                                                            and messenger
                                                                                                messenger fees;
                                                                                                           fees;
12
12   $4,750
     $4,750 for
            for mediation;
                mediation; $5,400
                           $5,400 for
                                  for expert
                                      expert data
                                             data analysis;
                                                  analysis; $4,450
                                                            $4,450 in
                                                                    in travel
                                                                        travel fees,
                                                                               fees, etc.
                                                                                     etc. (Lavi Dec. ~30,
                                                                                          (Lavi Dec. ¶30, Ex.
                                                                                                          Ex. 4;
                                                                                                              4;

13
13   Majarian Dec. ~9,
     Majarian Dec. ¶9, Ex.
                       Ex. C.)
                           C.)

14
14   IV.
     IV. CONCLUSION
         CONCLUSION
15
15           For
             For the
                 the foregoing
                     foregoing reasons,
                               reasons, Class
                                        Class Counsel
                                              Counsel respectfully
                                                      respectfully request
                                                                   request that
                                                                           that the
                                                                                the Court
                                                                                    Court issue
                                                                                          issue an
                                                                                                an order
                                                                                                   order
16
16   finally
     finally determining
             determining and
                         and approving
                             approving the
                                       the payment
                                           payment of
                                                   of $125,000
                                                      $125,000 as
                                                               as reasonable
                                                                  reasonable attorney's
                                                                             attorney's fees,
                                                                                        fees, as
                                                                                              as well
                                                                                                 well as
                                                                                                      as

17
17   costsfor$17,000.00.
     costs for $17,000.00.

18
18
     Dated:
     Dated: October 13,2015
                    13, 2015                          Respectfully
                                                      Respectfully submitted,
                                                                   submitted,
19                                                    LA VI    EBRAHIMIAN,
                                                      LAVI & EBRAHIMIAN, LLP
                                                            &
20
20

21
21

22
                                                      By:~
                                                      By:
                                                              Joseph Lavi,
                                                                     Lavi, Esq.
                                                                           Esq.
                                                              Jordan D.
                                                                     D. Bello, Esq.
                                                                               Esq.
23                                                            Attorneys
                                                              Attorneys     for      PLAINTIFF          FIDEL
                                                              ALTAMIRANO and    and others
                                                                                    others similarly
                                                                                           similarly situated
                                                                                                     situated
24

25

26

27

28
                                                         -12 -
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE MOTION FOR FINAL
           APPROVAL OF REQUESTED
                       REQUESTED ATTORNEY'S FEES
                                            FEES AND COSTS, CASE NO.: CI3-00939-HSG
                                                                 NO.: C13-00939-11SG                             169
